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15FIVE INC                              1ST FINANCIAL INVESTMENT INC    21ST SVC LLC
3053 FILLMORE ST                        116 N STATE ST                  333 SOUTH SEVENTH ST
#279                                    FL 1                            STE 2400
SAN FRANCISCO CA 94123                  CLARK'S SUMIIT PA 18411         MINNEAPOLIS MN 55402




360 DG TEXAS LLC                        440 GROUP                       5 STAR ASSET MANAGEMENT PLLC
2100 VLY VIEW LN                        107 SOUTH WEST ST               JAUER BRAVO
STE 360                                 STE 250                         PO BOX 10985
FARMERS BRANCH TX 75234                 ALEXANDRIA VA 22314             TEMPE AZ 85284




6088P INC                               79 CAPITAL GROUP LLC            858ME LLC
PO BOX 601239                           109 E CHURCH ST                 PO BOX 210412
DALLAS TX 75360-1239                    STE 425                         BEDFORD TX 76095
                                        ORLANDO FL 32814




ABN AMRO CLEARING CHICAGO LLC           ABN AMRO CLEARING CHICAGO LLC   ABN AMRO CLEARING CHICAGO LLC/INSTITUTIONAL
PORTFOLIO MARGINING                     KIM VILARA                      KIM VILARA
SUE NOWICKI                             175 W JACKSON BLVD              175 W JACKSON BLVD
175 W JACKSON BLVD                      STE 400                         STE 400
STE 400                                 CHICAGO IL 60605                CHICAGO IL 60605
CHICAGO IL 60604


ABN AMRO CLEARING CHICAGO/BONDS         ABN AMRO SECURITIES (USA) LLC   ABN AMRO SECURITIES (USA) LLC/A/C#2
SUE NOWICKI                             ROBERT ALONGI                   ROBERT ALONGI
175 W JACKSON BLVD                      VICE PRESIDENT                  VICE PRESIDENT
STE 400                                 100 PK AVE                      100 PK AVE
CHICAGO IL 60604                        17TH FL                         17TH FL
                                        NEW YORK NY 10017               NEW YORK NY 10017


ABN AMRO SECURITIES (USA) LLC/REPO      AC CARLSON APPLIANCES           ACADEMY OF FINANCIAL PLANNING
ROBERT ALONGI                           8901 BASS LAKE RD               5776 STONERIDGE MALL RD
100 PK AVE                              NEW HOPE MN 55428               STE 355
17TH FL                                                                 PLEASANTON CA 94588
NEW YORK NY 10017




ACADEMY OF LIFE UNDERWRITING INC        ACADEMY OF SPECIAL DREAMS       ACCELERATED CAPITAL GROUP
1800 M ST NW                            100 E CORSON ST                 18301 VAN KARMEN AVE
STE 400 SOUTH                           STE 310                         STE 400
WASHINGTON DC 20036                     PASADENA CA 91103               IRVINE CA 92612




ACCELERATED CAPITAL GROUP               ACCORDIA (FIRST ALLMERICA)      ACCORDIA LIFE AND ANNUITY CO
18301 VON KARMAN                        PO BOX 63020                    PO BOX 71223
STE 400                                 SAN FRANCISCO CA 94162          CHARLOTTE NC 28272-1223
IRVINE CA 92612




ACCOUNTEMPS                             ACCUITY INC                     ACE AMERICAN INSURANCE CO
PO BOX 743295                           PO BOX 9519                     436 WALNUT ST
LOS ANGELES CA 90074-3295               NEW YORK NY 10087-4519          PHILADELPHIA PA 19106




ACE PORTAL LLC                          ACOSTA FINANCIAL SERVICES LLC   ACOSTA NELSON GROUP
325 NORTH ST PAUL ST                    14301 N 87TH ST                 10930 N TATUM BLVD
STE 4850                                STE 117                         STE C101
DALLAS TX 75201                         SCOTTSDALE AZ 85260             PHEONIX AZ 85028




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ACRISURE LLC                                 ACTUARIAL RISK MANAGEMENT                   ADAMS GRUMBLES LLP
5664 PRAIRIE CREEK DR SE                     5914 W COURTYARD DR                         287 EAST 6TH ST
CALEDONIA MI 49316                           STE 190                                     STE 140
                                             AUSTIN TX 78730                             ST. PAUL MN 55101




ADIRONDACK TRADING GROUP LLC                 ADISA                                       ADISA
DAVE TABONE                                  TWO MERIDIAN PLAZA                          10401 N MERIDIAN ST
2123 MAIN ST                                 10401 NORTH MERIDIAN ST STE 202             STE 202
NEW WOODSTOCK NY 13122                       INDIANAPOLIS IN 46290                       INDIANAPOLIS IN 46290




ADP INC                                      ADR-CITI                                    ADVANCE DOCUMENT AND HANDWRITING
ONE ADP BLVD                                 TOM CRANE                                   EXAMINATION SVC LLC
ROSELAND NJ 07068                            111 WALL ST                                 PO BOX 867226
                                             20TH FLOOR/ZONE 7                           PLANO TX 75086
                                             NEW YORK NY 10043




ADVANCED COPIER TECHNOLOGY INC               ADVANCED WEALTH ADVISORS                    ADVISORY GROUP EQUITY SVC
1840 N GREENVILLE AVE                        2101 PARK CTR DR                            444 WASHINGTON ST STE 407
STE 168                                      1458 WHITE OAK DR STE A                     WOBURN MA 01801
RICHARDSON TX 75081                          CHASKA MN 55318-2525




AEGIS CAPITAL CORP                           AETNA                                       AFLAC INCORPORATED/DRS
810 7TH AVE                                  COMMISSIONS/TAWONNA POWELL                  JOAN M DIBLASI
NEW YORK NY 10019                            800 CRESCENT CTR DR STE 420                 1932 WYNNTON RD
                                             FRANKLIN TN 37067                           COLUMBUS GA 31999




AGENCYONE LLC                                AI INSIGHT                                  AI INSIGHT
11200 ROCKVILLE PIKE                         PO BOX 639250                               140 W NEW ENGLAND AVE
#500                                         CINCINNATI OH 45263-9250                    WORTHINGTON OH 43085
ROCKVILLE MD 20852




AIM MARKETING AND INSURANCE                  AKQURACY LLC                                ALABAMA ATTORNEY GENERAL
13940 N NORTHSIGHT BLVD                      800 WASHINGTON AVE N                        STEVE MARSHALL
STE 101                                      STE 206                                     501 WASHINGTON AVE
SCOTTSDALE AZ 85260                          MINNEAPOLIS MN 55401                        MONTGOMERY AL 36130




ALABAMA DEPT OF REVENUE                      ALABAMA DEPT OF REVENUE                     ALABAMA DEPT OF REVENUE
INDIVIDUAL AND CORPORATE TAX DIVISION        INDIVIDUAL AND CORPORATE TAX DIVISION       50 NORTH RIPLEY ST
BUSINESS PRIVILEGE TAX                       BUSINESS PRIVILEGE TAX SECTION              MONTGOMERY AL 36130
SECTION PO BOX 327320                        PO BOX 327433
MONTGOMERY AL 36132-7320                     MONTGOMERY AL 36132-7433




ALABAMA SECURITIES COMMISSION                ALABAMA STATE BANKING DEPT                  ALASKA ATTORNEY GENERAL
PO BOX 304700                                PO BOX 4600                                 TREG R TAYLOR
MONTGOMERY AL 360130-470                     MONTGOMERY AL 36103                         1031 W 4TH AVE
                                                                                         STE 200
                                                                                         ANCHORAGE AK 99501-1994




ALASKA DEPT OF COMMUNITY AND                 ALASKA DIVISION OF BANKING AND SECURITIES   ALASKA JUNEAU COMMISSIONERS OFFICE
ECONOMIC DEVELOPMENT                         PO BOX 110807                               PO BOX 110400
DIV OF BANKING SECURITIES AND CORPORATIONS   JUNEAU AK 99811                             JUNEAU AK 99811-0400
PO BOX 110807
JUNEAU AK 99811-0807




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ALASKA USA FEDERAL CREDIT UNION             ALBERT FRIED AND CO LLC/STOCK LOAN       ALBERT FRIED AND CO LLC/STOCK LOAN
CORPORATE ACTIONS                           ALFRED SCARANGELLO                       CORPORATE ACTIONS
PO BOX 196613                               45 BROADWAY                              45 BROADWAY
ANCHORAGE AK 99519-6613                     24TH FL                                  NEW YORK NY 10006
                                            NEW YORK NY 10006




ALBERT FRIED AND COMPANY, LLC               ALEXANDER CAPITAL                        ALLGEYER LAW AND ADR LLC
ANTHONY KATSINGRIS                          17 STATE ST                              900 IDS CTR
45 BROADWAY                                 NEW YORK NY 10004                        80 SOUTH 8TH ST
24TH FL                                                                              MINNEAPOLIS MN 55402
NEW YORK NY 10006




ALLIANCE FOR SENIOR HEALTH CARE FINANCING   ALLIANCE GLOBAL PARTNERS                 ALLIANZ GLOBAL RISKS US INSURANCE CO
INC                                         88 POST RD W                             225 W WASHINGTON ST
AMERICAN CONTINENTAL GROUP INC              FLOOR 2                                  STE 1800
1800 M ST NW STE 500 SOUTH                  WESTPORT CT 06880                        CHICAGO IL 60606-3484
WASHINGTON DC 20036




ALLIED BEACON PARTNERS                      ALLIED MILLENNIAL PARTNERS LLC           ALLIED WORLD NATIONAL ASSURANCE CO
7501 BOULDERS VIEW DR                       200 VESEY ST                             199 WATER ST
STE 601                                     24TH FLOOR                               24TH FLOOR
RICHMOND VA 23225                           NEW YORK NY 10281                        NEW YORK NY 10038




ALLIED WORLD SPECIALTY INSURANCE CO         ALLIES IN SVC                            ALLSTATE LIFE INSURANCE CO OF NY
1690 NEW BRITAIN AVE                        OFFICE OF ROGER STAUBACH                 PO BOX 4301
STE 101                                     15 PARTNERS LLC 8343 DOUGLAS STE 370     CAROL STREAM IL 60197
FARMINGTON CT 06032                         DALLAS TX 75225




ALONSO HIGH SCHOOL BOOSTER                  ALPINE SECURITIES CORP                   ALTERNATIVE INVESTMENT EXCHANGE LLC
ANGEL MONTAGNA                              CORPORATE ACTIONS                        150 ROUSE BLVD
15915 MUIRFIELD DR                          39 EXCHANGE PL                           STE 200
ODESSA FL 33556                             SALT LAKE CITY UT 84111                  PHILADELPHIA PA 19112




ALTIVERSE CAPITAL MARKETS                   ALTUS GTS INC                            AMADA FRANCHISE INC
325 N ST PAUL ST STE 4850                   GORDON GEHR                              901 CALLE AMANECER
DALLAS TX 75201                             LEGAL FORWARDING DEPT                    STE 350
                                            2400 VETERANS MEMORIAL BLVD #300         SAN CLEMENTE CA 92673
                                            KENNER LA 70062




AMALGAMATED BANK                            AMALGAMATED BANK OF CHICAGO              AMALGAMATED BANK OF CHICAGO/IPA
CORPORATE ACTIONS                           ROGER SCHAEFFER                          BERNETTA SMITH
275 SEVENTH AVE                             1 W MONROE ST                            TRUST OPERATIONS OFFICER
NEW YORK NY 10011                           CHICAGO IL 60603                         ONE WEST MONROE ST
                                                                                     CHICAGO IL 60603




AMBASSADOR PRESS                            AMERICAN AGENCY                          AMERICAN ENTERPRISE INVESTMENT SVC INC
1400 WASHINGTON AVE N                       5851 CEDAR LAKE RD                       REORG DEPT
MINNEAPOLIS MN 55411                        PO BOX 16527                             2178 AMERIPRISE FINANCIAL CTR
                                            MINNEAPOLIS MN 55416-0527                ROUTING: S6/2178
                                                                                     MINNEAPOLIS MN 55474




AMERICAN ENTERPRISE INVESTMENT SVC INC      AMERICAN ENTERPRISE INVESTMENT SVC INC   AMERICAN ENTERPRISE INVESTMENT SVC INC
CORPORATE ACTIONS                           PENNY ZALESKY                            GREG WRAALSTAD
2178 AMERIPRISE FINANCIAL                   2178 AMERIPRISE FINANCIAL CTR            CORPORATE ACTIONS
ROUTING S6/2178                             ROUTING: S6/2178                         901 3RD AVE SOUTH
MINNEAPOLIS MN 55474                        MINNEAPOLIS MN 55474                     MINNEAPOLIS MN 55474




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AMERICAN ENTERPRISE INVESTMENT SVC INC    AMERICAN ENTERPRISE INVESTMENT SVC      AMERICAN EQUITY INVESTMENT CORP
ERIN M STIELER                            INCCONDUIT                              4222 GRANT LINE RD
682 AMP FINANCIAL CTR                     TOM EBERHART                            NEW ALBANY IN 47150-7279
MINNEAPOLIS MN 55474                      CORPORATE ACTIONS
                                          2723 AMERIPRISE FINANCIAL CTR
                                          MINNEAPOLIS MN 55474


AMERICAN EXPRESS                          AMERICAN GENERAL LIFE INSURANCE CO      AMERICAN GLOBAL WEALTH MANAGEMENT
200 VESEY ST                              PO BOX 0807                             1600 PENNSYLVANIA AVE
NEW YORK NY 10285                         CAROL STREAM IL 60132                   MCDONOUGH GA 30253




AMERICAN NATIONAL RED CROSS               AMERICAN PORTFOLIOS FINANCIAL SVC INC   AMERICAN RED CROSS
2025 EAST ST NW                           2648 BROADWAY AVE                       25688 NETWORK PL
WASHINGTON DC 20006                       SLAYTON MN 56172-1312                   CHICAGO IL 60673-1256




AMERICAN SAMOA ATTORNEY GENERAL           AMERICAN SOCIETY OF HUMAN GENETICS      AMERICAN TRUST INVESTMENT SVC INC
FAINU ULELEI FALEFATU ALA ILIMA-UTU       6120 EXECUTIVE BLVD                     ELITE CONFERENCE SVC LLC
AMERICAN SAMOA GOVT EXEC OFC BLDG         STE 500                                 AN ATIS CONFERENCE MARKETING CO
UTULEI TERRITORY OF AMERICAN SAMOA        ROCKVILLE MD 20852                      501 N EL CAMINO REAL STE 211
PAGO PAGO AS 96799                                                                SAN CLEMENTE CA 92672




AMERICAN VIATICAL SERVICES LLC            AMERICO                                 AMERITAS
175 TOWNPARK DR                           PO BOX 410288                           6940 O ST
STE 400                                   KANSAS CITY MO 64141-0288               STE 406
KENNESAW GA 30144                                                                 LINCOLN NE 68510




AMERITAS INVESTMENT CORP                  AMHERST PIERPONT SECURITIES LLC         AMTRUST NORTH AMERICA
7315 WISCONSIN AVE STE 1000 WEST          CORPORATE ACTIONS                       PO BOX 6939
BETHESDA MD 20814                         245 PK AVE 15TH FL                      CLEVELAND OH 44101-1939
                                          NEW YORK NY 10167




ANB BANK                                  ANDERSON INSURANCE SOLUTIONS            ANTENNA INC
CHAUNCEY BUSACKER                         404 QUAIL HILL DR                       219 N 2ND ST
3033 E 1ST AVE                            DEBARY FL 32713                         STE 300
DENVER CO 80206                                                                   MINNEAPOLIS MN 55401




ANTHONY MANNINO                           ANTHONY OSTLUND BAER AND LOUWAGIE PA    ANY LAB TEST NOW
RANDALL SD JACOBS                         90 SOUTH SEVENTH ST                     4345 NATHAN LN N
30 WALL ST                                STE 3600                                STE G
8TH FLOOR                                 MINNEAPOLIS MN 55402                    PLYMOUTH MN 55442
NEW YORK NY 10005




AON INSURANCE MANAGERS (BERMUDA) LTD      APEX CLEARING CORP                      APEX CLEARING CORP
AON HOUSE                                 RETIREMENT PLAN SVC                     BILIANA STOIMENOVA
30 WOODBOURNE AVE                         AI REVIEW                               1700 PACIFIC AVE
PEMBROKE PARISH HM 08                     350 N ST PAUL ST STE 1300               STE 1400
BERMUDA                                   DALLAS TX 75201                         DALLAS TX 75201




APEX CLEARING CORP                        APEX CLEARING CORPORATION               APEX CLEARING, LLC
BRIAN DARBY                               APEX CLEARING STOCK LOAN                1700 PACIFIC AVE STE 1400
ONE DALLAS CTR                            1700 PACIFIC AVE                        DALLAS TX 75201-4617
350 M ST PAUL STE 1300                    STE 1400
DALLAS TX 75201                           DALLAS TX 75201




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APP GROUP INTERNATIONAL LLC           APPEXTREMES LLC DBA CONGA         APPLEBY BERMUDA LIMITED
333 7TH AVE                           PO BOX 7839                       22 VICTORIA ST
FL3                                   BROOMFIELD CO 80021               PO BOX HM 1179
NEW YORK NY 10001                                                       HAMILTON HM EX
                                                                        BERMUDA




APPLEBY GLOBAL SVC                    APS EXPRESS                       AR HOLDINGS LLC
CANONS CT                             COLUMBIA ST MARYS CLINICS         7661 EAST VIA DEL PLACITO
22 VICTORIA ST                        PO BOX 19051                      SCOTTSDALE AZ 85258
HAMILTON HM12                         DEPT #820
BERMUDA                               GREEN BAY WI 54307-0951




AR MAUL                               ARANOSIA OIL CO RETIREMENT        ARCHIPELAGO SECURITIES, LLC
87 EMPIRE DR                          PLAN AND TRUST DTD 1/1/2015       CORPORATE ACTIONS
ST. PAUL MN 55103                     FLOYD W HAYES III TTEE            100 SOUTH WACKER DR
                                      101 EAST HUNTINGTON DR            STE 1800
                                      MONROVIA CA 91016                 CHICAGO IL 60606




ARENT FOX LLP                         ARETE WEALTH MANAGEMENT           ARGONAUT INSURANCE CO
1717 K ST NW                          1115 W FULTON MARKET              10101 REUNION PL
WASHINGTON DC 20006-5344              3RD FLOOR                         STE 500
                                      CHICAGO IL 60607                  SAN ANTONIO TX 78216




ARGUS FINANCIAL GROUP INC             ARIVE CAPITAL                     ARIZONA ATTORNEY GENERAL
3508 FAR WEST BLVD                    8808 5TH AVE                      MARK BRNOVICH
STE 250                               BROOKLYN NY 11209                 1275 WEST WASHINGTON ST
AUSTIN TX 78731                                                         PHOENIX AZ 85007




ARIZONA CORP COMMISSION               ARIZONA CORPORATIONS COMMISSION   ARIZONA DEPT OF FINANCIAL INSTITUTIONS
CORPORATIONS DIVISION                 CORPORATE FILINGS SECTION         FINANCIAL ENTERPRISES DIVISION
1300 WEST WASHINGTON ST               1300 W WASHINGTON ST              2910 N 44TH ST
THIRD FLOOR                           PHOENIX AZ 85007                  STE 310
PHOENIX AZ 85007                                                        PHOENIX AZ 85018




ARIZONA DEPT OF INSURANCE             ARIZONA DEPT OF REVENUE           ARIZONA SECURITIES DIVISION
2910 NORTH 44TH ST                    1600 W MONROE ST                  1300 WEST WASHINGTON
STE 210                               PHOENIX AZ 85007                  3RD FLOOR
PHOENIX AZ 85018-7269                                                   PHOENIX AZ 85007




ARKANSAS ATTORNEY GENERAL             ARKANSAS ATTORNEY GENERAL         ARKANSAS DEPT OF FINANCE AND
LESLIE RUTLEDGE                       323 CENTER ST                     ADMINISTRATION
323 CENTER ST                         STE 200                           700 W CAPITOL
STE 200                               LITTLE ROCK AR 72201              LITTLE ROCK AR 72201
LITTLE ROCK AR 72201-2610




ARKANSAS INSURANCE DEPT               ARKANSAS SECURITIES DEPT          ARLINGTON FINANCIAL SVC
1200 WEST THIRD ST                    SECURITIES                        900 SKOKIE BLVD
LITTLE ROCK AR 72201-1904             1 COMMERCE WAY                    STE 106
                                      STE 402                           NORTHBROOK IL 60062
                                      LITTLE ROCK AR 72202




ARQUE CAPITAL LTD                     ASCENSUS TRUST CO                 ASCOT INSURANCE CO
7501 E MCCORMICK PKWY #111N           CORP ACTION                       55 W 46TH ST
SCOTTSDALE AZ 85258                   1126 WESTRAC DR SOUTH             26 FL
                                      FARGO ND 58103                    NEW YORK NY 10036




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ASHAR GROUP LLC                              ASHFORD FINANCIAL GROUP             ASSETMARK TRUST
1800 PEMBROOK DR                             2901 ROSS CT                        FBO MICHAEL STRIBLING
STE 240                                      MIDLAND MI 48640                    PO BOX 40018
ORLANDO FL 32810                                                                 LYNCHBURG VA 24506




ASSETMARK TRUST                              ASSOCIATED BANK                     ASSOCIATED BANK, NA
8670 NEW AVE                                 CARMEN PACKARD                      BETH CRAVILLION
GILROY CA 95020                              1270 YANKEE DOODLE RD               433 MAIN ST
                                             EAGAN MN 55121                      5TH FL
                                                                                 GREEN BAY WI 54301




ASSOCIATED FAMILY PHYSICIANS OF BOCA RATON   ASSOCIATED INDUSTRIES INS. CO INC   ASSOCIATED PENSION CONSULTANTS INC
DR DUSHYANT UTAMSINGH                        903 NORTHWEST 65TH ST               111 EXPRESS ST
9910 SANDALFOOT BLVD STE 1                   BOCA RATON FL 33487                 PLAINVIEW NY 11803
BOCA RATON FL 33428




ASSOCIATION OF NATIONAL ADVERTISERS          ASSURED DOCUMENT DESTRUCTION INC    ASSURITY LIFE
MS JOANNE FORBES                             8050 S ARVILLE ST                   PO BOX 82533
708 THIRD AVE                                STE 105                             LINCOLN NE 68501
NEW YORK NY 10017                            LAS VEGAS NV 89139




AT AND T                                     AT AND T MOBILITY                   ATHENE ANNUITY AND LIFE CO
PO BOX 105414                                PO BOX 6463                         100 CENTERVIEW DR
ATLANTA GA 30348-5414                        CAROL STREAM IL 60197-6463          STE 100
                                                                                 NASHVILLE TN 37214




ATLANTIC MEDICAL GROUP                       ATLANTIC SPECIALTY INSURANCE CO     ATOMIC DATA LLC
ENDOCRINE ASSOCIATES OF MORRISTOWN           605 HIGHWAY 169 NORTH               250 MARQUETTE AVE SOUTH
MEDICAL RECORDS DR CHON                      STE 800                             STE 225
435 SOUTH ST #230A                           PLYMOUTH MN 55441                   MINNEAPOLIS MN 55401
MORRISTOWN NJ 07960




AUSDAL FINANCIAL PARTNERS                    AUSTIN LEGAL GROUP APC              AVI SYSTEMS INC
5187 UTICA RIDGE RD                          3990 OLD TOWN AVE                   NW8393
DAVENPORT IA 52807                           STE A112                            PO BOX 1450
                                             SAN DIEGO CA 92110                  MINNEAPOLIS MN 55485-8393




AVIVA LIFE AND ANNUITY                       AVS UNDERWRITING LLC                AXA EQUITABLE LIFE INSURANCE CO
100 CENTERVIEW DR                            175 TOWNPARK DR                     NATIONAL OPERATIONS CENTER
STE 100                                      STE 400                             PO BOX 1047
NASHVILLE TN 37214                           KENNESAW GA 30144-5801              CHARLOTTE NC 28201-1047




AXCEPT MEDIA LLC                             AXIOM CAPITAL MANAGEMENT INC        AXOS CLEARING LLC
411 WASHINGTON AVE N                         780 THIRD AVE 43RD FLOOR            1299 FARNAM STE 800
STE 208                                      NEW YORK NY 10017-2024              OMAHA NE 68102
MINNEAPOLIS MN 55401




B AND G ENTERPRISES INC                      BACKUPIFY INC                       BADE BASKIN RICHARDS PLC
DBA THE FAMILY HAIR CENTER                   101 MERRITT 7 7TH FL                80 EAST RIO SALADO PKWY
PO BOX 1316                                  NORWALK CT 06851                    STE 511
WOODRUFF WI 54568-1316                                                           TEMPE AZ 85281




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BAKER TILLY VIRCHOW KRAUSE LLP             BANCA IMI SECURITIES CORP                 BANCO BILBAO VIZCAYA ARGENTARIA SA
PO BOX 78975                               CORPORATE ACTIONS                         NEW YORKBRANCH
MILWAUKEE WI 53278-8975                    1 WILLIAM ST                              NANCY CHENG, VICE PRESIDENT
                                           NEW YORK NY 10004                         1345 AVE OF THE AMERICAS
                                                                                     NEW YORK NY 10105




BANK FUND EQUITIES INC                     BANK NEW YORK MELLON                      BANK OF AMERICA NA/CLIENT ASSETS
955 WEST MAIN ST                           FIRM ITC-INVESTMENT DEALER                PHILLIP DUQUIN
ABINGDON VA 24210                          CORPORATE ACTIONS                         135 SOUTH LASALLE ST
                                           525 WILLIAM PENN PL                       STE 1860
                                           PITTSBURGH PA 15259                       CHICAGO IL 60603




BANK OF AMERICA, NAGWIM TRUST OPERATIONS   BANK OF AMERICA, NATIONAL ASSOCIATION     BANK OF AMERICALASALLE BANK NAIPA, DTC 1581
SHARON BROWN                               YOLANDA MARSH                             GEORGE EARL
1201 MAIN ST                               1401 ELM ST                               ASSISTANT VICE PRESIDENT
9TH FL                                     16TH FL                                   135 S LASALLE ST
DALLAS TX 75202                            DALLAS TX 75202                           STE 1860
                                                                                     CHICAGO IL 60603


BANK OF CHINA, NEW YORK BRANCH             BANK OF MONTREAL**                        BANK OF MONTREAL, CHICAGO BRANCH
SCOTT FIATA                                CORPORATE ACTIONS                         CORPORATE ACTIONS
ASSISTANT VICE PRESIDENT                   100 KING ST WEST                          111 W MONROE ST
410 MADISON AVE                            1 FIRST CANADIAN PL 10TH FL               CHICAGO IL 60603
NEW YORK NY 10017                          TORONTO ON M5X 1A1
                                           CANADA


BANK OF MONTREAL/ CHICAGO/CDS**            BANK OF MONTREAL/ IRELAND/CDS**           BANK OF MONTREAL/ LONDON/CDS**
CORPORATE ACTIONS                          CORPORATE ACTIONS                         CORPORATE ACTIONS
115 SOUTH LA SALLE ST                      2 HARBOURMASTER PL                        95 QUEEN VICTORIA ST
CHICAGO IL 60603-3800                      6TH FL                                    LONDON EC4V 4HG
                                           DUBLIN DUBLIN 1                           UNITED KINGDOM
                                           IRELAND


BANK OF NEW YORK MELLON                    BANK OF NOVA SCOTIA, NEW YORK AGENCYIPA   BANK OF NOVA SCOTIA/BNS LONDON/CDS**
240 GREENWICH ST                           THE                                       CORPORATE ACTIONS
NEW YORK NY 10286                          CORPORATE ACTIONS                         40 KING ST WEST
                                           250 VESEY ST                              SCOTIA PLZ
                                           NEW YORK NY 10281                         TORONTO ON M5H 1H1
                                                                                     CANADA


BANK OF UTAH                               BANK OF UTAH                              BANK OF UTAH
CORPORATE TRUST                            PEGGY HAWKINS                             CORPORATE TRUST
AS INDENTURE TRUSTEE AND COLLATERAL        50 S 200 E                                50 SOUTH 200 EAST STE 110
TRUSTEE                                    SALT LAKE CITY UT 84111                   SALT LAKE CITY UT 84111
50 SOUTH 200 EAST STE 110
SALT LAKE CITY UT 84111


BANKERS' BANK                              BANNER LIFE                               BARBARA CARRANE WRITING AND EDITING LLC
JENNIFER ROZINSKI                          PREMIUM CENTER                            BARBARA CARRANE
7700 MINERAL PT RD                         3275 BENNETT CREEK AVE                    9578 AMESBURY LN
MADISON WI 53717                           FREDERICK MD 21704                        EDEN PRAIRIE MN 55347-2821




BARCLAYS BANK PLC NEW YORK BRANCH          BARCLAYS BANK PLC NEW YORK BRANCH         BARCLAYS CAPITAL INC
CORPORATE ACTIONS                          BARCLAYSBANK PLC-LNBR                     JOHN CLIFFORD
DIRECTOR                                   ANTHONY SCIARAFFO                         222 BROADWAY
200 CEDAR KNOLLS RD                        1301 SIXTH AVE                            NEW YORK NY 10038
WHIPPANY NJ 07981                          NEW YORK NY 10019




BARCLAYS CAPITAL INC                       BARCLAYS CAPITAL INCBARCLAYS BANK         BARCLAYS CAPITAL INCBARCLAYS CAPIT
ANTHONY SCIARAFFO                          CORPORATE ACTIONS                         CORPORATE ACTIONS
400 JEFFERSON PK                           NELLIE FOO DIRECTOR                       200 CEDAR KNOLLS RD
WHIPPANY NJ 07981                          200 CEDAR KNOLLS RD                       CORPORATE ACTIONS
                                           CORPORATE ACTIONS                         WHIPPANY NJ 07981
                                           WHIPPANY NJ 07981




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BARCLAYS CAPITAL INCLE                 BARRICK ENTERPRISES INC               BARRY J FISHER INSURANCE MARKETING INC
GIOVANNA LAURELLA                      4307 DELEMERE CT                      179 NIBLICK RD PMB 347
VICE PRESIDENT                         ROYAL OAK MI 48073                    PASO ROBLES CA 93446
70 HUDSON ST
7TH FL
JERSEY CITY NJ 07302


BAYVIEW EVENT CENTER                   BB AND T SECURITIES, LLC              BB AND T SECURITIES, LLC
687 EXCELSIOR BLVD                     CORPORATE ACTIONS                     MARY GLASSCOCK
EXCELSIOR MN 55331                     200 S COLLEGE ST 8TH FL               8006 DISCOVERY DR
                                       CHARLOTTE NC 28202                    RICHMOND VA 23229-8600




BB AND T SECURITIES, LLC               BB GRAHAM AND CO                      BBS SECURITIES INCCDS**
JESSE W SPROUSE                        1700 WEST KATELLA AVE                 CORPORATE ACTIONS
8006 DISCOVERY DR                      ORANGE CA 92867                       4100 YONGE ST
STE 200                                                                      STE 415
RICHMOND VA 23229                                                            TORONTO ON M2P 2B5
                                                                             CANADA


BBS SECURITIES INCCDS**                BBVA SECURITIES INC                   BBVA SECURITIES INC
CORPORATE ACTIONS                      THOMAS REILLY                         AMBER HOLT CORPORATE ACTIONS
DEBORAH CARLYLE                        1345 AVE OF THE AMERICAS              15 SOUTH 20TH ST
4100 YONGE ST                          45TH FL                               STE 703
STE 504A                               NEW YORK NY 10105                     BIRMINGHAM AL 35233
TORONTO ON M2P 2G2
CANADA

BCI INTERACTIVE LLC                    BDO USA LLP                           BEAL BANK
4449 GLENEAGLES DR                     770 KENMOOR SE STE 300                6000 LEGACY DR
BOYNTON BEACH FL 33436                 GRAND RAPIDS MI 49546                 PLANO TX 75024




BEAZLEY INSURANCE CO INC               BELL BANK                             BELL BANK
30 BATTERSON PK RD                     JASON SCHULLER                        MELISSA DEIKE
FARMINGTON CT 06032                    5500 WAYZATA BLVD                     3100 13TH AVE S
                                       MINNEAPOLIS MN 55416                  FARGO ND 58103




BELL STATE BANK                        BEN MARKETS CORPORATE HOLDINGS LLC    BEN MARKETS HOLDINGS, LP
BELL BANK                              325 N SAINT PAUL ST                   325 N SAINT PAUL ST
3800 AMERICAN BLVD W                   STE 4850                              STE 4850
STE 1450                               DALLAS TX 75201                       DALLAS TX 75201
BLOOMINGTON MN 55431




BENCHMARK COMPANY LLC                  BENCHMARK TECHNOLOGY GROUP            BENEFICIAL LIFE INSURANCE CO
789 N WATER ST                         1665 BLUEGRASS LAKES PKWY             150 SOCIAL HALL AVE
STE 410                                ALPHARETTA GA 30004                   SALT LAKE CITY UT 84111
MILWAUKEE WI 53202




BENEFICIENT ADMINISTRATION AND         BENEFICIENT CAPITAL CO HOLDINGS, LP   BENEFICIENT CAPITAL CO II, LLC
CLEARING COMPANY, LLC                  325 N SAINT PAUL ST                   325 N SAINT PAUL ST
325 N SAINT PAUL ST                    STE 4850                              STE 4850
STE 4850                               DALLAS TX 75201                       DALLAS TX 75201
DALLAS TX 75201




BENEFICIENT CAPITAL CO LLC             BENEFICIENT CAPITAL HOLDINGS, LLC     BENEFICIENT CAPITAL MARKETS, LLC
325 N SAINT PAUL ST STE 4850           325 N SAINT PAUL ST                   325 N SAINT PAUL ST
DALLAS TX 75201-3888                   STE 4850                              STE 4850
                                       DALLAS TX 75201                       DALLAS TX 75201




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BENEFICIENT CO GROUP-CONTACT           BENEFICIENT CO HOLDINGS LLC           BENEFICIENT CO HOLDINGS, LP
325 N SAINT PAUL ST                    325 N SAINT PAUL ST                   325 N SAINT PAUL ST
DALLAS TX 75201                        STE 4850                              STE 4850
                                       DALLAS TX 75201                       DALLAS TX 75201




BENEFICIENT FIDUCIARY FINANCIAL, LLC   BENEFICIENT MANAGEMENT HOLDINGS LP    BENEFICIENT TRANSFER AND
325 N SAINT PAUL ST                    325 N SAINT PAUL ST                   CLEARING COMPANY, LLC
STE 4850                               STE 4850                              325 N SAINT PAUL ST
DALLAS TX 75201                        DALLAS TX 75201                       STE 4850
                                                                             DALLAS TX 75201




BENEFITS BROKERS EXCHANGE INC          BENEFITS DESIGN GROUP INC             BERKLEY INSURANCE CO
1800 SAINT JAMES PL                    PO BOX 370                            475 STEAMBOAT RD
STE 325                                ONALASKA WI 54650                     1ST FL
HOUSTON TX 77056                                                             GREENWICH CT 06830-7144




BERKSHIRE HATHAWAY SPECIALTY INS CO    BERNARD L MADOFF INVESTMENT SECURIT   BERRY COFFEE CO
1 LINCOLN ST                           VINCENT MARZELLA                      14825 MARTIN DR
23RD FL                                ONE METROTECH CTR NORTH               EDEN PRAIRIE MN 55344-2011
BOSTON MA 02111                        4TH FL
                                       BROOKLYN NY 11201-3862




BEST HIVE DIGITAL COLLECTIVE           BETHESDA SECURITIES, LLC              BEYTON POINTE FINANCIAL LLC
2751 HENNEPIN AVE S #414               CORPORATE ACTIONS                     4272 CREIGHTON RD
MINNEAPOLIS MN 55408                   2 BETHESDA METRO CTR                  RICHMOND VA 23223
                                       BETHESDA MD 20814




BFW CHARITIES                          BGC FINANCIAL LPBGC BROKERS LP        BGC FINANCIAL, LP
14001 RIDGEDALE DR STE 390             ALFREDO ARCHIBALD                     ALFREDO ARCHIBALD
MINNETONKA MN 55301                    ASSISTANT VICE PRESIDENT              VICE PRESIDENT
                                       110 EAST 59TH ST                      110 E 59TH ST
                                       7TH FL                                7TH FL
                                       NEW YORK NY 10022                     NEW YORK NY 10005


BKM TOTAL OFFICE OF TEXAS LP           BLACKHAWK NETWORK INC                 BLOOMBERG TRADEBOOK LLC
9755 CLIFFORD DR                       DBA OMNICARD LLC                      CORPORATE ACTIONS
STE 100                                6220 STONERIDGE MALL RD               731 LEXINGTON AVE
DALLAS TX 75220                        PLEASANTON CA 94588                   NEW YORK NY 10022




BLUECROSS BLUESHIELD OF MN             BMO CAPITAL MARKETS CORP              BMO CAPITAL MARKETS CORP
3535 BLUE CROSS RD                     RONALD FIGUERAS                       CORPORATE ACTIONS
PO BOX 64676                           3 SECOND ST 12TH FL                   250 YONGE ST 8TH FL
ST. PAUL MN 55164                      HARBORSIDE PLZ 10                     TORONTO ON M5B 2M8
                                       JERSEY CITY NJ 07302                  CANADA




BMO CAPITAL MARKETS CORPPALOMA         BMO HARRIS BANK NA                    BMO HARRIS BANK NA
JOHN FINERTY                           PHUTHORN PENIKETT                     NINA BENASZESKI-SPECHT
3 TIMES SQUARE                         250 YONGE ST                          111 E KILBOURN AVE STE 200
NEW YORK NY 10036                      8TH FL                                MIWAUKEE WI 53202
                                       TORONTO ON M5B 2M8
                                       CANADA


BMO HARRIS BANK NA                     BMO HARRIS BANK NA                    BMO HARRIS BANK NA/DEALER
CORPORATE ACTIONS                      CORPORATE ACTIONS                     LENORA NEWELL
IGOR LUKIC                             DESIREE ROBINSON                      111 WEST MONROE
111 E KILBOURN AVE                     111 E KILBOURN AVE                    CHICAGO IL 60690
STE 200                                STE 200
MILWAUKEE WI 53202                     MILWAUKEE WI 53202




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BMO HARRIS BANK NA/IPA                    BMO HARRIS BANK NA/M AND I BANK IPA     BMO HARRIS BANK NA/TRUST
ISSUER SVC                                CORPORATE ACTIONS                       ISSUER SVC
51 MERCEDES WAY                           111 E KILBOURN AVE                      51 MERCEDES WAY
EDGEWOOD NY 11717                         STE 200                                 EDGEWOOD NY 11717
                                          MILWAUKEE WI 53202




BMO NESBITT BURNS INC                     BMO NESBITT BURNS INC                   BMO NESBITT BURNS INCBMO TRUST
BMO NB EQUITY FINANCE CMLUK/CDS           BMO NB EQUITY FINANCE BMIRE/CDS         COMPANYCDS**
CORPORATE ACTIONS PHUTHORN PENIKETT       CORPORATE ACTIONS PHUTHORN PENIKETT     ANDREA CONSTAND
250 YONGE ST                              250 YONGE ST                            85 RICHMOND ST WEST
14TH FL                                   14TH FL                                 TORONTO ON M5H 2C9
TORONTO ON M5B 2M8                        TORONTO ON M5B 2M8                      CANADA
CANADA                                    CANADA

BMO NESBITT BURNS INCCDS**                BMO NESBITT BURNS INCCDS**              BMO NESBITT BURNS/INSTITUTIONAL/CDS**
CORPORATE ACTIONS                         CORPORATE ACTIONS                       CORPORATE ACTION
PHUTHORN PENIKETT                         LOUISE TORANGEAU PHUTHORN PENIKETT      PHUTHORN PENIKETT
250 YONGE ST                              1 FIRST CANADIAN PL 13TH FL             250 YONGE ST
14TH FL                                   PO BOX 150                              14TH FL
TORONTO ON M5B 2M8                        TORONTO ON M5X 1H3                      TORONTO ON M5B 2M8
CANADA                                    CANADA                                  CANADA

BMOCM/BONDS                               BNP PARIBAS PRIME BROKERAGE             BNP PARIBAS PRIME BROKERAGE, INC
EDWARD COLLETON                           INCARBITRAGESLAB                        RONALD PERSAUD
3 TIMES SQUARE                            RONALD PERSAUD                          525 WASHINGTON BLVD
NEW YORK NY 10036                         525 WASHINGTON BLVD                     9TH FL
                                          9TH FL                                  JERSEY CITY NJ 07310
                                          JERSEY CITY NJ 07310


BNP PARIBAS PRIME BROKERAGE, INCSTOCK     BNP PARIBAS SECURITIES CORP             BNP PARIBAS, NEW YORK BRANCH
LENDING                                   MATTHEW ROMANO                          MERLION/CLIENT ASSETS
RONALD PERSAUD                            787 7TH AVE                             CORPORATE ACTIONS
525 WASHINGTON BLVD                       29TH FL                                 787 7TH AVE
9TH FL                                    NEW YORK NY 10019                       NEW YORK NY 10019
JERSEY CITY NJ 07310


BNP PARIBAS, NEW YORK BRANCH              BNP PARIBAS, NEW YORK BRANCH            BNP PARIBAS, NEW YORK BRANCHBNP PARIBAS
CORPORATE ACTIONS                         CUSTODYCLIENTASSETS                     PRIME
787 7TH AVE                               DEAN GALLI, CORPORATE ACTIONS           BROKERAGE INTERNATIONAL
NEW YORK NY 10019                         AD D JOAO II                            RONALD PERSAUD
                                          N 49                                    525 WASHINGTON BLVD
                                          LISBON 1988-028                         9TH FL
                                          PORTUGAL                                JERSEY CITY NJ 07310

BNP PARIBAS, NEW YORK BRANCHBNP PARIBAS   BNP PARIBAS, NEW YORK BRANCHIPA         BNP PARIBAS, NY BRANCH BNPP SA
PRIME                                     TINA HITCHINS                           RUPERT KENNEDY
BROKERAGE CUSTODIAN                       ONE MELLON BANK CTR                     ANALYST
RONALD PERSAUD                            4TH FLOOR- 151-0440                     787 7TH AVE
525 WASHINGTON BLVD                       PITTSBURGH PA 15258                     8TH FL
9TH FL                                                                            NEW YORK NY 10019
JERSEY CITY NJ 07310

BNY MELLON CAPITAL MARKETS, LLC           BNY MELLON WEALTH MANAGEMENT            BNY MELLON WEALTH MANAGEMENT
TINA HITCHINS                             OPERATIONS DEPT                         OPERATIONS DEPT
ONE MELLON BANK CTR                       BETH COYLE                              TWO BNY MELLON CTR
4TH FLOOR- 151-0440                       TWO BNY MELLON CTR                      STE 1215
PITTSBURGH PA 15258                       STE 1215                                PITTSBURGH PA 15222
                                          PITTSBURGH PA 15222


BNY MELLON WEALTH MANAGEMENT              BNY MELLON/HSBC BANK PLC                BNY MELLON/NGFP COLLATERAL
CORPORATE ACTIONS                         MICHAEL KANIA                           DONNA STEINMAN
KEVIN KELLY                               VICE PRESIDENT                          ASSISTANT TREASURER
ONE WALL ST                               525 WILLIAM PENN PL                     11486 CORPORATE BLVD
NEW YORK NY 10005                         PITTSBURGH PA 15259                     STE 300
                                                                                  ORLANDO FL 32817


BNY MELLON/NGFP MAIN                      BNY MELLON/NOMURA CAPITAL MARKETS PLC   BNY MELLON/NOMURA INT'L PLC REPO
DONNA STEINMAN                            REPO                                    CORP ACTION
ASSISTANT TREASURER                       DONNA STEINMAN                          ASSISTANT TREASURER
11486 CORPORATE BLVD                      ASSISTANT TREASURER                     11486 CORPORATE BLVD
STE 300                                   11486 CORPORATE BLVD                    STE 300
ORLANDO FL 32817                          STE 300                                 ORLANDO FL 32817
                                          ORLANDO FL 32817




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BNY MELLON/RABOBANK INTERNATIONAL         BNY MELLON/RABOBANK INTERNATIONAL           BNY MELLON/RABOBANK INTERNATIONAL
CASH EQUITY AMSTERDAM                     CASH EQUITY UTRECHT                         EQUITY DERIVATIVES HONG KONG
MICHAEL KANIA, ASSISTANT TREASURER        MICHAEL KANIA, ASSISTANT TREASURER          MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                       525 WILLIAM PENN PL                         525 WILLIAM PENN PL
PITTSBURGH PA 15259                       PITTSBURGH PA 15259                         PITTSBURGH PA 15259




BNY MELLON/RABOBANK INTERNATIONAL         BNY MELLONANWORTH MORTGAGE ASSET CORP       BNY MELLONCAPSTEAD MORTGAGE CORP
EQUITY DERIVATIVES LONDON                 DONNA STEINMAN                              DONNA STEINMAN
MICHAEL KANIA, ASSISTANT TREASURER        VICE PRESIDENT                              VICE PRESIDENT
525 WILLIAM PENN PL                       11486 CORPORATE BLVD                        11486 CORPORATE BLVD
PITTSBURGH PA 15259                       STE 300                                     STE 300
                                          ORLANDO FL 32817                            ORLANDO FL 32817


BNY MELLONDE SHAW HELIANT CAPITAL LLC     BNY MELLONJEFFERIES AND CO                  BNYM/HSBC US
MICHAEL KANIA                             DONNA STEINMAN                              MICHAEL KANIA
525 WILLIAM PENN PL                       11486 CORPORATE BLVD                        VICE PRESIDENT
PITTSBURGH PA 15259                       ORLANDO FL 32817                            525 WILLIAM PENN PL
                                                                                      PITTSBURGH PA 15259




BNYM/UIT NSCC CNS CLEARANCE               BNYMELLON/                                  BNYMELLON/AC NOMURA PB NOM LTD
CORP ACTION                               RE BARCLAYS BANK IRELAND TREASURY ACCT      RE: GLG EMGMKTS
401 SOUTH SALINA ST                       CORPORATE ACTIONS                           CORP ACTION, ASSISTANT TREASURER
2ND FL                                    525 WILLIAM PENN PL                         401 SOUTH SALINA ST
SYRACUSE NY 13202                         PITTSBURGH PA 15259                         2ND FL
                                                                                      SYRACUSE NY 13202


BNYMELLON/AIG                             BNYMELLON/AL CONDUIT                        BNYMELLON/BARCLAYS BANK DELAWARE
CORP ACTION                               CORP ACTIONS                                CORP ACTIONS
401 SOUTH SALINA ST                       401 SOUTH SALINA ST                         ASSISTANT TREASURER
2ND FL                                    2ND FL                                      401 SOUTH SALINA ST
SYRACUSE NY 13202                         SYRACUSE NY 13202                           2ND FL
                                                                                      SYRACUSE NY 13202


BNYMELLON/BARCLAYS BANK PLC               BNYMELLON/BARCLAYS BANK PLC RE US SHARES    BNYMELLON/BARCLAYS BANK PLC RE: BCTL SARL
MICHAEL KANIA                             MICHAEL KANIA                               MICHAEL KANIA
525 WILLIAM PENN PL                       VICE PRESIDENT                              VICE PRESIDENT
RM 0400                                   525 WILLIAM PENN PL                         525 WILLIAM PENN PL
PITTSBURGH PA 15259                       RM 0400                                     RM 0400
                                          PITTSBURGH PA 15259                         PITTSBURGH PA 15259


BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 1   BNYMELLON/BARCLAYS CAP SEC LTD PB SEG 2     BNYMELLON/BARCLAYS GROUP US
MICHAEL KANIA                             MICHAEL KANIA                               CORP ACTIONS
VICE PRESIDENT                            VICE PRESIDENT                              ASSISTANT TREASURER
525 WILLIAM PENN PL                       525 WILLIAM PENN PL                         401 SOUTH SALINA ST
RM 0400                                   RM 0400                                     2ND FL
PITTSBURGH PA 15259                       PITTSBURGH PA 15259                         SYRACUSE NY 13202


BNYMELLON/BARCLAYS US LP                  BNYMELLON/BBPLC A/C PB CANADA PPIB CLIENT   BNYMELLON/BBPLC CLIENT SEG SG SCM EQ TLR
CORP ACTIONS                              CORP ACTIONS                                LTD
ASSISTANT TREASURER                       525 WILLIAM PENN PL                         CORP ACTIONS
401 SOUTH SALINA ST                       PITTSBURGH PA 15259                         525 WILLIAM PENN PL
2ND FL                                                                                PITTSBURGH PA 15259
SYRACUSE NY 13202


BNYMELLON/BBPLC FIRM LRCM REPO            BNYMELLON/BBPLC PB CANADIAN CLIENTS         BNYMELLON/BBPLC PB CANADIAN CLIENTS
MICHAEL KANIA                             CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                       525 WILLIAM PENN PL                         401 SOUTH SALINA ST
RM 0400                                   PITTSBURGH PA 15259                         2ND FL
PITTSBURGH PA 15259                                                                   SYRACUSE NY 13202




BNYMELLON/BBPLC PB CAYMEN CLIENTS         BNYMELLON/BBPLC PB UK CLIENTS               BNYMELLON/BGC BROKERS LP
CORP ACTIONS                              CORP ACTIONS                                CORP ACTIONS
525 WILLIAM PENN PL                       525 WILLIAM PENN PL                         VICE PRESIDENT
PITTSBURGH PA 15259                       PITTSBURGH PA 15259                         525 WILLIAM PENN PL
                                                                                      PITTSBURGH PA 15259




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BNYMELLON/BNP PARIBAS TRI-PARTY ACCOUNT   BNYMELLON/BNY MELLON DUBLIN SA/NV            BNYMELLON/BNYM FIRM SECURED FINANCE
CORP ACTIONS                              CORP ACTIONS                                 MICHAEL KANIA
525 WILLIAM PENN PLZ                      525 WILLIAM PENN PL                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                       PITTSBURGH PA 15259                          RM 0400
                                                                                       PITTSBURGH PA 15259




BNYMELLON/BNYMIB RE BNYMMIL RE FIRM       BNYMELLON/CACEIS BANK                        BNYMELLON/CACEIS BANK LUXEMBOURG
CORP ACTIONS                              CORP ACTIONS                                 CORP ACTIONS
ASSISTANT TREASURER                       525 WILLIAM PENN PL                          525 WILLIAM PENN PL
401 SOUTH SALINA ST                       PITTSBURGH PA 15259                          PITTSBURGH PA 15259
2ND FL
SYRACUSE NY 13202


BNYMELLON/CACEIS BANK LUXEMBOURG          BNYMELLON/CBD RE BEADER AG                   BNYMELLON/CBD RE STEUBING AG
MITCHEL SOBEL                             CORP ACTIONS                                 CORP ACTIONS
CORPORATE ACTIONS                         525 WILLIAM PENN PL                          525 WILLIAM PENN PL
401 SOUTH SALINA ST                       PITTSBURGH PA 15259                          PITTSBURGH PA 15259
2ND FL
SYRACUSE NY 13202


BNYMELLON/CFD RE EQUINET AG               BNYMELLON/CITIGROUP GLOBAL MARKETS LIMITED   BNYMELLON/DEDICATED PARTICIPANT #29
CORP ACTIONS                              CORP ACTIONS                                 MICHAEL KANIA
525 WILLIAM PENN PL                       ASSISTANT TREASURER                          VICE PRESIDENT
PITTSBURGH PA 15259                       401 SOUTH SALINA ST                          525 WILLIAM PENN PL
                                          2ND FL                                       PITTSBURGH PA 15259
                                          SYRACUSE NY 13202


BNYMELLON/DEDICATED PARTICIPANT #32       BNYMELLON/DEDICATED PARTICIPANT #33          BNYMELLON/DEDICATED PARTICIPANT #34
CORP ACTIONS                              CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                       401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                    2ND FL                                       2ND FL
SYRACUSE NY 13202                         SYRACUSE NY 13202                            SYRACUSE NY 13202




BNYMELLON/DEDICATED PARTICIPANT #35       BNYMELLON/DEDICATED PARTICIPANT #36          BNYMELLON/DEDICATED PARTICIPANT #37
CORP ACTIONS                              CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                       401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                    2ND FL                                       2ND FL
SYRACUSE NY 13202                         SYRACUSE NY 13202                            SYRACUSE NY 13202




BNYMELLON/DEDICATED PARTICIPANT #38       BNYMELLON/DEDICATED PARTICIPANT #39          BNYMELLON/DEDICATED PARTICIPANT #40
CORP ACTIONS                              CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                       401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                    2ND FL                                       2ND FL
SYRACUSE NY 13202                         SYRACUSE NY 13202                            SYRACUSE NY 13202




BNYMELLON/DEDICATED PARTICIPANT #41       BNYMELLON/DEDICATED PARTICIPANT #42          BNYMELLON/DEDICATED PARTICIPANT #43
CORP ACTIONS                              CORP ACTIONS                                 CORP ACTIONS
401 SOUTH SALINA ST                       401 SOUTH SALINA ST                          401 SOUTH SALINA ST
2ND FL                                    2ND FL                                       2ND FL
SYRACUSE NY 13202                         SYRACUSE NY 13202                            SYRACUSE NY 13202




BNYMELLON/DEDICATED PARTICIPANT #43       BNYMELLON/DEDICATED PARTICIPANT #44          BNYMELLON/DEDICATED PARTICIPANT #45
CORPORATE ACTIONS                         CORP ACTIONS                                 CORP ACTIONS
525 WILLIAM PENN PL                       401 SOUTH SALINA ST                          401 SOUTH SALINA ST
PITTSBURGH PA 15259                       2ND FL                                       2ND FL
                                          SYRACUSE NY 13202                            SYRACUSE NY 13202




BNYMELLON/DEDICATED PARTICIPANT #45       BNYMELLON/DEDICATED PARTICIPANT #46          BNYMELLON/DEDICATED PARTICIPANT #46
CORPORATE ACTIONS                         CORP ACTIONS                                 CORPORATE ACTIONS
525 WILLIAM PENN PL                       401 SOUTH SALINA ST                          525 WILLIAM PENN PL
PITTSBURGH PA 15259                       2ND FL                                       PITTSBURGH PA 15259
                                          SYRACUSE NY 13202




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BNYMELLON/DEDICATED PARTICIPANT #47       BNYMELLON/DEDICATED PARTICIPANT #48   BNYMELLON/DEDICATED PARTICIPANT #49
CORPORATE ACTIONS                         CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                       525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                       PITTSBURGH PA 15259                   PITTSBURGH PA 15259




BNYMELLON/DEDICATED PARTICIPANT #50       BNYMELLON/DEDICATED PARTICIPANT #51   BNYMELLON/DEDICATED PARTICIPANT #52
CORPORATE ACTIONS                         CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                       525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                       PITTSBURGH PA 15259                   PITTSBURGH PA 15259




BNYMELLON/DEDICATED PARTICIPANT #53       BNYMELLON/DEDICATED PARTICIPANT #59   BNYMELLON/DEDICATED PARTICIPANT #63
CORPORATE ACTIONS                         CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                       525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                       PITTSBURGH PA 15259                   PITTSBURGH PA 15259




BNYMELLON/DEDICATED PARTICIPANT #64       BNYMELLON/DEDICATED PARTICIPANT #65   BNYMELLON/DEDICATED PARTICIPANT #66
CORPORATE ACTIONS                         CORPORATE ACTIONS                     CORPORATE ACTIONS
525 WILLIAM PENN PL                       525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                       PITTSBURGH PA 15259                   PITTSBURGH PA 15259




BNYMELLON/DEDICATED PARTICIPANT #67       BNYMELLON/DEDICATED PARTICIPANT #68   BNYMELLON/DEUTSCHE BANK AG LDN RE
CORPORATE ACTIONS                         CORPORATE ACTIONS                     DBAUSTRALIA
525 WILLIAM PENN PL                       525 WILLIAM PENN PL                   MICHAEL KANIA
PITTSBURGH PA 15259                       PITTSBURGH PA 15259                   VICE PRESIDENT
                                                                                525 WILLIAM PENN PL
                                                                                PITTSBURGH PA 15259


BNYMELLON/DEXIA CREDIT LOCAL PARIS        BNYMELLON/DR CUSTODY ACCOUNT          BNYMELLON/EF CORPORATE HOLDINGS LLC
CORP ACTIONS                              CORP ACTIONS                          CORP ACTIONS
VICE PRESIDENT                            ASSISTANT TREASURER                   401 SOUTH SALINA ST
401 SOUTH SALINA ST                       401 SOUTH SALINA ST                   2ND FL
2ND FL                                    2ND FL                                SYRACUSE NY 13202
SYRACUSE NY 13202                         SYRACUSE NY 13202


BNYMELLON/FIRM SECURITIES FINANCE         BNYMELLON/GFI SECURITIES LTD          BNYMELLON/GLOBAL PRIME PARTNERS
MICHAEL KANIA                             MICHAEL KANIA                         CORP ACTIONS
VICE PRESIDENT                            525 WILLIAM PENN PL                   VICE PRESIDENT
525 WILLIAM PENN PL                       RM 0400                               401 SOUTH SALINA ST
RM 0400                                   PITTSBURGH PA 15259                   2ND FL
PITTSBURGH PA 15259                                                             SYRACUSE NY 13202


BNYMELLON/GOV AND CO BANK OF ENGLAND      BNYMELLON/HSBC BANK PLC A             BNYMELLON/HSBC BANK PLC EQD USBR
MICHAEL KANIA                             C IB EQUITY FINANCE NT                MICHAEL KANIA
525 WILLIAM PENN PL                       MICHAEL KANIA                         VICE PRESIDENT
RM 0400                                   525 WILLIAM PENN PL                   525 WILLIAM PENN PL
PITTSBURGH PA 15259                       RM 0400                               RM 0400
                                          PITTSBURGH PA 15259                   PITTSBURGH PA 15259


BNYMELLON/HSBC BANK PLC PARIS BRANCH      BNYMELLON/ICAP LONDON                 BNYMELLON/IRELAND
MICHAEL KANIA                             CORP ACTIONS                          CORP ACTIONS
VICE PRESIDENT                            VICE PRESIDENT                        VICE PRESIDENT
525 WILLIAM PENN PL                       401 SOUTH SALINA ST                   401 SOUTH SALINA ST
RM 0400                                   2ND FL                                2ND FL
PITTSBURGH PA 15259                       SYRACUSE NY 13202                     SYRACUSE NY 13202


BNYMELLON/JW GIDDENS TRUSTEE LIQ LEHMAN   BNYMELLON/LBBW NY CUSTODY             BNYMELLON/LBBW NY PRIMARY ACCOUNT
BROS                                      MICHAEL KANIA                         MICHAEL KANIA
CORP ACTIONS                              ASSISTANT TREASURER                   ASSISTANT TREASURER
VICE PRESIDENT                            525 WILLIAM PENN PL                   525 WILLIAM PENN PL
401 SOUTH SALINA ST                       PITTSBURGH PA 15259                   PITTSBURGH PA 15259
2ND FL
SYRACUSE NY 13202




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BNYMELLON/LLOYDS TSB BANK PLC CLR RE    BNYMELLON/MIZUHO INTERNATIONAL          BNYMELLON/MONTAGUE PLACE CUSTODY SVC
ARTEMIS                                 MICHAEL KANIA                           MICHAEL KANIA
CORP ACTIONS                            525 WILLIAM PENN PL                     VICE PRESIDENT
VICE PRESIDENT                          RM 0400                                 525 WILLIAM PENN PL
525 WILLIAM PENN PL                     PITTSBURGH PA 15259                     RM 0400
PITTSBURGH PA 15259                                                             PITTSBURGH PA 15259


BNYMELLON/MS INTERNATIONAL              BNYMELLON/NA-BANK CUSTODY               BNYMELLON/NATIONAL BANK OF AUSTRALIA
MICHAEL KANIA                           MICHAEL KANIA                           CORP ACTIONS
525 WILLIAM PENN PL                     525 WILLIAM PENN PL                     VICE PRESIDENT
PITTSBURGH PA 15259                     RM 0400                                 401 SOUTH SALINA ST
                                        PITTSBURGH PA 15259                     2ND FL
                                                                                SYRACUSE NY 13202


BNYMELLON/NATIXIS                       BNYMELLON/NATIXIS FIXED INCOME          BNYMELLON/NOMURA CL SETT NOM LTD
MICHAEL KANIA                           MICHAEL KANIA                           MICHAEL KANIA
VICE PRESIDENT                          VICE PRESIDENT                          VICE PRESIDENT
525 WILLIAM PENN PL                     525 WILLIAM PENN PL                     525 WILLIAM PENN PL
PITTSBURGH PA 15259                     PITTSBURGH PA 15259                     RM 0400
                                                                                PITTSBURGH PA 15259


BNYMELLON/NOMURA CNS NOM RE: TFS DER    BNYMELLON/NOMURA GLOBAL FINANCIAL       BNYMELLON/NOMURA GLOBAL FINANCIAL
MICHAEL KANIA                           PRODUCTSINC COLLATERAL ACCOUNT          PRODUCTSINC MAIN ACCOUNT
VICE PRESIDENT                          MICHAEL KANIA, VICE PRESIDENT           MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                     525 WILLAIM PENN PL                     525 WILLIAM PENN PL
PITTSBURGH PA 15259                     RM 0400                                 RM 0400
                                        PITTSBURGH PA 15259                     PITTSBURGH PA 15259


BNYMELLON/NOMURA NCSN RE AKJ            BNYMELLON/NOMURA PB NOMINEES LTD        BNYMELLON/RABOBANK INT'L UTRECHT EQUITY FIN
CORP ACTIONS                            MICHAEL KANIA                           MICHAEL KANIA
525 WILLIAM PENN PL                     525 WILLIAM PENN PL                     VICE PRESIDENT
PITTSBURGH PA 15259                     RM 0400                                 525 WILLIAM PENN PL
                                        PITTSBURGH PA 15259                     RM 0400
                                                                                PITTSBURGH PA 15259


BNYMELLON/RABOBANK INTERNATIONAL UNEF   BNYMELLON/RABOBANK LONDONBRANCH FIXED   BNYMELLON/RABOBANK UTRECHT FIXED INCOME
MICHAEL KANIA                           INCOME                                  MICHAEL KANIA
525 WILLIAM PENN PL                     CORP ACTIONS                            VICE PRESIDENT
PITTSBURGH PA 15259                     401 SOUTH SALINA ST                     525 WILLIAM PENN PL
                                        2ND FL                                  RM 0400
                                        SYRACUSE NY 13202                       PITTSBURGH PA 15259


BNYMELLON/RE ANZ MELBOURNE              BNYMELLON/RE BARCLAYS BANK IRELAND      BNYMELLON/RE BARCLAYS BANK IRELAND PLC F
CORPORATE ACTIONS                       CORPORATE ACTIONS                       CORPORATE ACTIONS
525 WILLIAM PENN PL                     525 WILLIAM PENN PL                     525 WILLIAM PENN PL
PITTSBURGH PA 15259                     PITTSBURGH PA 15259                     PITTSBURGH PA 15259




BNYMELLON/RE BB RE FIRM                 BNYMELLON/RE BNYMLB RE FIRM             BNYMELLON/RE BNYMLB RE FIRM SF
MICHAEL KANIA                           CORP ACTIONS                            CORP ACTIONS
525 WILLIAM PENN PL                     525 WILLIAM PENN PL                     525 WILLIAM PENN PL
RM 0400                                 PITTSBURGH PA 15259                     PITTSBURGH PA 15259
PITTSBURGH PA 15259




BNYMELLON/RE BNYMLUXSA RE FIRM          BNYMELLON/RE BNYMSANV RE FIRM           BNYMELLON/RE BNYMSANV RE FIRM EM
CORP ACTIONS                            CORP ACTIONS                            CORP ACTIONS
525 WILLIAM PENN PL                     VICE PRESIDENT                          VICE PRESIDENT
PITTSBURGH PA 15259                     525 WILLIAM PENN PL                     401 SOUTH SALINA ST
                                        PITTSBURGH PA 15259                     2ND FL
                                                                                SYRACUSE NY 13202


BNYMELLON/RE BNYMSANVAMS RE FIRM LAB    BNYMELLON/RE BNYMSANVFFT RE FIRM        BNYMELLON/RE BNYMSANVLB RE FIRM
MICHAEL KANIA                           CORP ACTIONS                            CORP ACTIONS
VICE PRESIDENT                          525 WILLIAM PENN PL                     525 WILLIAM PENN PL
525 WILLIAM PENN PL                     PITTSBURGH PA 15259                     PITTSBURGH PA 15259
PITTSBURGH PA 15259




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BNYMELLON/RE FFT RE FIRM                    BNYMELLON/RE FIRM BRPT ASSETS             BNYMELLON/RE FIRM INVESTMENT ACCOUNT
MICHAEL KANIA                               CORP ACTIONS                              CORP ACTIONS
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                       VICE PRESIDENT
RM 0400                                     PITTSBURGH PA 15259                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                                                                   PITTSBURGH PA 15259




BNYMELLON/RE FIRM INVESTMENT PORTFOLIO      BNYMELLON/RE FIRM NYIB SECURED FINANCE    BNYMELLON/RE FIRM SMPT ASSETS
MICHAEL KANIA                               CORP ACTIONS                              CORP ACTIONS
VICE PRESIDENT                              525 WILLIAM PENN PL                       525 WILLIAM PENN PL
525 WILLIAM PENN PL                         PITTSBURGH PA 15259                       PITTSBURGH PA 15259
PITTSBURGH PA 15259




BNYMELLON/RE FIRM TRADE INS                 BNYMELLON/RE HSBC BANK PLC                BNYMELLON/RE HSBC FRANCE
MICHAEL KANIA                               CORPORATE ACTIONS                         CORPORATE ACTIONS
VICE PRESIDENT                              525 WILLIAM PENN PL                       525 WILLIAM PENN PL
525 WILLIAM PENN PL                         PITTSBURGH PA 15259                       PITTSBURGH PA 15259
PITTSBURGH PA 15259




BNYMELLON/RE SMBC NIKKO                     BNYMELLON/RE SMBC NIKKO CAPITAL MARKETS   BNYMELLON/SPECIAL PROCESSING #99
SECURITIES AMERICA INC                      LTD                                       CORP ACTIONS
CORPORATE ACTIONS                           CORPORATE ACTIONS                         VICE PRESIDENT
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                       401 SOUTH SALINA ST
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                       2ND FL
                                                                                      SYRACUSE NY 13202


BNYMELLON/SUSQUEHANNA FINANCIAL             BNYMELLON/TRUST CO OF LA                  BNYMELLON/WEALTH MANAGEMENT
CORP ACTIONS                                MICHAEL KANIA                             KEVIN KELLY
401 SOUTH SALINA ST                         525 WILLIAM PENN PL                       CORPORATE ACTIONS
2ND FL                                      RM 0400                                   ONE MELLON BANK CTR
SYRACUSE NY 13202                           PITTSBURGH PA 15259                       4TH FLOOR- 151-0440
                                                                                      PITTSBURGH PA 15258


BNYMELLON/WEALTH MANAGEMENT                 BNYMELLON/WEALTH MANAGEMENT               BNYMELLON/WF AND CO WELLS FARGO AND CO
CORPORATE ACTIONS                           MICHAEL KANIA                             MICHAEL KANIA
525 WILLIAM PENN PL                         CORP ACTIONS                              525 WILLIAM PENN PL
STE 1215                                    525 WILLIAM PENN PL                       RM 0400
PITTSBURGH PA 15259                         STE 1215                                  PITTSBURGH PA 15259
                                            PITTSBURGH PA 15259


BNYMELLON/WF AND CO WELLS FARGO AND CO PI   BNYMELLON/WINTERFLOOD SECURITIES LTD      BNYMELLONAG DESHAW OCULUS PORT
MICHAEL KANIA                               MICHAEL KANIA                             LLCPLGCOLL AC
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                       CORP ACTION
RM 0400                                     RM 0400                                   401 SOUTH SALINA ST
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                       2ND FL
                                                                                      SYRACUSE NY 13202


BNYMELLONBARCLAYS CAPITAL INC               BNYMELLONCACEIS BANK DEUTSCHLAND          BNYMELLONCANTOR FITZGERALD, EUROPE
MICHAEL KANIA                               GMBH RECLIENT                             CORP ACTIONS
525 WILLIAM PENN PL                         CORP ACTIONS, VICE PRESIDENT              525 WILLIAM PENN PL
RM 0400                                     401 SOUTH SALINA ST                       PITTSBURGH PA 15259
PITTSBURGH PA 15259                         2ND FL
                                            SYRACUSE NY 13202


BNYMELLONDE SHAW AND CO                     BNYMELLONHYMF INC FIRM EQUITIES DTC BOX   BNYMELLONOZ DOMESTIC PARTNERS II, LP
CORP ACTIONS                                MICHAEL KANIA                             CORP ACTIONS
VICE PRESIDENT                              VICE PRESIDENT                            VICE PRESIDENT
401 SOUTH SALINA ST                         525 WILLIAM PENN PL                       401 SOUTH SALINA ST
2ND FL                                      RM 0400                                   2ND FL
SYRACUSE NY 13202                           PITTSBURGH PA 15259                       SYRACUSE NY 13202


BNYMELLONOZ DOMESTIC PARTNERS,LP            BNYMELLONRE FIRM HOLDING CO               BNYMELLONWFBNA WELLS FARGO BANK NA PI
CORP ACTIONS                                CORP ACTIONS                              MICHAEL KANIA
VICE PRESIDENT                              525 WILLIAM PENN PL                       525 WILLIAM PENN PL
401 SOUTH SALINA ST                         PITTSBURGH PA 15259                       RM 0400
2ND FL                                                                                PITTSBURGH PA 15259
SYRACUSE NY 13202




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BOCA DELRAY 171 F AND AM AND AVDA INC        BOFA SECURITIES, INC                     BOLGER LLC
PO BOX 811113                                1 BRYANT PK                              PO BOX 85098
BOCA RATON FL 33481-1113                     NEW YORK NY 10036                        CHICAGO IL 60680-0898




BORDEN HAMMAN INSURANCE MARKETING LLC        BOX INC                                  BOYER AND ASSOCIATES
9868 PLANO RD                                900 JEFFERSON AVE                        3525 PLYMOUTH BLVD
DALLAS TX 75238                              REDWOOD CA 94063                         STE 207
                                                                                      PLYMOUTH MN 55447




BOYS AND GIRLS CLUB OF THE MOUNTAIN EMPIRE   BOYUM AND BARENSCHEER                    BR EVENTS LLC
WADE LOPEZ                                   3050 METRO DR                            21860 BURBANK BLVD
955 WEST MAIN ST                             STE 200                                  STE 300 SOUTH
ABINGDON VA 24210-2427                       MINNEAPOLIS MN 55425-1547                WOODLAND HILLS CA 91367




BRANCH BANKING AND TRUST CO                  BRANCH BANKING AND TRUST CO              BRANCH BANKING AND TRUST CO/FM IP BBANDT
TANJI BASS                                   CORP ACTIONS                             DOROTHEE SINGLETARY
TEAM LEADER                                  200 S COLLEGE ST 8TH FL                  MANAGER
223 W NASH ST                                CHARLOTTE NC 28202                       4320 KAHN DR
3RD FL                                                                                BLDG 1
WILSON NC 27893                                                                       LUMBERTON NC 27893


BRANCH BANKING AND TRUST COMPANY/FM          BRANCH BANKING AND TRUST COMPAY/FM/IPA   BRAVEPORT INC
IP BB AND TCOMMUNITY HOLDINGS                CARRIE KINLAW                            22642 LAMBERT ST
DORATHEE SINGLETARY - INVESTMENT MANAGER     MANAGER                                  STE 402
4320 KAHN DR                                 4320 KAHN DR                             LAKE FOREST CA 92630
BLDG 1                                       BLDG 1
LUMBERTON NC 28358                           LUMBERTON NC 27893


BREWER AND ASSOCIATES CONSULTING LLC         BREWER CAPITAL MANAGEMENT LLC            BRIAN BAILEY
6200 EXCELSIOR BLVD                          80 SOUTH 8TH ST                          GWG HOLDINGS INC
STE 104                                      STE 900                                  CHIEF INVESTMENT OFFICER
SAINT LOUIS PARK MN 55416                    MINNEAPOLIS MN 55402                     325 NORTH ST PAUL ST
                                                                                      DALLAS TX 75201




BRIAR GREEN HOLDINGS INC                     BRIARWOOD CONSULTING SVC LLC             BRICKELL BANK
13537 BARRETT PKWY DR                        33 15TH AVE N                            CORPORATE ACTIONS
STE 300                                      HOPKINS MN 55343                         1395 BRICKELL AVE
MANCHESTER MO 63021                                                                   MIAMI FL 33131




BRIDGE VALLEY FINANCIAL SERVICES LLC         BRIDGES FINANCIAL ASSOCIATES INC         BRIGHTHOUSE FINANCIAL
171 S MAIN ST                                56 CT ST                                 PO BOX 336
LOWER LEVEL REAR                             WINTERSET IA 50273                       WARWICK RI 02887-0336
DOYLESTOWN PA 18901




BROADRIDGE INVESTOR COMMUNICATION            BROADTOWER INSURANCE SOLUTIONS INC       BROKERBANK SECURITIES INC
SOLUTIONS                                    4400 MACARTHUR BLVD                      7825 WASHINGTON AVE
PO BOX 416423                                8TH FL                                   STE 513
BOSTON MA 02241-6423                         NEWPORT BEACH CA 92660                   BLOOMINGTON MN 55439-2430




BROOKSTONE FINANCIAL                         BROTHERHOOD FOR THE FALLEN DALLAS INC    BROWN BROTHERS HARRIMAN AND CO
702 N SHORE DR                               9419 MERCER DR                           JERRY TRAVERS
#102                                         DALLAS TX 75228                          525 WASHINGTON BLVD
JEFFERSONVILLE IN 47130                                                               JERSEY CITY NJ 07310




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BROWN BROTHERS HARRIMAN AND COETF         BRUCE P CHAPNICK                   BRYCE'S CATERING
CORPORATE ACTIONS                         ADDRESS ON FILE                    1438 MANOA RD
525 WASHINGTON BLVD                                                          WYNNEWOOD PA 19096
JERSEY CITY NJ 07310




BURKE COSTANZA AND CARBERRY LLP           BURNS CHAREST LLP                  BURNS CHAREST LLP
9191 BROADWAY                             WARREN T. BURNS                    SPENCER COX
MERRILLVILLE IN 46410                     900 JACKSON STREET                 900 JACKSON STREET
                                          SUITE 500                          SUITE 500
                                          DALLAS TX 75202                    DALLAS TX 75202




BUSCH RUOTOLO AND SIMPSON LLP             BUSINESS AND SCIENCE WRITERS INC   BUSINESS WIRE INC
1700 PACIFIC AVE                          2311 IONE ST                       DEPT 34182
STE 2320                                  ST. PAUL MN 55113-5222             PO BOX 39000
DALLAS TX 75201                                                              SAN FRANCISCO CA 94139




BUSINESSWARE SOLUTIONS                    BUTTONWOOD INVESTMENT SVC LLC      BWC STATE INSURANCE FUND
555 3RD AVE NW                            10822 W TOLLER DR                  OHIO BUREAU OF WORKERS COMPENSATION
HUTCHINSON MN 55350                       STE 190                            PO BOX 89492
                                          LITTLETON CO 80127                 CLEVELAND OH 44101-6492




C3 MEDIA INC                              CABOT LODGE SECURITIES LLC         CADE MCCRANE LLC
6608 ADAMO DR                             200 VESEY ST                       521 SPEAR AVE
TAMPA FL 33619                            24TH FLOOR                         DULUTH MN 55803
                                          NEW YORK NY 10281




CAESARS ENTERTAINMENT                     CAJA DE VALORES SA                 CALDWELL SECURITIES LTDCDS**
3570 LAS VEGAS BLVD                       MELINA BOBBIO                      BRENDA HORSFORD
LAS VEGAS NV 89109                        AVE 25 DE MAYO 362                 150 KING ST WEST
                                          BUENOS AIRES C1002ABH              STE 1710
                                          ARGENTINA                          TORONTO ON M5H 1J9
                                                                             CANADA


CALDWELL TRUST CO                         CALIFORNIA ATTORNEY GENERAL        CALIFORNIA DEPT OF CORPORATIONS
ASHLEY R HARRISON                         ROB BONTA                          FINANCIAL SERVICES DIVISION
201 CTR RD                                1300 I ST                          1515 K ST
STE 2                                     STE 1740                           STE 200
VENICE FL 34285                           SACRAMENTO CA 95814                SACRAMENTO CA 95814




CALIFORNIA DEPT OF FINANCIAL PROTECTION   CALIFORNIA FRANCHISE TAX BOARD     CALIFORNIA FRANCHISE TAX BOARD
AND INNOVATION                            PO BOX 942857                      BANKRUPTCY BE MS A345
2101 ARENA BLVD                           SACRAMENTO CA 94257-0531           PO BOX 2952
STE 269                                                                      SACRAMENTO CA 95812-2952
SACRAMENTO CA 95834




CALIFORNIA FRANCHISE TAX BOARD            CALIFORNIA SECRETARY OF STATE      CALIFORNIA STATE BOARD OF EQUALIZATION SBOE
600 W SANTA ANA BLVD                      BUSINESS ENTITIES                  SPECIAL OPERATIONS BANKRUPTCY TEAM
STE 300                                   PO BOX 944228                      MIC 74 PO BOX 942879
SANTA ANA CA 92701                        SACRAMENTO CA 94244-2280           SACRAMENTO CA 94279-0074




CALTON AND ASSOCIATES                     CAMELOT PORTFOLIOS LLC             CANACCORD GENUITY CORPCDS**
2701 N ROCKY POINT DR STE 1000            1700 WOODLANDS DR                  BEN THIESSEN
TAMPA FL 33607                            STE 100                            2200-609 GRANVILLE ST
                                          MAUMEE OH 43537                    VANCOUVER BC V7Y 1H2
                                                                             CANADA




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CANARYS CORP                           CANON FINANCIAL SERVICES INC       CANTERBURY CONSULTING LLC
8970 HIGHLAND CIR                      14904 COLLECTIONS CTR DR           5719 OLD WELL HOUSE RD
ST. PAUL MN 55125                      CHICAGO IL 60693-0149              CHARLOTTE NC 28226




CANTOR FITZGERALD AND CO               CANTOR FITZGERALD AND CO           CANTOR FITZGERALD AND CO
CORPORATE ACTIONS                      ISSUER SVC                         CORPORATE ACTIONS DEPT
55 WATER ST                            51 MERCEDES WAY                    110 EAST 59TH ST
28TH FL                                EDGEWOOD NY 11717                  NEW YORK NY 10022
NEW YORK NY 10041




CAPE SECURITIES                        CAPITAL CITY SECURITIES LLC        CAPITAL FINANCIAL SVC INC
2005 PENNSYLVANIA AVE                  3789 ATTUCKS DR                    1 NORTH MAIN
MCDONOUGH GA 30253                     POWELL OH 43065                    MINOT ND 58703




CAPITAL INNOVATIONS SECURITIES LLC     CAPITAL INVESTMENT BROKERAGE INC   CAPITAL INVESTMENT GROUP INC
4533 BURKE ST                          100 E SIX FORKS RD                 100 E SIX FORKS RD
ORLANDO FL 32814                       STE 200                            STE 200
                                       RALEIGH NC 27609                   RALEIGH NC 27609




CAPITAL STRATEGIES GROUP LLC           CARCIONE TECHNOLOGIES CORP         CARNEGIE WEALTH MANAGEMENT LLC
1197 SHEFFIELD PL                      287 EAST RD                        920 CASSATT RD
LEXINGTON KY 40509                     BAYPORT NY 11705                   STE 202
                                                                          BERWYN PA 19312




CAROL BAVOUSETT MATTICK PC             CARTER LEDYARD AND MILBURN LLP     CAVALI ICLV SA
303 W SUNSET RD                        2 WALL ST                          FRANCIS STENNING
STE 103                                NEW YORK NY 10005                  PASAJE SANTIAGO ACUFIA N 106
SAN ANTONIO TX 78209                                                      LIMA 0-1
                                                                          PERU 000
                                                                          PERU


CBC SECURITIES INC                     CBIZ AND MAYER HOFFMAN MCCANN PC   CCRMCOM PTY LTD
20 CHESTNUT ST                         222 SOUTH 9TH ST STE 1000          68 - 72 YORK ST
STE 8                                  MINNEAPOLIS MN 55402               SOUTH MELBOURNE
NEEDHAM MA 02492                                                          VICTORIA 3205
                                                                          AUSTRALIA




CDPH VITAL RECORDS                     CDPH VITAL RECORDS                 CDS CLEARING AND DEPOSITORY SVC INC**
VITAL RECORDS MS 5103                  CALIFORNIA DEPT OF PUBLIC HEALTH   LORETTA VERELLI
PO BOX 997410                          VITAL RECORDS                      600 BOULDE MAISONNEUVE
SACRAMENTO CA 95899                    MS 5103                            OUEST BUREAU 210
                                       PO BOX 997410                      MONTREAL QC H3A 3J2
                                       SACRAMENTO CA 95899-7410           CANADA


CEDE AND CO M                          CENTAURUS FINANCIAL INC            CENTER STREET HOLDINGS
THE DEPOSITORY TRUST CO                2300 E KATELLA AVE STE 200         2 INTERNATIONAL PLZ
CENTRAL DELIVERY TRANSFER OPS          ANAHEIM CA 92806-6016              STE 301
570 WASHINGTON BLVD                                                       NASHVILLE TN 37217
JERSEY CITY NJ 07310-1617




CENTER STREET INSURANCE INC            CENTER STREET SECURITIES           CENTERPOINT ENERGY, INCDRS
2740 OLD ELM HILL PIKE                 2 INTERNATIONAL PLAZA              KATHLEEN A TULLIS
STE 201                                STE 301                            1111 LOUISIANA ST
NASHVILLE TN 37214                     NASHVILLE TN 37217                 STE 4468
                                                                          HOUSTON TX 77002




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CENTERSTATE BANK OF FLORIDA, NA              CENTRAL CALIFORNIA FACULTY MEDICAL GROUP   CENTRAL PACKAGE AND DISPLAY
CORPORATE ACTIONS                            INC                                        3901 85TH AVE NORTH
1101 FIRST ST SOUTH                          CORPORATE OFFICE                           MINNEAPOLIS MN 55443
WINTER HAVEN FL 33880-3908                   2625 E DIVISADERO ST
                                             FRESNO CA 93721-1431




CENTRAL TRUST BANK (THE)                     CERTAIN UNDERWRITERS AT LLOYDS             CERTAINCLEAN LLC
AMANDA BOLINGER                              181 W MADISON ST                           401 N 3RD ST
238 MADISON ST                               STE 3870                                   STE 662
JEFFERSON CITY MO 65101                      CHICAGO IL 60602                           MINNEAPOLIS MN 55401




CERTIFICATION MANAGEMENT GROUP               CETERA INVESTMENT SVC LLC                  CETERA INVESTMENT SVC LLC
301 E PINCE ST                               ASHLEY ROELIKE                             ANGELA HANDELAND
STE 505                                      CORPORATE ACTIONS                          SUPERVISOR
ORLANDO FL 32803                             400 1ST ST SOUTH                           400 1ST ST SOUTH
                                             STE 300                                    STE 300
                                             ST. CLOUD MN 56301                         ST. CLOUD MN 56301


CF SECURED, LLC                              CFPN                                       CHARLES CLAYTON INDIVIDUALLY
CORPORATE ACTIONS                            ACCOUNTING                                 SOMMERMAN MCCAFFITY QUESADA AND GEIS
110 EAST 59TH ST                             499 BROAD ST                               SEAN MCCAFFITY
NEW YORK NY 10022                            STE 120                                    3811 TURTLE CREEK BLVD STE 1400
                                             SHREWSBURY NJ 07702                        DALLAS TX 75219




CHARLES CLAYTON ON BEHALF OF ALL SIMILARLY   CHARLES SCHWAB AND CO, INC                 CHARLES SCHWAB BANK
SITUATED PURSUANT TO BANKRUPTCY RULE 7023    CORPORATE ACTIONS DEPT 011B572             CORPORATE ACTIONS DEPT 011B572
SOMMERMAN MCCAFFITY QUESADA AND GEISLER      CHRISTINA YOUNG                            2423 EAST LINCOLN DR
3811 TURTLE CREEK BLVD STE 1400              2423 E LINCOLN DR                          PHOENIX AZ 85016
DALLAS TX 75219                              PHOENIX AZ 85016-1215




CHASE BANK                                   CHASE CITY VOLUNTEER FIRE DEPT INC         CHECKERBOARD INTERNET SVC INC
270 PK AVE                                   PO BOX 595                                 350 W BURNSVILLE PKWY
NEW YORK NY 10015                            CHASE CITY VA 23924                        STE 350
                                                                                        BURNSVILLE MN 55337




CHERRY FINANCIAL PARTNERS                    CHRIS WINANS CONSULTING LLC                CHUBB
13455 NOEL RD                                1 LISA LN                                  PO BOX 382001
STE 310                                      HAMPTON PA 8827                            PITTSBURGH PA 15250-8001
DALLAS TX 75240




CIBC WORLD MARKETS CORP                      CIBC WORLD MARKETS CORP                    CIBC WORLD MARKETS CORP
BROADRIDGE                                   CIBC WORLD MARKETS CORP REPO               ROBERT J PUTNAM
51 MERCEDES WAY                              CORPORATE ACTIONS                          425 LEXINGTON AVE
EDGEWOOD NY 11717                            CANADIAN IMPERIAL BANK OF COMMERCE         5TH FL
                                             22 FRONT ST W 7TH FL ATTN CORP ACT         NEW YORK NY 10017
                                             TORONTO ON M5J 2W5
                                             CANADA

CIBC WORLD MARKETS INCCDS**                  CIOX HEALTH LLC                            CITADEL CLEARING LLC
CORPORATE ACTIONS                            PO BOX 409875                              KEVIN NEWSTEAD/RACHEL GALDONES
RODERICK ROOPSINGH                           ATLANTA GA 30384-9875                      131 SOUTH DEARBORN ST
CANADIAN IMPERIAL BANK OF COMMERCE                                                      35TH FL
22 FRONT ST W 7TH FL ATTN CORP ACT                                                      CHICAGO IL 60603
TORONTO ON M5J 2W5
CANADA

CITADEL SECURITIES LLC                       CITIBANK NA LONDONMTN                      CITIBANK NAPROPRIETARY ASSETS
KEVIN NEWSTEAD                               VANESSA PRICKETT                           SHERIDA SINANAN
CORPORATE ACTIONS                            5 CARMELITE ST                             3801 CITIBANK CTR
131 SOUTH DEARBORN ST                        LONDON EC4Y OPA                            B/3RD FLOOR/ZONE 12
35TH FL                                      UNITED KINGDOM                             TAMPA FL 33610
CHICAGO IL 60603




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CITIBANK, NA                             CITIBANK, NA                                CITIBANK, NA DEALER
SHERIDA SINANAN                          PAUL WATTERS                                JOHN DELLOLIO VP
3801 CITIBANK CTR                        3801 CITIBANK CTR                           45TH FL
B/3RD FLOOR/ZONE 12                      B/3RD FLOOR/ZONE 12                         L.I.C. NY 11120-0001
TAMPA FL 33610                           TAMPA FL 33610




CITIBANK, NA MUNICIPAL SAFEKEEPING       CITIBANK, NA BOOKENTRY                      CITIBANK, NA, CORPORATE TRUST WARR
PAT KIRBY                                ONLY MEDIUM TERMNOTE ACCOUNT                ALICE MASSINI
MANAGER                                  MIKE BURNS                                  111 WALL ST
333 WEST 34TH ST                         111 WALL ST                                 NEW YORK NY 10043
NEW YORK NY 10001                        15TH FL
                                         NEW YORK NY 10005


CITIBANK, NACORPORATE AGENCY AND TRUST   CITIBANK, NAETF                             CITIBANK, NASEGREGATED LENDING
SEBASTIAN ANDRIESZYN                     ELIZABETH GABB                              JOHN DELLOLIO VP
111 WALL ST 5TH FL                       DIRECTOR                                    45TH FL
NEW YORK NY 10043                        3800 CITIGROUP CTR B2/2                     L.I.C. NY 11120-0001
                                         TAMPA FL 33610




CITIBANK/CP/IPA                          CITIBANK/THE CITIGROUP PRIVATE BANK/TRUST   CITICORP SECURITIES SERVICES, INC
SEBASTIAN ANDRIESZYN                     STEPHANIE LUCKEY                            JOHN BYRNE
111 WALL ST 5TH FL                       111 WALL ST                                 111 WALL ST
NEW YORK NY 10043                        6TH FL                                      11TH FL
                                         NEW YORK NY 10005                           NEW YORK NY 10005




CITIGROUP GLOBAL MARKETS INC             CITIGROUP GLOBAL MARKETS INC                CITIGROUP GLOBAL MARKETS INCSALOMON
SALOMON BROTHERSAMM                      SHERRYL NASH-COOK                           BROTHERS
MARK LEVY                                388 GREENWICH ST                            CORPORATE ACTIONS
55 WATER ST                              11TH FL                                     111 WALL ST
NEW YORK NY 10041                        NEW YORK NY 10013                           6TH FL
                                                                                     NEW YORK NY 10005


CITIGROUP GLOBAL MARKETS INCSALOMON      CITIGROUP GLOBAL MARKETS, INC               CITY MOVING AND STORAGE LLC
BROTHERS                                 CORRESPONDENT CLEARING                      6230 MCKINLEY ST NW
CORPORATE ACTIONS DEPT                   ABIGAIL DAVIES                              STE C
388 GREENWICH ST                         388 GREENWICH ST                            RAMSEY MN 55303
11TH FL                                  11TH FL
NEW YORK NY 10013                        NEW YORK NY 10013


CITY NATIONAL BANK                       CITY OF HENDERSON                           CITY OF WOBURN
JOEL GALLANT                             240 WATER ST                                WILLIAM CAMPBELL
555 SOUTH FLOWER ST 10TH FL              HENDERSON NV 89015                          CITY HALL 10 COMMON ST
LOS ANGELES CA 90071                                                                 WOBURN MA 01801




CL KING AND ASSOCIATES, INC              CLARAPHI ADVISORY NETWORK LLC               CLAREMONT HUDSON LLC
CARRIE KANE                              120 VANTIS DR STE 585                       2605 W NORTH AVE
9 ELK ST                                 ALISO VIEJO CA 92656                        UNIT 3C
ALBANY NY 12207                                                                      CHICAGO IL 60647




CLARITY CAPITAL PARTNERS                 CLARK COUNTY ASSESSOR                       CLARK COUNTY LEGAL NEWS
5000 BIRCH ST                            500 S GRAND CENTRAL PKWY                    103 W VICTORY RD
STE 100                                  2ND FL PO BOX 551401                        HENDERSON NV 89015-7022
NEWPORT BEACH CA 92660                   LAS VEGAS NV 89155-1401




CLEARLIFE LIMITED                        CLEARSTREAM BANKING AG                      CLEARWATER SHUFFLEBOARD CLUB INC
MARK VENN                                NICO STAES                                  1020 CALUMET ST
TRISCOMBE HOUSE                          MERGENTHALLERALLEE 61                       CLEARWATER FL 33755
TRISCOMBE TAUNTON                        ESCBORN D-65760
SOMERSET TA4 3HG                         GERMANY, FEDERAL RE
UNITED KINGDOM




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CLERK OF CIRCUIT AND COUNTY COURT         CLIFTONLARSONALLEN LLP                  CLMG CORP
425 NORTH ORANGE AVE                      PO BOX 776376                           AS ADMINISTRATIVE AGENT
STE 150                                   CHICAGO IL 60677-6376                   7195 DALLAS PKWY
ORLANDO FL 32801                                                                  PLANO TX 75024




CLOUD ON TAP LLC                          CLOUDREACH INC                          COASTAL EQUITIES INC
PO BOX 2353                               3 BRYANT PK - 14TH FL                   DAVID MONAHAN
MOUNT PLEASANT SC 29464                   1095 AVE OF THE AMERICAS                1201 N ORANGE ST
                                          NEW YORK NY 10036-6797                  STE 729
                                                                                  WILMINGTON DE 19801




COASTAL ONE                               COATS FOR KIDS CLEVELAND                COBB EDDY MIJARES PLLC
1201 NORTH ORANGE ST                      6200 OAK TREE BLVD                      4449 GLENEAGLES DR
STE 729                                   STE 400                                 BOYNTON BEACH FL 33436
WILMINGTON DE 19801                       CLEVELAND OH 44131




COLORADO ATTORNEY GENERAL                 COLORADO DEPT OF LABOR AND EMPLOYMENT   COLORADO DEPT OF REVENUE
PHIL WEISER                               UNEMPLOYMENT INSURANCE EMPLOYER SVC     1375 SHERMAN ST
RALPH L. CARR COLORADO JUDICIAL CENTER    PO BOX 956                              DENVER CO 80261
1300 BROADWAY 10TH FLOOR                  DENVER CO 80201-0956
DENVER CO 80203




COLORADO DIVISION OF INSURANCE            COLORADO DIVISION OF SECURITIES         COLORADO FINANCIAL SVC CORP
1560 BROADWAY                             1560 BROADWAY                           304 INVERNESS WAY SOUTH
STE 850                                   STE 900                                 STE 355
DENVER CO 80202                           DENVER CO 80202                         CENTENNIAL CO 80112




COLORADO OFFICE OF THE ATTORNEY GENERAL   COLUMBUS LIFE INSURANCE CO              COMCAST
UNIFORM CONSUMER CREDIT CODE              5TH & MAIN ST                           PO BOX 60533
1525 SHERMAN ST                           CINCINNATI OH 45201                     CITY OF INDUSTRY CA 91716-0533
5TH FL
DENVER CO 80203




COMERICA BANK                             COMMERCE BANK                           COMMERCIAL FURNITURE SVC
GLORIA IMHOFF                             ANDY SORKIN                             4301 HIGHWAY 7
411 WEST LAFAYETTE                        922 WALNUT                              STE 200
DETROIT MI 48226                          KANSAS CITY MO 64106                    ST. LOUIS PARK MN 55416




COMMERZ MARKETS LLC                       COMMERZ MARKETS LLCFIXED INC            COMMISSIONER OF REVENUE SVC
HOWARD DASH                               REPO AND COMMPAPER                      STATE OF CONNECTICUT
1301 AVE OF THE AMERICAS                  HOWARD DASH, VICE PRESIDENT             PO BOX 5089
10TH FL                                   2 WORLD FINANCIAL CTR                   HARTFORD CT 06102-5089
NEW YORK NY 10019                         32ND FL
                                          NEW YORK NY 10281


COMMISSIONER OF TAXATION AND FINANCE      COMMONWEALTH OF MASSACHUSETTS           COMMONWEALTH OF MASSACHUSETTS
PO BOX 4127                               MASSACHUSETTS SECURITIES DIVISION       MASSACHUSETTS DIVISION OF INSURANCE
BINGHAMPTON NY 13902-4127                 ONE ASHBURTON PL 17TH FLOOR             COMPANY LICENSING SECTION
                                          BOSTON MA 02108                         1000 WASHINGTON ST STE 810
                                                                                  BOSTON MA 02118-6200




COMMONWEALTH OF MASSACHUSETTS DEPT OF     COMMONWEALTH OF PENNSYLVANIA            COMMONWEATH ANNUITY AND LIFE
REVENUE                                   INSURANCE DEPT                          2000 WADE HAMPTON BLVD BLDG A
PO BOX 7010                               COMPANY LICENSING DIVISION              GREENVILLE SC 29615
BOSTON MA 02204                           1345 STRAWBERRY SQUARE
                                          HARRISBURG PA 17120




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COMMUNITY NATIONAL BANK                COMO LAW FIRM PA                         COMPASS BANK
305 E MAIN ST                          PO BOX 130668                            LEE WEINMAN
SENECA KS 66538-1923                   ST. PAUL MN 55113                        15 SOUTH 20TH ST
                                                                                BIRMINGHAM AL 35233




COMPASS BANK/INVESTMENTS               COMPASS BANK/TRUST DIVISION              COMPLETE WEALTH MANAGEMENT
CORPORATE ACTIONS                      CRYSTAL LAMAR                            5131 W BRISTRO RD STE B
15 SOUTH 20TH ST                       15 SOUTH 20TH ST                         FLINT MI 48507
BIRMINGHAM AL 35233                    BIRMINGHAM AL 35233




COMPTROLLER OF MARYLAND REVENUE        COMPUTERSHARE GOVERNANCE SVC INC         COMPUTERSHARE INC
REVENUE ADMINISTRATION CENTER          DEPT CH 19228                            DEPT CH 19228
80 CALVERT ST                          PALATINE IL 60055-9228                   PALATINE IL 60055-9228
ANNAPOLIS MD 21404




COMPUTERSHARE TRUST COMPANY NA         COMPUTERSHARE TRUST COMPANY, NA          COMPUTERSHARE TRUST COMPANY, NADR
WF 8113                                LYNN HUGUET                              CLAIRE HERRING
PO BOX 1450                            MANAGER                                  2 N LASALLE
MINNEAPOLIS MN 55485-8113              250 ROYALL ST                            CHICAGO IL 60602
                                       CANTON MA 02021




COMPUTERSHARE TRUST COMPANY, NADRP     COMPUTERSHARE TRUST COMPANY, NAOPTIONS   CONCORDE INVESTMENT SVC
KEVIN FLEMING                          KEVIN FLEMING                            1120 E LONG LAKE RD STE 250
MANAGER                                MANAGER                                  TROY MI 48085-4965
250 ROYALL ST                          250 ROYALL ST
CANTON MA 02021                        CANTON MA 02021




CONCUR TECHNOLOGIES INC                CONDO CLEAN LLC                          CONNECTICUT ATTORNEY GENERAL
62157 COLLECTIONS CTR DR               401 N 2ND ST #417                        WILLIAM TONG
CHICAGO IL 60693                       MINNEAPOLIS MN 55401                     55 ELM ST
                                                                                HARTFORD CT 06141-0120




CONNECTICUT DEPT OF BANKING            CONNING INC                              CONSECO LIFE INSURANCE CO
260 CONSTITUTION PLAZA                 ONE FINANCIAL PLZ                        100 CENTERVIEW DR
HARTFORD CT 06103                      HARTFORD CT 06103                        STE 100
                                                                                NASHVILLE TN 37214




CONTINENTAL CASUALTY CO                CONTROL ACCOUNT FOR NSCC CROSS-ENDOR     CONVERGEX EXECUTION SOLUTIONS LLC
151 N FRANKLIN ST                      VIOLET SMITH                             HOWARD FLAXER
CHICAGO IL 60606                       14201 DALLAS PKWY                        VICE PRESIDENT
                                       DALLAS TX 75254                          3501 QUADRANGLE BLVD
                                                                                STE 200
                                                                                ORLANDO FL 32817


CONVERGEX EXECUTION SOLUTIONS LLC      COPADO INC                               COPY CAT CREATIVE INC
STOCK LOAN CONDUIT                     20 W KINZIE ST LEVEL 16                  LARA ANDERSON
HOWARD FLAXER                          CHICAGO IL 60654                         4645 CEDAR LAKE RD
3501 QUADRANGLE BLVD                                                            ST. LOUIS PARK MN 55416
STE 200
ORLANDO FL 32817


COR CLEARING LLC                       COR CLEARING LLC                         COR CLEARING LLC
ANH MECHALS                            ISSUER SVC                               LUKE HOLLAND
9300 UNDERWOOD AVE                     8000 REGENCY PKWY                        1200 LANDMARK CTR
STE 400                                CARY NC 27518                            STE 800
OMAHA NE 68114                                                                  OMAHA NE 68102




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COR CLEARING LLC/CORRESPONDENT FLIP      COR CLEARING LLC/STOCK LOAN            CORAL LAKES MEN'S CLUB
FACILITATION ACCOUNT                     SHAWN BROWN                            5506 ROYAL LAKE CIR
CORPORATE ACTIONS                        MANAGER                                BOYNTON BEACH FL 33437
1200 LANDMARK CTR                        9300 UNDERWOOD AVE
STE 800                                  OMAHA NE 68114
OMAHA NE 68102-1916


CORINTHIAN PARTNERS LLC                  CORMARK SECURITIES INCCDS**            CORP SVC CO
850 THIRD AVE                            LISE FRANK                             PO BOX 13397
STE 16C                                  STE 3450 ROYAL BANK PLZ                PHILADELPHIA PA 19101-3397
NEW YORK NY 10022                        SOUTH TOWER
                                         TORONTO ON M5J 2J0
                                         CANADA


CORPORATE STOCK TRANSFER                 CORPORATE STOCK TRANSFER, INCDRS       CORT BUSINESS SVC CORP
3200 CHERRY CREEK DR SOUTH               SHARI HUMPHERYS                        PO BOX 17401
STE 430                                  3200 CHERRY CREEK SOUTH DR             BALTIMORE MD 21297-1401
DENVER CO 80209                          STE 430
                                         DENVER CO 80209




COSSE INTERNATIONAL SECURITIES, INC      COUNTRY TRUST BANK                     COUNTRYSIDE PHOTOGRAPHY LLC
DENNIS A YOUNG                           AMY KIDWELL                            N4781 COUNTY RD E
1301 5TH AVE                             1705 N TONAWANDA AVE                   PRESCOTT WI 54021
STE 3024                                 BLOOMINGTON IL 61702
SEATTLE WA 98101




COUNTY OF LOS ANGELES                    COUNTY OF LOS ANGELES                  COURTLANDT SECURITIES CORP
DPH VITAL RECORDS OFFICE                 313 NORTH FIGUEROA ST                  PO BOX 11929
DEATH SECTION                            RM LOBBY - 1                           NEWPORT BEACH CA 92658
313 N FIGUEROA ST                        LOS ANGELES CA 90012
RM LOBBY-1
LOS ANGELES CA 90012


COVINGTON AND BURLING LLP                COWEN EXECUTION SVC LLC                COX COMMUNICATIONS
ONE CITYCENTER                           FULLY PAID FOR LENDING                 PO BOX 53262
850 TENTH ST NW                          CORPORATE ACTIONS                      PHOENIX AZ 85072-3262
WASHINGTON DC 20001-4956                 599 LEXINGTON AVE 20TH FL
                                         NEW YORK NY 10022




COZEN OCONNOR                            CPS ARIZONA BROKERAGE SVC INC          CPS INSURANCE SVC
33 S 6TH ST                              DBA LIFEBROKERS                        4400 MACARTHUR BLVD
STE 3800                                 2633 E INDIAN SCHOOL RD                8TH FL
MINNEAPOLIS MN 55402                     STE 410                                NEWPORT BEACH CA 92660
                                         PHOENIX AZ 85016




CPS RON VIOLA INSURANCE SVC INC          CRAMER AND RAUCHEGGER INC              CREDENTIAL SECURITIES INCCDS**
950 LOS OSOS VLY RD                      800 N MAITLAND AVE                     CORPORATE ACTIONS
STE C                                    STE 204                                700 - 1111 WEST GEORGIA ST
LOS OSOS CA 93402                        MAITLAND FL 32751                      VANCOUVER BC V6E 4T6
                                                                                CANADA




CREDIGY INVESMTENTS LLC                  CREDIGY SOLUTIONS INC.                 CREDIT AGRICOLE SECURITIES (USA) INC
3715 DAVINCI CT                          3715 DAVINCI CT                        DANIEL SALCIDO
STE 200                                  STE 200                                1301 AVE OF THE AMERICAS
NORCROSS GA 30092                        NORCROSS GA 30092                      NEW YORK NY 10019




CREDIT AGRICOLE SECURITIES (USA) INC     CREDIT AGRICOLE SECURITIES (USA) INC   CREDIT SUISSE AG - NEW YORK BRANCH
STOCKLOAN CONDUIT                        F/B/OCREDIT AGRICOLE NY BRANCH         CORPORATE ACTION
DANIEL SALCIDO MANAGER                   DANIEL SALCIDO                         ELEVEN MADISON AVE
1301 AVE OF THE AMERICAS                 194 WOOD AVE SOUTH                     NEW YORK NY 10010-3629
NEW YORK NY 10019                        7TH FL
                                         ISELIN NJ 08830




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CREDIT SUISSE AG NEW YORK BRANCH      CREDIT SUISSE AG NYB -                 CREDIT SUISSE SECURITIES (USA) LLC
DTC ID CONFIRMATION                   SECURITIES LENDING MGMT                BROADRIDGE
CORPORATE ACTIONS                     CORPORATE ACTIONS                      51 MERCEDES WAY
ELEVEN MADISON AVE                    ELEVEN MADISON AVE                     EDGEWOOD NY 11717
NEW YORK NY 10010-3629                NEW YORK NY 10010-3629




CREDIT SUISSE SECURITIES (USA) LLC    CREDIT SUISSE SECURITIES (USA) LLC/I   CREDIT SUISSE SECURITIES CANADA INCCDS**
ANTHONY MILO                          ISSUER SVC                             KAZI HAQ
VICE PRESIDENT                        51 MERCEDES WAY                        OPERATIONS MANAGER
7033 LOUIS STEVENS DR                 EDGEWOOD NY 11717                      1 FIRST CANADIAN PL STE 2900
GLOBAL PROXY SERVICES                                                        PO BOX 301
RESEARCH TRIANGLE PARK NC 27709                                              TORONTO ON M5X 1C9
                                                                             CANADA

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CREDITOR # 1001                       CREDITOR # 1002                        CREDITOR # 1003
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NAME AND ADDRESS ON FILE              NAME AND ADDRESS ON FILE               NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE              NAME AND ADDRESS ON FILE               NAME AND ADDRESS ON FILE




CREDITOR # 1010                       CREDITOR # 1011                        CREDITOR # 1012
NAME AND ADDRESS ON FILE              NAME AND ADDRESS ON FILE               NAME AND ADDRESS ON FILE




CREDITOR # 1013                       CREDITOR # 1014                        CREDITOR # 1015
NAME AND ADDRESS ON FILE              NAME AND ADDRESS ON FILE               NAME AND ADDRESS ON FILE




CREDITOR # 1016                       CREDITOR # 1017                        CREDITOR # 1018
NAME AND ADDRESS ON FILE              NAME AND ADDRESS ON FILE               NAME AND ADDRESS ON FILE




CREDITOR # 1019                       CREDITOR # 1020                        CREDITOR # 1021
NAME AND ADDRESS ON FILE              NAME AND ADDRESS ON FILE               NAME AND ADDRESS ON FILE




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CREDITOR # 1022                      CREDITOR # 10228               CREDITOR # 1023
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 10243                     CREDITOR # 1025                CREDITOR # 1027
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1028                      CREDITOR # 1029                CREDITOR # 1030
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1031                      CREDITOR # 1032                CREDITOR # 1033
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1034                      CREDITOR # 1035                CREDITOR # 1036
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1037                      CREDITOR # 1038                CREDITOR # 1039
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1040                      CREDITOR # 1041                CREDITOR # 1042
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1043                      CREDITOR # 10435               CREDITOR # 1044
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1045                      CREDITOR # 1046                CREDITOR # 1047
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1048                      CREDITOR # 1049                CREDITOR # 1050
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 1051                      CREDITOR # 1052                CREDITOR # 1054
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1055                      CREDITOR # 1056                CREDITOR # 1057
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1058                      CREDITOR # 1059                CREDITOR # 1060
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1062                      CREDITOR # 1063                CREDITOR # 1064
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1065                      CREDITOR # 1067                CREDITOR # 1068
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1069                      CREDITOR # 1070                CREDITOR # 1071
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1072                      CREDITOR # 1073                CREDITOR # 1074
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1075                      CREDITOR # 1076                CREDITOR # 1077
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1078                      CREDITOR # 1079                CREDITOR # 1080
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1081                      CREDITOR # 1082                CREDITOR # 1083
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 1084                      CREDITOR # 1085                CREDITOR # 1086
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1087                      CREDITOR # 1088                CREDITOR # 1089
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1090                      CREDITOR # 1091                CREDITOR # 1092
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1093                      CREDITOR # 1094                CREDITOR # 1095
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1096                      CREDITOR # 1097                CREDITOR # 1098
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1099                      CREDITOR # 11                  CREDITOR # 1100
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1101                      CREDITOR # 1102                CREDITOR # 1103
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1104                      CREDITOR # 1105                CREDITOR # 1106
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1107                      CREDITOR # 1108                CREDITOR # 1109
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1110                      CREDITOR # 1111                CREDITOR # 1112
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 1113                      CREDITOR # 1114                CREDITOR # 1115
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1116                      CREDITOR # 1117                CREDITOR # 1118
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1119                      CREDITOR # 1120                CREDITOR # 1121
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1122                      CREDITOR # 1123                CREDITOR # 1124
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1125                      CREDITOR # 1126                CREDITOR # 1127
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1128                      CREDITOR # 1129                CREDITOR # 1130
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1131                      CREDITOR # 1132                CREDITOR # 1133
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1134                      CREDITOR # 1135                CREDITOR # 1136
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1137                      CREDITOR # 1138                CREDITOR # 1139
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1140                      CREDITOR # 1141                CREDITOR # 1142
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 1143                      CREDITOR # 1144                CREDITOR # 1145
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1146                      CREDITOR # 1147                CREDITOR # 1148
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1149                      CREDITOR # 1150                CREDITOR # 1151
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1152                      CREDITOR # 1153                CREDITOR # 1154
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1155                      CREDITOR # 1156                CREDITOR # 1157
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1158                      CREDITOR # 1159                CREDITOR # 1160
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1161                      CREDITOR # 1162                CREDITOR # 1163
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1164                      CREDITOR # 1165                CREDITOR # 1166
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1167                      CREDITOR # 1168                CREDITOR # 1169
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1170                      CREDITOR # 1171                CREDITOR # 1172
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 1173                      CREDITOR # 1174                CREDITOR # 1175
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1176                      CREDITOR # 1177                CREDITOR # 1178
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1179                      CREDITOR # 1180                CREDITOR # 1181
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1182                      CREDITOR # 1183                CREDITOR # 1184
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1185                      CREDITOR # 1186                CREDITOR # 1187
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1188                      CREDITOR # 1189                CREDITOR # 1190
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1191                      CREDITOR # 1192                CREDITOR # 1193
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1194                      CREDITOR # 1195                CREDITOR # 1196
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1197                      CREDITOR # 1198                CREDITOR # 1199
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 12                        CREDITOR # 1200                CREDITOR # 1201
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 1202                      CREDITOR # 1203                CREDITOR # 1204
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1205                      CREDITOR # 1206                CREDITOR # 1207
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1208                      CREDITOR # 1209                CREDITOR # 1210
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1211                      CREDITOR # 1213                CREDITOR # 1214
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1215                      CREDITOR # 1216                CREDITOR # 1217
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1218                      CREDITOR # 1219                CREDITOR # 1220
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1221                      CREDITOR # 1224                CREDITOR # 1225
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1226                      CREDITOR # 1227                CREDITOR # 1228
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1229                      CREDITOR # 1230                CREDITOR # 1231
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1232                      CREDITOR # 1233                CREDITOR # 1234
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 1235                      CREDITOR # 1236                CREDITOR # 1237
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1238                      CREDITOR # 1239                CREDITOR # 1240
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1241                      CREDITOR # 1242                CREDITOR # 1245
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1246                      CREDITOR # 1247                CREDITOR # 1248
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1249                      CREDITOR # 1250                CREDITOR # 1251
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1252                      CREDITOR # 1253                CREDITOR # 1255
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1256                      CREDITOR # 1257                CREDITOR # 1258
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1259                      CREDITOR # 1260                CREDITOR # 1261
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1262                      CREDITOR # 1263                CREDITOR # 1264
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1265                      CREDITOR # 1266                CREDITOR # 1267
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 1269                      CREDITOR # 1270                CREDITOR # 1271
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1272                      CREDITOR # 1273                CREDITOR # 1274
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1275                      CREDITOR # 1276                CREDITOR # 1277
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CREDITOR # 1278                      CREDITOR # 1279                CREDITOR # 1280
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CREDITOR # 1281                      CREDITOR # 1283                CREDITOR # 1284
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1285                      CREDITOR # 1286                CREDITOR # 1287
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1288                      CREDITOR # 1289                CREDITOR # 1290
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1291                      CREDITOR # 1295                CREDITOR # 1299
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 13                        CREDITOR # 1300                CREDITOR # 1301
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1302                      CREDITOR # 1303                CREDITOR # 1304
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 1305                      CREDITOR # 1306                CREDITOR # 1307
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1308                      CREDITOR # 1309                CREDITOR # 1311
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1313                      CREDITOR # 1314                CREDITOR # 1315
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1316                      CREDITOR # 1317                CREDITOR # 1318
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1319                      CREDITOR # 1320                CREDITOR # 1321
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1322                      CREDITOR # 1324                CREDITOR # 1325
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1326                      CREDITOR # 13859               CREDITOR # 14
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 15                        CREDITOR # 16                  CREDITOR # 17
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1715                      CREDITOR # 1716                CREDITOR # 17198
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17263                     CREDITOR # 1742                CREDITOR # 17711
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 17712                     CREDITOR # 17713               CREDITOR # 17714
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17715                     CREDITOR # 17716               CREDITOR # 17717
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17718                     CREDITOR # 17719               CREDITOR # 17720
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CREDITOR # 17721                     CREDITOR # 17722               CREDITOR # 17723
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17724                     CREDITOR # 17725               CREDITOR # 17726
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17727                     CREDITOR # 17728               CREDITOR # 17729
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17730                     CREDITOR # 17731               CREDITOR # 17732
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17733                     CREDITOR # 17734               CREDITOR # 17735
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17736                     CREDITOR # 17737               CREDITOR # 17738
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17739                     CREDITOR # 17740               CREDITOR # 17741
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CREDITOR # 17742                     CREDITOR # 17743               CREDITOR # 17744
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17745                     CREDITOR # 17746               CREDITOR # 17747
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17748                     CREDITOR # 17749               CREDITOR # 17750
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17751                     CREDITOR # 17752               CREDITOR # 17753
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17754                     CREDITOR # 17755               CREDITOR # 17756
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17757                     CREDITOR # 17758               CREDITOR # 17759
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17760                     CREDITOR # 17761               CREDITOR # 17762
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17763                     CREDITOR # 17764               CREDITOR # 17765
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17766                     CREDITOR # 17767               CREDITOR # 17768
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17769                     CREDITOR # 17773               CREDITOR # 17774
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 17775                     CREDITOR # 17776               CREDITOR # 17778
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 17779                     CREDITOR # 1778                CREDITOR # 18
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1844                      CREDITOR # 1845                CREDITOR # 1846
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1847                      CREDITOR # 1848                CREDITOR # 1849
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1886                      CREDITOR # 19                  CREDITOR # 1975
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 1976                      CREDITOR # 1977                CREDITOR # 19913
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 2                         CREDITOR # 20                  CREDITOR # 2009
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21                        CREDITOR # 21303               CREDITOR # 21304
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21305                     CREDITOR # 21347               CREDITOR # 21348
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21366                     CREDITOR # 21367               CREDITOR # 21368
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21372                     CREDITOR # 21373               CREDITOR # 21374
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CREDITOR # 21375                     CREDITOR # 21376               CREDITOR # 21377
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21396                     CREDITOR # 21397               CREDITOR # 21398
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21402                     CREDITOR # 21403               CREDITOR # 21404
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CREDITOR # 21405                     CREDITOR # 21406               CREDITOR # 21407
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21426                     CREDITOR # 21427               CREDITOR # 21428
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21429                     CREDITOR # 21430               CREDITOR # 21431
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CREDITOR # 21432                     CREDITOR # 21433               CREDITOR # 21434
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21444                     CREDITOR # 21445               CREDITOR # 21446
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CREDITOR # 21450                     CREDITOR # 21451               CREDITOR # 21452
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21453                     CREDITOR # 21454               CREDITOR # 21455
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21456                     CREDITOR # 21457               CREDITOR # 21458
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21459                     CREDITOR # 21460               CREDITOR # 21461
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21462                     CREDITOR # 21463               CREDITOR # 21464
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21465                     CREDITOR # 21466               CREDITOR # 21467
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21468                     CREDITOR # 21469               CREDITOR # 21470
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21471                     CREDITOR # 21472               CREDITOR # 21473
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21474                     CREDITOR # 21475               CREDITOR # 21476
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21477                     CREDITOR # 21478               CREDITOR # 21479
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21480                     CREDITOR # 21481               CREDITOR # 21482
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21486                     CREDITOR # 21487               CREDITOR # 21488
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21489                     CREDITOR # 21490               CREDITOR # 21491
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21492                     CREDITOR # 21493               CREDITOR # 21494
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21495                     CREDITOR # 21496               CREDITOR # 21497
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21498                     CREDITOR # 21499               CREDITOR # 21500
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21501                     CREDITOR # 21502               CREDITOR # 21503
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21504                     CREDITOR # 21505               CREDITOR # 21506
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21507                     CREDITOR # 21508               CREDITOR # 21509
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21510                     CREDITOR # 21511               CREDITOR # 21512
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21516                     CREDITOR # 21517               CREDITOR # 21518
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21519                     CREDITOR # 21520               CREDITOR # 21521
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21522                     CREDITOR # 21523               CREDITOR # 21524
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21528                     CREDITOR # 21529               CREDITOR # 21530
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21531                     CREDITOR # 21532               CREDITOR # 21533
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21534                     CREDITOR # 21535               CREDITOR # 21536
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21537                     CREDITOR # 21538               CREDITOR # 21539
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21540                     CREDITOR # 21541               CREDITOR # 21542
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21546                     CREDITOR # 21547               CREDITOR # 21548
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21549                     CREDITOR # 21550               CREDITOR # 21551
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21552                     CREDITOR # 21553               CREDITOR # 21554
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CREDITOR # 21555                     CREDITOR # 21556               CREDITOR # 21557
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CREDITOR # 21558                     CREDITOR # 21559               CREDITOR # 21560
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21561                     CREDITOR # 21562               CREDITOR # 21563
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21564                     CREDITOR # 21565               CREDITOR # 21566
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21567                     CREDITOR # 21568               CREDITOR # 21569
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21570                     CREDITOR # 21571               CREDITOR # 21572
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21576                     CREDITOR # 21577               CREDITOR # 21578
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21579                     CREDITOR # 21580               CREDITOR # 21581
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21606                     CREDITOR # 21607               CREDITOR # 21608
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21609                     CREDITOR # 21610               CREDITOR # 21611
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CREDITOR # 21624                     CREDITOR # 21625               CREDITOR # 21626
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CREDITOR # 21627                     CREDITOR # 21628               CREDITOR # 21629
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CREDITOR # 21630                     CREDITOR # 21631               CREDITOR # 21632
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CREDITOR # 21636                     CREDITOR # 21637               CREDITOR # 21638
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21639                     CREDITOR # 21640               CREDITOR # 21641
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CREDITOR # 21642                     CREDITOR # 21643               CREDITOR # 21644
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CREDITOR # 21666                     CREDITOR # 21667               CREDITOR # 21668
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21696                     CREDITOR # 21697               CREDITOR # 21698
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CREDITOR # 21714                     CREDITOR # 21715               CREDITOR # 21716
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CREDITOR # 21717                     CREDITOR # 21718               CREDITOR # 21719
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CREDITOR # 21720                     CREDITOR # 21721               CREDITOR # 21722
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21723                     CREDITOR # 21724               CREDITOR # 21725
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CREDITOR # 21726                     CREDITOR # 21727               CREDITOR # 21728
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21729                     CREDITOR # 21730               CREDITOR # 21731
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CREDITOR # 21732                     CREDITOR # 21733               CREDITOR # 21734
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CREDITOR # 21735                     CREDITOR # 21736               CREDITOR # 21737
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21738                     CREDITOR # 21739               CREDITOR # 21740
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CREDITOR # 21741                     CREDITOR # 21742               CREDITOR # 21743
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CREDITOR # 21744                     CREDITOR # 21745               CREDITOR # 21746
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21750                     CREDITOR # 21751               CREDITOR # 21752
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21756                     CREDITOR # 21757               CREDITOR # 21758
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21760                     CREDITOR # 21761               CREDITOR # 21762
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21763                     CREDITOR # 21764               CREDITOR # 21765
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CREDITOR # 21766                     CREDITOR # 21767               CREDITOR # 21768
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21769                     CREDITOR # 21770               CREDITOR # 21771
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21772                     CREDITOR # 21773               CREDITOR # 21774
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21775                     CREDITOR # 21776               CREDITOR # 21777
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21778                     CREDITOR # 21779               CREDITOR # 21780
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21781                     CREDITOR # 21782               CREDITOR # 21783
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21787                     CREDITOR # 21788               CREDITOR # 21789
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21790                     CREDITOR # 21791               CREDITOR # 21792
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21799                     CREDITOR # 21800               CREDITOR # 21801
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21802                     CREDITOR # 21803               CREDITOR # 21804
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21805                     CREDITOR # 21806               CREDITOR # 21807
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21808                     CREDITOR # 21809               CREDITOR # 21810
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21811                     CREDITOR # 21812               CREDITOR # 21813
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21817                     CREDITOR # 21818               CREDITOR # 21819
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21820                     CREDITOR # 21821               CREDITOR # 21822
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CREDITOR # 21823                     CREDITOR # 21824               CREDITOR # 21825
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CREDITOR # 21826                     CREDITOR # 21827               CREDITOR # 21828
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21832                     CREDITOR # 21833               CREDITOR # 21834
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21835                     CREDITOR # 21836               CREDITOR # 21837
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CREDITOR # 21838                     CREDITOR # 21839               CREDITOR # 21840
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21841                     CREDITOR # 21842               CREDITOR # 21843
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21847                     CREDITOR # 21848               CREDITOR # 21849
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21850                     CREDITOR # 21851               CREDITOR # 21852
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21853                     CREDITOR # 21854               CREDITOR # 21855
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21856                     CREDITOR # 21857               CREDITOR # 21858
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21859                     CREDITOR # 21860               CREDITOR # 21861
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21862                     CREDITOR # 21863               CREDITOR # 21864
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21865                     CREDITOR # 21866               CREDITOR # 21867
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21868                     CREDITOR # 21869               CREDITOR # 21870
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21871                     CREDITOR # 21872               CREDITOR # 21873
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21874                     CREDITOR # 21875               CREDITOR # 21876
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CREDITOR # 21877                     CREDITOR # 21878               CREDITOR # 21879
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21880                     CREDITOR # 21881               CREDITOR # 21882
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21886                     CREDITOR # 21887               CREDITOR # 21888
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21892                     CREDITOR # 21893               CREDITOR # 21894
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21895                     CREDITOR # 21896               CREDITOR # 21897
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21901                     CREDITOR # 21902               CREDITOR # 21903
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21904                     CREDITOR # 21905               CREDITOR # 21906
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21907                     CREDITOR # 21908               CREDITOR # 21909
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21910                     CREDITOR # 21911               CREDITOR # 21912
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21913                     CREDITOR # 21914               CREDITOR # 21915
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21916                     CREDITOR # 21917               CREDITOR # 21918
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21919                     CREDITOR # 21920               CREDITOR # 21921
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21922                     CREDITOR # 21923               CREDITOR # 21924
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21925                     CREDITOR # 21926               CREDITOR # 21927
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21928                     CREDITOR # 21929               CREDITOR # 21930
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21931                     CREDITOR # 21932               CREDITOR # 21933
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21934                     CREDITOR # 21935               CREDITOR # 21936
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21937                     CREDITOR # 21938               CREDITOR # 21939
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21940                     CREDITOR # 21941               CREDITOR # 21942
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21943                     CREDITOR # 21944               CREDITOR # 21945
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21946                     CREDITOR # 21947               CREDITOR # 21948
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21949                     CREDITOR # 21950               CREDITOR # 21951
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21952                     CREDITOR # 21953               CREDITOR # 21954
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21955                     CREDITOR # 21956               CREDITOR # 21957
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21958                     CREDITOR # 21959               CREDITOR # 21960
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21961                     CREDITOR # 21962               CREDITOR # 21963
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21964                     CREDITOR # 21965               CREDITOR # 21966
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21967                     CREDITOR # 21969               CREDITOR # 21970
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21971                     CREDITOR # 21972               CREDITOR # 21973
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21974                     CREDITOR # 21975               CREDITOR # 21976
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21977                     CREDITOR # 21978               CREDITOR # 21979
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21980                     CREDITOR # 21981               CREDITOR # 21982
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21983                     CREDITOR # 21984               CREDITOR # 21985
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21986                     CREDITOR # 21987               CREDITOR # 21988
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21989                     CREDITOR # 21990               CREDITOR # 21991
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21992                     CREDITOR # 21993               CREDITOR # 21994
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 21995                     CREDITOR # 21996               CREDITOR # 21997
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 21998                     CREDITOR # 21999               CREDITOR # 22
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22000                     CREDITOR # 22001               CREDITOR # 22002
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22003                     CREDITOR # 22004               CREDITOR # 22005
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22006                     CREDITOR # 22007               CREDITOR # 22008
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22009                     CREDITOR # 22010               CREDITOR # 22011
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22012                     CREDITOR # 22013               CREDITOR # 22014
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22015                     CREDITOR # 22016               CREDITOR # 22017
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22018                     CREDITOR # 22019               CREDITOR # 22020
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22021                     CREDITOR # 22022               CREDITOR # 22023
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22024                     CREDITOR # 22025               CREDITOR # 22026
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CREDITOR # 22027                     CREDITOR # 22028               CREDITOR # 22029
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22030                     CREDITOR # 22031               CREDITOR # 22032
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CREDITOR # 22033                     CREDITOR # 22034               CREDITOR # 22035
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22039                     CREDITOR # 22040               CREDITOR # 22041
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CREDITOR # 22042                     CREDITOR # 22043               CREDITOR # 22044
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22045                     CREDITOR # 22046               CREDITOR # 22047
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CREDITOR # 22048                     CREDITOR # 22049               CREDITOR # 22050
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22051                     CREDITOR # 22052               CREDITOR # 22053
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22057                     CREDITOR # 22058               CREDITOR # 22059
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22060                     CREDITOR # 22061               CREDITOR # 22062
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22087                     CREDITOR # 22088               CREDITOR # 22089
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22090                     CREDITOR # 22091               CREDITOR # 22092
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CREDITOR # 22102                     CREDITOR # 22103               CREDITOR # 22104
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22105                     CREDITOR # 22106               CREDITOR # 22107
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22108                     CREDITOR # 22109               CREDITOR # 22110
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22111                     CREDITOR # 22112               CREDITOR # 22113
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22114                     CREDITOR # 22115               CREDITOR # 22116
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22117                     CREDITOR # 22118               CREDITOR # 22119
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22120                     CREDITOR # 22121               CREDITOR # 22122
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22123                     CREDITOR # 22124               CREDITOR # 22125
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22129                     CREDITOR # 22130               CREDITOR # 22131
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22132                     CREDITOR # 22133               CREDITOR # 22134
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22135                     CREDITOR # 22136               CREDITOR # 22137
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22138                     CREDITOR # 22139               CREDITOR # 22140
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22141                     CREDITOR # 22142               CREDITOR # 22143
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22147                     CREDITOR # 22148               CREDITOR # 22149
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22150                     CREDITOR # 22151               CREDITOR # 22152
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22153                     CREDITOR # 22154               CREDITOR # 22155
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22156                     CREDITOR # 22157               CREDITOR # 22158
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22159                     CREDITOR # 22160               CREDITOR # 22161
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CREDITOR # 22162                     CREDITOR # 22163               CREDITOR # 22164
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22165                     CREDITOR # 22166               CREDITOR # 22167
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22168                     CREDITOR # 22169               CREDITOR # 22170
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22171                     CREDITOR # 22172               CREDITOR # 22173
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22174                     CREDITOR # 22175               CREDITOR # 22176
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22177                     CREDITOR # 22178               CREDITOR # 22179
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22180                     CREDITOR # 22181               CREDITOR # 22182
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22183                     CREDITOR # 22184               CREDITOR # 22185
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22189                     CREDITOR # 22190               CREDITOR # 22191
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CREDITOR # 22192                     CREDITOR # 22193               CREDITOR # 22194
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CREDITOR # 22195                     CREDITOR # 22196               CREDITOR # 22197
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CREDITOR # 22198                     CREDITOR # 22199               CREDITOR # 22200
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CREDITOR # 22201                     CREDITOR # 22202               CREDITOR # 22203
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22204                     CREDITOR # 22205               CREDITOR # 22206
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CREDITOR # 22207                     CREDITOR # 22208               CREDITOR # 22209
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22210                     CREDITOR # 22211               CREDITOR # 22212
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CREDITOR # 22213                     CREDITOR # 22214               CREDITOR # 22215
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CREDITOR # 22216                     CREDITOR # 22217               CREDITOR # 22218
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22219                     CREDITOR # 22220               CREDITOR # 22221
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CREDITOR # 22222                     CREDITOR # 22223               CREDITOR # 22224
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CREDITOR # 22225                     CREDITOR # 22226               CREDITOR # 22227
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CREDITOR # 22228                     CREDITOR # 22229               CREDITOR # 22230
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CREDITOR # 22231                     CREDITOR # 22232               CREDITOR # 22233
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CREDITOR # 22237                     CREDITOR # 22238               CREDITOR # 22239
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22240                     CREDITOR # 22241               CREDITOR # 22242
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22243                     CREDITOR # 22244               CREDITOR # 22245
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CREDITOR # 22246                     CREDITOR # 22247               CREDITOR # 22248
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22249                     CREDITOR # 22250               CREDITOR # 22251
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22252                     CREDITOR # 22253               CREDITOR # 22254
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22255                     CREDITOR # 22256               CREDITOR # 22257
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22258                     CREDITOR # 22259               CREDITOR # 22260
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CREDITOR # 22261                     CREDITOR # 22262               CREDITOR # 22263
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22267                     CREDITOR # 22268               CREDITOR # 22269
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22297                     CREDITOR # 22298               CREDITOR # 22299
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22300                     CREDITOR # 22301               CREDITOR # 22302
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22303                     CREDITOR # 22304               CREDITOR # 22305
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22306                     CREDITOR # 22307               CREDITOR # 22308
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22309                     CREDITOR # 22310               CREDITOR # 22311
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22312                     CREDITOR # 22313               CREDITOR # 22314
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CREDITOR # 22318                     CREDITOR # 22319               CREDITOR # 22320
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22321                     CREDITOR # 22322               CREDITOR # 22323
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22327                     CREDITOR # 22328               CREDITOR # 22329
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22330                     CREDITOR # 22331               CREDITOR # 22332
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22333                     CREDITOR # 22334               CREDITOR # 22335
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CREDITOR # 22336                     CREDITOR # 22337               CREDITOR # 22338
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CREDITOR # 22339                     CREDITOR # 22340               CREDITOR # 22341
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CREDITOR # 22357                     CREDITOR # 22358               CREDITOR # 22359
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22360                     CREDITOR # 22361               CREDITOR # 22362
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22363                     CREDITOR # 22364               CREDITOR # 22365
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CREDITOR # 22366                     CREDITOR # 22367               CREDITOR # 22368
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CREDITOR # 22369                     CREDITOR # 22370               CREDITOR # 22371
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CREDITOR # 22372                     CREDITOR # 22373               CREDITOR # 22374
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22387                     CREDITOR # 22388               CREDITOR # 22389
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22393                     CREDITOR # 22394               CREDITOR # 22395
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CREDITOR # 22399                     CREDITOR # 22400               CREDITOR # 22401
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22405                     CREDITOR # 22406               CREDITOR # 22407
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22417                     CREDITOR # 22418               CREDITOR # 22419
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22420                     CREDITOR # 22421               CREDITOR # 22422
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22423                     CREDITOR # 22424               CREDITOR # 22425
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22426                     CREDITOR # 22427               CREDITOR # 22428
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22429                     CREDITOR # 22430               CREDITOR # 22431
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22432                     CREDITOR # 22433               CREDITOR # 22434
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22435                     CREDITOR # 22436               CREDITOR # 22437
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CREDITOR # 22438                     CREDITOR # 22439               CREDITOR # 22440
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22441                     CREDITOR # 22442               CREDITOR # 22443
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22447                     CREDITOR # 22448               CREDITOR # 22449
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22450                     CREDITOR # 22451               CREDITOR # 22452
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22453                     CREDITOR # 22454               CREDITOR # 22455
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22456                     CREDITOR # 22457               CREDITOR # 22458
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22459                     CREDITOR # 22460               CREDITOR # 22461
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22462                     CREDITOR # 22463               CREDITOR # 22464
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22465                     CREDITOR # 22466               CREDITOR # 22467
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22468                     CREDITOR # 22469               CREDITOR # 22470
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22471                     CREDITOR # 22472               CREDITOR # 22473
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22477                     CREDITOR # 22478               CREDITOR # 22479
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22480                     CREDITOR # 22481               CREDITOR # 22482
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CREDITOR # 22483                     CREDITOR # 22484               CREDITOR # 22485
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22489                     CREDITOR # 22490               CREDITOR # 22491
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22495                     CREDITOR # 22496               CREDITOR # 22497
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CREDITOR # 22501                     CREDITOR # 22502               CREDITOR # 22503
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CREDITOR # 22507                     CREDITOR # 22508               CREDITOR # 22509
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22510                     CREDITOR # 22511               CREDITOR # 22512
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22531                     CREDITOR # 22532               CREDITOR # 22533
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CREDITOR # 22537                     CREDITOR # 22538               CREDITOR # 22539
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22561                     CREDITOR # 22562               CREDITOR # 22563
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CREDITOR # 22567                     CREDITOR # 22568               CREDITOR # 22569
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22597                     CREDITOR # 22598               CREDITOR # 22599
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22600                     CREDITOR # 22601               CREDITOR # 22602
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22603                     CREDITOR # 22604               CREDITOR # 22605
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CREDITOR # 22609                     CREDITOR # 22610               CREDITOR # 22611
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22627                     CREDITOR # 22628               CREDITOR # 22629
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22630                     CREDITOR # 22631               CREDITOR # 22633
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CREDITOR # 22640                     CREDITOR # 22641               CREDITOR # 22642
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CREDITOR # 22643                     CREDITOR # 22644               CREDITOR # 22645
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22646                     CREDITOR # 22647               CREDITOR # 22648
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22652                     CREDITOR # 22653               CREDITOR # 22654
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22658                     CREDITOR # 22659               CREDITOR # 22660
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22670                     CREDITOR # 22671               CREDITOR # 22672
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CREDITOR # 22682                     CREDITOR # 22683               CREDITOR # 22684
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CREDITOR # 22688                     CREDITOR # 22689               CREDITOR # 22690
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22694                     CREDITOR # 22695               CREDITOR # 22696
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CREDITOR # 22697                     CREDITOR # 22698               CREDITOR # 22699
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CREDITOR # 22700                     CREDITOR # 22701               CREDITOR # 22702
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22703                     CREDITOR # 22704               CREDITOR # 22705
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22706                     CREDITOR # 22707               CREDITOR # 22708
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22709                     CREDITOR # 22710               CREDITOR # 22711
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CREDITOR # 22712                     CREDITOR # 22713               CREDITOR # 22714
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22715                     CREDITOR # 22716               CREDITOR # 22717
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CREDITOR # 22718                     CREDITOR # 22719               CREDITOR # 22720
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22721                     CREDITOR # 22722               CREDITOR # 22723
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CREDITOR # 22724                     CREDITOR # 22725               CREDITOR # 22726
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CREDITOR # 22727                     CREDITOR # 22728               CREDITOR # 22729
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CREDITOR # 22730                     CREDITOR # 22731               CREDITOR # 22732
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CREDITOR # 22733                     CREDITOR # 22734               CREDITOR # 22735
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22739                     CREDITOR # 22740               CREDITOR # 22741
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CREDITOR # 22742                     CREDITOR # 22743               CREDITOR # 22744
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22748                     CREDITOR # 22749               CREDITOR # 22750
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22751                     CREDITOR # 22752               CREDITOR # 22753
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CREDITOR # 22754                     CREDITOR # 22755               CREDITOR # 22756
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CREDITOR # 22757                     CREDITOR # 22758               CREDITOR # 22759
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22760                     CREDITOR # 22761               CREDITOR # 22762
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CREDITOR # 22763                     CREDITOR # 22764               CREDITOR # 22765
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CREDITOR # 22766                     CREDITOR # 22767               CREDITOR # 22768
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22769                     CREDITOR # 22770               CREDITOR # 22771
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22772                     CREDITOR # 22773               CREDITOR # 22774
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22775                     CREDITOR # 22776               CREDITOR # 22777
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CREDITOR # 22778                     CREDITOR # 22779               CREDITOR # 22780
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22781                     CREDITOR # 22782               CREDITOR # 22783
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CREDITOR # 22784                     CREDITOR # 22785               CREDITOR # 22786
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CREDITOR # 22799                     CREDITOR # 22800               CREDITOR # 22801
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22802                     CREDITOR # 22803               CREDITOR # 22804
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22808                     CREDITOR # 22809               CREDITOR # 22810
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22811                     CREDITOR # 22812               CREDITOR # 22813
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22814                     CREDITOR # 22815               CREDITOR # 22816
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22817                     CREDITOR # 22818               CREDITOR # 22819
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22820                     CREDITOR # 22821               CREDITOR # 22822
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CREDITOR # 22832                     CREDITOR # 22833               CREDITOR # 22834
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CREDITOR # 22838                     CREDITOR # 22839               CREDITOR # 22840
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22841                     CREDITOR # 22842               CREDITOR # 22843
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22844                     CREDITOR # 22845               CREDITOR # 22846
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22856                     CREDITOR # 22857               CREDITOR # 22858
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CREDITOR # 22859                     CREDITOR # 22860               CREDITOR # 22861
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22862                     CREDITOR # 22863               CREDITOR # 22864
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22868                     CREDITOR # 22869               CREDITOR # 22870
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22871                     CREDITOR # 22872               CREDITOR # 22873
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22874                     CREDITOR # 22875               CREDITOR # 22876
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22886                     CREDITOR # 22887               CREDITOR # 22888
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CREDITOR # 22898                     CREDITOR # 22899               CREDITOR # 22900
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22901                     CREDITOR # 22902               CREDITOR # 22903
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22904                     CREDITOR # 22905               CREDITOR # 22906
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CREDITOR # 22922                     CREDITOR # 22923               CREDITOR # 22924
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CREDITOR # 22928                     CREDITOR # 22929               CREDITOR # 22930
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22931                     CREDITOR # 22932               CREDITOR # 22933
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CREDITOR # 22934                     CREDITOR # 22935               CREDITOR # 22936
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22940                     CREDITOR # 22941               CREDITOR # 22942
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CREDITOR # 22943                     CREDITOR # 22944               CREDITOR # 22945
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22946                     CREDITOR # 22947               CREDITOR # 22948
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CREDITOR # 22949                     CREDITOR # 22950               CREDITOR # 22951
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22952                     CREDITOR # 22953               CREDITOR # 22954
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CREDITOR # 22958                     CREDITOR # 22959               CREDITOR # 22960
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22961                     CREDITOR # 22962               CREDITOR # 22963
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22964                     CREDITOR # 22965               CREDITOR # 22966
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 22970                     CREDITOR # 22971               CREDITOR # 22972
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CREDITOR # 22973                     CREDITOR # 22974               CREDITOR # 22975
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22976                     CREDITOR # 22977               CREDITOR # 22978
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CREDITOR # 22982                     CREDITOR # 22983               CREDITOR # 22984
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CREDITOR # 22988                     CREDITOR # 22989               CREDITOR # 22990
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22991                     CREDITOR # 22992               CREDITOR # 22993
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 22994                     CREDITOR # 22995               CREDITOR # 22996
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23                        CREDITOR # 23000               CREDITOR # 23001
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23002                     CREDITOR # 23003               CREDITOR # 23004
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23005                     CREDITOR # 23006               CREDITOR # 23007
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23008                     CREDITOR # 23009               CREDITOR # 23010
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CREDITOR # 23011                     CREDITOR # 23012               CREDITOR # 23013
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CREDITOR # 23017                     CREDITOR # 23018               CREDITOR # 23019
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23020                     CREDITOR # 23021               CREDITOR # 23022
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CREDITOR # 23038                     CREDITOR # 23039               CREDITOR # 23040
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23041                     CREDITOR # 23042               CREDITOR # 23043
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CREDITOR # 23047                     CREDITOR # 23048               CREDITOR # 23049
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23050                     CREDITOR # 23051               CREDITOR # 23052
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CREDITOR # 23059                     CREDITOR # 23060               CREDITOR # 23061
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23071                     CREDITOR # 23072               CREDITOR # 23073
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CREDITOR # 23077                     CREDITOR # 23078               CREDITOR # 23079
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23080                     CREDITOR # 23081               CREDITOR # 23082
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 23089                     CREDITOR # 23090               CREDITOR # 23091
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NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23101                     CREDITOR # 23102               CREDITOR # 23103
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23104                     CREDITOR # 23105               CREDITOR # 23106
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 23107                     CREDITOR # 23108               CREDITOR # 23109
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23110                     CREDITOR # 23111               CREDITOR # 23112
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23113                     CREDITOR # 23114               CREDITOR # 23115
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23116                     CREDITOR # 23117               CREDITOR # 23118
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23119                     CREDITOR # 23120               CREDITOR # 23121
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23122                     CREDITOR # 23123               CREDITOR # 23124
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23125                     CREDITOR # 23126               CREDITOR # 23127
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23128                     CREDITOR # 23129               CREDITOR # 23130
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23131                     CREDITOR # 23132               CREDITOR # 23133
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23134                     CREDITOR # 23135               CREDITOR # 23136
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




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CREDITOR # 23137                     CREDITOR # 23138               CREDITOR # 23139
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23140                     CREDITOR # 23141               CREDITOR # 23142
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CREDITOR # 23143                     CREDITOR # 23144               CREDITOR # 23145
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CREDITOR # 23149                     CREDITOR # 23150               CREDITOR # 23151
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CREDITOR # 23152                     CREDITOR # 23153               CREDITOR # 23154
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23155                     CREDITOR # 23156               CREDITOR # 23157
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CREDITOR # 23158                     CREDITOR # 23159               CREDITOR # 23160
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CREDITOR # 23161                     CREDITOR # 23162               CREDITOR # 23163
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CREDITOR # 23164                     CREDITOR # 23165               CREDITOR # 23166
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CREDITOR # 23167                     CREDITOR # 23168               CREDITOR # 23169
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23170                     CREDITOR # 23171               CREDITOR # 23172
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23173                     CREDITOR # 23174               CREDITOR # 23175
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23176                     CREDITOR # 23177               CREDITOR # 23178
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23179                     CREDITOR # 23180               CREDITOR # 23181
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23182                     CREDITOR # 23183               CREDITOR # 23184
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23185                     CREDITOR # 23186               CREDITOR # 23187
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23188                     CREDITOR # 23189               CREDITOR # 23190
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23191                     CREDITOR # 23192               CREDITOR # 23193
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23194                     CREDITOR # 23195               CREDITOR # 23196
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CREDITOR # 23197                     CREDITOR # 23198               CREDITOR # 23199
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23200                     CREDITOR # 23201               CREDITOR # 23202
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23203                     CREDITOR # 23204               CREDITOR # 23205
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23206                     CREDITOR # 23207               CREDITOR # 23208
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23209                     CREDITOR # 23210               CREDITOR # 23211
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23212                     CREDITOR # 23213               CREDITOR # 23214
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23215                     CREDITOR # 23216               CREDITOR # 23217
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23218                     CREDITOR # 23219               CREDITOR # 23220
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23221                     CREDITOR # 23222               CREDITOR # 23223
NAME AND ADDRESS ON FILE             NAME AND ADDRESS ON FILE       NAME AND ADDRESS ON FILE




CREDITOR # 23224                     CREDITOR # 23225               CREDITOR # 23226
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CREDITOR # 23227                    CREDITOR # 23228                CREDITOR # 23229
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23230                    CREDITOR # 23231                CREDITOR # 23232
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23233                    CREDITOR # 23234                CREDITOR # 23235
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23236                    CREDITOR # 23237                CREDITOR # 23238
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23239                    CREDITOR # 23240                CREDITOR # 23241
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23242                    CREDITOR # 23243                CREDITOR # 23244
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23245                    CREDITOR # 23246                CREDITOR # 23247
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23248                    CREDITOR # 23249                CREDITOR # 23250
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23251                    CREDITOR # 23252                CREDITOR # 23253
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23254                    CREDITOR # 23255                CREDITOR # 23256
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CREDITOR # 23257                    CREDITOR # 23258                CREDITOR # 23259
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23260                    CREDITOR # 23261                CREDITOR # 23262
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23263                    CREDITOR # 23264                CREDITOR # 23265
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CREDITOR # 23266                    CREDITOR # 23267                CREDITOR # 23268
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23269                    CREDITOR # 23270                CREDITOR # 23271
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23272                    CREDITOR # 23273                CREDITOR # 23274
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23275                    CREDITOR # 23276                CREDITOR # 23277
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23278                    CREDITOR # 23279                CREDITOR # 23280
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23281                    CREDITOR # 23282                CREDITOR # 23283
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23287                    CREDITOR # 23288                CREDITOR # 23289
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23290                    CREDITOR # 23291                CREDITOR # 23292
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23293                    CREDITOR # 23294                CREDITOR # 23295
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23296                    CREDITOR # 23297                CREDITOR # 23298
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23299                    CREDITOR # 23300                CREDITOR # 23301
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23302                    CREDITOR # 23303                CREDITOR # 23304
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23305                    CREDITOR # 23306                CREDITOR # 23307
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23308                    CREDITOR # 23309                CREDITOR # 23310
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23311                    CREDITOR # 23312                CREDITOR # 23313
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23314                    CREDITOR # 23315                CREDITOR # 23316
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CREDITOR # 23317                    CREDITOR # 23318                CREDITOR # 23319
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23320                    CREDITOR # 23321                CREDITOR # 23322
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23323                    CREDITOR # 23324                CREDITOR # 23325
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23326                    CREDITOR # 23327                CREDITOR # 23328
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23329                    CREDITOR # 23330                CREDITOR # 23331
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23332                    CREDITOR # 23333                CREDITOR # 23334
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23335                    CREDITOR # 23336                CREDITOR # 23337
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23338                    CREDITOR # 23339                CREDITOR # 23340
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23341                    CREDITOR # 23342                CREDITOR # 23343
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23344                    CREDITOR # 23345                CREDITOR # 23346
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CREDITOR # 23347                    CREDITOR # 23348                CREDITOR # 23349
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23350                    CREDITOR # 23351                CREDITOR # 23352
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23353                    CREDITOR # 23354                CREDITOR # 23355
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23356                    CREDITOR # 23357                CREDITOR # 23358
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23359                    CREDITOR # 23360                CREDITOR # 23361
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23362                    CREDITOR # 23363                CREDITOR # 23364
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23365                    CREDITOR # 23366                CREDITOR # 23367
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23368                    CREDITOR # 23369                CREDITOR # 23370
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23371                    CREDITOR # 23372                CREDITOR # 23373
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23374                    CREDITOR # 23375                CREDITOR # 23376
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CREDITOR # 23377                    CREDITOR # 23378                CREDITOR # 23379
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23380                    CREDITOR # 23381                CREDITOR # 23382
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23383                    CREDITOR # 23384                CREDITOR # 23385
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23386                    CREDITOR # 23387                CREDITOR # 23388
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23389                    CREDITOR # 23390                CREDITOR # 23391
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23392                    CREDITOR # 23393                CREDITOR # 23394
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23395                    CREDITOR # 23396                CREDITOR # 23397
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23398                    CREDITOR # 23399                CREDITOR # 23400
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23401                    CREDITOR # 23402                CREDITOR # 23403
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23404                    CREDITOR # 23405                CREDITOR # 23406
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23407                    CREDITOR # 23408                CREDITOR # 23409
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23410                    CREDITOR # 23411                CREDITOR # 23412
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23413                    CREDITOR # 23414                CREDITOR # 23415
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23416                    CREDITOR # 23417                CREDITOR # 23418
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23419                    CREDITOR # 23420                CREDITOR # 23421
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23422                    CREDITOR # 23423                CREDITOR # 23424
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23425                    CREDITOR # 23426                CREDITOR # 23427
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23428                    CREDITOR # 23429                CREDITOR # 23430
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23431                    CREDITOR # 23432                CREDITOR # 23433
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23434                    CREDITOR # 23435                CREDITOR # 23436
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23437                    CREDITOR # 23438                CREDITOR # 23439
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23440                    CREDITOR # 23441                CREDITOR # 23442
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23443                    CREDITOR # 23444                CREDITOR # 23445
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23446                    CREDITOR # 23447                CREDITOR # 23448
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23449                    CREDITOR # 23450                CREDITOR # 23451
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23452                    CREDITOR # 23453                CREDITOR # 23454
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23455                    CREDITOR # 23456                CREDITOR # 23457
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23458                    CREDITOR # 23459                CREDITOR # 23460
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23461                    CREDITOR # 23462                CREDITOR # 23463
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23464                    CREDITOR # 23465                CREDITOR # 23466
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23467                    CREDITOR # 23468                CREDITOR # 23469
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23470                    CREDITOR # 23471                CREDITOR # 23472
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23473                    CREDITOR # 23474                CREDITOR # 23475
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23476                    CREDITOR # 23477                CREDITOR # 23478
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23479                    CREDITOR # 23480                CREDITOR # 23481
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23482                    CREDITOR # 23483                CREDITOR # 23484
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23485                    CREDITOR # 23486                CREDITOR # 23487
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23488                    CREDITOR # 23489                CREDITOR # 23490
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23491                    CREDITOR # 23492                CREDITOR # 23493
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23497                    CREDITOR # 23498                CREDITOR # 23499
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23500                    CREDITOR # 23501                CREDITOR # 23502
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23503                    CREDITOR # 23504                CREDITOR # 23505
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23506                    CREDITOR # 23507                CREDITOR # 23508
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23509                    CREDITOR # 23510                CREDITOR # 23511
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23512                    CREDITOR # 23513                CREDITOR # 23514
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23518                    CREDITOR # 23519                CREDITOR # 23520
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23521                    CREDITOR # 23522                CREDITOR # 23523
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CREDITOR # 23527                    CREDITOR # 23528                CREDITOR # 23529
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23530                    CREDITOR # 23531                CREDITOR # 23532
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23533                    CREDITOR # 23534                CREDITOR # 23535
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NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23539                    CREDITOR # 23540                CREDITOR # 23541
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23542                    CREDITOR # 23543                CREDITOR # 23544
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23545                    CREDITOR # 23546                CREDITOR # 23547
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CREDITOR # 23548                    CREDITOR # 23549                CREDITOR # 23550
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23551                    CREDITOR # 23552                CREDITOR # 23553
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23554                    CREDITOR # 23555                CREDITOR # 23556
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23557                    CREDITOR # 23558                CREDITOR # 23559
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23560                    CREDITOR # 23561                CREDITOR # 23562
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23563                    CREDITOR # 23564                CREDITOR # 23565
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NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23569                    CREDITOR # 23570                CREDITOR # 23571
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23572                    CREDITOR # 23573                CREDITOR # 23574
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23578                    CREDITOR # 23579                CREDITOR # 23580
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23581                    CREDITOR # 23582                CREDITOR # 23583
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23587                    CREDITOR # 23588                CREDITOR # 23589
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23590                    CREDITOR # 23591                CREDITOR # 23592
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23593                    CREDITOR # 23594                CREDITOR # 23595
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23596                    CREDITOR # 23597                CREDITOR # 23598
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CREDITOR # 23599                    CREDITOR # 23600                CREDITOR # 23601
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23602                    CREDITOR # 23603                CREDITOR # 23604
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23605                    CREDITOR # 23606                CREDITOR # 23607
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23608                    CREDITOR # 23609                CREDITOR # 23610
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23611                    CREDITOR # 23612                CREDITOR # 23613
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23614                    CREDITOR # 23615                CREDITOR # 23616
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CREDITOR # 23617                    CREDITOR # 23618                CREDITOR # 23619
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23620                    CREDITOR # 23621                CREDITOR # 23622
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23623                    CREDITOR # 23624                CREDITOR # 23625
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23626                    CREDITOR # 23627                CREDITOR # 23628
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23629                    CREDITOR # 23630                CREDITOR # 23631
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23632                    CREDITOR # 23633                CREDITOR # 23634
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23635                    CREDITOR # 23636                CREDITOR # 23637
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CREDITOR # 23638                    CREDITOR # 23639                CREDITOR # 23640
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23641                    CREDITOR # 23642                CREDITOR # 23643
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23644                    CREDITOR # 23645                CREDITOR # 23646
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23647                    CREDITOR # 23648                CREDITOR # 23649
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23650                    CREDITOR # 23651                CREDITOR # 23652
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23653                    CREDITOR # 23654                CREDITOR # 23655
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CREDITOR # 23656                    CREDITOR # 23657                CREDITOR # 23658
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23659                    CREDITOR # 23660                CREDITOR # 23661
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23662                    CREDITOR # 23663                CREDITOR # 23664
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23665                    CREDITOR # 23666                CREDITOR # 23667
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23668                    CREDITOR # 23669                CREDITOR # 23670
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23671                    CREDITOR # 23672                CREDITOR # 23673
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23674                    CREDITOR # 23675                CREDITOR # 23676
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CREDITOR # 23677                    CREDITOR # 23678                CREDITOR # 23679
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23680                    CREDITOR # 23681                CREDITOR # 23682
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23683                    CREDITOR # 23684                CREDITOR # 23685
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23686                    CREDITOR # 23687                CREDITOR # 23688
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23689                    CREDITOR # 23690                CREDITOR # 23691
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23692                    CREDITOR # 23693                CREDITOR # 23694
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23695                    CREDITOR # 23696                CREDITOR # 23697
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23698                    CREDITOR # 23699                CREDITOR # 23700
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23701                    CREDITOR # 23702                CREDITOR # 23703
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23704                    CREDITOR # 23705                CREDITOR # 23706
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23707                    CREDITOR # 23708                CREDITOR # 23709
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23710                    CREDITOR # 23711                CREDITOR # 23712
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23713                    CREDITOR # 23714                CREDITOR # 23715
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23716                    CREDITOR # 23717                CREDITOR # 23718
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23719                    CREDITOR # 23720                CREDITOR # 23721
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23722                    CREDITOR # 23723                CREDITOR # 23724
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23725                    CREDITOR # 23726                CREDITOR # 23727
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23728                    CREDITOR # 23729                CREDITOR # 23730
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23731                    CREDITOR # 23732                CREDITOR # 23733
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23734                    CREDITOR # 23735                CREDITOR # 23736
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CREDITOR # 23737                    CREDITOR # 23738                CREDITOR # 23739
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23740                    CREDITOR # 23741                CREDITOR # 23742
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23743                    CREDITOR # 23744                CREDITOR # 23745
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23746                    CREDITOR # 23747                CREDITOR # 23748
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23749                    CREDITOR # 23750                CREDITOR # 23751
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23752                    CREDITOR # 23753                CREDITOR # 23754
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23755                    CREDITOR # 23756                CREDITOR # 23757
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23758                    CREDITOR # 23759                CREDITOR # 23760
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23761                    CREDITOR # 23762                CREDITOR # 23763
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23764                    CREDITOR # 23765                CREDITOR # 23766
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23767                    CREDITOR # 23768                CREDITOR # 23769
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23770                    CREDITOR # 23771                CREDITOR # 23772
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23773                    CREDITOR # 23774                CREDITOR # 23775
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23776                    CREDITOR # 23777                CREDITOR # 23778
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23779                    CREDITOR # 23780                CREDITOR # 23781
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23782                    CREDITOR # 23783                CREDITOR # 23784
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23785                    CREDITOR # 23786                CREDITOR # 23787
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23788                    CREDITOR # 23789                CREDITOR # 23790
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23791                    CREDITOR # 23792                CREDITOR # 23793
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23797                    CREDITOR # 23798                CREDITOR # 23799
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23800                    CREDITOR # 23801                CREDITOR # 23802
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23803                    CREDITOR # 23804                CREDITOR # 23805
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23806                    CREDITOR # 23807                CREDITOR # 23808
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23809                    CREDITOR # 23810                CREDITOR # 23811
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23812                    CREDITOR # 23813                CREDITOR # 23814
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23815                    CREDITOR # 23816                CREDITOR # 23817
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23818                    CREDITOR # 23819                CREDITOR # 23820
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23821                    CREDITOR # 23822                CREDITOR # 23823
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23824                    CREDITOR # 23825                CREDITOR # 23826
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CREDITOR # 23827                    CREDITOR # 23828                CREDITOR # 23829
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23830                    CREDITOR # 23831                CREDITOR # 23832
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23833                    CREDITOR # 23834                CREDITOR # 23835
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23836                    CREDITOR # 23837                CREDITOR # 23838
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23839                    CREDITOR # 23840                CREDITOR # 23841
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23842                    CREDITOR # 23843                CREDITOR # 23844
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23845                    CREDITOR # 23846                CREDITOR # 23847
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23848                    CREDITOR # 23849                CREDITOR # 23850
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23851                    CREDITOR # 23852                CREDITOR # 23853
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23854                    CREDITOR # 23855                CREDITOR # 23856
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CREDITOR # 23857                    CREDITOR # 23858                CREDITOR # 23859
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23860                    CREDITOR # 23861                CREDITOR # 23862
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23863                    CREDITOR # 23864                CREDITOR # 23865
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23866                    CREDITOR # 23867                CREDITOR # 23868
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23869                    CREDITOR # 23870                CREDITOR # 23871
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23872                    CREDITOR # 23873                CREDITOR # 23874
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23875                    CREDITOR # 23876                CREDITOR # 23877
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23878                    CREDITOR # 23879                CREDITOR # 23880
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23881                    CREDITOR # 23882                CREDITOR # 23883
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23887                    CREDITOR # 23888                CREDITOR # 23889
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23890                    CREDITOR # 23891                CREDITOR # 23892
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23893                    CREDITOR # 23894                CREDITOR # 23895
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23896                    CREDITOR # 23897                CREDITOR # 23898
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23899                    CREDITOR # 23900                CREDITOR # 23901
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23902                    CREDITOR # 23903                CREDITOR # 23904
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23905                    CREDITOR # 23906                CREDITOR # 23907
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23908                    CREDITOR # 23909                CREDITOR # 23910
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23911                    CREDITOR # 23912                CREDITOR # 23913
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23917                    CREDITOR # 23918                CREDITOR # 23919
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23920                    CREDITOR # 23921                CREDITOR # 23922
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23923                    CREDITOR # 23924                CREDITOR # 23925
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23926                    CREDITOR # 23927                CREDITOR # 23928
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23929                    CREDITOR # 23930                CREDITOR # 23931
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23932                    CREDITOR # 23933                CREDITOR # 23934
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23935                    CREDITOR # 23936                CREDITOR # 23937
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23938                    CREDITOR # 23939                CREDITOR # 23940
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23941                    CREDITOR # 23942                CREDITOR # 23943
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23944                    CREDITOR # 23945                CREDITOR # 23946
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 23947                    CREDITOR # 23948                CREDITOR # 23949
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23950                    CREDITOR # 23951                CREDITOR # 23952
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23953                    CREDITOR # 23954                CREDITOR # 23955
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23956                    CREDITOR # 23957                CREDITOR # 23958
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23959                    CREDITOR # 23960                CREDITOR # 23961
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23962                    CREDITOR # 23963                CREDITOR # 23964
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23965                    CREDITOR # 23966                CREDITOR # 23967
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23968                    CREDITOR # 23969                CREDITOR # 23970
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23971                    CREDITOR # 23972                CREDITOR # 23973
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23974                    CREDITOR # 23975                CREDITOR # 23976
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CREDITOR # 23977                    CREDITOR # 23978                CREDITOR # 23979
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23980                    CREDITOR # 23981                CREDITOR # 23982
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23983                    CREDITOR # 23984                CREDITOR # 23985
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23986                    CREDITOR # 23987                CREDITOR # 23988
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23989                    CREDITOR # 23990                CREDITOR # 23991
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23992                    CREDITOR # 23993                CREDITOR # 23994
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 23995                    CREDITOR # 23996                CREDITOR # 23997
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CREDITOR # 23998                    CREDITOR # 23999                CREDITOR # 24
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24000                    CREDITOR # 24001                CREDITOR # 24002
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24003                    CREDITOR # 24004                CREDITOR # 24005
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24006                    CREDITOR # 24007                CREDITOR # 24008
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24009                    CREDITOR # 24010                CREDITOR # 24011
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24012                    CREDITOR # 24013                CREDITOR # 24014
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24015                    CREDITOR # 24016                CREDITOR # 24017
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24018                    CREDITOR # 24019                CREDITOR # 24020
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24021                    CREDITOR # 24022                CREDITOR # 24023
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24024                    CREDITOR # 24025                CREDITOR # 24026
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24027                    CREDITOR # 24028                CREDITOR # 24029
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24030                    CREDITOR # 24031                CREDITOR # 24032
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24033                    CREDITOR # 24034                CREDITOR # 24035
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24036                    CREDITOR # 24037                CREDITOR # 24038
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24039                    CREDITOR # 24040                CREDITOR # 24041
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24042                    CREDITOR # 24043                CREDITOR # 24044
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24045                    CREDITOR # 24046                CREDITOR # 24047
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24048                    CREDITOR # 24049                CREDITOR # 24050
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24051                    CREDITOR # 24052                CREDITOR # 24053
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24054                    CREDITOR # 24055                CREDITOR # 24056
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24057                    CREDITOR # 24058                CREDITOR # 24059
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24060                    CREDITOR # 24061                CREDITOR # 24062
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24063                    CREDITOR # 24064                CREDITOR # 24065
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24066                    CREDITOR # 24067                CREDITOR # 24068
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24069                    CREDITOR # 24070                CREDITOR # 24071
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24072                    CREDITOR # 24073                CREDITOR # 24074
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24075                    CREDITOR # 24076                CREDITOR # 24077
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24078                    CREDITOR # 24079                CREDITOR # 24080
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24081                    CREDITOR # 24082                CREDITOR # 24083
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24084                    CREDITOR # 24085                CREDITOR # 24086
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CREDITOR # 24087                    CREDITOR # 24088                CREDITOR # 24089
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24090                    CREDITOR # 24091                CREDITOR # 24092
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24093                    CREDITOR # 24094                CREDITOR # 24095
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CREDITOR # 24096                    CREDITOR # 24097                CREDITOR # 24098
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24099                    CREDITOR # 24100                CREDITOR # 24101
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24102                    CREDITOR # 24103                CREDITOR # 24104
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24105                    CREDITOR # 24106                CREDITOR # 24107
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24108                    CREDITOR # 24109                CREDITOR # 24110
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24111                    CREDITOR # 24112                CREDITOR # 24113
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24114                    CREDITOR # 24115                CREDITOR # 24116
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24117                    CREDITOR # 24118                CREDITOR # 24119
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24120                    CREDITOR # 24121                CREDITOR # 24122
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24123                    CREDITOR # 24124                CREDITOR # 24125
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CREDITOR # 24126                    CREDITOR # 24127                CREDITOR # 24128
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CREDITOR # 24129                    CREDITOR # 24130                CREDITOR # 24131
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24132                    CREDITOR # 24133                CREDITOR # 24134
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24135                    CREDITOR # 24136                CREDITOR # 24137
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24138                    CREDITOR # 24139                CREDITOR # 24140
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24141                    CREDITOR # 24142                CREDITOR # 24143
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24144                    CREDITOR # 24145                CREDITOR # 24146
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24147                    CREDITOR # 24148                CREDITOR # 24149
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24150                    CREDITOR # 24151                CREDITOR # 24152
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24153                    CREDITOR # 24154                CREDITOR # 24155
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24156                    CREDITOR # 24157                CREDITOR # 24158
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24159                    CREDITOR # 24160                CREDITOR # 24161
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24162                    CREDITOR # 24163                CREDITOR # 24164
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24165                    CREDITOR # 24166                CREDITOR # 24167
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24168                    CREDITOR # 24169                CREDITOR # 24170
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24171                    CREDITOR # 24172                CREDITOR # 24173
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24174                    CREDITOR # 24175                CREDITOR # 24176
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24177                    CREDITOR # 24178                CREDITOR # 24179
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24180                    CREDITOR # 24181                CREDITOR # 24182
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24183                    CREDITOR # 24184                CREDITOR # 24185
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24186                    CREDITOR # 24187                CREDITOR # 24188
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24189                    CREDITOR # 24190                CREDITOR # 24191
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24192                    CREDITOR # 24193                CREDITOR # 24194
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24195                    CREDITOR # 24196                CREDITOR # 24197
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24198                    CREDITOR # 24199                CREDITOR # 24200
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24201                    CREDITOR # 24202                CREDITOR # 24203
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24204                    CREDITOR # 24205                CREDITOR # 24206
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24207                    CREDITOR # 24208                CREDITOR # 24209
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24210                    CREDITOR # 24211                CREDITOR # 24212
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24213                    CREDITOR # 24214                CREDITOR # 24215
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24216                    CREDITOR # 24217                CREDITOR # 24218
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24219                    CREDITOR # 24220                CREDITOR # 24221
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24222                    CREDITOR # 24223                CREDITOR # 24224
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24225                    CREDITOR # 24226                CREDITOR # 24227
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24228                    CREDITOR # 24229                CREDITOR # 24230
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24231                    CREDITOR # 24232                CREDITOR # 24233
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24234                    CREDITOR # 24235                CREDITOR # 24236
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24237                    CREDITOR # 24238                CREDITOR # 24239
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24240                    CREDITOR # 24241                CREDITOR # 24242
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24243                    CREDITOR # 24244                CREDITOR # 24245
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24246                    CREDITOR # 24247                CREDITOR # 24248
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24249                    CREDITOR # 24250                CREDITOR # 24251
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24252                    CREDITOR # 24253                CREDITOR # 24254
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24255                    CREDITOR # 24256                CREDITOR # 24257
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24258                    CREDITOR # 24259                CREDITOR # 24260
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24261                    CREDITOR # 24262                CREDITOR # 24263
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24264                    CREDITOR # 24265                CREDITOR # 24266
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24267                    CREDITOR # 24268                CREDITOR # 24269
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24270                    CREDITOR # 24271                CREDITOR # 24272
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24273                    CREDITOR # 24274                CREDITOR # 24275
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24276                    CREDITOR # 24277                CREDITOR # 24278
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24279                    CREDITOR # 24280                CREDITOR # 24281
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24282                    CREDITOR # 24283                CREDITOR # 24284
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24285                    CREDITOR # 24286                CREDITOR # 24287
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24288                    CREDITOR # 24289                CREDITOR # 24290
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24291                    CREDITOR # 24292                CREDITOR # 24293
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24294                    CREDITOR # 24295                CREDITOR # 24296
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24297                    CREDITOR # 24298                CREDITOR # 24299
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24300                    CREDITOR # 24301                CREDITOR # 24302
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24303                    CREDITOR # 24304                CREDITOR # 24305
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24306                    CREDITOR # 24307                CREDITOR # 24308
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24309                    CREDITOR # 24310                CREDITOR # 24311
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24312                    CREDITOR # 24313                CREDITOR # 24314
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24315                    CREDITOR # 24316                CREDITOR # 24317
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24318                    CREDITOR # 24319                CREDITOR # 24320
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24321                    CREDITOR # 24322                CREDITOR # 24323
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24324                    CREDITOR # 24325                CREDITOR # 24326
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24327                    CREDITOR # 24328                CREDITOR # 24329
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24330                    CREDITOR # 24331                CREDITOR # 24332
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24333                    CREDITOR # 24334                CREDITOR # 24335
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24336                    CREDITOR # 24337                CREDITOR # 24338
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24339                    CREDITOR # 24340                CREDITOR # 24341
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24342                    CREDITOR # 24343                CREDITOR # 24344
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24345                    CREDITOR # 24346                CREDITOR # 24347
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24348                    CREDITOR # 24349                CREDITOR # 24350
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24351                    CREDITOR # 24352                CREDITOR # 24353
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24354                    CREDITOR # 24355                CREDITOR # 24356
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24357                    CREDITOR # 24358                CREDITOR # 24359
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24360                    CREDITOR # 24361                CREDITOR # 24362
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24363                    CREDITOR # 24364                CREDITOR # 24365
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24366                    CREDITOR # 24367                CREDITOR # 24368
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24369                    CREDITOR # 24370                CREDITOR # 24371
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24372                    CREDITOR # 24373                CREDITOR # 24374
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24375                    CREDITOR # 24376                CREDITOR # 24377
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24378                    CREDITOR # 24379                CREDITOR # 24380
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24381                    CREDITOR # 24382                CREDITOR # 24383
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24384                    CREDITOR # 24385                CREDITOR # 24386
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24387                    CREDITOR # 24388                CREDITOR # 24389
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24390                    CREDITOR # 24391                CREDITOR # 24392
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24393                    CREDITOR # 24394                CREDITOR # 24395
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24396                    CREDITOR # 24397                CREDITOR # 24398
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24399                    CREDITOR # 24400                CREDITOR # 24401
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24402                    CREDITOR # 24403                CREDITOR # 24404
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24405                    CREDITOR # 24406                CREDITOR # 24407
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24408                    CREDITOR # 24409                CREDITOR # 24410
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24411                    CREDITOR # 24412                CREDITOR # 24413
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24414                    CREDITOR # 24415                CREDITOR # 24416
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24417                    CREDITOR # 24418                CREDITOR # 24419
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24420                    CREDITOR # 24421                CREDITOR # 24422
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24423                    CREDITOR # 24424                CREDITOR # 24425
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24426                    CREDITOR # 24427                CREDITOR # 24428
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24429                    CREDITOR # 24430                CREDITOR # 24431
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24432                    CREDITOR # 24433                CREDITOR # 24434
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24435                    CREDITOR # 24436                CREDITOR # 24437
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24438                    CREDITOR # 24439                CREDITOR # 24440
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24441                    CREDITOR # 24442                CREDITOR # 24443
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24444                    CREDITOR # 24445                CREDITOR # 24446
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24447                    CREDITOR # 24448                CREDITOR # 24449
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24450                    CREDITOR # 24451                CREDITOR # 24452
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24453                    CREDITOR # 24454                CREDITOR # 24455
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24456                    CREDITOR # 24457                CREDITOR # 24458
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24459                    CREDITOR # 24460                CREDITOR # 24461
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24462                    CREDITOR # 24463                CREDITOR # 24464
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24465                    CREDITOR # 24466                CREDITOR # 24467
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24468                    CREDITOR # 24469                CREDITOR # 24470
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24471                    CREDITOR # 24472                CREDITOR # 24473
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24474                    CREDITOR # 24475                CREDITOR # 24476
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24477                    CREDITOR # 24478                CREDITOR # 24479
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24480                    CREDITOR # 24481                CREDITOR # 24482
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24483                    CREDITOR # 24484                CREDITOR # 24485
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24486                    CREDITOR # 24487                CREDITOR # 24488
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24489                    CREDITOR # 24490                CREDITOR # 24491
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24492                    CREDITOR # 24493                CREDITOR # 24494
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24495                    CREDITOR # 24496                CREDITOR # 24497
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24498                    CREDITOR # 24499                CREDITOR # 24500
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24501                    CREDITOR # 24502                CREDITOR # 24503
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24504                    CREDITOR # 24505                CREDITOR # 24506
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24507                    CREDITOR # 24508                CREDITOR # 24509
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24510                    CREDITOR # 24511                CREDITOR # 24512
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24513                    CREDITOR # 24514                CREDITOR # 24515
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24516                    CREDITOR # 24517                CREDITOR # 24518
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24519                    CREDITOR # 24520                CREDITOR # 24521
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24522                    CREDITOR # 24523                CREDITOR # 24524
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24525                    CREDITOR # 24526                CREDITOR # 24527
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24528                    CREDITOR # 24529                CREDITOR # 24530
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24531                    CREDITOR # 24532                CREDITOR # 24533
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24534                    CREDITOR # 24535                CREDITOR # 24536
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24537                    CREDITOR # 24538                CREDITOR # 24539
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24540                    CREDITOR # 24541                CREDITOR # 24542
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24543                    CREDITOR # 24544                CREDITOR # 24545
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24546                    CREDITOR # 24547                CREDITOR # 24548
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24549                    CREDITOR # 24550                CREDITOR # 24551
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24552                    CREDITOR # 24553                CREDITOR # 24554
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24555                    CREDITOR # 24556                CREDITOR # 24557
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24558                    CREDITOR # 24559                CREDITOR # 24560
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24561                    CREDITOR # 24562                CREDITOR # 24563
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24564                    CREDITOR # 24565                CREDITOR # 24566
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24567                    CREDITOR # 24568                CREDITOR # 24569
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24570                    CREDITOR # 24571                CREDITOR # 24572
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24573                    CREDITOR # 24574                CREDITOR # 24575
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24576                    CREDITOR # 24577                CREDITOR # 24578
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24579                    CREDITOR # 24580                CREDITOR # 24581
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24582                    CREDITOR # 24583                CREDITOR # 24584
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24585                    CREDITOR # 24586                CREDITOR # 24587
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24588                    CREDITOR # 24589                CREDITOR # 24590
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24591                    CREDITOR # 24592                CREDITOR # 24593
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24594                    CREDITOR # 24595                CREDITOR # 24596
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24597                    CREDITOR # 24598                CREDITOR # 24599
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24600                    CREDITOR # 24601                CREDITOR # 24602
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24603                    CREDITOR # 24604                CREDITOR # 24605
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24606                    CREDITOR # 24607                CREDITOR # 24608
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24609                    CREDITOR # 24610                CREDITOR # 24611
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24612                    CREDITOR # 24613                CREDITOR # 24614
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CREDITOR # 24615                    CREDITOR # 24616                CREDITOR # 24617
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24618                    CREDITOR # 24619                CREDITOR # 24620
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24621                    CREDITOR # 24622                CREDITOR # 24623
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24624                    CREDITOR # 24625                CREDITOR # 24626
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24627                    CREDITOR # 24628                CREDITOR # 24629
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24630                    CREDITOR # 24631                CREDITOR # 24632
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24633                    CREDITOR # 24634                CREDITOR # 24635
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24636                    CREDITOR # 24637                CREDITOR # 24638
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24639                    CREDITOR # 24640                CREDITOR # 24641
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24642                    CREDITOR # 24643                CREDITOR # 24644
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24645                    CREDITOR # 24646                CREDITOR # 24647
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24648                    CREDITOR # 24649                CREDITOR # 24650
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24651                    CREDITOR # 24652                CREDITOR # 24653
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24654                    CREDITOR # 24655                CREDITOR # 24656
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24657                    CREDITOR # 24658                CREDITOR # 24659
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24660                    CREDITOR # 24661                CREDITOR # 24662
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24663                    CREDITOR # 24664                CREDITOR # 24665
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24666                    CREDITOR # 24667                CREDITOR # 24668
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24669                    CREDITOR # 24670                CREDITOR # 24671
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24672                    CREDITOR # 24673                CREDITOR # 24674
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24675                    CREDITOR # 24676                CREDITOR # 24677
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24678                    CREDITOR # 24679                CREDITOR # 24680
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24681                    CREDITOR # 24682                CREDITOR # 24683
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24684                    CREDITOR # 24685                CREDITOR # 24686
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24687                    CREDITOR # 24688                CREDITOR # 24689
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24690                    CREDITOR # 24691                CREDITOR # 24692
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24693                    CREDITOR # 24694                CREDITOR # 24695
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24696                    CREDITOR # 24697                CREDITOR # 24698
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24699                    CREDITOR # 24700                CREDITOR # 24701
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24702                    CREDITOR # 24703                CREDITOR # 24704
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24705                    CREDITOR # 24706                CREDITOR # 24707
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24708                    CREDITOR # 24709                CREDITOR # 24710
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24711                    CREDITOR # 24712                CREDITOR # 24713
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24714                    CREDITOR # 24715                CREDITOR # 24716
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24717                    CREDITOR # 24718                CREDITOR # 24719
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24720                    CREDITOR # 24721                CREDITOR # 24722
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24723                    CREDITOR # 24724                CREDITOR # 24725
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24726                    CREDITOR # 24727                CREDITOR # 24728
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24729                    CREDITOR # 24730                CREDITOR # 24731
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24732                    CREDITOR # 24733                CREDITOR # 24734
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24735                    CREDITOR # 24736                CREDITOR # 24737
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24738                    CREDITOR # 24739                CREDITOR # 24740
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24741                    CREDITOR # 24742                CREDITOR # 24743
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24744                    CREDITOR # 24745                CREDITOR # 24746
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24747                    CREDITOR # 24748                CREDITOR # 24749
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24750                    CREDITOR # 24751                CREDITOR # 24752
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24753                    CREDITOR # 24754                CREDITOR # 24755
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24756                    CREDITOR # 24757                CREDITOR # 24758
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24759                    CREDITOR # 24760                CREDITOR # 24761
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24762                    CREDITOR # 24763                CREDITOR # 24764
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24765                    CREDITOR # 24766                CREDITOR # 24767
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24768                    CREDITOR # 24769                CREDITOR # 24770
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24771                    CREDITOR # 24772                CREDITOR # 24773
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24774                    CREDITOR # 24775                CREDITOR # 24776
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24777                    CREDITOR # 24778                CREDITOR # 24779
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24780                    CREDITOR # 24781                CREDITOR # 24782
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24783                    CREDITOR # 24784                CREDITOR # 24785
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24786                    CREDITOR # 24787                CREDITOR # 24788
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24789                    CREDITOR # 24790                CREDITOR # 24791
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24792                    CREDITOR # 24793                CREDITOR # 24794
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24795                    CREDITOR # 24796                CREDITOR # 24797
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24798                    CREDITOR # 24799                CREDITOR # 24800
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24801                    CREDITOR # 24802                CREDITOR # 24803
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24804                    CREDITOR # 24805                CREDITOR # 24806
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24807                    CREDITOR # 24808                CREDITOR # 24809
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24810                    CREDITOR # 24811                CREDITOR # 24812
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24813                    CREDITOR # 24814                CREDITOR # 24815
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24816                    CREDITOR # 24817                CREDITOR # 24818
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24819                    CREDITOR # 24820                CREDITOR # 24821
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24822                    CREDITOR # 24823                CREDITOR # 24824
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24825                    CREDITOR # 24826                CREDITOR # 24827
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24828                    CREDITOR # 24829                CREDITOR # 24830
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24831                    CREDITOR # 24832                CREDITOR # 24833
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24834                    CREDITOR # 24835                CREDITOR # 24836
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24837                    CREDITOR # 24838                CREDITOR # 24839
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24840                    CREDITOR # 24841                CREDITOR # 24842
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24843                    CREDITOR # 24844                CREDITOR # 24845
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24846                    CREDITOR # 24847                CREDITOR # 24848
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24849                    CREDITOR # 24850                CREDITOR # 24851
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24852                    CREDITOR # 24853                CREDITOR # 24854
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24855                    CREDITOR # 24856                CREDITOR # 24857
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24858                    CREDITOR # 24859                CREDITOR # 24860
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24861                    CREDITOR # 24862                CREDITOR # 24863
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24864                    CREDITOR # 24865                CREDITOR # 24866
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24867                    CREDITOR # 24868                CREDITOR # 24869
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24870                    CREDITOR # 24871                CREDITOR # 24872
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24873                    CREDITOR # 24874                CREDITOR # 24875
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24876                    CREDITOR # 24877                CREDITOR # 24878
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24879                    CREDITOR # 24880                CREDITOR # 24881
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24882                    CREDITOR # 24883                CREDITOR # 24884
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24885                    CREDITOR # 24886                CREDITOR # 24887
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24888                    CREDITOR # 24889                CREDITOR # 24890
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24891                    CREDITOR # 24892                CREDITOR # 24893
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24894                    CREDITOR # 24895                CREDITOR # 24896
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24897                    CREDITOR # 24898                CREDITOR # 24899
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24900                    CREDITOR # 24901                CREDITOR # 24902
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24903                    CREDITOR # 24904                CREDITOR # 24905
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24906                    CREDITOR # 24907                CREDITOR # 24908
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24909                    CREDITOR # 24910                CREDITOR # 24911
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24912                    CREDITOR # 24913                CREDITOR # 24914
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24915                    CREDITOR # 24916                CREDITOR # 24917
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24918                    CREDITOR # 24919                CREDITOR # 24920
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24921                    CREDITOR # 24922                CREDITOR # 24923
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24924                    CREDITOR # 24925                CREDITOR # 24926
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24927                    CREDITOR # 24928                CREDITOR # 24929
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24930                    CREDITOR # 24931                CREDITOR # 24932
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24933                    CREDITOR # 24934                CREDITOR # 24935
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24936                    CREDITOR # 24937                CREDITOR # 24938
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24939                    CREDITOR # 24940                CREDITOR # 24941
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24942                    CREDITOR # 24943                CREDITOR # 24944
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24945                    CREDITOR # 24946                CREDITOR # 24947
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24948                    CREDITOR # 24949                CREDITOR # 24950
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24951                    CREDITOR # 24952                CREDITOR # 24953
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24954                    CREDITOR # 24955                CREDITOR # 24956
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24957                    CREDITOR # 24958                CREDITOR # 24959
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24960                    CREDITOR # 24961                CREDITOR # 24962
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24963                    CREDITOR # 24964                CREDITOR # 24965
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24966                    CREDITOR # 24967                CREDITOR # 24968
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24969                    CREDITOR # 24970                CREDITOR # 24971
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24972                    CREDITOR # 24973                CREDITOR # 24974
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24975                    CREDITOR # 24976                CREDITOR # 24977
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24978                    CREDITOR # 24979                CREDITOR # 24980
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24981                    CREDITOR # 24982                CREDITOR # 24983
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24984                    CREDITOR # 24985                CREDITOR # 24986
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24987                    CREDITOR # 24988                CREDITOR # 24989
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24990                    CREDITOR # 24991                CREDITOR # 24992
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24993                    CREDITOR # 24994                CREDITOR # 24995
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 24996                    CREDITOR # 24997                CREDITOR # 24998
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 24999                    CREDITOR # 25                   CREDITOR # 25000
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25001                    CREDITOR # 25002                CREDITOR # 25003
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25004                    CREDITOR # 25005                CREDITOR # 25006
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25007                    CREDITOR # 25008                CREDITOR # 25009
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25010                    CREDITOR # 25011                CREDITOR # 25012
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25013                    CREDITOR # 25014                CREDITOR # 25015
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25016                    CREDITOR # 25017                CREDITOR # 25018
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25019                    CREDITOR # 25020                CREDITOR # 25021
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25022                    CREDITOR # 25023                CREDITOR # 25024
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25025                    CREDITOR # 25026                CREDITOR # 25027
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25028                    CREDITOR # 25029                CREDITOR # 25030
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25031                    CREDITOR # 25032                CREDITOR # 25033
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25037                    CREDITOR # 25038                CREDITOR # 25039
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25040                    CREDITOR # 25041                CREDITOR # 25042
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25043                    CREDITOR # 25044                CREDITOR # 25045
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25046                    CREDITOR # 25047                CREDITOR # 25048
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25049                    CREDITOR # 25050                CREDITOR # 25051
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25052                    CREDITOR # 25053                CREDITOR # 25054
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25055                    CREDITOR # 25056                CREDITOR # 25057
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25058                    CREDITOR # 25059                CREDITOR # 25060
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25061                    CREDITOR # 25062                CREDITOR # 25063
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25064                    CREDITOR # 25065                CREDITOR # 25066
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25067                    CREDITOR # 25068                CREDITOR # 25069
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25070                    CREDITOR # 25071                CREDITOR # 25072
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25073                    CREDITOR # 25074                CREDITOR # 25075
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25076                    CREDITOR # 25077                CREDITOR # 25078
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25079                    CREDITOR # 25080                CREDITOR # 25081
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25082                    CREDITOR # 25083                CREDITOR # 25084
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25085                    CREDITOR # 25086                CREDITOR # 25087
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25088                    CREDITOR # 25089                CREDITOR # 25090
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25091                    CREDITOR # 25092                CREDITOR # 25093
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25094                    CREDITOR # 25095                CREDITOR # 25096
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25097                    CREDITOR # 25098                CREDITOR # 25099
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25100                    CREDITOR # 25101                CREDITOR # 25102
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25103                    CREDITOR # 25104                CREDITOR # 25105
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25106                    CREDITOR # 25107                CREDITOR # 25108
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25109                    CREDITOR # 25110                CREDITOR # 25111
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25112                    CREDITOR # 25113                CREDITOR # 25114
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25115                    CREDITOR # 25116                CREDITOR # 25117
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25118                    CREDITOR # 25119                CREDITOR # 25120
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25121                    CREDITOR # 25122                CREDITOR # 25123
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25124                    CREDITOR # 25125                CREDITOR # 25126
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25127                    CREDITOR # 25128                CREDITOR # 25129
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25130                    CREDITOR # 25131                CREDITOR # 25132
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25133                    CREDITOR # 25134                CREDITOR # 25135
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25136                    CREDITOR # 25137                CREDITOR # 25138
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25139                    CREDITOR # 25140                CREDITOR # 25141
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25142                    CREDITOR # 25143                CREDITOR # 25144
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25145                    CREDITOR # 25146                CREDITOR # 25147
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25148                    CREDITOR # 25149                CREDITOR # 25150
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25151                    CREDITOR # 25152                CREDITOR # 25153
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25154                    CREDITOR # 25155                CREDITOR # 25156
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25157                    CREDITOR # 25158                CREDITOR # 25159
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25160                    CREDITOR # 25161                CREDITOR # 25162
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25163                    CREDITOR # 25164                CREDITOR # 25165
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25166                    CREDITOR # 25167                CREDITOR # 25168
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25169                    CREDITOR # 25170                CREDITOR # 25171
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25172                    CREDITOR # 25173                CREDITOR # 25174
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25175                    CREDITOR # 25176                CREDITOR # 25177
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25178                    CREDITOR # 25179                CREDITOR # 25180
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25181                    CREDITOR # 25182                CREDITOR # 25183
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25184                    CREDITOR # 25185                CREDITOR # 25186
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25187                    CREDITOR # 25188                CREDITOR # 25189
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25190                    CREDITOR # 25191                CREDITOR # 25192
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25193                    CREDITOR # 25194                CREDITOR # 25195
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25196                    CREDITOR # 25197                CREDITOR # 25198
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25199                    CREDITOR # 25200                CREDITOR # 25201
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25202                    CREDITOR # 25203                CREDITOR # 25204
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25205                    CREDITOR # 25206                CREDITOR # 25207
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25208                    CREDITOR # 25209                CREDITOR # 25210
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25211                    CREDITOR # 25212                CREDITOR # 25213
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25214                    CREDITOR # 25215                CREDITOR # 25216
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25217                    CREDITOR # 25218                CREDITOR # 25219
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25220                    CREDITOR # 25221                CREDITOR # 25222
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25223                    CREDITOR # 25224                CREDITOR # 25225
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25226                    CREDITOR # 25227                CREDITOR # 25228
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25229                    CREDITOR # 25230                CREDITOR # 25231
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25232                    CREDITOR # 25233                CREDITOR # 25234
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25235                    CREDITOR # 25236                CREDITOR # 25237
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25238                    CREDITOR # 25239                CREDITOR # 25240
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25241                    CREDITOR # 25242                CREDITOR # 25243
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25244                    CREDITOR # 25245                CREDITOR # 25246
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25247                    CREDITOR # 25248                CREDITOR # 25249
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25250                    CREDITOR # 25251                CREDITOR # 25252
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25253                    CREDITOR # 25254                CREDITOR # 25255
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25256                    CREDITOR # 25257                CREDITOR # 25258
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25259                    CREDITOR # 25260                CREDITOR # 25261
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25262                    CREDITOR # 25263                CREDITOR # 25264
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25265                    CREDITOR # 25266                CREDITOR # 25267
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25268                    CREDITOR # 25269                CREDITOR # 25270
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25271                    CREDITOR # 25272                CREDITOR # 25273
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25274                    CREDITOR # 25275                CREDITOR # 25276
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25277                    CREDITOR # 25278                CREDITOR # 25279
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25280                    CREDITOR # 25281                CREDITOR # 25282
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25283                    CREDITOR # 25284                CREDITOR # 25285
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25286                    CREDITOR # 25287                CREDITOR # 25288
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25289                    CREDITOR # 25290                CREDITOR # 25291
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25292                    CREDITOR # 25293                CREDITOR # 25294
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25295                    CREDITOR # 25296                CREDITOR # 25297
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25298                    CREDITOR # 25299                CREDITOR # 25300
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25301                    CREDITOR # 25302                CREDITOR # 25303
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25304                    CREDITOR # 25305                CREDITOR # 25306
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25307                    CREDITOR # 25308                CREDITOR # 25309
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25310                    CREDITOR # 25311                CREDITOR # 25312
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25313                    CREDITOR # 25314                CREDITOR # 25315
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25316                    CREDITOR # 25317                CREDITOR # 25318
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25319                    CREDITOR # 25320                CREDITOR # 25321
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25322                    CREDITOR # 25323                CREDITOR # 25324
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25325                    CREDITOR # 25326                CREDITOR # 25327
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25328                    CREDITOR # 25329                CREDITOR # 25330
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25331                    CREDITOR # 25332                CREDITOR # 25333
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25334                    CREDITOR # 25335                CREDITOR # 25336
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25337                    CREDITOR # 25338                CREDITOR # 25339
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25340                    CREDITOR # 25341                CREDITOR # 25342
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25343                    CREDITOR # 25344                CREDITOR # 25345
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25346                    CREDITOR # 25347                CREDITOR # 25348
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25349                    CREDITOR # 25350                CREDITOR # 25351
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25352                    CREDITOR # 25353                CREDITOR # 25354
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25355                    CREDITOR # 25356                CREDITOR # 25357
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25358                    CREDITOR # 25359                CREDITOR # 25360
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25361                    CREDITOR # 25362                CREDITOR # 25363
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25364                    CREDITOR # 25365                CREDITOR # 25366
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25367                    CREDITOR # 25368                CREDITOR # 25369
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25370                    CREDITOR # 25371                CREDITOR # 25372
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25373                    CREDITOR # 25374                CREDITOR # 25375
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25376                    CREDITOR # 25377                CREDITOR # 25378
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25379                    CREDITOR # 25380                CREDITOR # 25381
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25382                    CREDITOR # 25383                CREDITOR # 25384
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25385                    CREDITOR # 25386                CREDITOR # 25387
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25388                    CREDITOR # 25389                CREDITOR # 25390
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25391                    CREDITOR # 25392                CREDITOR # 25393
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25394                    CREDITOR # 25395                CREDITOR # 25396
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25397                    CREDITOR # 25398                CREDITOR # 25399
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25400                    CREDITOR # 25401                CREDITOR # 25402
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25403                    CREDITOR # 25404                CREDITOR # 25405
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25406                    CREDITOR # 25407                CREDITOR # 25408
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25409                    CREDITOR # 25410                CREDITOR # 25411
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25412                    CREDITOR # 25413                CREDITOR # 25414
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25415                    CREDITOR # 25416                CREDITOR # 25417
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25418                    CREDITOR # 25419                CREDITOR # 25420
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25421                    CREDITOR # 25422                CREDITOR # 25423
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25424                    CREDITOR # 25425                CREDITOR # 25426
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25427                    CREDITOR # 25428                CREDITOR # 25429
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25430                    CREDITOR # 25431                CREDITOR # 25432
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25433                    CREDITOR # 25434                CREDITOR # 25435
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25436                    CREDITOR # 25437                CREDITOR # 25438
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25439                    CREDITOR # 25440                CREDITOR # 25441
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25442                    CREDITOR # 25443                CREDITOR # 25444
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25445                    CREDITOR # 25446                CREDITOR # 25447
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25448                    CREDITOR # 25449                CREDITOR # 25450
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25451                    CREDITOR # 25452                CREDITOR # 25453
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25454                    CREDITOR # 25455                CREDITOR # 25456
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25457                    CREDITOR # 25458                CREDITOR # 25459
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25460                    CREDITOR # 25461                CREDITOR # 25462
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25463                    CREDITOR # 25464                CREDITOR # 25465
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25466                    CREDITOR # 25467                CREDITOR # 25468
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25469                    CREDITOR # 25470                CREDITOR # 25471
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25472                    CREDITOR # 25473                CREDITOR # 25474
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25475                    CREDITOR # 25476                CREDITOR # 25477
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25478                    CREDITOR # 25479                CREDITOR # 25480
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25481                    CREDITOR # 25482                CREDITOR # 25483
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25484                    CREDITOR # 25485                CREDITOR # 25486
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25487                    CREDITOR # 25488                CREDITOR # 25489
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25490                    CREDITOR # 25491                CREDITOR # 25492
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25493                    CREDITOR # 25494                CREDITOR # 25495
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25496                    CREDITOR # 25497                CREDITOR # 25498
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25499                    CREDITOR # 25500                CREDITOR # 25501
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25502                    CREDITOR # 25503                CREDITOR # 25504
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25505                    CREDITOR # 25506                CREDITOR # 25507
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25508                    CREDITOR # 25509                CREDITOR # 25510
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25511                    CREDITOR # 25512                CREDITOR # 25513
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25514                    CREDITOR # 25515                CREDITOR # 25516
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25517                    CREDITOR # 25518                CREDITOR # 25519
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25520                    CREDITOR # 25521                CREDITOR # 25522
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25523                    CREDITOR # 25524                CREDITOR # 25525
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25526                    CREDITOR # 25527                CREDITOR # 25528
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25529                    CREDITOR # 25530                CREDITOR # 25531
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25532                    CREDITOR # 25533                CREDITOR # 25534
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25535                    CREDITOR # 25536                CREDITOR # 25537
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25538                    CREDITOR # 25539                CREDITOR # 25540
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25541                    CREDITOR # 25542                CREDITOR # 25543
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25544                    CREDITOR # 25545                CREDITOR # 25546
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25547                    CREDITOR # 25548                CREDITOR # 25549
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25550                    CREDITOR # 25551                CREDITOR # 25552
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25553                    CREDITOR # 25554                CREDITOR # 25555
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25556                    CREDITOR # 25557                CREDITOR # 25558
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25559                    CREDITOR # 25560                CREDITOR # 25561
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25562                    CREDITOR # 25563                CREDITOR # 25564
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25565                    CREDITOR # 25566                CREDITOR # 25567
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25568                    CREDITOR # 25569                CREDITOR # 25570
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25571                    CREDITOR # 25572                CREDITOR # 25573
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25574                    CREDITOR # 25575                CREDITOR # 25576
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25577                    CREDITOR # 25578                CREDITOR # 25579
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25580                    CREDITOR # 25581                CREDITOR # 25582
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25583                    CREDITOR # 25584                CREDITOR # 25585
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25586                    CREDITOR # 25587                CREDITOR # 25588
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25589                    CREDITOR # 25590                CREDITOR # 25591
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25592                    CREDITOR # 25593                CREDITOR # 25594
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25595                    CREDITOR # 25596                CREDITOR # 25597
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25598                    CREDITOR # 25599                CREDITOR # 25600
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25601                    CREDITOR # 25602                CREDITOR # 25603
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25604                    CREDITOR # 25605                CREDITOR # 25606
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25607                    CREDITOR # 25608                CREDITOR # 25609
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25610                    CREDITOR # 25611                CREDITOR # 25612
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25613                    CREDITOR # 25614                CREDITOR # 25615
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25616                    CREDITOR # 25617                CREDITOR # 25618
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25619                    CREDITOR # 25620                CREDITOR # 25621
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25622                    CREDITOR # 25623                CREDITOR # 25624
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25625                    CREDITOR # 25626                CREDITOR # 25627
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25628                    CREDITOR # 25629                CREDITOR # 25630
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25631                    CREDITOR # 25632                CREDITOR # 25633
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25634                    CREDITOR # 25635                CREDITOR # 25636
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25637                    CREDITOR # 25638                CREDITOR # 25639
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25640                    CREDITOR # 25641                CREDITOR # 25642
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25643                    CREDITOR # 25644                CREDITOR # 25645
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25646                    CREDITOR # 25647                CREDITOR # 25648
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25649                    CREDITOR # 25650                CREDITOR # 25651
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25652                    CREDITOR # 25653                CREDITOR # 25654
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25655                    CREDITOR # 25656                CREDITOR # 25657
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25658                    CREDITOR # 25659                CREDITOR # 25660
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25661                    CREDITOR # 25662                CREDITOR # 25663
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25664                    CREDITOR # 25665                CREDITOR # 25666
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25667                    CREDITOR # 25668                CREDITOR # 25669
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25670                    CREDITOR # 25671                CREDITOR # 25672
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25673                    CREDITOR # 25674                CREDITOR # 25675
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25676                    CREDITOR # 25677                CREDITOR # 25678
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25679                    CREDITOR # 25680                CREDITOR # 25681
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25682                    CREDITOR # 25683                CREDITOR # 25684
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25685                    CREDITOR # 25686                CREDITOR # 25687
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25688                    CREDITOR # 25689                CREDITOR # 25690
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25691                    CREDITOR # 25692                CREDITOR # 25693
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25694                    CREDITOR # 25695                CREDITOR # 25696
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25697                    CREDITOR # 25698                CREDITOR # 25699
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25700                    CREDITOR # 25701                CREDITOR # 25702
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25703                    CREDITOR # 25704                CREDITOR # 25705
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25706                    CREDITOR # 25707                CREDITOR # 25708
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25709                    CREDITOR # 25710                CREDITOR # 25711
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25712                    CREDITOR # 25713                CREDITOR # 25714
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25715                    CREDITOR # 25716                CREDITOR # 25717
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25718                    CREDITOR # 25719                CREDITOR # 25720
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25721                    CREDITOR # 25722                CREDITOR # 25723
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25724                    CREDITOR # 25725                CREDITOR # 25726
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25727                    CREDITOR # 25728                CREDITOR # 25729
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25730                    CREDITOR # 25731                CREDITOR # 25732
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25733                    CREDITOR # 25734                CREDITOR # 25735
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25736                    CREDITOR # 25737                CREDITOR # 25738
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25739                    CREDITOR # 25740                CREDITOR # 25741
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25742                    CREDITOR # 25743                CREDITOR # 25744
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25745                    CREDITOR # 25746                CREDITOR # 25747
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25748                    CREDITOR # 25749                CREDITOR # 25750
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25751                    CREDITOR # 25752                CREDITOR # 25753
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25754                    CREDITOR # 25755                CREDITOR # 25756
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25757                    CREDITOR # 25758                CREDITOR # 25759
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25760                    CREDITOR # 25761                CREDITOR # 25762
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25763                    CREDITOR # 25764                CREDITOR # 25765
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25766                    CREDITOR # 25767                CREDITOR # 25768
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25769                    CREDITOR # 25770                CREDITOR # 25771
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25772                    CREDITOR # 25773                CREDITOR # 25774
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25775                    CREDITOR # 25776                CREDITOR # 25777
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25778                    CREDITOR # 25779                CREDITOR # 25780
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25781                    CREDITOR # 25782                CREDITOR # 25783
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25784                    CREDITOR # 25785                CREDITOR # 25786
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25787                    CREDITOR # 25788                CREDITOR # 25789
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25790                    CREDITOR # 25791                CREDITOR # 25792
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25793                    CREDITOR # 25794                CREDITOR # 25795
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25796                    CREDITOR # 25797                CREDITOR # 25798
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25799                    CREDITOR # 25800                CREDITOR # 25801
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25802                    CREDITOR # 25803                CREDITOR # 25804
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25805                    CREDITOR # 25806                CREDITOR # 25807
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25808                    CREDITOR # 25809                CREDITOR # 25810
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25811                    CREDITOR # 25812                CREDITOR # 25813
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25814                    CREDITOR # 25815                CREDITOR # 25816
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25817                    CREDITOR # 25818                CREDITOR # 25819
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25820                    CREDITOR # 25821                CREDITOR # 25822
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25823                    CREDITOR # 25824                CREDITOR # 25825
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25826                    CREDITOR # 25827                CREDITOR # 25828
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25829                    CREDITOR # 25830                CREDITOR # 25831
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25832                    CREDITOR # 25833                CREDITOR # 25834
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25835                    CREDITOR # 25836                CREDITOR # 25837
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25838                    CREDITOR # 25839                CREDITOR # 25840
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25841                    CREDITOR # 25842                CREDITOR # 25843
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25844                    CREDITOR # 25845                CREDITOR # 25846
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25847                    CREDITOR # 25848                CREDITOR # 25849
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25850                    CREDITOR # 25851                CREDITOR # 25852
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25853                    CREDITOR # 25854                CREDITOR # 25855
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25856                    CREDITOR # 25857                CREDITOR # 25858
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25859                    CREDITOR # 25860                CREDITOR # 25861
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25862                    CREDITOR # 25863                CREDITOR # 25864
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25865                    CREDITOR # 25866                CREDITOR # 25867
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25868                    CREDITOR # 25869                CREDITOR # 25870
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25871                    CREDITOR # 25872                CREDITOR # 25873
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25874                    CREDITOR # 25875                CREDITOR # 25876
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25877                    CREDITOR # 25878                CREDITOR # 25879
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25880                    CREDITOR # 25881                CREDITOR # 25882
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25883                    CREDITOR # 25884                CREDITOR # 25885
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25886                    CREDITOR # 25887                CREDITOR # 25888
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25889                    CREDITOR # 25890                CREDITOR # 25891
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25892                    CREDITOR # 25893                CREDITOR # 25894
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25895                    CREDITOR # 25896                CREDITOR # 25897
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25898                    CREDITOR # 25899                CREDITOR # 25900
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25901                    CREDITOR # 25902                CREDITOR # 25903
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25904                    CREDITOR # 25905                CREDITOR # 25906
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25907                    CREDITOR # 25908                CREDITOR # 25909
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25910                    CREDITOR # 25911                CREDITOR # 25912
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25913                    CREDITOR # 25914                CREDITOR # 25915
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25916                    CREDITOR # 25917                CREDITOR # 25918
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25919                    CREDITOR # 25920                CREDITOR # 25921
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25922                    CREDITOR # 25923                CREDITOR # 25924
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25925                    CREDITOR # 25926                CREDITOR # 25927
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25928                    CREDITOR # 25929                CREDITOR # 25930
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25931                    CREDITOR # 25932                CREDITOR # 25933
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25934                    CREDITOR # 25935                CREDITOR # 25936
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25937                    CREDITOR # 25938                CREDITOR # 25939
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25940                    CREDITOR # 25941                CREDITOR # 25942
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25943                    CREDITOR # 25944                CREDITOR # 25945
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25946                    CREDITOR # 25947                CREDITOR # 25948
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25949                    CREDITOR # 25950                CREDITOR # 25951
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25952                    CREDITOR # 25953                CREDITOR # 25954
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25955                    CREDITOR # 25956                CREDITOR # 25957
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25958                    CREDITOR # 25959                CREDITOR # 25960
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25961                    CREDITOR # 25962                CREDITOR # 25963
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25964                    CREDITOR # 25965                CREDITOR # 25966
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25967                    CREDITOR # 25968                CREDITOR # 25969
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25970                    CREDITOR # 25971                CREDITOR # 25972
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25973                    CREDITOR # 25974                CREDITOR # 25975
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25976                    CREDITOR # 25977                CREDITOR # 25978
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25979                    CREDITOR # 25980                CREDITOR # 25981
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25982                    CREDITOR # 25983                CREDITOR # 25984
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 25985                    CREDITOR # 25986                CREDITOR # 25987
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25988                    CREDITOR # 25989                CREDITOR # 25990
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25991                    CREDITOR # 25992                CREDITOR # 25993
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25994                    CREDITOR # 25995                CREDITOR # 25996
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 25997                    CREDITOR # 25998                CREDITOR # 25999
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26                       CREDITOR # 26000                CREDITOR # 26001
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26002                    CREDITOR # 26003                CREDITOR # 26004
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26005                    CREDITOR # 26006                CREDITOR # 26007
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26008                    CREDITOR # 26009                CREDITOR # 26010
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26011                    CREDITOR # 26012                CREDITOR # 26013
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26014                    CREDITOR # 26015                CREDITOR # 26016
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26017                    CREDITOR # 26018                CREDITOR # 26019
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26020                    CREDITOR # 26021                CREDITOR # 26022
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26023                    CREDITOR # 26024                CREDITOR # 26025
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26026                    CREDITOR # 26027                CREDITOR # 26028
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26029                    CREDITOR # 26030                CREDITOR # 26031
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26032                    CREDITOR # 26033                CREDITOR # 26034
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26035                    CREDITOR # 26036                CREDITOR # 26037
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26038                    CREDITOR # 26039                CREDITOR # 26040
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26041                    CREDITOR # 26042                CREDITOR # 26043
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26044                    CREDITOR # 26045                CREDITOR # 26046
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26047                    CREDITOR # 26048                CREDITOR # 26049
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26050                    CREDITOR # 26051                CREDITOR # 26052
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26053                    CREDITOR # 26054                CREDITOR # 26055
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26056                    CREDITOR # 26057                CREDITOR # 26058
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26059                    CREDITOR # 26060                CREDITOR # 26061
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26062                    CREDITOR # 26063                CREDITOR # 26064
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26065                    CREDITOR # 26066                CREDITOR # 26067
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26068                    CREDITOR # 26069                CREDITOR # 26070
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26071                    CREDITOR # 26072                CREDITOR # 26073
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26074                    CREDITOR # 26075                CREDITOR # 26076
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26077                    CREDITOR # 26078                CREDITOR # 26079
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26080                    CREDITOR # 26081                CREDITOR # 26082
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26083                    CREDITOR # 26084                CREDITOR # 26085
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26086                    CREDITOR # 26087                CREDITOR # 26088
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26089                    CREDITOR # 26090                CREDITOR # 26091
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26092                    CREDITOR # 26093                CREDITOR # 26094
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26095                    CREDITOR # 26096                CREDITOR # 26097
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26098                    CREDITOR # 26099                CREDITOR # 26100
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26101                    CREDITOR # 26102                CREDITOR # 26103
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26104                    CREDITOR # 26105                CREDITOR # 26106
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26107                    CREDITOR # 26108                CREDITOR # 26109
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26110                    CREDITOR # 26111                CREDITOR # 26112
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26113                    CREDITOR # 26114                CREDITOR # 26115
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26116                    CREDITOR # 26117                CREDITOR # 26118
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26119                    CREDITOR # 26120                CREDITOR # 26121
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26122                    CREDITOR # 26123                CREDITOR # 26124
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26125                    CREDITOR # 26126                CREDITOR # 26127
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26128                    CREDITOR # 26129                CREDITOR # 26130
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26131                    CREDITOR # 26132                CREDITOR # 26133
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26134                    CREDITOR # 26135                CREDITOR # 26136
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26137                    CREDITOR # 26138                CREDITOR # 26139
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26140                    CREDITOR # 26141                CREDITOR # 26142
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26143                    CREDITOR # 26144                CREDITOR # 26145
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26146                    CREDITOR # 26147                CREDITOR # 26148
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26149                    CREDITOR # 26150                CREDITOR # 26151
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26152                    CREDITOR # 26153                CREDITOR # 26154
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26155                    CREDITOR # 26156                CREDITOR # 26157
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26158                    CREDITOR # 26159                CREDITOR # 26160
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26161                    CREDITOR # 26162                CREDITOR # 26163
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26164                    CREDITOR # 26165                CREDITOR # 26166
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26167                    CREDITOR # 26168                CREDITOR # 26169
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26170                    CREDITOR # 26171                CREDITOR # 26172
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26173                    CREDITOR # 26174                CREDITOR # 26175
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26176                    CREDITOR # 26177                CREDITOR # 26178
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26179                    CREDITOR # 26180                CREDITOR # 26181
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26182                    CREDITOR # 26183                CREDITOR # 26184
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26185                    CREDITOR # 26186                CREDITOR # 26187
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26188                    CREDITOR # 26189                CREDITOR # 26190
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26191                    CREDITOR # 26192                CREDITOR # 26193
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26194                    CREDITOR # 26195                CREDITOR # 26196
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26197                    CREDITOR # 26198                CREDITOR # 26199
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26200                    CREDITOR # 26201                CREDITOR # 26202
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26203                    CREDITOR # 26204                CREDITOR # 26205
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26206                    CREDITOR # 26207                CREDITOR # 26208
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26209                    CREDITOR # 26210                CREDITOR # 26211
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26212                    CREDITOR # 26213                CREDITOR # 26214
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26215                    CREDITOR # 26216                CREDITOR # 26217
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26218                    CREDITOR # 26219                CREDITOR # 26220
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26221                    CREDITOR # 26222                CREDITOR # 26223
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26224                    CREDITOR # 26225                CREDITOR # 26226
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26227                    CREDITOR # 26228                CREDITOR # 26229
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26230                    CREDITOR # 26231                CREDITOR # 26232
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26233                    CREDITOR # 26234                CREDITOR # 26235
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26236                    CREDITOR # 26237                CREDITOR # 26238
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26239                    CREDITOR # 26240                CREDITOR # 26241
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26242                    CREDITOR # 26243                CREDITOR # 26244
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26245                    CREDITOR # 26246                CREDITOR # 26247
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26248                    CREDITOR # 26249                CREDITOR # 26250
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26251                    CREDITOR # 26252                CREDITOR # 26253
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26254                    CREDITOR # 26255                CREDITOR # 26256
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26257                    CREDITOR # 26258                CREDITOR # 26259
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26260                    CREDITOR # 26261                CREDITOR # 26262
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26263                    CREDITOR # 26264                CREDITOR # 26265
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26266                    CREDITOR # 26267                CREDITOR # 26268
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26269                    CREDITOR # 26270                CREDITOR # 26271
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26272                    CREDITOR # 26273                CREDITOR # 26274
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26275                    CREDITOR # 26276                CREDITOR # 26277
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26278                    CREDITOR # 26279                CREDITOR # 26280
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26281                    CREDITOR # 26282                CREDITOR # 26283
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26284                    CREDITOR # 26285                CREDITOR # 26286
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26287                    CREDITOR # 26288                CREDITOR # 26289
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26290                    CREDITOR # 26291                CREDITOR # 26292
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26293                    CREDITOR # 26294                CREDITOR # 26295
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26296                    CREDITOR # 26297                CREDITOR # 26298
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26299                    CREDITOR # 26300                CREDITOR # 26301
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26302                    CREDITOR # 26303                CREDITOR # 26304
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26305                    CREDITOR # 26306                CREDITOR # 26307
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26308                    CREDITOR # 26309                CREDITOR # 26310
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26311                    CREDITOR # 26312                CREDITOR # 26313
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26314                    CREDITOR # 26315                CREDITOR # 26316
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26317                    CREDITOR # 26318                CREDITOR # 26319
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26320                    CREDITOR # 26321                CREDITOR # 26322
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26323                    CREDITOR # 26324                CREDITOR # 26325
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26326                    CREDITOR # 26327                CREDITOR # 26328
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26329                    CREDITOR # 26330                CREDITOR # 26331
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26332                    CREDITOR # 26333                CREDITOR # 26334
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26335                    CREDITOR # 26336                CREDITOR # 26337
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26338                    CREDITOR # 26339                CREDITOR # 26340
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26341                    CREDITOR # 26342                CREDITOR # 26343
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26344                    CREDITOR # 26345                CREDITOR # 26346
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26347                    CREDITOR # 26348                CREDITOR # 26349
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26350                    CREDITOR # 26351                CREDITOR # 26352
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26353                    CREDITOR # 26354                CREDITOR # 26355
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26356                    CREDITOR # 26357                CREDITOR # 26358
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26359                    CREDITOR # 26360                CREDITOR # 26361
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26362                    CREDITOR # 26363                CREDITOR # 26364
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26365                    CREDITOR # 26366                CREDITOR # 26367
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26368                    CREDITOR # 26369                CREDITOR # 26370
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26371                    CREDITOR # 26372                CREDITOR # 26373
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26374                    CREDITOR # 26375                CREDITOR # 26376
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26377                    CREDITOR # 26378                CREDITOR # 26379
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26380                    CREDITOR # 26381                CREDITOR # 26382
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26383                    CREDITOR # 26384                CREDITOR # 26385
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26386                    CREDITOR # 26387                CREDITOR # 26388
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26389                    CREDITOR # 26390                CREDITOR # 26391
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26392                    CREDITOR # 26393                CREDITOR # 26394
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26395                    CREDITOR # 26396                CREDITOR # 26397
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26398                    CREDITOR # 26399                CREDITOR # 26400
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26401                    CREDITOR # 26402                CREDITOR # 26403
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26404                    CREDITOR # 26405                CREDITOR # 26406
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26407                    CREDITOR # 26408                CREDITOR # 26409
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26410                    CREDITOR # 26411                CREDITOR # 26412
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26413                    CREDITOR # 26414                CREDITOR # 26415
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26416                    CREDITOR # 26417                CREDITOR # 26418
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26419                    CREDITOR # 26420                CREDITOR # 26421
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26422                    CREDITOR # 26423                CREDITOR # 26424
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26425                    CREDITOR # 26426                CREDITOR # 26427
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26428                    CREDITOR # 26429                CREDITOR # 26430
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26431                    CREDITOR # 26432                CREDITOR # 26433
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26434                    CREDITOR # 26435                CREDITOR # 26436
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26437                    CREDITOR # 26438                CREDITOR # 26439
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26440                    CREDITOR # 26441                CREDITOR # 26442
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26443                    CREDITOR # 26444                CREDITOR # 26445
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26446                    CREDITOR # 26447                CREDITOR # 26448
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26449                    CREDITOR # 26450                CREDITOR # 26451
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26452                    CREDITOR # 26453                CREDITOR # 26454
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26455                    CREDITOR # 26456                CREDITOR # 26457
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26458                    CREDITOR # 26459                CREDITOR # 26460
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26461                    CREDITOR # 26462                CREDITOR # 26463
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26464                    CREDITOR # 26465                CREDITOR # 26466
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26467                    CREDITOR # 26468                CREDITOR # 26469
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26470                    CREDITOR # 26471                CREDITOR # 26472
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26473                    CREDITOR # 26474                CREDITOR # 26475
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26476                    CREDITOR # 26477                CREDITOR # 26478
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26479                    CREDITOR # 26480                CREDITOR # 26481
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26482                    CREDITOR # 26483                CREDITOR # 26484
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26485                    CREDITOR # 26486                CREDITOR # 26487
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26488                    CREDITOR # 26489                CREDITOR # 26490
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26491                    CREDITOR # 26492                CREDITOR # 26493
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26494                    CREDITOR # 26495                CREDITOR # 26496
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26497                    CREDITOR # 26498                CREDITOR # 26499
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26500                    CREDITOR # 26501                CREDITOR # 26502
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26503                    CREDITOR # 26504                CREDITOR # 26505
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26506                    CREDITOR # 26507                CREDITOR # 26508
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26509                    CREDITOR # 26510                CREDITOR # 26511
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26512                    CREDITOR # 26513                CREDITOR # 26514
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26515                    CREDITOR # 26516                CREDITOR # 26517
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26518                    CREDITOR # 26519                CREDITOR # 26520
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26521                    CREDITOR # 26522                CREDITOR # 26523
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26524                    CREDITOR # 26525                CREDITOR # 26526
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26527                    CREDITOR # 26528                CREDITOR # 26529
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26530                    CREDITOR # 26531                CREDITOR # 26532
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26533                    CREDITOR # 26534                CREDITOR # 26535
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26536                    CREDITOR # 26537                CREDITOR # 26538
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26539                    CREDITOR # 26540                CREDITOR # 26541
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26542                    CREDITOR # 26543                CREDITOR # 26544
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26545                    CREDITOR # 26546                CREDITOR # 26547
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26548                    CREDITOR # 26549                CREDITOR # 26550
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26551                    CREDITOR # 26552                CREDITOR # 26553
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26554                    CREDITOR # 26555                CREDITOR # 26556
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26557                    CREDITOR # 26558                CREDITOR # 26559
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26560                    CREDITOR # 26561                CREDITOR # 26562
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26563                    CREDITOR # 26564                CREDITOR # 26565
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26566                    CREDITOR # 26567                CREDITOR # 26568
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26569                    CREDITOR # 26570                CREDITOR # 26571
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26572                    CREDITOR # 26573                CREDITOR # 26574
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26575                    CREDITOR # 26576                CREDITOR # 26577
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26578                    CREDITOR # 26579                CREDITOR # 26580
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26581                    CREDITOR # 26582                CREDITOR # 26583
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26584                    CREDITOR # 26585                CREDITOR # 26586
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26587                    CREDITOR # 26588                CREDITOR # 26589
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26590                    CREDITOR # 26591                CREDITOR # 26592
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26593                    CREDITOR # 26594                CREDITOR # 26595
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26596                    CREDITOR # 26597                CREDITOR # 26598
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26599                    CREDITOR # 26600                CREDITOR # 26601
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26602                    CREDITOR # 26603                CREDITOR # 26604
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26605                    CREDITOR # 26606                CREDITOR # 26607
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26608                    CREDITOR # 26609                CREDITOR # 26610
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26611                    CREDITOR # 26612                CREDITOR # 26613
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26614                    CREDITOR # 26615                CREDITOR # 26616
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26617                    CREDITOR # 26618                CREDITOR # 26619
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26620                    CREDITOR # 26621                CREDITOR # 26622
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26623                    CREDITOR # 26624                CREDITOR # 26625
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26626                    CREDITOR # 26627                CREDITOR # 26628
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26629                    CREDITOR # 26630                CREDITOR # 26631
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26632                    CREDITOR # 26633                CREDITOR # 26634
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26635                    CREDITOR # 26636                CREDITOR # 26637
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26638                    CREDITOR # 26639                CREDITOR # 26640
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26641                    CREDITOR # 26642                CREDITOR # 26643
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26644                    CREDITOR # 26645                CREDITOR # 26646
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26647                    CREDITOR # 26648                CREDITOR # 26649
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26650                    CREDITOR # 26651                CREDITOR # 26652
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26653                    CREDITOR # 26654                CREDITOR # 26655
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26656                    CREDITOR # 26657                CREDITOR # 26658
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26659                    CREDITOR # 26660                CREDITOR # 26661
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26662                    CREDITOR # 26663                CREDITOR # 26664
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26665                    CREDITOR # 26666                CREDITOR # 26667
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26668                    CREDITOR # 26669                CREDITOR # 26670
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26671                    CREDITOR # 26672                CREDITOR # 26673
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26674                    CREDITOR # 26675                CREDITOR # 26676
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26677                    CREDITOR # 26678                CREDITOR # 26679
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26680                    CREDITOR # 26681                CREDITOR # 26682
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26683                    CREDITOR # 26684                CREDITOR # 26685
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26686                    CREDITOR # 26687                CREDITOR # 26688
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26689                    CREDITOR # 26690                CREDITOR # 26691
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26692                    CREDITOR # 26693                CREDITOR # 26694
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26695                    CREDITOR # 26696                CREDITOR # 26697
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26698                    CREDITOR # 26699                CREDITOR # 26700
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26701                    CREDITOR # 26702                CREDITOR # 26703
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26704                    CREDITOR # 26705                CREDITOR # 26706
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26707                    CREDITOR # 26708                CREDITOR # 26709
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26710                    CREDITOR # 26711                CREDITOR # 26712
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26713                    CREDITOR # 26714                CREDITOR # 26715
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26716                    CREDITOR # 26717                CREDITOR # 26718
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26719                    CREDITOR # 26720                CREDITOR # 26721
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26722                    CREDITOR # 26723                CREDITOR # 26724
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26725                    CREDITOR # 26726                CREDITOR # 26727
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26728                    CREDITOR # 26729                CREDITOR # 2673
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26730                    CREDITOR # 26731                CREDITOR # 26732
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26733                    CREDITOR # 26734                CREDITOR # 26735
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26736                    CREDITOR # 26737                CREDITOR # 26738
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26739                    CREDITOR # 26740                CREDITOR # 26741
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26742                    CREDITOR # 26743                CREDITOR # 26744
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26745                    CREDITOR # 26746                CREDITOR # 26747
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26748                    CREDITOR # 26749                CREDITOR # 26750
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26751                    CREDITOR # 26752                CREDITOR # 26753
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26754                    CREDITOR # 26755                CREDITOR # 26756
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26757                    CREDITOR # 26758                CREDITOR # 26759
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26760                    CREDITOR # 26761                CREDITOR # 26762
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26763                    CREDITOR # 26764                CREDITOR # 26765
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26766                    CREDITOR # 26767                CREDITOR # 26768
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26769                    CREDITOR # 26770                CREDITOR # 26771
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26772                    CREDITOR # 26773                CREDITOR # 26774
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26775                    CREDITOR # 26776                CREDITOR # 26777
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26778                    CREDITOR # 26779                CREDITOR # 26780
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26781                    CREDITOR # 26782                CREDITOR # 26783
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26784                    CREDITOR # 26785                CREDITOR # 26786
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26787                    CREDITOR # 26788                CREDITOR # 26789
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26790                    CREDITOR # 26791                CREDITOR # 26792
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26793                    CREDITOR # 26794                CREDITOR # 26795
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26796                    CREDITOR # 26797                CREDITOR # 26798
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26799                    CREDITOR # 26800                CREDITOR # 26801
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26802                    CREDITOR # 26803                CREDITOR # 26804
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26805                    CREDITOR # 26806                CREDITOR # 26807
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26808                    CREDITOR # 26809                CREDITOR # 26810
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26811                    CREDITOR # 26812                CREDITOR # 26813
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26814                    CREDITOR # 26815                CREDITOR # 26816
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26817                    CREDITOR # 26818                CREDITOR # 26819
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26820                    CREDITOR # 26821                CREDITOR # 26822
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26823                    CREDITOR # 26824                CREDITOR # 26825
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26826                    CREDITOR # 26827                CREDITOR # 26828
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26829                    CREDITOR # 26830                CREDITOR # 26831
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26832                    CREDITOR # 26833                CREDITOR # 26834
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26835                    CREDITOR # 26836                CREDITOR # 26837
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26838                    CREDITOR # 26839                CREDITOR # 26840
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26841                    CREDITOR # 26842                CREDITOR # 26843
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26844                    CREDITOR # 26845                CREDITOR # 26846
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26847                    CREDITOR # 26848                CREDITOR # 26849
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26850                    CREDITOR # 26851                CREDITOR # 26852
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26853                    CREDITOR # 26854                CREDITOR # 26855
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26856                    CREDITOR # 26857                CREDITOR # 26858
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26859                    CREDITOR # 26860                CREDITOR # 26861
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26862                    CREDITOR # 26863                CREDITOR # 26864
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26865                    CREDITOR # 26866                CREDITOR # 26867
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26868                    CREDITOR # 26869                CREDITOR # 26870
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26871                    CREDITOR # 26872                CREDITOR # 26873
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26874                    CREDITOR # 26875                CREDITOR # 26876
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26877                    CREDITOR # 26878                CREDITOR # 26879
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26880                    CREDITOR # 26881                CREDITOR # 26882
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26883                    CREDITOR # 26884                CREDITOR # 26885
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26886                    CREDITOR # 26887                CREDITOR # 26888
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26889                    CREDITOR # 26890                CREDITOR # 26891
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26892                    CREDITOR # 26893                CREDITOR # 26894
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26895                    CREDITOR # 26896                CREDITOR # 26897
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26898                    CREDITOR # 26899                CREDITOR # 26900
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26901                    CREDITOR # 26902                CREDITOR # 26903
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26904                    CREDITOR # 26905                CREDITOR # 26906
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26907                    CREDITOR # 26908                CREDITOR # 26909
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26910                    CREDITOR # 26911                CREDITOR # 26912
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26913                    CREDITOR # 26914                CREDITOR # 26915
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26916                    CREDITOR # 26917                CREDITOR # 26918
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26919                    CREDITOR # 26920                CREDITOR # 26921
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26922                    CREDITOR # 26923                CREDITOR # 26924
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26925                    CREDITOR # 26926                CREDITOR # 26927
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26928                    CREDITOR # 26929                CREDITOR # 26930
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26931                    CREDITOR # 26932                CREDITOR # 26933
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26934                    CREDITOR # 26935                CREDITOR # 26936
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26937                    CREDITOR # 26938                CREDITOR # 26939
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26940                    CREDITOR # 26941                CREDITOR # 26942
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26943                    CREDITOR # 26944                CREDITOR # 26945
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26946                    CREDITOR # 26947                CREDITOR # 26948
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26949                    CREDITOR # 26950                CREDITOR # 26951
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26952                    CREDITOR # 26953                CREDITOR # 26954
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26955                    CREDITOR # 26956                CREDITOR # 26957
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26958                    CREDITOR # 26959                CREDITOR # 26960
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26961                    CREDITOR # 26962                CREDITOR # 26963
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26964                    CREDITOR # 26965                CREDITOR # 26966
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26967                    CREDITOR # 26968                CREDITOR # 26969
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26970                    CREDITOR # 26971                CREDITOR # 26972
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 26973                    CREDITOR # 26974                CREDITOR # 26975
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26976                    CREDITOR # 26977                CREDITOR # 26978
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26979                    CREDITOR # 26980                CREDITOR # 26981
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26982                    CREDITOR # 26983                CREDITOR # 26984
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26985                    CREDITOR # 26986                CREDITOR # 26987
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26988                    CREDITOR # 26989                CREDITOR # 26990
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26991                    CREDITOR # 26992                CREDITOR # 26993
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26994                    CREDITOR # 26995                CREDITOR # 26996
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 26997                    CREDITOR # 26998                CREDITOR # 26999
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27                       CREDITOR # 27000                CREDITOR # 27001
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27002                    CREDITOR # 27003                CREDITOR # 27004
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27005                    CREDITOR # 27006                CREDITOR # 27007
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27008                    CREDITOR # 27009                CREDITOR # 27010
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27011                    CREDITOR # 27012                CREDITOR # 27013
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27014                    CREDITOR # 27015                CREDITOR # 27016
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27017                    CREDITOR # 27018                CREDITOR # 27019
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27020                    CREDITOR # 27021                CREDITOR # 27022
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27023                    CREDITOR # 27024                CREDITOR # 27025
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27026                    CREDITOR # 27027                CREDITOR # 27028
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27029                    CREDITOR # 27030                CREDITOR # 27031
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27032                    CREDITOR # 27033                CREDITOR # 27034
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27035                    CREDITOR # 27036                CREDITOR # 27037
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27038                    CREDITOR # 27039                CREDITOR # 27040
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27041                    CREDITOR # 27042                CREDITOR # 27043
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27044                    CREDITOR # 27045                CREDITOR # 27046
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27047                    CREDITOR # 27048                CREDITOR # 27049
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27050                    CREDITOR # 27051                CREDITOR # 27052
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27053                    CREDITOR # 27054                CREDITOR # 27055
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27056                    CREDITOR # 27057                CREDITOR # 27058
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27059                    CREDITOR # 27060                CREDITOR # 27061
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27062                    CREDITOR # 27063                CREDITOR # 27064
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27065                    CREDITOR # 27066                CREDITOR # 27067
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27068                    CREDITOR # 27069                CREDITOR # 27070
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27071                    CREDITOR # 27072                CREDITOR # 27073
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27074                    CREDITOR # 27075                CREDITOR # 27076
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27077                    CREDITOR # 27078                CREDITOR # 27079
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27080                    CREDITOR # 27081                CREDITOR # 27082
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27083                    CREDITOR # 27084                CREDITOR # 27085
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27086                    CREDITOR # 27087                CREDITOR # 27088
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27089                    CREDITOR # 27090                CREDITOR # 27091
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27092                    CREDITOR # 27093                CREDITOR # 27094
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27095                    CREDITOR # 27096                CREDITOR # 27097
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27098                    CREDITOR # 27099                CREDITOR # 27100
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27101                    CREDITOR # 27102                CREDITOR # 27103
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27104                    CREDITOR # 27105                CREDITOR # 27106
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27107                    CREDITOR # 27108                CREDITOR # 27109
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27110                    CREDITOR # 27111                CREDITOR # 27112
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27113                    CREDITOR # 27114                CREDITOR # 27115
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27116                    CREDITOR # 27117                CREDITOR # 27118
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27119                    CREDITOR # 27120                CREDITOR # 27121
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27122                    CREDITOR # 27123                CREDITOR # 27124
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27125                    CREDITOR # 27126                CREDITOR # 27127
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27128                    CREDITOR # 27129                CREDITOR # 27130
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27131                    CREDITOR # 27132                CREDITOR # 27133
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27134                    CREDITOR # 27135                CREDITOR # 27136
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27137                    CREDITOR # 27138                CREDITOR # 27139
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27140                    CREDITOR # 27141                CREDITOR # 27142
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27143                    CREDITOR # 27144                CREDITOR # 27145
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27146                    CREDITOR # 27147                CREDITOR # 27148
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27149                    CREDITOR # 27150                CREDITOR # 27151
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27152                    CREDITOR # 27153                CREDITOR # 27154
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27155                    CREDITOR # 27156                CREDITOR # 27157
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27158                    CREDITOR # 27159                CREDITOR # 27160
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27161                    CREDITOR # 27162                CREDITOR # 27163
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27164                    CREDITOR # 27165                CREDITOR # 27166
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27167                    CREDITOR # 27168                CREDITOR # 27169
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27170                    CREDITOR # 27171                CREDITOR # 27172
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27173                    CREDITOR # 27174                CREDITOR # 27175
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27176                    CREDITOR # 27177                CREDITOR # 27178
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27179                    CREDITOR # 27180                CREDITOR # 27181
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27182                    CREDITOR # 27183                CREDITOR # 27184
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27185                    CREDITOR # 27186                CREDITOR # 27187
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27188                    CREDITOR # 27189                CREDITOR # 27190
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27191                    CREDITOR # 27192                CREDITOR # 27193
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27194                    CREDITOR # 27195                CREDITOR # 27196
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27197                    CREDITOR # 27198                CREDITOR # 27199
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27200                    CREDITOR # 27201                CREDITOR # 27202
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27203                    CREDITOR # 27204                CREDITOR # 27205
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27206                    CREDITOR # 27207                CREDITOR # 27208
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27209                    CREDITOR # 27210                CREDITOR # 27211
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27212                    CREDITOR # 27213                CREDITOR # 27214
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27215                    CREDITOR # 27216                CREDITOR # 27217
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27218                    CREDITOR # 27219                CREDITOR # 27220
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27221                    CREDITOR # 27222                CREDITOR # 27223
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27224                    CREDITOR # 27225                CREDITOR # 27226
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27227                    CREDITOR # 27228                CREDITOR # 27229
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27230                    CREDITOR # 27231                CREDITOR # 27232
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27233                    CREDITOR # 27234                CREDITOR # 27235
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27236                    CREDITOR # 27237                CREDITOR # 27238
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27239                    CREDITOR # 27240                CREDITOR # 27241
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27242                    CREDITOR # 27243                CREDITOR # 27244
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27245                    CREDITOR # 27246                CREDITOR # 27247
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27248                    CREDITOR # 27249                CREDITOR # 27250
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27251                    CREDITOR # 27252                CREDITOR # 27253
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27254                    CREDITOR # 27255                CREDITOR # 27256
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27257                    CREDITOR # 27258                CREDITOR # 27259
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27260                    CREDITOR # 27261                CREDITOR # 27262
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27263                    CREDITOR # 27264                CREDITOR # 27265
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27266                    CREDITOR # 27267                CREDITOR # 27268
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27269                    CREDITOR # 27270                CREDITOR # 27271
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27272                    CREDITOR # 27273                CREDITOR # 27274
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27275                    CREDITOR # 27276                CREDITOR # 27277
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27278                    CREDITOR # 27279                CREDITOR # 27280
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27281                    CREDITOR # 27282                CREDITOR # 27283
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27284                    CREDITOR # 27285                CREDITOR # 27286
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27287                    CREDITOR # 27288                CREDITOR # 27289
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27290                    CREDITOR # 27291                CREDITOR # 27292
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27293                    CREDITOR # 27294                CREDITOR # 27295
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27296                    CREDITOR # 27297                CREDITOR # 27298
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27299                    CREDITOR # 27300                CREDITOR # 27301
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27302                    CREDITOR # 27303                CREDITOR # 27304
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27305                    CREDITOR # 27306                CREDITOR # 27307
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27308                    CREDITOR # 27309                CREDITOR # 27310
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27311                    CREDITOR # 27312                CREDITOR # 27313
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27314                    CREDITOR # 27315                CREDITOR # 27316
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27317                    CREDITOR # 27318                CREDITOR # 27319
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27320                    CREDITOR # 27321                CREDITOR # 27322
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27323                    CREDITOR # 27324                CREDITOR # 27325
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27326                    CREDITOR # 27327                CREDITOR # 27328
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27329                    CREDITOR # 27330                CREDITOR # 27331
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27332                    CREDITOR # 27333                CREDITOR # 27334
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27335                    CREDITOR # 27336                CREDITOR # 27337
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27338                    CREDITOR # 27339                CREDITOR # 27340
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27341                    CREDITOR # 27342                CREDITOR # 27343
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27344                    CREDITOR # 27345                CREDITOR # 27346
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27347                    CREDITOR # 27348                CREDITOR # 27349
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27350                    CREDITOR # 27351                CREDITOR # 27352
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27353                    CREDITOR # 27354                CREDITOR # 27355
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27356                    CREDITOR # 27357                CREDITOR # 27358
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27359                    CREDITOR # 27360                CREDITOR # 27361
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27362                    CREDITOR # 27363                CREDITOR # 27364
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27365                    CREDITOR # 27366                CREDITOR # 27367
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27368                    CREDITOR # 27369                CREDITOR # 27370
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27371                    CREDITOR # 27372                CREDITOR # 27373
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27374                    CREDITOR # 27375                CREDITOR # 27376
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27377                    CREDITOR # 27378                CREDITOR # 27379
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27380                    CREDITOR # 27381                CREDITOR # 27382
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27383                    CREDITOR # 27384                CREDITOR # 27385
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27386                    CREDITOR # 27387                CREDITOR # 27388
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27389                    CREDITOR # 27390                CREDITOR # 27391
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27392                    CREDITOR # 27393                CREDITOR # 27394
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27395                    CREDITOR # 27396                CREDITOR # 27397
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27398                    CREDITOR # 27399                CREDITOR # 27400
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27401                    CREDITOR # 27402                CREDITOR # 27403
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27404                    CREDITOR # 27405                CREDITOR # 27406
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27407                    CREDITOR # 27408                CREDITOR # 27409
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27410                    CREDITOR # 27411                CREDITOR # 27412
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27413                    CREDITOR # 27414                CREDITOR # 27415
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27416                    CREDITOR # 27417                CREDITOR # 27418
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27419                    CREDITOR # 27420                CREDITOR # 27421
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27422                    CREDITOR # 27423                CREDITOR # 27424
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27425                    CREDITOR # 27426                CREDITOR # 27427
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27428                    CREDITOR # 27429                CREDITOR # 27430
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27431                    CREDITOR # 27432                CREDITOR # 27433
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27434                    CREDITOR # 27435                CREDITOR # 27436
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27437                    CREDITOR # 27438                CREDITOR # 27439
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27440                    CREDITOR # 27441                CREDITOR # 27442
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27443                    CREDITOR # 27444                CREDITOR # 27445
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27446                    CREDITOR # 27447                CREDITOR # 27448
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27449                    CREDITOR # 27450                CREDITOR # 27451
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27452                    CREDITOR # 27453                CREDITOR # 27454
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27455                    CREDITOR # 27456                CREDITOR # 27457
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27458                    CREDITOR # 27459                CREDITOR # 27460
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27461                    CREDITOR # 27462                CREDITOR # 27463
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27464                    CREDITOR # 27465                CREDITOR # 27466
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27467                    CREDITOR # 27468                CREDITOR # 27469
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27470                    CREDITOR # 27471                CREDITOR # 27472
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27473                    CREDITOR # 27474                CREDITOR # 27475
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27476                    CREDITOR # 27477                CREDITOR # 27478
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27479                    CREDITOR # 27480                CREDITOR # 27481
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27482                    CREDITOR # 27483                CREDITOR # 27484
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27485                    CREDITOR # 27486                CREDITOR # 27487
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27488                    CREDITOR # 27489                CREDITOR # 27490
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27491                    CREDITOR # 27492                CREDITOR # 27493
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27494                    CREDITOR # 27495                CREDITOR # 27496
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27497                    CREDITOR # 27498                CREDITOR # 27499
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27500                    CREDITOR # 27501                CREDITOR # 27502
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27503                    CREDITOR # 27504                CREDITOR # 27505
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27506                    CREDITOR # 27507                CREDITOR # 27508
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27509                    CREDITOR # 27510                CREDITOR # 27511
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27512                    CREDITOR # 27513                CREDITOR # 27514
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CREDITOR # 27515                    CREDITOR # 27516                CREDITOR # 27517
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27518                    CREDITOR # 27519                CREDITOR # 27520
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27521                    CREDITOR # 27522                CREDITOR # 27523
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27524                    CREDITOR # 27525                CREDITOR # 27526
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27527                    CREDITOR # 27528                CREDITOR # 27529
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27530                    CREDITOR # 27531                CREDITOR # 27532
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27533                    CREDITOR # 27534                CREDITOR # 27535
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27536                    CREDITOR # 27537                CREDITOR # 27538
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27539                    CREDITOR # 27540                CREDITOR # 27541
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27542                    CREDITOR # 27543                CREDITOR # 27544
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27545                    CREDITOR # 27546                CREDITOR # 27547
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27548                    CREDITOR # 27549                CREDITOR # 27550
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27551                    CREDITOR # 27552                CREDITOR # 27553
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27554                    CREDITOR # 27555                CREDITOR # 27556
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27557                    CREDITOR # 27558                CREDITOR # 27559
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27560                    CREDITOR # 27561                CREDITOR # 27562
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27563                    CREDITOR # 27564                CREDITOR # 27565
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27566                    CREDITOR # 27567                CREDITOR # 27568
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27569                    CREDITOR # 27570                CREDITOR # 27571
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27572                    CREDITOR # 27573                CREDITOR # 27574
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27575                    CREDITOR # 27576                CREDITOR # 27577
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27578                    CREDITOR # 27579                CREDITOR # 27580
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27581                    CREDITOR # 27582                CREDITOR # 27583
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27584                    CREDITOR # 27585                CREDITOR # 27586
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27587                    CREDITOR # 27588                CREDITOR # 27589
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27590                    CREDITOR # 27591                CREDITOR # 27592
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27593                    CREDITOR # 27594                CREDITOR # 27595
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27596                    CREDITOR # 27597                CREDITOR # 27598
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27599                    CREDITOR # 27600                CREDITOR # 27601
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27602                    CREDITOR # 27603                CREDITOR # 27604
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27605                    CREDITOR # 27606                CREDITOR # 27607
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27608                    CREDITOR # 27609                CREDITOR # 27610
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27611                    CREDITOR # 27612                CREDITOR # 27613
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27614                    CREDITOR # 27615                CREDITOR # 27616
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27617                    CREDITOR # 27618                CREDITOR # 27619
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27620                    CREDITOR # 27621                CREDITOR # 27622
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27623                    CREDITOR # 27624                CREDITOR # 27625
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27626                    CREDITOR # 27627                CREDITOR # 27628
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27629                    CREDITOR # 27630                CREDITOR # 27631
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27632                    CREDITOR # 27633                CREDITOR # 27634
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27635                    CREDITOR # 27636                CREDITOR # 27637
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27638                    CREDITOR # 27639                CREDITOR # 27640
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27641                    CREDITOR # 27642                CREDITOR # 27643
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27644                    CREDITOR # 27645                CREDITOR # 27646
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27647                    CREDITOR # 27648                CREDITOR # 27649
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27650                    CREDITOR # 27651                CREDITOR # 27652
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27653                    CREDITOR # 27654                CREDITOR # 27655
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27656                    CREDITOR # 27657                CREDITOR # 27658
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27659                    CREDITOR # 27660                CREDITOR # 27661
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27662                    CREDITOR # 27663                CREDITOR # 27664
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27665                    CREDITOR # 27666                CREDITOR # 27667
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27668                    CREDITOR # 27669                CREDITOR # 27670
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27671                    CREDITOR # 27672                CREDITOR # 27673
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27674                    CREDITOR # 27675                CREDITOR # 27676
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27677                    CREDITOR # 27678                CREDITOR # 27679
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27680                    CREDITOR # 27681                CREDITOR # 27682
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27683                    CREDITOR # 27684                CREDITOR # 27685
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27686                    CREDITOR # 27687                CREDITOR # 27688
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27689                    CREDITOR # 27690                CREDITOR # 27691
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27692                    CREDITOR # 27693                CREDITOR # 27694
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27695                    CREDITOR # 27696                CREDITOR # 27697
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27698                    CREDITOR # 27699                CREDITOR # 27700
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27701                    CREDITOR # 27702                CREDITOR # 27703
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27704                    CREDITOR # 27705                CREDITOR # 27706
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27707                    CREDITOR # 27708                CREDITOR # 27709
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27710                    CREDITOR # 27711                CREDITOR # 27712
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27713                    CREDITOR # 27714                CREDITOR # 27715
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27716                    CREDITOR # 27717                CREDITOR # 27718
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27719                    CREDITOR # 27720                CREDITOR # 27721
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27722                    CREDITOR # 27723                CREDITOR # 27724
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27725                    CREDITOR # 27726                CREDITOR # 27727
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27728                    CREDITOR # 27729                CREDITOR # 27730
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27731                    CREDITOR # 27732                CREDITOR # 27733
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27734                    CREDITOR # 27735                CREDITOR # 27736
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27737                    CREDITOR # 27738                CREDITOR # 27739
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27740                    CREDITOR # 27741                CREDITOR # 27742
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27743                    CREDITOR # 27744                CREDITOR # 27745
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27746                    CREDITOR # 27747                CREDITOR # 27748
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27749                    CREDITOR # 27750                CREDITOR # 27751
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27752                    CREDITOR # 27753                CREDITOR # 27754
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27755                    CREDITOR # 27756                CREDITOR # 27757
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27758                    CREDITOR # 27759                CREDITOR # 27760
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27761                    CREDITOR # 27762                CREDITOR # 27763
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27764                    CREDITOR # 27765                CREDITOR # 27766
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27767                    CREDITOR # 27768                CREDITOR # 27769
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27770                    CREDITOR # 27771                CREDITOR # 27772
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27773                    CREDITOR # 27774                CREDITOR # 27775
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27776                    CREDITOR # 27777                CREDITOR # 27778
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27779                    CREDITOR # 27780                CREDITOR # 27781
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27782                    CREDITOR # 27783                CREDITOR # 27784
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27785                    CREDITOR # 27786                CREDITOR # 27787
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27788                    CREDITOR # 27789                CREDITOR # 27790
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27791                    CREDITOR # 27792                CREDITOR # 27793
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27794                    CREDITOR # 27795                CREDITOR # 27796
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27797                    CREDITOR # 27798                CREDITOR # 27799
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27800                    CREDITOR # 27801                CREDITOR # 27802
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27803                    CREDITOR # 27804                CREDITOR # 27805
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27806                    CREDITOR # 27807                CREDITOR # 27808
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27809                    CREDITOR # 27810                CREDITOR # 27811
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27812                    CREDITOR # 27813                CREDITOR # 27814
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27815                    CREDITOR # 27816                CREDITOR # 27817
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27818                    CREDITOR # 27819                CREDITOR # 27820
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27821                    CREDITOR # 27822                CREDITOR # 27823
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27824                    CREDITOR # 27825                CREDITOR # 27826
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27827                    CREDITOR # 27828                CREDITOR # 27829
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27830                    CREDITOR # 27831                CREDITOR # 27832
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27833                    CREDITOR # 27834                CREDITOR # 27835
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27836                    CREDITOR # 27837                CREDITOR # 27838
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27839                    CREDITOR # 27840                CREDITOR # 27841
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27842                    CREDITOR # 27843                CREDITOR # 27844
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27845                    CREDITOR # 27846                CREDITOR # 27847
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27848                    CREDITOR # 27849                CREDITOR # 27850
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27851                    CREDITOR # 27852                CREDITOR # 27853
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27854                    CREDITOR # 27855                CREDITOR # 27856
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27857                    CREDITOR # 27858                CREDITOR # 27859
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27860                    CREDITOR # 27861                CREDITOR # 27862
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27863                    CREDITOR # 27864                CREDITOR # 27865
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27866                    CREDITOR # 27867                CREDITOR # 27868
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27869                    CREDITOR # 27870                CREDITOR # 27871
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27872                    CREDITOR # 27873                CREDITOR # 27874
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27875                    CREDITOR # 27876                CREDITOR # 27877
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27878                    CREDITOR # 27879                CREDITOR # 27880
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27881                    CREDITOR # 27882                CREDITOR # 27883
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27884                    CREDITOR # 27885                CREDITOR # 27886
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27887                    CREDITOR # 27888                CREDITOR # 27889
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27890                    CREDITOR # 27891                CREDITOR # 27892
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27893                    CREDITOR # 27894                CREDITOR # 27895
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27896                    CREDITOR # 27897                CREDITOR # 27898
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27899                    CREDITOR # 27900                CREDITOR # 27901
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27902                    CREDITOR # 27903                CREDITOR # 27904
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27905                    CREDITOR # 27906                CREDITOR # 27907
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27908                    CREDITOR # 27909                CREDITOR # 27910
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27911                    CREDITOR # 27912                CREDITOR # 27913
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27914                    CREDITOR # 27915                CREDITOR # 27916
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27917                    CREDITOR # 27918                CREDITOR # 27919
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27920                    CREDITOR # 27921                CREDITOR # 27922
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27923                    CREDITOR # 27924                CREDITOR # 27925
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27926                    CREDITOR # 27927                CREDITOR # 27928
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27929                    CREDITOR # 27930                CREDITOR # 27931
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27932                    CREDITOR # 27933                CREDITOR # 27934
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27935                    CREDITOR # 27936                CREDITOR # 27937
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27938                    CREDITOR # 27939                CREDITOR # 27940
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27941                    CREDITOR # 27942                CREDITOR # 27943
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27944                    CREDITOR # 27945                CREDITOR # 27946
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27947                    CREDITOR # 27948                CREDITOR # 27949
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27950                    CREDITOR # 27951                CREDITOR # 27952
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27953                    CREDITOR # 27954                CREDITOR # 27955
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27956                    CREDITOR # 27957                CREDITOR # 27958
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27959                    CREDITOR # 27960                CREDITOR # 27961
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27962                    CREDITOR # 27963                CREDITOR # 27964
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27965                    CREDITOR # 27966                CREDITOR # 27967
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27968                    CREDITOR # 27969                CREDITOR # 27970
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27971                    CREDITOR # 27972                CREDITOR # 27973
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27974                    CREDITOR # 27975                CREDITOR # 27976
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27977                    CREDITOR # 27978                CREDITOR # 27979
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27980                    CREDITOR # 27981                CREDITOR # 27982
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27983                    CREDITOR # 27984                CREDITOR # 27985
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27986                    CREDITOR # 27987                CREDITOR # 27988
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27989                    CREDITOR # 27990                CREDITOR # 27991
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 27992                    CREDITOR # 27993                CREDITOR # 27994
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27995                    CREDITOR # 27996                CREDITOR # 27997
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 27998                    CREDITOR # 27999                CREDITOR # 28000
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28001                    CREDITOR # 28002                CREDITOR # 28003
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28004                    CREDITOR # 28005                CREDITOR # 28006
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28007                    CREDITOR # 28008                CREDITOR # 28009
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28010                    CREDITOR # 28011                CREDITOR # 28012
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28013                    CREDITOR # 28014                CREDITOR # 28015
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28016                    CREDITOR # 28017                CREDITOR # 28018
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28019                    CREDITOR # 28020                CREDITOR # 28021
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28022                    CREDITOR # 28023                CREDITOR # 28024
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28025                    CREDITOR # 28026                CREDITOR # 28027
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28028                    CREDITOR # 28029                CREDITOR # 28030
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28031                    CREDITOR # 28032                CREDITOR # 28033
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28034                    CREDITOR # 28035                CREDITOR # 28036
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28037                    CREDITOR # 28038                CREDITOR # 28039
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28040                    CREDITOR # 28041                CREDITOR # 28042
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28043                    CREDITOR # 28044                CREDITOR # 28045
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28046                    CREDITOR # 28047                CREDITOR # 28048
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28049                    CREDITOR # 28050                CREDITOR # 28051
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28052                    CREDITOR # 28053                CREDITOR # 28054
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28055                    CREDITOR # 28056                CREDITOR # 28057
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28058                    CREDITOR # 28059                CREDITOR # 28060
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28061                    CREDITOR # 28062                CREDITOR # 28063
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28064                    CREDITOR # 28065                CREDITOR # 28066
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28067                    CREDITOR # 28068                CREDITOR # 28069
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28070                    CREDITOR # 28071                CREDITOR # 28072
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28073                    CREDITOR # 28074                CREDITOR # 28075
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28076                    CREDITOR # 28077                CREDITOR # 28078
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28079                    CREDITOR # 28080                CREDITOR # 28081
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28082                    CREDITOR # 28083                CREDITOR # 28084
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28085                    CREDITOR # 28086                CREDITOR # 28087
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28088                    CREDITOR # 28089                CREDITOR # 28090
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28091                    CREDITOR # 28092                CREDITOR # 28093
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28094                    CREDITOR # 28095                CREDITOR # 28096
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28097                    CREDITOR # 28098                CREDITOR # 28099
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28100                    CREDITOR # 28101                CREDITOR # 28102
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28103                    CREDITOR # 28104                CREDITOR # 28105
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28106                    CREDITOR # 28107                CREDITOR # 28108
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28109                    CREDITOR # 28110                CREDITOR # 28111
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28112                    CREDITOR # 28113                CREDITOR # 28114
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28115                    CREDITOR # 28116                CREDITOR # 28117
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28118                    CREDITOR # 28119                CREDITOR # 28120
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28121                    CREDITOR # 28122                CREDITOR # 28123
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28124                    CREDITOR # 28125                CREDITOR # 28126
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28127                    CREDITOR # 28128                CREDITOR # 28129
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28130                    CREDITOR # 28131                CREDITOR # 28132
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28133                    CREDITOR # 28134                CREDITOR # 28135
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28136                    CREDITOR # 28137                CREDITOR # 28138
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28139                    CREDITOR # 28140                CREDITOR # 28141
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28142                    CREDITOR # 28143                CREDITOR # 28144
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28145                    CREDITOR # 28146                CREDITOR # 28147
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28148                    CREDITOR # 28149                CREDITOR # 28150
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28151                    CREDITOR # 28152                CREDITOR # 28153
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28154                    CREDITOR # 28155                CREDITOR # 28156
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28157                    CREDITOR # 28158                CREDITOR # 28159
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28160                    CREDITOR # 28161                CREDITOR # 28162
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28163                    CREDITOR # 28164                CREDITOR # 28165
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28166                    CREDITOR # 28167                CREDITOR # 28168
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28169                    CREDITOR # 28170                CREDITOR # 28171
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28172                    CREDITOR # 28173                CREDITOR # 28174
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28175                    CREDITOR # 28176                CREDITOR # 28177
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28178                    CREDITOR # 28179                CREDITOR # 28180
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28181                    CREDITOR # 28182                CREDITOR # 28183
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28184                    CREDITOR # 28185                CREDITOR # 28186
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28187                    CREDITOR # 28188                CREDITOR # 28189
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28190                    CREDITOR # 28191                CREDITOR # 28192
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28193                    CREDITOR # 28194                CREDITOR # 28195
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28196                    CREDITOR # 28197                CREDITOR # 28198
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28199                    CREDITOR # 28200                CREDITOR # 28201
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28202                    CREDITOR # 28203                CREDITOR # 28204
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28205                    CREDITOR # 28206                CREDITOR # 28207
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28208                    CREDITOR # 28209                CREDITOR # 28210
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28211                    CREDITOR # 28212                CREDITOR # 28213
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28214                    CREDITOR # 28215                CREDITOR # 28216
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28217                    CREDITOR # 28218                CREDITOR # 28219
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28220                    CREDITOR # 28221                CREDITOR # 28222
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28223                    CREDITOR # 28224                CREDITOR # 28225
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28226                    CREDITOR # 28227                CREDITOR # 28228
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28229                    CREDITOR # 28230                CREDITOR # 28231
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28232                    CREDITOR # 28233                CREDITOR # 28234
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28235                    CREDITOR # 28236                CREDITOR # 28237
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28238                    CREDITOR # 28239                CREDITOR # 28240
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28241                    CREDITOR # 28242                CREDITOR # 28243
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28244                    CREDITOR # 28245                CREDITOR # 28246
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28247                    CREDITOR # 28248                CREDITOR # 28249
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28250                    CREDITOR # 28251                CREDITOR # 28252
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28253                    CREDITOR # 28254                CREDITOR # 28255
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28256                    CREDITOR # 28257                CREDITOR # 28258
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28259                    CREDITOR # 28260                CREDITOR # 28261
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28262                    CREDITOR # 28263                CREDITOR # 28264
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28265                    CREDITOR # 28266                CREDITOR # 28267
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28268                    CREDITOR # 28269                CREDITOR # 28270
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28271                    CREDITOR # 28272                CREDITOR # 28273
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28274                    CREDITOR # 28275                CREDITOR # 28276
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28277                    CREDITOR # 28278                CREDITOR # 28279
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28280                    CREDITOR # 28281                CREDITOR # 28282
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28283                    CREDITOR # 28284                CREDITOR # 28285
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28286                    CREDITOR # 28287                CREDITOR # 28288
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28289                    CREDITOR # 28290                CREDITOR # 28291
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28292                    CREDITOR # 28293                CREDITOR # 28294
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28295                    CREDITOR # 28296                CREDITOR # 28297
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28298                    CREDITOR # 28299                CREDITOR # 28300
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28301                    CREDITOR # 28302                CREDITOR # 28303
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28304                    CREDITOR # 28305                CREDITOR # 28306
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28307                    CREDITOR # 28308                CREDITOR # 28309
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28310                    CREDITOR # 28311                CREDITOR # 28312
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28313                    CREDITOR # 28314                CREDITOR # 28315
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28316                    CREDITOR # 28317                CREDITOR # 28318
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28319                    CREDITOR # 28320                CREDITOR # 28321
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28322                    CREDITOR # 28323                CREDITOR # 28324
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28325                    CREDITOR # 28326                CREDITOR # 28327
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28328                    CREDITOR # 28329                CREDITOR # 28330
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28331                    CREDITOR # 28332                CREDITOR # 28333
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28334                    CREDITOR # 28335                CREDITOR # 28336
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28337                    CREDITOR # 28338                CREDITOR # 28339
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28340                    CREDITOR # 28341                CREDITOR # 28342
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28343                    CREDITOR # 28344                CREDITOR # 28345
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28346                    CREDITOR # 28347                CREDITOR # 28348
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28349                    CREDITOR # 28350                CREDITOR # 28351
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28352                    CREDITOR # 28353                CREDITOR # 28354
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28355                    CREDITOR # 28356                CREDITOR # 28357
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28358                    CREDITOR # 28359                CREDITOR # 28360
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28361                    CREDITOR # 28362                CREDITOR # 28363
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28364                    CREDITOR # 28365                CREDITOR # 28366
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28367                    CREDITOR # 28368                CREDITOR # 28369
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28370                    CREDITOR # 28371                CREDITOR # 28372
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28373                    CREDITOR # 28374                CREDITOR # 28375
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28376                    CREDITOR # 28377                CREDITOR # 28378
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28379                    CREDITOR # 28380                CREDITOR # 28381
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28382                    CREDITOR # 28383                CREDITOR # 28384
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28385                    CREDITOR # 28386                CREDITOR # 28387
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28388                    CREDITOR # 28389                CREDITOR # 28390
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28391                    CREDITOR # 28392                CREDITOR # 28393
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28394                    CREDITOR # 28395                CREDITOR # 28396
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28397                    CREDITOR # 28398                CREDITOR # 28399
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28400                    CREDITOR # 28401                CREDITOR # 28402
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28403                    CREDITOR # 28404                CREDITOR # 28405
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28406                    CREDITOR # 28407                CREDITOR # 28408
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28409                    CREDITOR # 28410                CREDITOR # 28411
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28412                    CREDITOR # 28413                CREDITOR # 28414
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28415                    CREDITOR # 28416                CREDITOR # 28417
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28418                    CREDITOR # 28419                CREDITOR # 28420
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28421                    CREDITOR # 28422                CREDITOR # 28423
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28424                    CREDITOR # 28425                CREDITOR # 28426
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28427                    CREDITOR # 28428                CREDITOR # 28429
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28430                    CREDITOR # 28431                CREDITOR # 28432
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28433                    CREDITOR # 28434                CREDITOR # 28435
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28436                    CREDITOR # 28437                CREDITOR # 28438
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28439                    CREDITOR # 28440                CREDITOR # 28441
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28442                    CREDITOR # 28443                CREDITOR # 28444
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28445                    CREDITOR # 28446                CREDITOR # 28447
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28448                    CREDITOR # 28449                CREDITOR # 28450
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28451                    CREDITOR # 28452                CREDITOR # 28453
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28454                    CREDITOR # 28455                CREDITOR # 28456
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28457                    CREDITOR # 28458                CREDITOR # 28459
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28460                    CREDITOR # 28461                CREDITOR # 28462
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28463                    CREDITOR # 28464                CREDITOR # 28465
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28466                    CREDITOR # 28467                CREDITOR # 28468
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28469                    CREDITOR # 28470                CREDITOR # 28471
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28472                    CREDITOR # 28473                CREDITOR # 28474
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28475                    CREDITOR # 28476                CREDITOR # 28477
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28478                    CREDITOR # 28479                CREDITOR # 28480
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28481                    CREDITOR # 28482                CREDITOR # 28483
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28484                    CREDITOR # 28485                CREDITOR # 28486
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28487                    CREDITOR # 28488                CREDITOR # 28489
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28490                    CREDITOR # 28491                CREDITOR # 28492
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28493                    CREDITOR # 28494                CREDITOR # 28495
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28496                    CREDITOR # 28497                CREDITOR # 28498
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28499                    CREDITOR # 28500                CREDITOR # 28501
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28502                    CREDITOR # 28503                CREDITOR # 28504
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28505                    CREDITOR # 28506                CREDITOR # 28507
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28508                    CREDITOR # 28509                CREDITOR # 28510
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28511                    CREDITOR # 28512                CREDITOR # 28513
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28514                    CREDITOR # 28515                CREDITOR # 28516
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28517                    CREDITOR # 28518                CREDITOR # 28519
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28520                    CREDITOR # 28521                CREDITOR # 28522
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28523                    CREDITOR # 28524                CREDITOR # 28525
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28526                    CREDITOR # 28527                CREDITOR # 28528
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28529                    CREDITOR # 28530                CREDITOR # 28531
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28532                    CREDITOR # 28533                CREDITOR # 28534
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28535                    CREDITOR # 28536                CREDITOR # 28537
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28538                    CREDITOR # 28539                CREDITOR # 28540
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28541                    CREDITOR # 28542                CREDITOR # 28543
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28544                    CREDITOR # 28545                CREDITOR # 28546
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28547                    CREDITOR # 28548                CREDITOR # 28549
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28550                    CREDITOR # 28551                CREDITOR # 28552
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28553                    CREDITOR # 28554                CREDITOR # 28555
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28556                    CREDITOR # 28557                CREDITOR # 28558
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28559                    CREDITOR # 28560                CREDITOR # 28561
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28562                    CREDITOR # 28563                CREDITOR # 28564
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28565                    CREDITOR # 28566                CREDITOR # 28567
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28568                    CREDITOR # 28569                CREDITOR # 28570
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28571                    CREDITOR # 28572                CREDITOR # 28573
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28574                    CREDITOR # 28575                CREDITOR # 28576
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28577                    CREDITOR # 28578                CREDITOR # 28579
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28580                    CREDITOR # 28581                CREDITOR # 28582
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28583                    CREDITOR # 28584                CREDITOR # 28585
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28586                    CREDITOR # 28587                CREDITOR # 28588
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28589                    CREDITOR # 28590                CREDITOR # 28591
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28592                    CREDITOR # 28593                CREDITOR # 28594
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28595                    CREDITOR # 28596                CREDITOR # 28597
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28598                    CREDITOR # 28599                CREDITOR # 28600
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28601                    CREDITOR # 28602                CREDITOR # 28603
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28604                    CREDITOR # 28605                CREDITOR # 28606
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28607                    CREDITOR # 28608                CREDITOR # 28609
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28610                    CREDITOR # 28611                CREDITOR # 28612
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28613                    CREDITOR # 28614                CREDITOR # 28615
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28616                    CREDITOR # 28617                CREDITOR # 28618
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28619                    CREDITOR # 28620                CREDITOR # 28621
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28622                    CREDITOR # 28623                CREDITOR # 28624
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28625                    CREDITOR # 28626                CREDITOR # 28627
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28628                    CREDITOR # 28629                CREDITOR # 28630
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28631                    CREDITOR # 28632                CREDITOR # 28633
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28634                    CREDITOR # 28635                CREDITOR # 28636
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28637                    CREDITOR # 28638                CREDITOR # 28639
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28640                    CREDITOR # 28641                CREDITOR # 28642
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28643                    CREDITOR # 28644                CREDITOR # 28645
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28646                    CREDITOR # 28647                CREDITOR # 28648
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28649                    CREDITOR # 28650                CREDITOR # 28651
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28652                    CREDITOR # 28653                CREDITOR # 28654
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28655                    CREDITOR # 28656                CREDITOR # 28657
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28658                    CREDITOR # 28659                CREDITOR # 28660
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28661                    CREDITOR # 28662                CREDITOR # 28663
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28664                    CREDITOR # 28665                CREDITOR # 28666
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28667                    CREDITOR # 28668                CREDITOR # 28669
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28670                    CREDITOR # 28671                CREDITOR # 28672
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28673                    CREDITOR # 28674                CREDITOR # 28675
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28676                    CREDITOR # 28677                CREDITOR # 28678
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28679                    CREDITOR # 28680                CREDITOR # 28681
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28682                    CREDITOR # 28683                CREDITOR # 28684
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28685                    CREDITOR # 28686                CREDITOR # 28687
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28688                    CREDITOR # 28689                CREDITOR # 28690
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28691                    CREDITOR # 28692                CREDITOR # 28693
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28694                    CREDITOR # 28695                CREDITOR # 28696
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28697                    CREDITOR # 28698                CREDITOR # 28699
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28700                    CREDITOR # 28701                CREDITOR # 28702
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28703                    CREDITOR # 28704                CREDITOR # 28705
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28706                    CREDITOR # 28707                CREDITOR # 28708
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28709                    CREDITOR # 28710                CREDITOR # 28711
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28712                    CREDITOR # 28713                CREDITOR # 28714
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28715                    CREDITOR # 28716                CREDITOR # 28717
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28718                    CREDITOR # 28719                CREDITOR # 28720
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28721                    CREDITOR # 28722                CREDITOR # 28723
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28724                    CREDITOR # 28725                CREDITOR # 28726
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28727                    CREDITOR # 28728                CREDITOR # 28729
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28730                    CREDITOR # 28731                CREDITOR # 28732
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28733                    CREDITOR # 28734                CREDITOR # 28735
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28736                    CREDITOR # 28737                CREDITOR # 28738
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28739                    CREDITOR # 28740                CREDITOR # 28741
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28742                    CREDITOR # 28743                CREDITOR # 28744
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28745                    CREDITOR # 28746                CREDITOR # 28747
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28748                    CREDITOR # 28749                CREDITOR # 28750
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28751                    CREDITOR # 28752                CREDITOR # 28753
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28754                    CREDITOR # 28755                CREDITOR # 28756
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28757                    CREDITOR # 28758                CREDITOR # 28759
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28760                    CREDITOR # 28761                CREDITOR # 28762
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28763                    CREDITOR # 28764                CREDITOR # 28765
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28766                    CREDITOR # 28767                CREDITOR # 28768
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28769                    CREDITOR # 28770                CREDITOR # 28771
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28772                    CREDITOR # 28773                CREDITOR # 28774
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28775                    CREDITOR # 28776                CREDITOR # 28777
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28778                    CREDITOR # 28779                CREDITOR # 28780
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28781                    CREDITOR # 28782                CREDITOR # 28783
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28784                    CREDITOR # 28785                CREDITOR # 28786
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28787                    CREDITOR # 28788                CREDITOR # 28789
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28790                    CREDITOR # 28791                CREDITOR # 28792
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28793                    CREDITOR # 28794                CREDITOR # 28795
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28796                    CREDITOR # 28797                CREDITOR # 28798
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28799                    CREDITOR # 28800                CREDITOR # 28801
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28802                    CREDITOR # 28803                CREDITOR # 28804
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28805                    CREDITOR # 28806                CREDITOR # 28807
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28808                    CREDITOR # 28809                CREDITOR # 28810
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28811                    CREDITOR # 28812                CREDITOR # 28813
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28814                    CREDITOR # 28815                CREDITOR # 28816
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28817                    CREDITOR # 28818                CREDITOR # 28819
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28820                    CREDITOR # 28821                CREDITOR # 28822
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28823                    CREDITOR # 28824                CREDITOR # 28825
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28826                    CREDITOR # 28827                CREDITOR # 28828
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28829                    CREDITOR # 28830                CREDITOR # 28831
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28832                    CREDITOR # 28833                CREDITOR # 28834
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28835                    CREDITOR # 28836                CREDITOR # 28837
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28838                    CREDITOR # 28839                CREDITOR # 28840
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28841                    CREDITOR # 28842                CREDITOR # 28843
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28844                    CREDITOR # 28845                CREDITOR # 28846
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28847                    CREDITOR # 28848                CREDITOR # 28849
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28850                    CREDITOR # 28851                CREDITOR # 28852
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28853                    CREDITOR # 28854                CREDITOR # 28855
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28856                    CREDITOR # 28857                CREDITOR # 28858
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28859                    CREDITOR # 28860                CREDITOR # 28861
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28862                    CREDITOR # 28863                CREDITOR # 28864
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28865                    CREDITOR # 28866                CREDITOR # 28867
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28868                    CREDITOR # 28869                CREDITOR # 28870
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28871                    CREDITOR # 28872                CREDITOR # 28873
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28874                    CREDITOR # 28875                CREDITOR # 28876
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28877                    CREDITOR # 28878                CREDITOR # 28879
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28880                    CREDITOR # 28881                CREDITOR # 28882
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28883                    CREDITOR # 28884                CREDITOR # 28885
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28886                    CREDITOR # 28887                CREDITOR # 28888
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28889                    CREDITOR # 28890                CREDITOR # 28891
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28892                    CREDITOR # 28893                CREDITOR # 28894
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28895                    CREDITOR # 28896                CREDITOR # 28897
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28898                    CREDITOR # 28899                CREDITOR # 28900
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28901                    CREDITOR # 28902                CREDITOR # 28903
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28904                    CREDITOR # 28905                CREDITOR # 28906
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28907                    CREDITOR # 28908                CREDITOR # 28909
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28910                    CREDITOR # 28911                CREDITOR # 28912
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28913                    CREDITOR # 28914                CREDITOR # 28915
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28916                    CREDITOR # 28917                CREDITOR # 28918
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28919                    CREDITOR # 28920                CREDITOR # 28921
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28922                    CREDITOR # 28923                CREDITOR # 28924
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28925                    CREDITOR # 28926                CREDITOR # 28927
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28928                    CREDITOR # 28929                CREDITOR # 28930
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28931                    CREDITOR # 28932                CREDITOR # 28933
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28934                    CREDITOR # 28935                CREDITOR # 28936
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28937                    CREDITOR # 28938                CREDITOR # 28939
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28940                    CREDITOR # 28941                CREDITOR # 28942
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28943                    CREDITOR # 28944                CREDITOR # 28945
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28946                    CREDITOR # 28947                CREDITOR # 28948
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28949                    CREDITOR # 28950                CREDITOR # 28951
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28952                    CREDITOR # 28953                CREDITOR # 28954
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28955                    CREDITOR # 28956                CREDITOR # 28957
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28958                    CREDITOR # 28959                CREDITOR # 28960
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28961                    CREDITOR # 28962                CREDITOR # 28963
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28964                    CREDITOR # 28965                CREDITOR # 28966
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28967                    CREDITOR # 28968                CREDITOR # 28969
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28970                    CREDITOR # 28971                CREDITOR # 28972
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28973                    CREDITOR # 28974                CREDITOR # 28975
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28976                    CREDITOR # 28977                CREDITOR # 28978
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28979                    CREDITOR # 28980                CREDITOR # 28981
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 28982                    CREDITOR # 28983                CREDITOR # 28984
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28985                    CREDITOR # 28986                CREDITOR # 28987
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28988                    CREDITOR # 28989                CREDITOR # 28990
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28991                    CREDITOR # 28992                CREDITOR # 28993
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28994                    CREDITOR # 28995                CREDITOR # 28996
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 28997                    CREDITOR # 28998                CREDITOR # 28999
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29000                    CREDITOR # 29001                CREDITOR # 29002
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29003                    CREDITOR # 29004                CREDITOR # 29005
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29006                    CREDITOR # 29007                CREDITOR # 29008
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29009                    CREDITOR # 29010                CREDITOR # 29011
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29012                    CREDITOR # 29013                CREDITOR # 29014
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29015                    CREDITOR # 29016                CREDITOR # 29017
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29018                    CREDITOR # 29019                CREDITOR # 29020
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29021                    CREDITOR # 29022                CREDITOR # 29023
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29024                    CREDITOR # 29025                CREDITOR # 29026
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29027                    CREDITOR # 29028                CREDITOR # 29029
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29030                    CREDITOR # 29031                CREDITOR # 29032
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29033                    CREDITOR # 29034                CREDITOR # 29035
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29036                    CREDITOR # 29037                CREDITOR # 29038
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29039                    CREDITOR # 29040                CREDITOR # 29041
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29042                    CREDITOR # 29043                CREDITOR # 29044
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29045                    CREDITOR # 29046                CREDITOR # 29047
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29048                    CREDITOR # 29049                CREDITOR # 29050
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29051                    CREDITOR # 29052                CREDITOR # 29053
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29054                    CREDITOR # 29055                CREDITOR # 29056
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29057                    CREDITOR # 29058                CREDITOR # 29059
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29060                    CREDITOR # 29061                CREDITOR # 29062
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29063                    CREDITOR # 29064                CREDITOR # 29065
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29066                    CREDITOR # 29067                CREDITOR # 29068
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29069                    CREDITOR # 29070                CREDITOR # 29071
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29072                    CREDITOR # 29073                CREDITOR # 29074
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29075                    CREDITOR # 29076                CREDITOR # 29077
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29078                    CREDITOR # 29079                CREDITOR # 29080
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29081                    CREDITOR # 29082                CREDITOR # 29083
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29084                    CREDITOR # 29085                CREDITOR # 29086
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29087                    CREDITOR # 29088                CREDITOR # 29089
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29090                    CREDITOR # 29091                CREDITOR # 29092
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29093                    CREDITOR # 29094                CREDITOR # 29095
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29096                    CREDITOR # 29097                CREDITOR # 29098
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29099                    CREDITOR # 29100                CREDITOR # 29101
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29102                    CREDITOR # 29103                CREDITOR # 29104
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29105                    CREDITOR # 29106                CREDITOR # 29107
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29108                    CREDITOR # 29109                CREDITOR # 29110
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29111                    CREDITOR # 29112                CREDITOR # 29113
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29114                    CREDITOR # 29115                CREDITOR # 29116
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29117                    CREDITOR # 29118                CREDITOR # 29119
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29120                    CREDITOR # 29121                CREDITOR # 29122
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29123                    CREDITOR # 29124                CREDITOR # 29125
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29126                    CREDITOR # 29127                CREDITOR # 29128
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29129                    CREDITOR # 29130                CREDITOR # 29131
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29132                    CREDITOR # 29133                CREDITOR # 29134
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29135                    CREDITOR # 29136                CREDITOR # 29137
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29138                    CREDITOR # 29139                CREDITOR # 29140
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29141                    CREDITOR # 29142                CREDITOR # 29143
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29144                    CREDITOR # 29145                CREDITOR # 29146
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29147                    CREDITOR # 29148                CREDITOR # 29149
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29150                    CREDITOR # 29151                CREDITOR # 29152
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29153                    CREDITOR # 29154                CREDITOR # 29155
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29156                    CREDITOR # 29157                CREDITOR # 29158
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29159                    CREDITOR # 29160                CREDITOR # 29161
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29162                    CREDITOR # 29163                CREDITOR # 29164
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29165                    CREDITOR # 29166                CREDITOR # 29167
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29168                    CREDITOR # 29169                CREDITOR # 29170
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29171                    CREDITOR # 29172                CREDITOR # 29173
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29174                    CREDITOR # 29175                CREDITOR # 29176
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29177                    CREDITOR # 29178                CREDITOR # 29179
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29180                    CREDITOR # 29181                CREDITOR # 29182
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29183                    CREDITOR # 29184                CREDITOR # 29185
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29186                    CREDITOR # 29187                CREDITOR # 29188
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29189                    CREDITOR # 29190                CREDITOR # 29191
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29192                    CREDITOR # 29193                CREDITOR # 29194
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29195                    CREDITOR # 29196                CREDITOR # 29197
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29198                    CREDITOR # 29199                CREDITOR # 29200
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29201                    CREDITOR # 29202                CREDITOR # 29203
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29204                    CREDITOR # 29205                CREDITOR # 29206
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29207                    CREDITOR # 29208                CREDITOR # 29209
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29210                    CREDITOR # 29211                CREDITOR # 29212
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29213                    CREDITOR # 29214                CREDITOR # 29215
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29216                    CREDITOR # 29217                CREDITOR # 29218
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29219                    CREDITOR # 29220                CREDITOR # 29221
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29222                    CREDITOR # 29223                CREDITOR # 29224
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29225                    CREDITOR # 29226                CREDITOR # 29227
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29228                    CREDITOR # 29229                CREDITOR # 29230
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29231                    CREDITOR # 29232                CREDITOR # 29233
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29234                    CREDITOR # 29235                CREDITOR # 29236
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29237                    CREDITOR # 29238                CREDITOR # 29239
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29240                    CREDITOR # 29241                CREDITOR # 29242
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29243                    CREDITOR # 29244                CREDITOR # 29245
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29246                    CREDITOR # 29247                CREDITOR # 29248
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29249                    CREDITOR # 29250                CREDITOR # 29251
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29252                    CREDITOR # 29253                CREDITOR # 29254
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29255                    CREDITOR # 29256                CREDITOR # 29257
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29258                    CREDITOR # 29259                CREDITOR # 29260
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29261                    CREDITOR # 29262                CREDITOR # 29263
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29264                    CREDITOR # 29265                CREDITOR # 29266
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29267                    CREDITOR # 29268                CREDITOR # 29269
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29270                    CREDITOR # 29271                CREDITOR # 29272
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29273                    CREDITOR # 29274                CREDITOR # 29275
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29276                    CREDITOR # 29277                CREDITOR # 29278
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29279                    CREDITOR # 29280                CREDITOR # 29281
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29282                    CREDITOR # 29283                CREDITOR # 29284
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29285                    CREDITOR # 29286                CREDITOR # 29287
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29288                    CREDITOR # 29289                CREDITOR # 29290
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29291                    CREDITOR # 29292                CREDITOR # 29293
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29294                    CREDITOR # 29295                CREDITOR # 29296
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29297                    CREDITOR # 29298                CREDITOR # 29299
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29300                    CREDITOR # 29301                CREDITOR # 29302
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29303                    CREDITOR # 29304                CREDITOR # 29305
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29306                    CREDITOR # 29307                CREDITOR # 29308
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29309                    CREDITOR # 29310                CREDITOR # 29311
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29312                    CREDITOR # 29313                CREDITOR # 29314
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29315                    CREDITOR # 29316                CREDITOR # 29317
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29318                    CREDITOR # 29319                CREDITOR # 29320
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29321                    CREDITOR # 29322                CREDITOR # 29323
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29324                    CREDITOR # 29325                CREDITOR # 29326
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29327                    CREDITOR # 29328                CREDITOR # 29329
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29330                    CREDITOR # 29331                CREDITOR # 29332
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29333                    CREDITOR # 29334                CREDITOR # 29335
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29336                    CREDITOR # 29337                CREDITOR # 29338
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29339                    CREDITOR # 29340                CREDITOR # 29341
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29342                    CREDITOR # 29343                CREDITOR # 29344
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29345                    CREDITOR # 29346                CREDITOR # 29347
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29348                    CREDITOR # 29349                CREDITOR # 29350
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29351                    CREDITOR # 29352                CREDITOR # 29353
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29354                    CREDITOR # 29355                CREDITOR # 29356
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29357                    CREDITOR # 29358                CREDITOR # 29359
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29360                    CREDITOR # 29361                CREDITOR # 29362
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29363                    CREDITOR # 29364                CREDITOR # 29365
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29366                    CREDITOR # 29367                CREDITOR # 29368
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29369                    CREDITOR # 29370                CREDITOR # 29371
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29372                    CREDITOR # 29373                CREDITOR # 29374
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29375                    CREDITOR # 29376                CREDITOR # 29377
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29378                    CREDITOR # 29379                CREDITOR # 29380
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29381                    CREDITOR # 29382                CREDITOR # 29383
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29384                    CREDITOR # 29385                CREDITOR # 29386
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29387                    CREDITOR # 29388                CREDITOR # 29389
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29390                    CREDITOR # 29391                CREDITOR # 29392
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29393                    CREDITOR # 29394                CREDITOR # 29395
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29396                    CREDITOR # 29397                CREDITOR # 29398
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29399                    CREDITOR # 29400                CREDITOR # 29401
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29402                    CREDITOR # 29403                CREDITOR # 29404
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29405                    CREDITOR # 29406                CREDITOR # 29407
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29408                    CREDITOR # 29409                CREDITOR # 29410
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29411                    CREDITOR # 29412                CREDITOR # 29413
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29414                    CREDITOR # 29415                CREDITOR # 29416
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29417                    CREDITOR # 29418                CREDITOR # 29419
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29420                    CREDITOR # 29421                CREDITOR # 29422
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29423                    CREDITOR # 29424                CREDITOR # 29425
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29426                    CREDITOR # 29427                CREDITOR # 29428
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29429                    CREDITOR # 29430                CREDITOR # 29431
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29432                    CREDITOR # 29433                CREDITOR # 29434
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29435                    CREDITOR # 29436                CREDITOR # 29437
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29438                    CREDITOR # 29439                CREDITOR # 29440
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29441                    CREDITOR # 29442                CREDITOR # 29443
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29444                    CREDITOR # 29445                CREDITOR # 29446
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29447                    CREDITOR # 29448                CREDITOR # 29449
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29450                    CREDITOR # 29451                CREDITOR # 29452
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29453                    CREDITOR # 29454                CREDITOR # 29455
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29456                    CREDITOR # 29457                CREDITOR # 29458
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29459                    CREDITOR # 29460                CREDITOR # 29461
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29462                    CREDITOR # 29463                CREDITOR # 29464
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29465                    CREDITOR # 29466                CREDITOR # 29467
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29468                    CREDITOR # 29469                CREDITOR # 29470
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29471                    CREDITOR # 29472                CREDITOR # 29473
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29474                    CREDITOR # 29475                CREDITOR # 29476
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29477                    CREDITOR # 29478                CREDITOR # 29479
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29480                    CREDITOR # 29481                CREDITOR # 29482
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29483                    CREDITOR # 29484                CREDITOR # 29485
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29486                    CREDITOR # 29487                CREDITOR # 29488
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29489                    CREDITOR # 29490                CREDITOR # 29491
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29492                    CREDITOR # 29493                CREDITOR # 29494
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29495                    CREDITOR # 29496                CREDITOR # 29497
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29498                    CREDITOR # 29499                CREDITOR # 29500
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29501                    CREDITOR # 29502                CREDITOR # 29503
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29504                    CREDITOR # 29505                CREDITOR # 29506
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29507                    CREDITOR # 29508                CREDITOR # 29509
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29510                    CREDITOR # 29511                CREDITOR # 29512
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29513                    CREDITOR # 29514                CREDITOR # 29515
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29516                    CREDITOR # 29517                CREDITOR # 29518
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29519                    CREDITOR # 29520                CREDITOR # 29521
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29522                    CREDITOR # 29523                CREDITOR # 29524
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29525                    CREDITOR # 29526                CREDITOR # 29527
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29528                    CREDITOR # 29529                CREDITOR # 29530
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29531                    CREDITOR # 29532                CREDITOR # 29533
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29534                    CREDITOR # 29535                CREDITOR # 29536
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29537                    CREDITOR # 29538                CREDITOR # 29539
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29540                    CREDITOR # 29541                CREDITOR # 29542
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29543                    CREDITOR # 29544                CREDITOR # 29545
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29546                    CREDITOR # 29547                CREDITOR # 29548
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29549                    CREDITOR # 29550                CREDITOR # 29551
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29552                    CREDITOR # 29553                CREDITOR # 29554
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29555                    CREDITOR # 29556                CREDITOR # 29557
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29558                    CREDITOR # 29559                CREDITOR # 29560
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29561                    CREDITOR # 29562                CREDITOR # 29563
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29564                    CREDITOR # 29565                CREDITOR # 29566
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29567                    CREDITOR # 29568                CREDITOR # 29569
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29570                    CREDITOR # 29571                CREDITOR # 29572
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29573                    CREDITOR # 29574                CREDITOR # 29575
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29576                    CREDITOR # 29577                CREDITOR # 29578
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29579                    CREDITOR # 29580                CREDITOR # 29581
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29582                    CREDITOR # 29583                CREDITOR # 29584
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29585                    CREDITOR # 29586                CREDITOR # 29587
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29588                    CREDITOR # 29589                CREDITOR # 29590
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29591                    CREDITOR # 29592                CREDITOR # 29593
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29594                    CREDITOR # 29595                CREDITOR # 29596
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29597                    CREDITOR # 29598                CREDITOR # 29599
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29600                    CREDITOR # 29601                CREDITOR # 29602
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29603                    CREDITOR # 29604                CREDITOR # 29605
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29606                    CREDITOR # 29607                CREDITOR # 29608
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29609                    CREDITOR # 29610                CREDITOR # 29611
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29612                    CREDITOR # 29613                CREDITOR # 29614
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29615                    CREDITOR # 29616                CREDITOR # 29617
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29618                    CREDITOR # 29619                CREDITOR # 29620
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29621                    CREDITOR # 29622                CREDITOR # 29623
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29624                    CREDITOR # 29625                CREDITOR # 29626
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29627                    CREDITOR # 29628                CREDITOR # 29629
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29630                    CREDITOR # 29631                CREDITOR # 29632
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29633                    CREDITOR # 29634                CREDITOR # 29635
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29636                    CREDITOR # 29637                CREDITOR # 29638
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29639                    CREDITOR # 29640                CREDITOR # 29641
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29642                    CREDITOR # 29643                CREDITOR # 29644
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29645                    CREDITOR # 29646                CREDITOR # 29647
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29648                    CREDITOR # 29649                CREDITOR # 29650
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29651                    CREDITOR # 29652                CREDITOR # 29653
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29654                    CREDITOR # 29655                CREDITOR # 29656
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29657                    CREDITOR # 29658                CREDITOR # 29659
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29660                    CREDITOR # 29661                CREDITOR # 29662
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29663                    CREDITOR # 29664                CREDITOR # 29665
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29666                    CREDITOR # 29667                CREDITOR # 29668
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29669                    CREDITOR # 29670                CREDITOR # 29671
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29672                    CREDITOR # 29673                CREDITOR # 29674
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29675                    CREDITOR # 29676                CREDITOR # 29677
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29678                    CREDITOR # 29679                CREDITOR # 29680
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29681                    CREDITOR # 29682                CREDITOR # 29683
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29684                    CREDITOR # 29685                CREDITOR # 29686
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29687                    CREDITOR # 29688                CREDITOR # 29689
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29690                    CREDITOR # 29691                CREDITOR # 29692
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29693                    CREDITOR # 29694                CREDITOR # 29695
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29696                    CREDITOR # 29697                CREDITOR # 29698
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29699                    CREDITOR # 29700                CREDITOR # 29701
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29702                    CREDITOR # 29703                CREDITOR # 29704
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29705                    CREDITOR # 29706                CREDITOR # 29707
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29708                    CREDITOR # 29709                CREDITOR # 29710
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29711                    CREDITOR # 29712                CREDITOR # 29713
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29714                    CREDITOR # 29715                CREDITOR # 29716
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29717                    CREDITOR # 29718                CREDITOR # 29719
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29720                    CREDITOR # 29721                CREDITOR # 29722
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29723                    CREDITOR # 29724                CREDITOR # 29725
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29726                    CREDITOR # 29727                CREDITOR # 29728
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29729                    CREDITOR # 29730                CREDITOR # 29731
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29732                    CREDITOR # 29733                CREDITOR # 29734
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29735                    CREDITOR # 29736                CREDITOR # 29737
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29738                    CREDITOR # 29739                CREDITOR # 29740
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29741                    CREDITOR # 29742                CREDITOR # 29743
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29744                    CREDITOR # 29745                CREDITOR # 29746
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29747                    CREDITOR # 29748                CREDITOR # 29749
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29750                    CREDITOR # 29751                CREDITOR # 29752
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29753                    CREDITOR # 29754                CREDITOR # 29755
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29756                    CREDITOR # 29757                CREDITOR # 29758
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29759                    CREDITOR # 29760                CREDITOR # 29761
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29762                    CREDITOR # 29763                CREDITOR # 29764
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29765                    CREDITOR # 29766                CREDITOR # 29767
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29768                    CREDITOR # 29769                CREDITOR # 29770
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29771                    CREDITOR # 29772                CREDITOR # 29773
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29774                    CREDITOR # 29775                CREDITOR # 29776
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29777                    CREDITOR # 29778                CREDITOR # 29779
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29780                    CREDITOR # 29781                CREDITOR # 29782
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29783                    CREDITOR # 29784                CREDITOR # 29785
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29786                    CREDITOR # 29787                CREDITOR # 29788
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29789                    CREDITOR # 29790                CREDITOR # 29791
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29792                    CREDITOR # 29793                CREDITOR # 29794
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29795                    CREDITOR # 29796                CREDITOR # 29797
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29798                    CREDITOR # 29799                CREDITOR # 29800
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29801                    CREDITOR # 29802                CREDITOR # 29803
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29804                    CREDITOR # 29805                CREDITOR # 29806
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29807                    CREDITOR # 29808                CREDITOR # 29809
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29810                    CREDITOR # 29811                CREDITOR # 29812
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29813                    CREDITOR # 29814                CREDITOR # 29815
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29816                    CREDITOR # 29817                CREDITOR # 29818
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29819                    CREDITOR # 29820                CREDITOR # 29821
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29822                    CREDITOR # 29823                CREDITOR # 29824
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29825                    CREDITOR # 29826                CREDITOR # 29827
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29828                    CREDITOR # 29829                CREDITOR # 29830
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29831                    CREDITOR # 29832                CREDITOR # 29833
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29834                    CREDITOR # 29835                CREDITOR # 29836
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29837                    CREDITOR # 29838                CREDITOR # 29839
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29840                    CREDITOR # 29841                CREDITOR # 29842
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29843                    CREDITOR # 29844                CREDITOR # 29845
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29846                    CREDITOR # 29847                CREDITOR # 29848
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29849                    CREDITOR # 29850                CREDITOR # 29851
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29852                    CREDITOR # 29853                CREDITOR # 29854
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29855                    CREDITOR # 29856                CREDITOR # 29857
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29858                    CREDITOR # 29859                CREDITOR # 29860
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29861                    CREDITOR # 29862                CREDITOR # 29863
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29864                    CREDITOR # 29865                CREDITOR # 29866
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29867                    CREDITOR # 29868                CREDITOR # 29869
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29870                    CREDITOR # 29871                CREDITOR # 29872
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29873                    CREDITOR # 29874                CREDITOR # 29875
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29876                    CREDITOR # 29877                CREDITOR # 29878
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29879                    CREDITOR # 29880                CREDITOR # 29881
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29882                    CREDITOR # 29883                CREDITOR # 29884
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29885                    CREDITOR # 29886                CREDITOR # 29887
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29888                    CREDITOR # 29889                CREDITOR # 29890
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29891                    CREDITOR # 29892                CREDITOR # 29893
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29894                    CREDITOR # 29895                CREDITOR # 29896
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29897                    CREDITOR # 29898                CREDITOR # 29899
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29900                    CREDITOR # 29901                CREDITOR # 29902
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29903                    CREDITOR # 29904                CREDITOR # 29905
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29906                    CREDITOR # 29907                CREDITOR # 29908
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29909                    CREDITOR # 29910                CREDITOR # 29911
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29912                    CREDITOR # 29913                CREDITOR # 29914
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29915                    CREDITOR # 29916                CREDITOR # 29917
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29918                    CREDITOR # 29919                CREDITOR # 29920
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29921                    CREDITOR # 29922                CREDITOR # 29923
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29924                    CREDITOR # 29925                CREDITOR # 29926
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29927                    CREDITOR # 29928                CREDITOR # 29929
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29930                    CREDITOR # 29931                CREDITOR # 29932
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29933                    CREDITOR # 29934                CREDITOR # 29935
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29936                    CREDITOR # 29937                CREDITOR # 29938
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29939                    CREDITOR # 29940                CREDITOR # 29941
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29942                    CREDITOR # 29943                CREDITOR # 29944
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29945                    CREDITOR # 29946                CREDITOR # 29947
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29948                    CREDITOR # 29949                CREDITOR # 29950
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29951                    CREDITOR # 29952                CREDITOR # 29953
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29954                    CREDITOR # 29955                CREDITOR # 29956
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29957                    CREDITOR # 29958                CREDITOR # 29959
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29960                    CREDITOR # 29961                CREDITOR # 29962
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29963                    CREDITOR # 29964                CREDITOR # 29965
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29966                    CREDITOR # 29967                CREDITOR # 29968
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29969                    CREDITOR # 29970                CREDITOR # 29971
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 29972                    CREDITOR # 29973                CREDITOR # 29974
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29975                    CREDITOR # 29976                CREDITOR # 29977
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29978                    CREDITOR # 29979                CREDITOR # 29980
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29981                    CREDITOR # 29982                CREDITOR # 29983
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29984                    CREDITOR # 29985                CREDITOR # 29986
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29987                    CREDITOR # 29988                CREDITOR # 29989
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29990                    CREDITOR # 29991                CREDITOR # 29992
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29993                    CREDITOR # 29994                CREDITOR # 29995
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29996                    CREDITOR # 29997                CREDITOR # 29998
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 29999                    CREDITOR # 3                    CREDITOR # 30000
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30001                    CREDITOR # 30002                CREDITOR # 30003
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30004                    CREDITOR # 30005                CREDITOR # 30006
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30007                    CREDITOR # 30008                CREDITOR # 30009
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30010                    CREDITOR # 30011                CREDITOR # 30012
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30013                    CREDITOR # 30014                CREDITOR # 30015
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30016                    CREDITOR # 30017                CREDITOR # 30018
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30019                    CREDITOR # 30020                CREDITOR # 30021
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30022                    CREDITOR # 30023                CREDITOR # 30024
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30025                    CREDITOR # 30026                CREDITOR # 30027
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30028                    CREDITOR # 30029                CREDITOR # 30030
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30031                    CREDITOR # 30032                CREDITOR # 30033
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30034                    CREDITOR # 30035                CREDITOR # 30036
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30037                    CREDITOR # 30038                CREDITOR # 30039
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30040                    CREDITOR # 30041                CREDITOR # 30042
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30043                    CREDITOR # 30044                CREDITOR # 30045
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30046                    CREDITOR # 30047                CREDITOR # 30048
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30049                    CREDITOR # 30050                CREDITOR # 30051
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30052                    CREDITOR # 30053                CREDITOR # 30054
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30055                    CREDITOR # 30056                CREDITOR # 30057
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30058                    CREDITOR # 30059                CREDITOR # 30060
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30061                    CREDITOR # 30062                CREDITOR # 30063
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30064                    CREDITOR # 30065                CREDITOR # 30066
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30067                    CREDITOR # 30068                CREDITOR # 30069
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30070                    CREDITOR # 30071                CREDITOR # 30072
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30073                    CREDITOR # 30074                CREDITOR # 30075
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30076                    CREDITOR # 30077                CREDITOR # 30078
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30079                    CREDITOR # 30080                CREDITOR # 30081
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30082                    CREDITOR # 30083                CREDITOR # 30084
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30085                    CREDITOR # 30086                CREDITOR # 30087
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30088                    CREDITOR # 30089                CREDITOR # 30090
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30091                    CREDITOR # 30092                CREDITOR # 30093
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30094                    CREDITOR # 30095                CREDITOR # 30096
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30097                    CREDITOR # 30098                CREDITOR # 30099
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30100                    CREDITOR # 30101                CREDITOR # 30102
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30103                    CREDITOR # 30104                CREDITOR # 30105
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30106                    CREDITOR # 30107                CREDITOR # 30108
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30109                    CREDITOR # 30110                CREDITOR # 30111
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30112                    CREDITOR # 30113                CREDITOR # 30114
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30115                    CREDITOR # 30116                CREDITOR # 30117
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30118                    CREDITOR # 30119                CREDITOR # 30120
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30121                    CREDITOR # 30122                CREDITOR # 30123
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30124                    CREDITOR # 30125                CREDITOR # 30126
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30127                    CREDITOR # 30128                CREDITOR # 30129
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30130                    CREDITOR # 30131                CREDITOR # 30132
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30133                    CREDITOR # 30134                CREDITOR # 30135
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30136                    CREDITOR # 30137                CREDITOR # 30138
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30139                    CREDITOR # 30140                CREDITOR # 30141
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30142                    CREDITOR # 30143                CREDITOR # 30144
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30145                    CREDITOR # 30146                CREDITOR # 30147
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30148                    CREDITOR # 30149                CREDITOR # 3015
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30150                    CREDITOR # 30151                CREDITOR # 30152
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30153                    CREDITOR # 30154                CREDITOR # 30155
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30156                    CREDITOR # 30157                CREDITOR # 30158
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30159                    CREDITOR # 30160                CREDITOR # 30161
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30162                    CREDITOR # 30163                CREDITOR # 30164
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30165                    CREDITOR # 30166                CREDITOR # 30167
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30168                    CREDITOR # 30169                CREDITOR # 30170
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30171                    CREDITOR # 30172                CREDITOR # 30173
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30174                    CREDITOR # 30175                CREDITOR # 30176
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30177                    CREDITOR # 30178                CREDITOR # 30179
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30180                    CREDITOR # 30181                CREDITOR # 30182
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30183                    CREDITOR # 30184                CREDITOR # 30185
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30186                    CREDITOR # 30187                CREDITOR # 30188
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30189                    CREDITOR # 30190                CREDITOR # 30191
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30192                    CREDITOR # 30193                CREDITOR # 30194
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30195                    CREDITOR # 30196                CREDITOR # 30197
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30198                    CREDITOR # 30199                CREDITOR # 30200
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30201                    CREDITOR # 30202                CREDITOR # 30203
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30204                    CREDITOR # 30205                CREDITOR # 30206
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30207                    CREDITOR # 30208                CREDITOR # 30209
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30210                    CREDITOR # 30211                CREDITOR # 30212
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30213                    CREDITOR # 30214                CREDITOR # 30215
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30216                    CREDITOR # 30217                CREDITOR # 30218
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30219                    CREDITOR # 30220                CREDITOR # 30221
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30222                    CREDITOR # 30223                CREDITOR # 30224
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30225                    CREDITOR # 30226                CREDITOR # 30227
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30228                    CREDITOR # 30229                CREDITOR # 30230
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30231                    CREDITOR # 30232                CREDITOR # 30233
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30234                    CREDITOR # 30235                CREDITOR # 30236
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30237                    CREDITOR # 30238                CREDITOR # 30239
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30240                    CREDITOR # 30241                CREDITOR # 30242
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30243                    CREDITOR # 30244                CREDITOR # 30245
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30246                    CREDITOR # 30247                CREDITOR # 30248
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30249                    CREDITOR # 30250                CREDITOR # 30251
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30252                    CREDITOR # 30253                CREDITOR # 30254
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30255                    CREDITOR # 30256                CREDITOR # 30257
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30258                    CREDITOR # 30259                CREDITOR # 30260
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30261                    CREDITOR # 30262                CREDITOR # 30263
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30264                    CREDITOR # 30265                CREDITOR # 30266
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30267                    CREDITOR # 30268                CREDITOR # 30269
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30270                    CREDITOR # 30271                CREDITOR # 30272
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30273                    CREDITOR # 30274                CREDITOR # 30275
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30276                    CREDITOR # 30277                CREDITOR # 30278
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30279                    CREDITOR # 30280                CREDITOR # 30281
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30282                    CREDITOR # 30283                CREDITOR # 30284
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30285                    CREDITOR # 30286                CREDITOR # 30287
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30288                    CREDITOR # 30289                CREDITOR # 30290
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30291                    CREDITOR # 30292                CREDITOR # 30293
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30294                    CREDITOR # 30295                CREDITOR # 30296
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30297                    CREDITOR # 30298                CREDITOR # 30299
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30300                    CREDITOR # 30301                CREDITOR # 30302
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30303                    CREDITOR # 30304                CREDITOR # 30305
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30306                    CREDITOR # 30307                CREDITOR # 30308
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30309                    CREDITOR # 30310                CREDITOR # 30311
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30312                    CREDITOR # 30313                CREDITOR # 30314
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30315                    CREDITOR # 30316                CREDITOR # 30317
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30318                    CREDITOR # 30319                CREDITOR # 30320
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30321                    CREDITOR # 30322                CREDITOR # 30323
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30324                    CREDITOR # 30325                CREDITOR # 30326
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30327                    CREDITOR # 30328                CREDITOR # 30329
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30330                    CREDITOR # 30331                CREDITOR # 30332
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30333                    CREDITOR # 30334                CREDITOR # 30335
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30336                    CREDITOR # 30337                CREDITOR # 30338
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30339                    CREDITOR # 30340                CREDITOR # 30341
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30342                    CREDITOR # 30343                CREDITOR # 30344
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30345                    CREDITOR # 30346                CREDITOR # 30347
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30348                    CREDITOR # 30349                CREDITOR # 30350
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30351                    CREDITOR # 30352                CREDITOR # 30353
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30354                    CREDITOR # 30355                CREDITOR # 30356
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30357                    CREDITOR # 30358                CREDITOR # 30359
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30360                    CREDITOR # 30361                CREDITOR # 30362
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30363                    CREDITOR # 30364                CREDITOR # 30365
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30366                    CREDITOR # 30367                CREDITOR # 30368
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30369                    CREDITOR # 30370                CREDITOR # 30371
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30372                    CREDITOR # 30373                CREDITOR # 30374
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30375                    CREDITOR # 30376                CREDITOR # 30377
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30378                    CREDITOR # 30379                CREDITOR # 30380
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30381                    CREDITOR # 30382                CREDITOR # 30383
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30384                    CREDITOR # 30385                CREDITOR # 30386
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30387                    CREDITOR # 30388                CREDITOR # 30389
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30390                    CREDITOR # 30391                CREDITOR # 30392
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30393                    CREDITOR # 30394                CREDITOR # 30395
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30396                    CREDITOR # 30397                CREDITOR # 30398
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30399                    CREDITOR # 30400                CREDITOR # 30401
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30402                    CREDITOR # 30403                CREDITOR # 30404
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30405                    CREDITOR # 30406                CREDITOR # 30407
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30408                    CREDITOR # 30409                CREDITOR # 30410
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30411                    CREDITOR # 30412                CREDITOR # 30413
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30414                    CREDITOR # 30415                CREDITOR # 30416
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30417                    CREDITOR # 30418                CREDITOR # 30419
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30420                    CREDITOR # 30421                CREDITOR # 30422
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30423                    CREDITOR # 30424                CREDITOR # 30425
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30426                    CREDITOR # 30427                CREDITOR # 30428
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30429                    CREDITOR # 30430                CREDITOR # 30431
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30432                    CREDITOR # 30433                CREDITOR # 30434
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30435                    CREDITOR # 30436                CREDITOR # 30437
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30438                    CREDITOR # 30439                CREDITOR # 30440
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30441                    CREDITOR # 30442                CREDITOR # 30443
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30444                    CREDITOR # 30445                CREDITOR # 30446
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30447                    CREDITOR # 30448                CREDITOR # 30449
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30450                    CREDITOR # 30451                CREDITOR # 30452
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30453                    CREDITOR # 30454                CREDITOR # 30455
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30456                    CREDITOR # 30457                CREDITOR # 30458
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30459                    CREDITOR # 30460                CREDITOR # 30461
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30462                    CREDITOR # 30463                CREDITOR # 30464
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30465                    CREDITOR # 30466                CREDITOR # 30467
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30468                    CREDITOR # 30469                CREDITOR # 30470
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30471                    CREDITOR # 30472                CREDITOR # 30473
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30474                    CREDITOR # 30475                CREDITOR # 30476
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30477                    CREDITOR # 30478                CREDITOR # 30479
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30480                    CREDITOR # 30481                CREDITOR # 30482
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30483                    CREDITOR # 30484                CREDITOR # 30485
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30486                    CREDITOR # 30487                CREDITOR # 30488
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30489                    CREDITOR # 30490                CREDITOR # 30491
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30492                    CREDITOR # 30493                CREDITOR # 30494
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30495                    CREDITOR # 30496                CREDITOR # 30497
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30498                    CREDITOR # 30499                CREDITOR # 30500
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30501                    CREDITOR # 30502                CREDITOR # 30503
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30504                    CREDITOR # 30505                CREDITOR # 30506
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30507                    CREDITOR # 30508                CREDITOR # 30509
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30510                    CREDITOR # 30511                CREDITOR # 30512
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30513                    CREDITOR # 30514                CREDITOR # 30515
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30516                    CREDITOR # 30517                CREDITOR # 30518
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30519                    CREDITOR # 30520                CREDITOR # 30521
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30522                    CREDITOR # 30523                CREDITOR # 30524
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30525                    CREDITOR # 30526                CREDITOR # 30527
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30528                    CREDITOR # 30529                CREDITOR # 30530
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30531                    CREDITOR # 30532                CREDITOR # 30533
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30534                    CREDITOR # 30535                CREDITOR # 30536
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30537                    CREDITOR # 30538                CREDITOR # 30539
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30540                    CREDITOR # 30541                CREDITOR # 30542
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30543                    CREDITOR # 30544                CREDITOR # 30545
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30546                    CREDITOR # 30547                CREDITOR # 30548
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30549                    CREDITOR # 30550                CREDITOR # 30551
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30552                    CREDITOR # 30553                CREDITOR # 30554
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30555                    CREDITOR # 30556                CREDITOR # 30557
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30558                    CREDITOR # 30559                CREDITOR # 30560
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30561                    CREDITOR # 30562                CREDITOR # 30563
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30564                    CREDITOR # 30565                CREDITOR # 30566
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30567                    CREDITOR # 30568                CREDITOR # 30569
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30570                    CREDITOR # 30571                CREDITOR # 30572
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30573                    CREDITOR # 30574                CREDITOR # 30575
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30576                    CREDITOR # 30577                CREDITOR # 30578
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30579                    CREDITOR # 30580                CREDITOR # 30581
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30582                    CREDITOR # 30583                CREDITOR # 30584
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30585                    CREDITOR # 30586                CREDITOR # 30587
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30588                    CREDITOR # 30589                CREDITOR # 30590
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30591                    CREDITOR # 30592                CREDITOR # 30593
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30594                    CREDITOR # 30595                CREDITOR # 30596
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30597                    CREDITOR # 30598                CREDITOR # 30599
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30600                    CREDITOR # 30601                CREDITOR # 30602
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30603                    CREDITOR # 30604                CREDITOR # 30605
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30606                    CREDITOR # 30607                CREDITOR # 30608
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30609                    CREDITOR # 30610                CREDITOR # 30611
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30612                    CREDITOR # 30613                CREDITOR # 30614
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30615                    CREDITOR # 30616                CREDITOR # 30617
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30618                    CREDITOR # 30619                CREDITOR # 30620
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30621                    CREDITOR # 30622                CREDITOR # 30623
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30624                    CREDITOR # 30625                CREDITOR # 30626
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30627                    CREDITOR # 30628                CREDITOR # 30629
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30630                    CREDITOR # 30631                CREDITOR # 30632
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30633                    CREDITOR # 30634                CREDITOR # 30635
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30636                    CREDITOR # 30637                CREDITOR # 30638
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30639                    CREDITOR # 30640                CREDITOR # 30641
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30642                    CREDITOR # 30643                CREDITOR # 30644
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30645                    CREDITOR # 30646                CREDITOR # 30647
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30648                    CREDITOR # 30649                CREDITOR # 30650
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30651                    CREDITOR # 30652                CREDITOR # 30653
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30654                    CREDITOR # 30655                CREDITOR # 30656
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30657                    CREDITOR # 30658                CREDITOR # 30659
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30660                    CREDITOR # 30661                CREDITOR # 30662
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30663                    CREDITOR # 30664                CREDITOR # 30665
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30666                    CREDITOR # 30667                CREDITOR # 30668
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30669                    CREDITOR # 30670                CREDITOR # 30671
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30672                    CREDITOR # 30673                CREDITOR # 30674
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30675                    CREDITOR # 30676                CREDITOR # 30677
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30678                    CREDITOR # 30679                CREDITOR # 30680
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30681                    CREDITOR # 30682                CREDITOR # 30683
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30684                    CREDITOR # 30685                CREDITOR # 30686
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30687                    CREDITOR # 30688                CREDITOR # 30689
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30690                    CREDITOR # 30691                CREDITOR # 30692
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30693                    CREDITOR # 30694                CREDITOR # 30695
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30696                    CREDITOR # 30697                CREDITOR # 30698
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30699                    CREDITOR # 30700                CREDITOR # 30701
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30702                    CREDITOR # 30703                CREDITOR # 30704
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30705                    CREDITOR # 30706                CREDITOR # 30707
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30708                    CREDITOR # 30709                CREDITOR # 30710
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30711                    CREDITOR # 30712                CREDITOR # 30713
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30714                    CREDITOR # 30715                CREDITOR # 30716
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30717                    CREDITOR # 30718                CREDITOR # 30719
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30720                    CREDITOR # 30721                CREDITOR # 30722
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30723                    CREDITOR # 30724                CREDITOR # 30725
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30726                    CREDITOR # 30727                CREDITOR # 30728
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30729                    CREDITOR # 3073                 CREDITOR # 30730
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30731                    CREDITOR # 30732                CREDITOR # 30733
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30734                    CREDITOR # 30735                CREDITOR # 30736
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30737                    CREDITOR # 30738                CREDITOR # 30739
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30740                    CREDITOR # 30741                CREDITOR # 30742
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30743                    CREDITOR # 30744                CREDITOR # 30745
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30746                    CREDITOR # 30747                CREDITOR # 30748
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30749                    CREDITOR # 30750                CREDITOR # 30751
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30752                    CREDITOR # 30753                CREDITOR # 30754
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30755                    CREDITOR # 30756                CREDITOR # 30757
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30758                    CREDITOR # 30759                CREDITOR # 30760
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30761                    CREDITOR # 30762                CREDITOR # 30763
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30764                    CREDITOR # 30765                CREDITOR # 30766
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30767                    CREDITOR # 30768                CREDITOR # 30769
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30770                    CREDITOR # 30771                CREDITOR # 30772
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30773                    CREDITOR # 30774                CREDITOR # 30775
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30776                    CREDITOR # 30777                CREDITOR # 30778
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30779                    CREDITOR # 30780                CREDITOR # 30781
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30782                    CREDITOR # 30783                CREDITOR # 30784
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30785                    CREDITOR # 30786                CREDITOR # 30787
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30788                    CREDITOR # 30789                CREDITOR # 30790
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30791                    CREDITOR # 30792                CREDITOR # 30793
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30794                    CREDITOR # 30795                CREDITOR # 30796
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30797                    CREDITOR # 30798                CREDITOR # 30799
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30800                    CREDITOR # 30801                CREDITOR # 30802
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30803                    CREDITOR # 30804                CREDITOR # 30805
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30806                    CREDITOR # 30807                CREDITOR # 30808
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30809                    CREDITOR # 30810                CREDITOR # 30811
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30812                    CREDITOR # 30813                CREDITOR # 30814
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30815                    CREDITOR # 30816                CREDITOR # 30817
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30818                    CREDITOR # 30819                CREDITOR # 30820
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30821                    CREDITOR # 30822                CREDITOR # 30823
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30824                    CREDITOR # 30825                CREDITOR # 30826
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30827                    CREDITOR # 30828                CREDITOR # 30829
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30830                    CREDITOR # 30831                CREDITOR # 30832
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30833                    CREDITOR # 30834                CREDITOR # 30835
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30836                    CREDITOR # 30837                CREDITOR # 30838
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30839                    CREDITOR # 30840                CREDITOR # 30841
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30842                    CREDITOR # 30843                CREDITOR # 30844
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30845                    CREDITOR # 30846                CREDITOR # 30847
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30848                    CREDITOR # 30849                CREDITOR # 30850
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30851                    CREDITOR # 30852                CREDITOR # 30853
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30854                    CREDITOR # 30855                CREDITOR # 30856
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30857                    CREDITOR # 30858                CREDITOR # 30859
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30860                    CREDITOR # 30861                CREDITOR # 30862
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30863                    CREDITOR # 30864                CREDITOR # 30865
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30866                    CREDITOR # 30867                CREDITOR # 30868
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30869                    CREDITOR # 30870                CREDITOR # 30871
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30872                    CREDITOR # 30873                CREDITOR # 30874
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30875                    CREDITOR # 30876                CREDITOR # 30877
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30878                    CREDITOR # 30879                CREDITOR # 30880
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30881                    CREDITOR # 30882                CREDITOR # 30883
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30884                    CREDITOR # 30885                CREDITOR # 30886
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30887                    CREDITOR # 30888                CREDITOR # 30889
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30890                    CREDITOR # 30891                CREDITOR # 30892
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30893                    CREDITOR # 30894                CREDITOR # 30895
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30896                    CREDITOR # 30897                CREDITOR # 30898
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30899                    CREDITOR # 30900                CREDITOR # 30901
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30902                    CREDITOR # 30903                CREDITOR # 30904
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30905                    CREDITOR # 30906                CREDITOR # 30907
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30908                    CREDITOR # 30909                CREDITOR # 30910
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30911                    CREDITOR # 30912                CREDITOR # 30913
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30914                    CREDITOR # 30915                CREDITOR # 30916
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30917                    CREDITOR # 30918                CREDITOR # 30919
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30920                    CREDITOR # 30921                CREDITOR # 30922
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30923                    CREDITOR # 30924                CREDITOR # 30925
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30926                    CREDITOR # 30927                CREDITOR # 30928
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30929                    CREDITOR # 30930                CREDITOR # 30931
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30932                    CREDITOR # 30933                CREDITOR # 30934
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30935                    CREDITOR # 30936                CREDITOR # 30937
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30938                    CREDITOR # 30939                CREDITOR # 30940
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30941                    CREDITOR # 30942                CREDITOR # 30943
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30944                    CREDITOR # 30945                CREDITOR # 30946
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30947                    CREDITOR # 30948                CREDITOR # 30949
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30950                    CREDITOR # 30951                CREDITOR # 30952
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30953                    CREDITOR # 30954                CREDITOR # 30955
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30956                    CREDITOR # 30957                CREDITOR # 30958
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30959                    CREDITOR # 30960                CREDITOR # 30961
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30962                    CREDITOR # 30963                CREDITOR # 30964
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30965                    CREDITOR # 30966                CREDITOR # 30967
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30968                    CREDITOR # 30969                CREDITOR # 30970
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30971                    CREDITOR # 30972                CREDITOR # 30973
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30974                    CREDITOR # 30975                CREDITOR # 30976
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30977                    CREDITOR # 30978                CREDITOR # 30979
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30980                    CREDITOR # 30981                CREDITOR # 30982
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30983                    CREDITOR # 30984                CREDITOR # 30985
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30986                    CREDITOR # 30987                CREDITOR # 30988
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 30989                    CREDITOR # 30990                CREDITOR # 30991
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30992                    CREDITOR # 30993                CREDITOR # 30994
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30995                    CREDITOR # 30996                CREDITOR # 30997
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 30998                    CREDITOR # 30999                CREDITOR # 31000
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31001                    CREDITOR # 31002                CREDITOR # 31003
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31004                    CREDITOR # 31005                CREDITOR # 31006
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31007                    CREDITOR # 31008                CREDITOR # 31009
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31010                    CREDITOR # 31011                CREDITOR # 31012
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31013                    CREDITOR # 31014                CREDITOR # 31015
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31016                    CREDITOR # 31017                CREDITOR # 31018
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31019                    CREDITOR # 31020                CREDITOR # 31021
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31022                    CREDITOR # 31023                CREDITOR # 31024
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31025                    CREDITOR # 31026                CREDITOR # 31027
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31028                    CREDITOR # 31029                CREDITOR # 31030
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31031                    CREDITOR # 31032                CREDITOR # 31033
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31034                    CREDITOR # 31035                CREDITOR # 31036
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31037                    CREDITOR # 31038                CREDITOR # 31039
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31040                    CREDITOR # 31041                CREDITOR # 31042
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31043                    CREDITOR # 31044                CREDITOR # 31045
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31046                    CREDITOR # 31047                CREDITOR # 31048
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31049                    CREDITOR # 31050                CREDITOR # 31051
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31052                    CREDITOR # 31053                CREDITOR # 31054
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31055                    CREDITOR # 31056                CREDITOR # 31057
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31058                    CREDITOR # 31059                CREDITOR # 31060
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31061                    CREDITOR # 31062                CREDITOR # 31063
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31064                    CREDITOR # 31065                CREDITOR # 31066
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31067                    CREDITOR # 31068                CREDITOR # 31069
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31070                    CREDITOR # 31071                CREDITOR # 31072
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31073                    CREDITOR # 31074                CREDITOR # 31075
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31076                    CREDITOR # 31077                CREDITOR # 31078
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31079                    CREDITOR # 31080                CREDITOR # 31081
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31082                    CREDITOR # 31083                CREDITOR # 31084
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31085                    CREDITOR # 31086                CREDITOR # 31087
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31088                    CREDITOR # 31089                CREDITOR # 31090
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31091                    CREDITOR # 31092                CREDITOR # 31093
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31094                    CREDITOR # 31095                CREDITOR # 31096
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31097                    CREDITOR # 31098                CREDITOR # 31099
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31100                    CREDITOR # 31101                CREDITOR # 31102
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31103                    CREDITOR # 31104                CREDITOR # 31105
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31106                    CREDITOR # 31107                CREDITOR # 31108
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31109                    CREDITOR # 31110                CREDITOR # 31111
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31112                    CREDITOR # 31113                CREDITOR # 31114
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31115                    CREDITOR # 31116                CREDITOR # 31117
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31118                    CREDITOR # 31119                CREDITOR # 31120
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31121                    CREDITOR # 31122                CREDITOR # 31123
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31124                    CREDITOR # 31125                CREDITOR # 31126
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31127                    CREDITOR # 31128                CREDITOR # 31129
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31130                    CREDITOR # 31131                CREDITOR # 31132
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31133                    CREDITOR # 31134                CREDITOR # 31135
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31136                    CREDITOR # 31137                CREDITOR # 31138
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31139                    CREDITOR # 31140                CREDITOR # 31141
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31142                    CREDITOR # 31143                CREDITOR # 31144
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31145                    CREDITOR # 31146                CREDITOR # 31147
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31148                    CREDITOR # 31149                CREDITOR # 31150
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31151                    CREDITOR # 31152                CREDITOR # 31153
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31154                    CREDITOR # 31155                CREDITOR # 31156
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31157                    CREDITOR # 31158                CREDITOR # 31159
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31160                    CREDITOR # 31161                CREDITOR # 31162
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31163                    CREDITOR # 31164                CREDITOR # 31165
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31166                    CREDITOR # 31167                CREDITOR # 31168
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31169                    CREDITOR # 31170                CREDITOR # 31171
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31172                    CREDITOR # 31173                CREDITOR # 31174
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31175                    CREDITOR # 31176                CREDITOR # 31177
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31178                    CREDITOR # 31179                CREDITOR # 31180
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31181                    CREDITOR # 31182                CREDITOR # 31183
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31184                    CREDITOR # 31185                CREDITOR # 31186
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31187                    CREDITOR # 31188                CREDITOR # 31189
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31190                    CREDITOR # 31191                CREDITOR # 31192
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31193                    CREDITOR # 31194                CREDITOR # 31195
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31196                    CREDITOR # 31197                CREDITOR # 31198
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31199                    CREDITOR # 31200                CREDITOR # 31201
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31202                    CREDITOR # 31203                CREDITOR # 31204
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31205                    CREDITOR # 31206                CREDITOR # 31207
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31208                    CREDITOR # 31209                CREDITOR # 31210
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31211                    CREDITOR # 31212                CREDITOR # 31213
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31214                    CREDITOR # 31215                CREDITOR # 31216
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31217                    CREDITOR # 31218                CREDITOR # 31219
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31220                    CREDITOR # 31221                CREDITOR # 31222
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31223                    CREDITOR # 31224                CREDITOR # 31225
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31226                    CREDITOR # 31227                CREDITOR # 31228
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31229                    CREDITOR # 31230                CREDITOR # 31231
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31232                    CREDITOR # 31233                CREDITOR # 31234
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31235                    CREDITOR # 31236                CREDITOR # 31237
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31238                    CREDITOR # 31239                CREDITOR # 31240
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31241                    CREDITOR # 31242                CREDITOR # 31243
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31244                    CREDITOR # 31245                CREDITOR # 31246
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31247                    CREDITOR # 31248                CREDITOR # 31249
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31250                    CREDITOR # 31251                CREDITOR # 31252
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31253                    CREDITOR # 31254                CREDITOR # 31255
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31256                    CREDITOR # 31257                CREDITOR # 31258
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31259                    CREDITOR # 31260                CREDITOR # 31261
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31262                    CREDITOR # 31263                CREDITOR # 31264
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31265                    CREDITOR # 31266                CREDITOR # 31267
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31268                    CREDITOR # 31269                CREDITOR # 31270
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31271                    CREDITOR # 31272                CREDITOR # 31273
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31274                    CREDITOR # 31275                CREDITOR # 31276
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31277                    CREDITOR # 31278                CREDITOR # 31279
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CREDITOR # 31280                    CREDITOR # 31281                CREDITOR # 31282
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31283                    CREDITOR # 31284                CREDITOR # 31285
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31286                    CREDITOR # 31287                CREDITOR # 31288
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31289                    CREDITOR # 31290                CREDITOR # 31291
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31292                    CREDITOR # 31293                CREDITOR # 31294
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31295                    CREDITOR # 31296                CREDITOR # 31297
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31298                    CREDITOR # 31299                CREDITOR # 31300
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31301                    CREDITOR # 31302                CREDITOR # 31303
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31304                    CREDITOR # 31305                CREDITOR # 31306
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31307                    CREDITOR # 31308                CREDITOR # 31309
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CREDITOR # 31310                    CREDITOR # 31311                CREDITOR # 31312
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31313                    CREDITOR # 31314                CREDITOR # 31315
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31316                    CREDITOR # 31317                CREDITOR # 31318
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31319                    CREDITOR # 31320                CREDITOR # 31321
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31322                    CREDITOR # 31323                CREDITOR # 31324
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31325                    CREDITOR # 31326                CREDITOR # 31327
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31328                    CREDITOR # 31329                CREDITOR # 31330
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31331                    CREDITOR # 31332                CREDITOR # 31333
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31334                    CREDITOR # 31335                CREDITOR # 31336
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31337                    CREDITOR # 31338                CREDITOR # 31339
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31340                    CREDITOR # 31341                CREDITOR # 31342
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31343                    CREDITOR # 31344                CREDITOR # 31345
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31346                    CREDITOR # 31347                CREDITOR # 31348
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31349                    CREDITOR # 31350                CREDITOR # 31351
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31352                    CREDITOR # 31353                CREDITOR # 31354
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31355                    CREDITOR # 31356                CREDITOR # 31357
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31358                    CREDITOR # 31359                CREDITOR # 31360
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31361                    CREDITOR # 31362                CREDITOR # 31363
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31364                    CREDITOR # 31365                CREDITOR # 31366
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31367                    CREDITOR # 31368                CREDITOR # 31369
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31370                    CREDITOR # 31371                CREDITOR # 31372
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31373                    CREDITOR # 31374                CREDITOR # 31375
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31376                    CREDITOR # 31377                CREDITOR # 31378
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31379                    CREDITOR # 31380                CREDITOR # 31381
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31382                    CREDITOR # 31383                CREDITOR # 31384
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CREDITOR # 31385                    CREDITOR # 31386                CREDITOR # 31387
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31388                    CREDITOR # 31389                CREDITOR # 31390
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31391                    CREDITOR # 31392                CREDITOR # 31393
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31394                    CREDITOR # 31395                CREDITOR # 31396
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31397                    CREDITOR # 31398                CREDITOR # 31399
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31400                    CREDITOR # 31401                CREDITOR # 31402
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31403                    CREDITOR # 31404                CREDITOR # 31405
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31406                    CREDITOR # 31407                CREDITOR # 31408
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31409                    CREDITOR # 31410                CREDITOR # 31411
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31412                    CREDITOR # 31413                CREDITOR # 31414
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31415                    CREDITOR # 31416                CREDITOR # 31417
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31418                    CREDITOR # 31419                CREDITOR # 31420
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31421                    CREDITOR # 31422                CREDITOR # 31423
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31424                    CREDITOR # 31425                CREDITOR # 31426
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31427                    CREDITOR # 31428                CREDITOR # 31429
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31430                    CREDITOR # 31431                CREDITOR # 31432
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31433                    CREDITOR # 31434                CREDITOR # 31435
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31436                    CREDITOR # 31437                CREDITOR # 31438
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31439                    CREDITOR # 31440                CREDITOR # 31441
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31442                    CREDITOR # 31443                CREDITOR # 31444
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31445                    CREDITOR # 31446                CREDITOR # 31447
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31448                    CREDITOR # 31449                CREDITOR # 31450
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31451                    CREDITOR # 31452                CREDITOR # 31453
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31454                    CREDITOR # 31455                CREDITOR # 31456
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31457                    CREDITOR # 31458                CREDITOR # 31459
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31460                    CREDITOR # 31461                CREDITOR # 31462
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31463                    CREDITOR # 31464                CREDITOR # 31465
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31466                    CREDITOR # 31467                CREDITOR # 31468
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31469                    CREDITOR # 31470                CREDITOR # 31471
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31472                    CREDITOR # 31473                CREDITOR # 31474
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31475                    CREDITOR # 31476                CREDITOR # 31477
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31478                    CREDITOR # 31479                CREDITOR # 31480
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31481                    CREDITOR # 31482                CREDITOR # 31483
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31484                    CREDITOR # 31485                CREDITOR # 31486
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31487                    CREDITOR # 31488                CREDITOR # 31489
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31490                    CREDITOR # 31491                CREDITOR # 31492
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31493                    CREDITOR # 31494                CREDITOR # 31495
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31496                    CREDITOR # 31497                CREDITOR # 31498
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CREDITOR # 31499                    CREDITOR # 31500                CREDITOR # 31501
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31502                    CREDITOR # 31503                CREDITOR # 31504
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31505                    CREDITOR # 31506                CREDITOR # 31507
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31508                    CREDITOR # 31509                CREDITOR # 31510
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31511                    CREDITOR # 31512                CREDITOR # 31513
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31514                    CREDITOR # 31515                CREDITOR # 31516
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31517                    CREDITOR # 31518                CREDITOR # 31519
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31520                    CREDITOR # 31521                CREDITOR # 31522
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31523                    CREDITOR # 31524                CREDITOR # 31525
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31526                    CREDITOR # 31527                CREDITOR # 31528
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CREDITOR # 31529                    CREDITOR # 31530                CREDITOR # 31531
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31532                    CREDITOR # 31533                CREDITOR # 31534
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31535                    CREDITOR # 31536                CREDITOR # 31537
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31538                    CREDITOR # 31539                CREDITOR # 31540
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31541                    CREDITOR # 31542                CREDITOR # 31543
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31544                    CREDITOR # 31545                CREDITOR # 31546
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31547                    CREDITOR # 31548                CREDITOR # 31549
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31550                    CREDITOR # 31551                CREDITOR # 31552
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31553                    CREDITOR # 31554                CREDITOR # 31555
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31556                    CREDITOR # 31557                CREDITOR # 31558
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31559                    CREDITOR # 31560                CREDITOR # 31561
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31562                    CREDITOR # 31563                CREDITOR # 31564
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31565                    CREDITOR # 31566                CREDITOR # 31567
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31568                    CREDITOR # 31569                CREDITOR # 31570
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31571                    CREDITOR # 31572                CREDITOR # 31573
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31574                    CREDITOR # 31575                CREDITOR # 31576
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31577                    CREDITOR # 31578                CREDITOR # 31579
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31580                    CREDITOR # 31581                CREDITOR # 31582
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31583                    CREDITOR # 31584                CREDITOR # 31585
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31586                    CREDITOR # 31587                CREDITOR # 31588
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CREDITOR # 31589                    CREDITOR # 31590                CREDITOR # 31591
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31592                    CREDITOR # 31593                CREDITOR # 31594
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31595                    CREDITOR # 31596                CREDITOR # 31597
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31598                    CREDITOR # 31599                CREDITOR # 31600
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31601                    CREDITOR # 31602                CREDITOR # 31603
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31604                    CREDITOR # 31605                CREDITOR # 31606
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31607                    CREDITOR # 31608                CREDITOR # 31609
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31610                    CREDITOR # 31611                CREDITOR # 31612
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31613                    CREDITOR # 31614                CREDITOR # 31615
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31616                    CREDITOR # 31617                CREDITOR # 31618
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31619                    CREDITOR # 31620                CREDITOR # 31621
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31622                    CREDITOR # 31623                CREDITOR # 31624
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31625                    CREDITOR # 31626                CREDITOR # 31627
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31628                    CREDITOR # 31629                CREDITOR # 31630
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31631                    CREDITOR # 31632                CREDITOR # 31633
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31634                    CREDITOR # 31635                CREDITOR # 31636
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31637                    CREDITOR # 31638                CREDITOR # 31639
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31640                    CREDITOR # 31641                CREDITOR # 31642
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31643                    CREDITOR # 31644                CREDITOR # 31645
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31646                    CREDITOR # 31647                CREDITOR # 31648
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31649                    CREDITOR # 31650                CREDITOR # 31651
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31652                    CREDITOR # 31653                CREDITOR # 31654
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31655                    CREDITOR # 31656                CREDITOR # 31657
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31658                    CREDITOR # 31659                CREDITOR # 31660
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31661                    CREDITOR # 31662                CREDITOR # 31663
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31664                    CREDITOR # 31665                CREDITOR # 31666
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31667                    CREDITOR # 31668                CREDITOR # 31669
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31670                    CREDITOR # 31671                CREDITOR # 31672
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31673                    CREDITOR # 31674                CREDITOR # 31675
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31676                    CREDITOR # 31677                CREDITOR # 31678
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 31679                    CREDITOR # 31680                CREDITOR # 31681
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31682                    CREDITOR # 31683                CREDITOR # 31684
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 31685                    CREDITOR # 31686                CREDITOR # 320
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 321                      CREDITOR # 322                  CREDITOR # 323
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 324                      CREDITOR # 325                  CREDITOR # 326
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 327                      CREDITOR # 328                  CREDITOR # 32825
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 32826                    CREDITOR # 32827                CREDITOR # 32828
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 32829                    CREDITOR # 32830                CREDITOR # 32831
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 32832                    CREDITOR # 32833                CREDITOR # 32834
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 32835                    CREDITOR # 32836                CREDITOR # 32837
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 32838                    CREDITOR # 32839                CREDITOR # 32840
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 32841                    CREDITOR # 32842                CREDITOR # 32843
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 32844                    CREDITOR # 32845                CREDITOR # 32846
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 32847                    CREDITOR # 32848                CREDITOR # 32849
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 329                      CREDITOR # 330                  CREDITOR # 335
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 336                      CREDITOR # 337                  CREDITOR # 338
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 339                      CREDITOR # 340                  CREDITOR # 341
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 342                      CREDITOR # 343                  CREDITOR # 344
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 345                      CREDITOR # 346                  CREDITOR # 347
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 348                      CREDITOR # 349                  CREDITOR # 3493
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 350                      CREDITOR # 351                  CREDITOR # 3511
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 352                      CREDITOR # 353                  CREDITOR # 354
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 355                      CREDITOR # 356                  CREDITOR # 3560
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 357                      CREDITOR # 358                  CREDITOR # 359
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 360                      CREDITOR # 361                  CREDITOR # 362
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 363                      CREDITOR # 364                  CREDITOR # 365
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 366                      CREDITOR # 367                  CREDITOR # 368
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 369                      CREDITOR # 370                  CREDITOR # 371
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 372                      CREDITOR # 373                  CREDITOR # 374
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 375                      CREDITOR # 376                  CREDITOR # 377
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 378                      CREDITOR # 379                  CREDITOR # 380
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 381                      CREDITOR # 382                  CREDITOR # 383
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 384                      CREDITOR # 385                  CREDITOR # 386
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 387                      CREDITOR # 388                  CREDITOR # 389
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 390                      CREDITOR # 391                  CREDITOR # 392
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 393                      CREDITOR # 394                  CREDITOR # 395
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 396                      CREDITOR # 397                  CREDITOR # 398
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 399                      CREDITOR # 4                    CREDITOR # 400
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 401                      CREDITOR # 402                  CREDITOR # 403
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 404                      CREDITOR # 405                  CREDITOR # 406
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 407                      CREDITOR # 408                  CREDITOR # 409
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 410                      CREDITOR # 411                  CREDITOR # 412
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 413                      CREDITOR # 414                  CREDITOR # 415
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 416                      CREDITOR # 417                  CREDITOR # 4172
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 418                      CREDITOR # 419                  CREDITOR # 420
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 421                      CREDITOR # 422                  CREDITOR # 423
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 424                      CREDITOR # 425                  CREDITOR # 426
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 427                      CREDITOR # 428                  CREDITOR # 429
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 430                      CREDITOR # 431                  CREDITOR # 432
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 433                      CREDITOR # 434                  CREDITOR # 435
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 436                      CREDITOR # 437                  CREDITOR # 438
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 439                      CREDITOR # 440                  CREDITOR # 441
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 442                      CREDITOR # 443                  CREDITOR # 444
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 445                      CREDITOR # 446                  CREDITOR # 447
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 448                      CREDITOR # 449                  CREDITOR # 450
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 451                      CREDITOR # 452                  CREDITOR # 453
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 454                      CREDITOR # 455                  CREDITOR # 456
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 457                      CREDITOR # 458                  CREDITOR # 459
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 460                      CREDITOR # 461                  CREDITOR # 462
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 463                      CREDITOR # 464                  CREDITOR # 465
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 466                      CREDITOR # 467                  CREDITOR # 468
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 469                      CREDITOR # 470                  CREDITOR # 471
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 472                      CREDITOR # 473                  CREDITOR # 474
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 475                      CREDITOR # 476                  CREDITOR # 477
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 478                      CREDITOR # 479                  CREDITOR # 480
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 481                      CREDITOR # 482                  CREDITOR # 483
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 484                      CREDITOR # 485                  CREDITOR # 486
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CREDITOR # 487                      CREDITOR # 488                  CREDITOR # 489
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 490                      CREDITOR # 491                  CREDITOR # 492
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 493                      CREDITOR # 494                  CREDITOR # 495
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 496                      CREDITOR # 497                  CREDITOR # 498
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 499                      CREDITOR # 5                    CREDITOR # 500
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 501                      CREDITOR # 502                  CREDITOR # 503
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 504                      CREDITOR # 505                  CREDITOR # 506
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 507                      CREDITOR # 508                  CREDITOR # 509
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 510                      CREDITOR # 511                  CREDITOR # 512
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 513                      CREDITOR # 514                  CREDITOR # 515
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 516                      CREDITOR # 517                  CREDITOR # 518
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 519                      CREDITOR # 520                  CREDITOR # 521
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 522                      CREDITOR # 523                  CREDITOR # 524
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 525                      CREDITOR # 526                  CREDITOR # 527
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 528                      CREDITOR # 529                  CREDITOR # 530
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 531                      CREDITOR # 532                  CREDITOR # 533
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 534                      CREDITOR # 535                  CREDITOR # 536
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 537                      CREDITOR # 538                  CREDITOR # 5382
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 539                      CREDITOR # 5398                 CREDITOR # 540
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 5408                     CREDITOR # 541                  CREDITOR # 5410
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 542                      CREDITOR # 543                  CREDITOR # 544
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 545                      CREDITOR # 546                  CREDITOR # 547
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 548                      CREDITOR # 5484                 CREDITOR # 549
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 550                      CREDITOR # 551                  CREDITOR # 5515
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 5518                     CREDITOR # 552                  CREDITOR # 5527
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 553                      CREDITOR # 554                  CREDITOR # 555
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 556                      CREDITOR # 5560                 CREDITOR # 557
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 558                      CREDITOR # 559                  CREDITOR # 560
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 561                      CREDITOR # 562                  CREDITOR # 5622
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 563                      CREDITOR # 5635                 CREDITOR # 564
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 565                      CREDITOR # 566                  CREDITOR # 567
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 568                      CREDITOR # 569                  CREDITOR # 570
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 571                      CREDITOR # 572                  CREDITOR # 573
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 574                      CREDITOR # 575                  CREDITOR # 576
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 577                      CREDITOR # 578                  CREDITOR # 579
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 580                      CREDITOR # 581                  CREDITOR # 582
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 5825                     CREDITOR # 583                  CREDITOR # 584
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 585                      CREDITOR # 586                  CREDITOR # 587
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 588                      CREDITOR # 589                  CREDITOR # 590
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 591                      CREDITOR # 592                  CREDITOR # 593
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 594                      CREDITOR # 595                  CREDITOR # 596
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 597                      CREDITOR # 598                  CREDITOR # 599
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 6                        CREDITOR # 600                  CREDITOR # 6006
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 601                      CREDITOR # 602                  CREDITOR # 603
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 604                      CREDITOR # 605                  CREDITOR # 6052
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 606                      CREDITOR # 607                  CREDITOR # 608
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 609                      CREDITOR # 610                  CREDITOR # 611
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 612                      CREDITOR # 613                  CREDITOR # 614
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 615                      CREDITOR # 616                  CREDITOR # 617
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 618                      CREDITOR # 619                  CREDITOR # 620
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 621                      CREDITOR # 622                  CREDITOR # 623
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 624                      CREDITOR # 625                  CREDITOR # 626
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 627                      CREDITOR # 628                  CREDITOR # 629
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 630                      CREDITOR # 631                  CREDITOR # 632
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 633                      CREDITOR # 634                  CREDITOR # 635
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 636                      CREDITOR # 637                  CREDITOR # 638
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 639                      CREDITOR # 640                  CREDITOR # 641
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 642                      CREDITOR # 643                  CREDITOR # 644
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 645                      CREDITOR # 646                  CREDITOR # 647
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 648                      CREDITOR # 649                  CREDITOR # 650
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 651                      CREDITOR # 652                  CREDITOR # 653
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 654                      CREDITOR # 6542                 CREDITOR # 655
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 656                      CREDITOR # 657                  CREDITOR # 658
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 659                      CREDITOR # 660                  CREDITOR # 661
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 662                      CREDITOR # 663                  CREDITOR # 664
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 665                      CREDITOR # 666                  CREDITOR # 667
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 668                      CREDITOR # 669                  CREDITOR # 670
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 671                      CREDITOR # 672                  CREDITOR # 673
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 674                      CREDITOR # 675                  CREDITOR # 676
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 677                      CREDITOR # 678                  CREDITOR # 679
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 680                      CREDITOR # 681                  CREDITOR # 682
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 683                      CREDITOR # 684                  CREDITOR # 685
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 686                      CREDITOR # 687                  CREDITOR # 688
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 689                      CREDITOR # 690                  CREDITOR # 691
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 692                      CREDITOR # 693                  CREDITOR # 694
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 695                      CREDITOR # 696                  CREDITOR # 697
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 698                      CREDITOR # 699                  CREDITOR # 7
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 700                      CREDITOR # 7155                 CREDITOR # 7306
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 74                       CREDITOR # 762                  CREDITOR # 763
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 764                      CREDITOR # 765                  CREDITOR # 766
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 767                      CREDITOR # 768                  CREDITOR # 769
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 770                      CREDITOR # 771                  CREDITOR # 772
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 773                      CREDITOR # 799                  CREDITOR # 8
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 8162                     CREDITOR # 8215                 CREDITOR # 8577
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 9                        CREDITOR # 9284                 CREDITOR # 9285
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 9388                     CREDITOR # 947                  CREDITOR # 950
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 951                      CREDITOR # 9544                 CREDITOR # 963
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 964                      CREDITOR # 965                  CREDITOR # 966
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 967                      CREDITOR # 968                  CREDITOR # 969
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 970                      CREDITOR # 971                  CREDITOR # 9710
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 972                      CREDITOR # 973                  CREDITOR # 974
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 975                      CREDITOR # 976                  CREDITOR # 977
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




CREDITOR # 978                      CREDITOR # 979                  CREDITOR # 980
NAME AND ADDRESS ON FILE            NAME AND ADDRESS ON FILE        NAME AND ADDRESS ON FILE




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CREDITOR # 981                            CREDITOR # 983                    CREDITOR # 984
NAME AND ADDRESS ON FILE                  NAME AND ADDRESS ON FILE          NAME AND ADDRESS ON FILE




CREDITOR # 985                            CREDITOR # 986                    CREDITOR # 987
NAME AND ADDRESS ON FILE                  NAME AND ADDRESS ON FILE          NAME AND ADDRESS ON FILE




CREDITOR # 988                            CREDITOR # 989                    CREDITOR # 991
NAME AND ADDRESS ON FILE                  NAME AND ADDRESS ON FILE          NAME AND ADDRESS ON FILE




CREDITOR # 992                            CREDITOR # 993                    CREDITOR # 994
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CREDITOR # 995                            CREDITOR # 996                    CREDITOR # 997
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CREDITOR # 998                            CREDITOR # 999                    CREST INTERNATIONAL NOMINEES LIMITED
NAME AND ADDRESS ON FILE                  NAME AND ADDRESS ON FILE          NATHAN ASHWORTH
                                                                            33 CANNON ST
                                                                            LONDON UK EC4M 5SB
                                                                            UNITED KINGDOM




CREWS AND ASSOCIATES, INC                 CRITERIA CORP                     CRMFUSION INC
CORPORATE ACTIONS                         750 N SAN VICENTE BLVD            14 WOLFORD CT
521 PRESIDENT CLINTON AVE STE 800         STE 1500 E TOWER                  KESWICK ON L4P 0B1
LITTLE ROCK AR 72201-1747                 WEST HOLLYWOOD CA 90069           CANADA




CROWELL, WEEDON AND CO                    CROWN CAPITAL SECURITIES LP       CRT CAPITAL GROUP LLC
JAMES L CRONK CORPORATE ACTIONS           725 TOWN AND COUNTRY RD STE 530   CORPORATE ACTIONS
624 SOUTH GRAND AVE                       ORANGE CA 92868                   262 HARBOR DR
ONE WILSHIRE BLDG STE 2600                                                  STAMFORD CT 06902
LOS ANGELES CA 90017




CRUM AND FORSTER SPECIALTY INSURANCE CO   CRUMP LIFE INSURANCE SVC INC      CSC CORP SVC CO
305 MADISON AVE                           4250 CRUMS MILL RD                PO BOX 13397
MORRISTOWN NJ 07962                       HARRISBURG PA 17112               PHILADELPHIA PA 19101-3397




CSG INVESTMENTS INC                       CSS, LLC                          CT CORP
6000 LEGACY DR                            175 WEST JACKSON BLVD             PO BOX 4349
PLANO TX 75024                            STE 440                           CAROL STREAM IL 60197-4349
                                          CHICAGO IL 60604-3029




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CT SECURITIES AND BUSINESS INVESTMENTS DIV   CTW CONSULTING LLC                       CUBIK PROMOTIONS INC
260 CONSTITUTION PLAZA                       2480 OLD BEACH RD                        500 AIRPORT RD
HARTFORD CT 06103-1800                       WAYZATA MN 55391                         STE 211
                                                                                      REDWOOD FALLS MN 56283




CULHANE MEADOWS HAUGHIAN AND WALSH           CULLIGAN SOFT WATER SVC CO               CURIAN CLEARING, LLC
PO BOX 49716                                 7165 BOONE AVE N                         JEANINE STARR
ATLANTA GA 30359                             BROOKLYN PARK MN 55428                   7601 TECHNOLOGY WAY 2ND FL
                                                                                      DENVER CO 80237




CUSIP GLOBAL SVC                             CWG INC                                  D A DAVIDSON AND CO
55 WATER ST                                  179 OAKLEY RD                            RITA LINSKEY
NEW YORK NY 10041                            WOONSOCKET RI 02895                      8 THIRD ST NORTH
                                                                                      GREAT FALLS MT 59401




D A DAVIDSON AND CO                          D A DAVIDSON AND CO                      D AND P ASSETS INC
CORPORATE ACTIONS                            DEBBIE GYGER                             17 MOUNTAIN AVE
8 THIRD ST NORTH                             8 THIRD ST NORTH                         BLOOMFIELD CT 06002
GREAT FALLS MT 59401                         GREAT FALLS MT 59401




D S ERICKSON AND ASSOCIATES PLLC             DAIWA CAPITAL MARKETS AMERICA INC        DAIWA CAPITAL MARKETS AMERICA INC
920 SECOND AVE SOUTH                         CORPORATE ACTIONS                        SERGIO LEON
STE 800                                      32 OLD SLIP                              32 OLD SLIP 14TH FL
MINNEAPOLIS MN 55402                         14TH FL                                  NEW YORK NY 10005
                                             NEW YORK NY 10005




DAIWA CAPITAL MARKETS AMERICA INC            DAIWA CAPITAL MARKETS AMERICA INCDASAC   DAKOTA SECURITIES
SECURITIES LENDING                           AKIKO HIROSHIMA                          7241 SW 63 AVE STE 101A
DAVID BIALER, ASSISTANT VICE PRESIDENT       32 OLD SLIP                              S. MIAMI FL 33143
32 OLD SLIP 14TH FL                          14TH FL
NEW YORK NY 10005                            NEW YORK NY 10005




DALTON STRATEGIC INVESTMENT SVC              DANIEL R KELLY                           DASH FINANCIAL LLC
26 N WASHINGTON ST                           FELHABER LARSON                          CORPORATE ACTIONS
KNIGHTSTOWN IN 46148-1274                    220 S 6TH ST STE 2200                    5 E 16TH ST
                                             MINNEAPOLIS MN 55402                     NEW YORK NY 10003




DATAROBOT INC                                DAVENPORT AND CO LLC                     DAVID A ALLGEYER
ONE INTERNATIONAL PL                         KIM NIEDING                              300 WEST BEECH ST #802
BOSTON MA 02110                              901 EAST CARY ST                         SAN DIEGO CA 92101
                                             11TH FL
                                             RICHMOND VA 23219




DAVID COWLEY INCENTIVES INC                  DAVID LERNER ASSOCIATES, INC             DAVID LERNER ASSOCIATES, INC
7240 METRO BLVD                              BILLY O' DONNELL                         GERHARDT FRANK
STE 300                                      477 JERICHO TPKE                         477 JERICHO TURNPIKE
EDINA MN 55439                               PO BOX 9006                              PO BOX 9006
                                             SYOSSET NY 11791                         SYOSSET NY 11791-9006




DAVIS AND GILBERT LLP                        DAWSON JAMES SECURITIES                  DBTC AMERICAS/CTAG-CDFP
1740 BROADWAY                                1 NORTH FEDERAL HWY                      MISSY WIMPELBERG
NEW YORK NY 10019                            STE 500                                  ADMINISTRATOR
                                             BOCA RATON FL 33432                      648 GRASSMERE PK DR
                                                                                      NASHVILLE TN 37211




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DBTC AMERICAS/CTAG/PUTS AND DEMANDS     DEALFLOW MEDIA INC                      DEL WEBB ORLANDO HOA INC
CORPORATE ACTIONS                       PO BOX 122                              500 DEL WEBB BLVD
60 WALL ST                              SYOSSET NY 11791                        DAVENPORT FL 33837
NEW YORK NY 10005




DELAWARE ATTORNEY GENERAL               DELAWARE DEPT OF INSURANCE              DELAWARE DEPT OF JUSTICE
KATHY JENNINGS                          PRODUCER LICENSING SECTION              DIVISION OF SECURITIES
CARVEL STATE OFFICE BLDG                841 SILVER LAKE BLVD                    CARVEL STATE OFFICE BUILDING
820 N FRENCH ST                         DOVER DE 19904-2465                     820 NORTH FRENCH ST 5TH FL.
WILMINGTON DE 19801                                                             WILMINGTON DE 19801




DELAWARE LIFE INSURANCE CO              DELAWARE OFF OF THE STATE BANK          DELAWARE SECRETARY OF STATE
PO BOX 758581                           COMMISSIONER                            DELAWARE DIVISION OF CORPORATIONS
TOPEKA KS 66675-8580                    555 E LOOCKERMAN ST                     401 FEDERAL ST STE 4
                                        STE 210                                 DOVER NY 13902-5509
                                        DOVER DE 19901




DELAWARE TRUST CO AS TRUSTEE            DELAWARE TRUST CO AS TRUSTEE            DELAWARE TRUST CO AS TRUSTEE
FBO: LT-26A CUSTODY TRUST               FBO: LT-25A CUSTODY TRUST               FBO: LT-24A CUSTODY TRUST
JAMES GRIER                             JAMES GRIER                             JAMES GRIER
251 LITTLE FALLS DR                     251 LITTLE FALLS DR                     251 LITTLE FALLS DR
WILMINGTON DE 19808                     WILMINGTON DE 19808                     WILMINGTON DE 19808




DELAWARE TRUST CO AS TRUSTEE            DELAWARE TRUST CO AS TRUSTEE            DELAWARE TRUST CO AS TRUSTEE
FBO: LT-23A CUSTODY TRUST               FBO LT8 EXCHANGE TRUST                  FBO LT7 EXCHANGE TRUST
JAMES GRIER                             JAMES GRIER                             JAMES GRIER
251 LITTLE FALLS DR                     251 LITTLE FALLS DR                     251 LITTLE FALLS DR
WILMINGTON DE 19808                     WILMINGTON DE 19808                     WILMINGTON DE 19808




DELAWARE TRUST CO AS TRUSTEE            DELAWARE TRUST CO AS TRUSTEE            DELAWARE TRUST CO AS TRUSTEE
FBO LT6 EXCHANGE TRUST                  FBO LT5 EXCHANGE TRUST                  FBO LT4 EXCHANGE TRUST
JAMES GRIER                             JAMES GRIER                             JAMES GRIER
251 LITTLE FALLS DR                     251 LITTLE FALLS DR                     251 LITTLE FALLS DR
WILMINGTON DE 19808                     WILMINGTON DE 19808                     WILMINGTON DE 19808




DELAWARE TRUST CO AS TRUSTEE            DELTA DENTAL OF MINNESOTA               DELUXE
FBO LT3 EXCHANGE TRUST                  NW 5772                                 PO BOX 4656
JAMES GRIER                             PO BOX 1450                             CAROL STREAM IL 60197-4656
251 LITTLE FALLS DR                     MINNEAPOLIS MN 55485-5772
WILMINGTON DE 19808




DEMPSEY LORD SMITH LLC                  DEPOSITO CENTRAL DE VALORES SA,         DEPT OF ASSESSMENTS AND TAXATION
901 N BROAD ST                          DEPOSITODE VALORES                      PERSONAL PROPERTY DIVISION
STE 400                                 MIRNA FERNANDEZ, ASSISTANT MANAGER      PO BOX 17052
ROME GA 30161                           AVDA APOQUINDO #4001                    BALTIMORE MD 21297-1052
                                        FL 12 CP 7550162
                                        LAS CONDES, SANTIAGO
                                        CHILE

DEPT OF BUSINESS OVERSIGHT CALIFORNIA   DEPT OF COMMERCE AND CONSUMER AFFAIRS   DEPT OF CONSUMER AND BUSINESS SVC
320 WEST 4TH ST                         LICENSING BRANCH                        INSURANCE DIVISION
STE 750                                 HAWII INSURANCE DIVISION                350 WINTER ST NE PO BOX 14480
LOS ANGELES CA 90013                    335 MERCHANT ST RM 213                  SALEM OR 97309-0405
                                        HONOLULU HI 96813




DEPT OF ECOLOGY                         DEPT OF LABOR AND INDUSTRIES            DEPT OF LABOR AND INDUSTRIES
PO BOX 34050                            PO BOX 44171                            PO BOX 24106
SEATTLE WA 98124-1050                   OLYMPIA WA 98504-4171                   SEATTLE WA 98124-6524




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DEPT OF PSYCHIATRY                         DEPT OF STATE                    DEPT OF STATE
MARTIN JAVORS PHD                          DIVISION OF CORPORATIONS         BUREAU OF CORPORATIONS AND
UT HEALTH-LONG SCHOOL OF MEDICINE          ONE COMMERCE PLAZA               CHARITABLE ORGANIZATIONS
7703 FLYOD CURL DR                         99 WASHINGTON AVEN               PO BOX 8722
SAN ANTONIO TX 78229                       ALBANY NY 12231                  HARRISBURG PA 17105-8722




DES UNEMPLOYMENT TAX                       DESERET TRUST CO                 DESERET TRUST CO - A
PO BOX 52027                               CORPORATE ACTIONS                ISSUER SVC
PHOENIX AZ 85072-2027                      60 EAST SOUTH TEMPLE             51 MERCEDES WAY
                                           STE 800                          EDGEWOODE NY 11717
                                           SALT LAKE CITY UT 84111-1036




DESERET TRUST CO - D                       DESERET TRUST CO - I             DESIGNWRITE ADVERTISING INC
ISSUER SVC                                 ISSUER SVC                       18344 MINNETONKA BLVD
51 MERCEDES WAY                            51 MERCEDES WAY                  DEEPHAVEN MN 55391
EDGEWOOD NY 11717                          EDGEWOODE NY 11717




DESJARDINS SECURITIES INCCDS**             DESJARDINS SECURITIES INCCDS**   DESJARDINS SECURITIES INCCDS**
REORG DEPT-MTL1060-1ER-E                   REORG DEPT                       CORPORATE ACTIONS
1060 UNIVERSITY ST                         1 COMPLEXE DESJARDINS            VALEURS MOBILIARES DESJARDINS
STE 101                                    CP 34 SUCC ESJARDINS             2 COMPLEXE DESJARDINS TOUR EST
MONTREAL QC H3B 5L7                        MONTREAL QC H5B 1E4              NIVEAU 62 E122
CANADA                                     CANADA                           MONTREAL QC H5B 1J2
                                                                            CANADA

DEUTSCHE BANK AG NY/CEDEAR                 DEUTSCHE BANK AG NY/TCR          DEUTSCHE BANK AG, NEW YORK BRANCH
JOHN BINDER                                JOHN BINDER                      JOHN BINDER
VICE PRESIDENT                             VICE PRESIDENT                   100 PLZ ONE
100 PLZ ONE                                100 PLZ ONE                      2ND FL
2ND FL                                     2ND FL                           JERSEY CITY NJ 07311-3901
JERSEY CITY NJ 07311                       JERSEY CITY NJ 07311-3901


DEUTSCHE BANK AG, NEW YORK BRANCHGES FFT   DEUTSCHE BANK SECURITIES INC     DEUTSCHE BANK SECURITIES INC
BEVERLY GEORGE                             SARA BATTEN                      INTERNATIONALSTOCK LOAN
ASSISTANT VICE PRESIDENT                   5022 GATE PKWY                   ERIC HERBST
60 WALL ST                                 STE 100                          5201 GATE PKWY
NEW YORK NY 10023                          JACKSONVILLE FL 32256            JACKSONVILLE FL 32256




DEWAAY FINANCIAL NETWORK                   DH HILL ADVISORS INC             DH HILL SECURITIES LLLP
8711 NORTHPARK AVE                         1543 GREEN OAK PL                1543 GREEN OAK PL
JOHNSTON IA 50131                          STE 100                          STE 100
                                           KINGWOOD TX 77339                KINGWOOD TX 77339




DIALOGUE CONFERENCING INC                  DIAMANT INVESTMENT CORP          DIGITAL DATAVOICE CORP
10200 FOREST GREEN BLVD                    AUDREY BURGER                    1210 NORTHLAND DR
STE 112                                    170 MASON ST                     STE 160
LOUISVILLE KY 40223                        GREENWICH CT 06830               MENDOTA HEIGHTS MN 55120




DIGITAL RIVER INC                          DILIGENT CORP                    DIRECTOR DEPT OF CONSUMER AND BUSINESS
ACCOUNTS RECEIVABLE                        1515 COURTHOUSE RD               SVC
LOCKBOX 88278                              STE 210                          OREGON DIVISION OF FINANCE AND
88278 EXPEDITE WAY                         ARLINGTON VA 22201               CORPORATE SECURITIES
CHICAGO IL 60695-0001                                                       DEPT OF CONSUMER AND BUSINESS SVC
                                                                            350 WINTER ST NE ROOM 410
                                                                            SALEM OR 97301

DIRECTOR OF INSURANCE                      DISCOVERY DATA                   DISTRICT OF COLUMBIA
IL DEPT OF INSURANCE                       12 CHRISTOPHER WAY               OFFICE OF TAX AND REVENUE
320 W WASHINGTON ST                        STE 300                          941 NORTH CAPITOL ST NE 1ST FLOOR
SPRINGFIELD IL 62767-0001                  EATONTOWN NJ 07724               WASHINGTON DC 20002




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DISTRICT OF COLUMBIA                       DISTRICT OF COLUMBIA                 DISTRICT OF COLUMBIA ATTORNEY GENERAL
DEPT OF INSURANCE SECURITIES AND BANKING   DEPT OF INSURANCE                    KARL A RACINE
810 FIRST ST NE                            810 1ST ST NE                        441 4TH ST NW
STE 701                                    WASHINGTON DC 20002                  STE 1100S
WASHINGTON DC 20002                                                             WASHINGTON DC 20001




DISTRICT OF COLUMBIA DEPT OF INSUR AND     DIVERSIFIED INSURANCE BROKERS INC    DIVISION OF COLLECTIONS
SECURITIES REGULATION                      730 HOLCOMB BRIDGE RD                501 HIGH ST
SECURITIES BUREAU                          NORCROSS GA 30071                    PO BOX 491
1050 FIRST ST NE                                                                FRANKFORT KY 40602-0491
STE 801
WASHINGTON DC 20002


DIVISION OF INSURANC                       DIVISON OF CORPORATIONS              DLA PIPER LLP
124 S EUCLID AVE                           REGISTRATION SECTION                 THE MARBURY BUILDING
2ND FL                                     PO BOX 6327                          6225 SMITH AVE
PIERRE SD 57501                            TALLAHASSEE FL 32314                 BALTIMORE MD 21209-3600




DMI PARTNERS INC                           DOCUSIGN INC                         DPL FINANCIAL PARTNERS LLC
PO BOX 824622                              DEPT 3428                            1101 GLENBROOK RD
PHILADELPHIA PA 19182-4622                 PO BOX 123428                        ANCHORAGE KY 40223
                                           DALLAS TX 75312-3428




DST MARKET SERVICES, LLC                   DST MARKET SVC LLC                   DST SYSTEMS INC
CORPORATE ACTIONS                          920 2ND AVE SOUTH                    2454 COLLECTIONS CTR DR
333 W 11TH ST                              STE 700                              CHICAGO IL 60693-0024
KANSAS CITY MO 64105                       MINNEAPOLIS MN 55402




DTC                                        DZ BANK NY                           E D AND F MAN CAPITAL MARKETS INC
55 WATER ST                                MARIA LAGUATAN                       CORP ACTIONS
FL 3                                       REF BR03-936848                      140 EAST 45TH ST
NEW YORK NY 10041                          609 FIFTH AVE                        42ND FL
                                           NEW YORK NY 10017-1021               NEW YORK NY 10017




E TRADE BANK                               E TRADE CLEARING LLC                 E TRADE CLEARING LLC
TESSA QUINLAN                              BROADRIDGE                           JOHN ROSENBACH
SUPERVISOR                                 CORPORATE ACTIONS DEPT               1271 AVE OF THE AMERICAS
671 NORTH GLEBE RD                         2 JOURNAL SQUARE PLZ                 14TH FL
ARLINGTON VA 22203                         5TH FL                               NEW YORK NY 10020
                                           JERSEY CITY NJ 07306


E TRADE SECURITIES LLC/ETS SECURITIES      EASTER SEALS SOUTHWEST FLORIDA INC   ED KIRKLAND COMPANY LLC
LENDING                                    350 BRADEN AVE                       1314 LINCOLN ST STE 215
CORPORATE ACTIONS                          SARASOTA FL 34243                    COLUMBIA SC 29201
34 EXCHANGE PL
JERSEY CITY NJ 07311




EDGAR AGENTS LLC                           EDI FINANCIAL INC                    EDWARD D JONES AND CO
105 WHITE OAK LN STE 104                   1431 GREENWAY DR                     DEREK ADAMS
OLD BRIDGE NJ 08857                        STE 330                              12555 MANCHESTER RD
                                           IRVING TX 75038                      ST LOUIS MO 63131




EDWARD D JONES AND CO                      EDWARD JONES/CDS**                   EDWARD JONES/CDS**
ELIZABETH ROLWES                           CORPORATE ACTIONS                    DIANE YOUNG
CORPORATE ACTIONS                          201 PROGRESS PKWY                    1255 MANCHESTER RD
201 PROGRESS PKWY                          MARYLAND HEIGHTS MO 63043            ST LOUIS MO 63141
MARYLAND HEIGHTS MO 63043-3042




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EDWARD STONE LAW PC                         EDWARD STONE LAW PC                    EDWIN BLITZ INVESTMENTS
175 WEST PUTNAM AVE                         MARC E DAVIES                          1560 SHERMAN AVE STE 803
2ND FLOOR                                   300 PARK AVENUE                        EVANSTON IL 60201
GREENWICH CT 06830                          12TH FLOOR
                                            NEW YORK NY 10022




EGAN                                        EIDE BAILLY LLP                        EIMN LLC
PO BOX 115027                               800 NICOLLET MALL                      1120 AVENUE OF THE AMERICAS
MINNEAPOLIS MN 55480-1150                   STE 1300                               6TH FLOOR
                                            MINNEAPOLIS MN 55402-7033              NEW YORK NY 10036




ELASTICITY LLC                              ELECTRIC RESOURCE CONTRACTORS          ELECTRONIC TRANSACTION CLEARING
1008 LOCUST ST                              4024 WASHINGTON AVE NORTH              CANADA/CDS**
STE 300                                     MINNEAPOLIS MN 55412-1742              CORPORATE ACTIONS
ST. LOUIS MO 63101                                                                 BAY ADELAIDE CENTRE
                                                                                   333 BAY ST STE 1220
                                                                                   TORONTO ON M5H-2R2
                                                                                   CANADA

ELECTRONIC TRANSACTION CLEARING, INCHOUSE   ELITE FINANCIAL COMMUNICATIONS GROUP   ELITE RESOURCE TEAM
CORPORATE ACTIONS                           222 S. MAGNOLIA AVE                    501 WEST BROADWAY
660 SOUTH FIGUEROA ST                       SANFORD FL 32771-3122                  STE 1360
STE 1450                                                                           SAN DIEGO CA 92101
LOS ANGELES CA 90017




ELITE SALES PROCESSING INC                  EMC NATIONAL LIFE CO                   EMERSON EQUITY LLC
11205 WRIGHT CIR                            PO BOX 9144                            155 BOVET RD
STE 120                                     DES MOINES IA 50306-9144               STE 725
OMAHA NE 68144                                                                     SAN MATEO CA 94402




EMGLK CAPITAL LLC                           EMMET AND CO,INC                       EMPLOYEE BENEFITS CORP
1706 KENILWORTH ST                          RICHARD CHRISTENSEN                    PO BOX 44347
SARASOTA FL 34231                           12 PEAPACK RD                          MADISON WI 53744-4347
                                            FAR HILLS NJ 07931-2435




EMPLOYEE BENEFITS DESIGN GROUP              EMPLOYER MANAGEMENT SOLUTIONS INC      EMPLOYMENT DEVELOPMENT DEPT
PO BOX 44347                                7650 W COURTNEY CAMPBELL CSWY          PO BOX 989061
MADISON WI 53744                            STE 1125                               WEST SACRAMENTO CA 95798-9061
                                            TAMPA FL 33607




EMPLOYMENT SECURITY DEPT                    EMPLOYMENT SECURITY DIVISION           ENDURANCE AMERICAN INSURANCE CO
UI TAX ADMINISTRATION                       CONTRIBUTIONS SECTION BOND UNIT        4 MANHATTANVILLE RD
PO BOX 34949                                500 E THIRD ST                         PURCHASE NY 10577-2139
SEATTLE WA 98124-1949                       CARSON CITY NV 89713-0030




ENDURANCE RISK SOLUTIONS ASSURANCE CO       ENTREPRENEURIAL 180 LLC                EPSTEIN BECKER AND GREEN PC
4 MANHATTANVILLE RD                         3515 THORWOOD CT                       1227 25TH ST NW
PURCHASE NY 10577-2139                      EAGAN MN 55123-2484                    STE 700
                                                                                   WASHINGTON DC 20037




EQUINITI TRUST CO                           EQUITY TRUST CO                        ERNST AND YOUNG PRODUCT SALES LLC
PO BOX 855857                               PO BOX 451340                          NW 6264
MINNEAPOLIS MN 55485-5857                   WESTLAKE OH 44145-2526                 PO BOX 1450
                                                                                   MINNEAPOLIS MN 55485-6264




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ERNST AND YOUNG US LLP                   ESCAPE FIRE PROTECTION             ESSEX RADEZ LLC
PNC BANK ERNST AND YOUNG US LLP          3000 CENTERVILLE RD                MARK DEROLF
3712 SOLUTIONS CTR                       LITTLE CANADA MN 55117             440 S LASALLE ST
CHICAGO IL 60677-3007                                                       STE 1111
                                                                            CHICAGO IL 60605




ETZIONY PARTNERS INC                     EVENT MANAGEMENT SERVICES INC      EVERBANK
2600 KIPLING AVE SOUTH                   3748 TURMAN LOOP                   LINDA DILE
MINNEAPOLIS MN 55416                     STE 101                            8328 EAGER RD
                                         WESLEY CHAPEL FL 33544             STE 300
                                                                            ST LOUIS MO 63144




EWM GROUP PC                             EXACTTARGET INC                    EXAMINATION MANAGEMENT SERVICES INC
3635 PEACHTREE INDUSTRIAL BLVD STE 200   26487 NETWORK PL                   PO BOX 202669
DULUTH GA 30096                          CHICAGO IL 60673-1264              DALLAS TX 75320-2669




EXAMINATION RESOURCES LLC                EXAMONE INC                        EXECUTIVE INSURANCE AGENCY
3475 PIEDMONT RD                         PO BOX 201395                      130 SPRINGSIDE DR
STE 410                                  DALLAS TX 75320-1395               STE 300
ATLANTA GA 30305                                                            AKRON OH 44333




EXECUTIVE SPEAKING INC                   EXHIBITMAX INC                     EXPRESS SERVICES INC
60 SOUTH 6TH ST                          BOB POWELL                         PO BOX 203901
STE 3610                                 8910 WENTWORTH AVE S               DALLAS TX 75320-3901
MINNEAPOLIS MN 55402                     BLOOMINGTON MN 55420




EYE PHYSICIANS OF SUSSEX COUNTY          FACTRIGHT LLC                      FANNIE MAE
183 HIGH ST                              7500 FLYING CLOUD DR               CORPORATE ACTIONS
NEWTON NJ 07860-9601                     STE 755                            3900 WISCONSIN AVE NW
                                         EDEN PRAIRIE MN 55344              WASHINGTON DC 20016-2892




FARM BUREAU LIFE INSURANCE CO            FARMERS INSURANCE GROUP            FASANO ASSOCIATES
5400 UNIVERSITY AVE                      7340 WEST MEMORIAL RD              PO BOX 825619
WEST DES MOINES IA 50266-5997            OKLAHOMA CITY OK 73142             PHILADELPHIA PA 19182-5619




FEATHERLITE EXHIBITS                     FEDERAL HOME LOAN MORTGAGE CORP    FEDERAL HOME LOAN MORTGAGE CORPORATION
7300 32ND AVE N                          ALEX KANGELARIS                    RETAINED
MINNEAPOLIS MN 55427                     VICE PRESIDENT                     PHILIP ROY, VICE PRESIDENT
                                         1551 PK RUN DR MAIL                14201 DALLAS PKWY
                                         MAILSTOP D5A                       FL 12
                                         MCLEAN VA 22102                    DALLAS TX 75254


FEDERAL HOME LOANS BANK OF DALLAS        FEDERAL RESERVE BANK OF NEW YORK   FEDEX
8500 FREEPORT PKWY SOUTH                 TIM FOGARTY                        FED EX
IRVING TX 75063                          33 LIBERTY ST                      PO BOX 94515
                                         NEW YORK NY 10045                  PALATINE IL 60094-4515




FELHABER LARSON FENLON AND VOGT PA       FFC LLC                            FIDELITY AND GUARANTEE LIFE
220 SOUTH 6TH ST                         816 N MAIN ST                      777 RESEARCH DR
STE 2200                                 BRIGHAM CITY UT 84302              SERVICE CTR
MINNEAPOLIS MN 55402-4504                                                   LINCOLN NE 68521




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FIDELITY CLEARING CANADA ULC/CDS**    FIDELITY CLEARING CANADA ULC/CDS**   FIDELITY CLEARING CANADA ULC/CDS**
JOHN SPURWAY                          LINDA SARGEANT                       CORPORATE ACTIONS
245 SUMMER ST                         OPERATIONS MANAGER                   245 SUMMER ST
MAILZONE V5A                          401 BAY ST                           MAILZONE V5A
BOSTON MA 02210                       STE 2910                             BOSTON MA 02210
                                      TORONTO ON M5H 2Y4
                                      CANADA

FIDELITY CLEARING CANADA ULC/CDS**    FIDUCIARY SSB                        FIDUCIARY TRUST CO OF BOSTON
CORP ACTION                           CORPORATE ACTIONS                    BRAD FINNIGAN
CAROL ANDERSON                        1776 HERITAGE DR                     175 FEDERAL ST
483 BAY ST SOUTH TOWER                5TH FL                               BOSTON MA 02110
STE 200                               QUINCY MA 02171
TORONTO ON M5G 2N7
CANADA

FIDUCIE DESJARDINS INC**              FIFTH THIRD BANK                     FIFTH THIRD BANK
MARTINE SIOUI                         LANCE WELLS                          PUBLIC EMPLOYEES RETIREMENT SYSTEM
1 COMPLEXE DESJARDINS                 CORP ACTIONS                         LANCE WELLS - ASSISTANT VICE PRESIDENT
SOUTH TOWER 2ND FL                    5050 KINGSLEY DR                     5001 KINGSLEY DR
MONTREAL QC H5B 1E4                   MAIL DROP 1MOB2D                     MAIL DROP 1M0B2G
CANADA                                CINCINNATI OH 45227                  CINCINNATI OH 45263


FIFTH THIRD BANK                      FIFTH THIRD BANK                     FINANCIAL ACCOUNTING STANDARDS BOARD
STATE TEACHERS RETIREMENTOF OHIO      LANCE WELLS                          PO BOX 418272
LANCE WELLS                           CORP ACTIONS                         BOSTON MA 02241-8272
5001 KINGSLEY RD                      5001 KINGSLEY DR
MD# 1MOB 2D                           MAIL DROP 1MOB2D
CINCINNATI OH 45227                   CINCINNATI OH 45227


FINANCIAL ADVISORS LLC                FINANCIAL ANALYTICS                  FINANCIAL EXECUTIVES INTERNATIONAL
706 2ND AVE S                         12363 CLERFALLS DR                   PO BOX 10408
STE 850 706 BLDG                      BOCA RATON FL 33428                  NEWARK NJ 07193-0408
MINNEAPOLIS MN 55402




FINANCIAL EXECUTIVES INTERNATIONAL    FINANCIAL INDEPENDENCE GROUP LLC     FINANCIAL PLANNING ASSOCIATION
TWIN CITIES CHAPTER INC               19520 W CATAWBA AVE                  7535 EAST HAMPDEN AVE
PO BOX 24555                          #200                                 STE 600
MINNEAPOLIS MN 55424-0555             CORNELIUS NC 28031                   DENVER CO 80231




FINANCIAL PLANNING ASSOCIATION OF     FINANCIAL PROFILES INC               FINANCIAL REPORTING ADVISORS
CENTRAL NEW YORK INC                  11601 WILSHIRE BLVD STE 1920         100 NORTH LASALLE ST
209 SECOND ST                         STE 1920                             STE 2215
LIVERPOOL NY 13088                    LOS ANGELES CA 90025                 CHICAGO IL 60602




FINANCIAL SVC INSTITUTE               FINANCIAL WEST GROUP                 FINGERPRINTING PROS INC
607 14TH STEET NW STE 750             4510 E THOUSAND OAKS BLVD            2620 S MARYLAND PKWY
WASHINGTON DC 20005                   WESTLAKE VILLAGE CA 91362            STE 17
                                                                           LAS VEGAS NV 89109




FINRA                                 FINRA                                FIRST BANK
PO BOX 7777W9205                      1735 K STREET NW                     EDWARD FURMAN
PHILADELPHIA PA 19175-9205            WASHINGTON DC 20006                  800 JAMES S MCDONNELL BLVD
                                                                           HAZELWOOD MO 63042




FIRST CLEARING, LLC                   FIRST FINANCIAL CORPORATION/DRS      FIRST INSURANCE FUNDING CORP
SECURITIES LENDING MATCH BOOK         TICIA WRIGHT                         PO BOX 7000
CORPORATE ACTIONS                     ONE FIRST FINANCIAL PLZ              CAROL STREAM IL 60197-7000
2801 MARKET ST                        TERRE HAUTE IN 47807
H0006-09B
ST. LOUIS MO 63103




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FIRST MINNEAPOLIS HINES CO            FIRST PENN-PACIFIC LIFE INSURANCE CO          FIRST SOUTHWEST CO
SDS12-0556                            PO BOX 21008                                  CORPORATE ACTIONS
PO BOX 86                             GREENSBORO NC 27420-1008                      325 NORTH ST PAUL ST
MINNEAPOLIS MN 55486-0556                                                           STE 800
                                                                                    DALLAS TX 75201




FIRST TENNESSEE BANK NA MEMPHIS       FIRST TRUST CO OF ONAGA CLEARING ACCOUNT      FIRST TRUST PORTFOLIOS, LP
MARY ANNE BOHNER                      214 W 9TH ST                                  ROGER F TESTIN
845 CORSSOVER LN                      PO BOX 420                                    120 EAST LIBERTY DR
MEMPHIS TN 38117                      ONAGA KS 66521-9624                           WHEATON IL 60187




FISHER SCIENTIFIC COMPANY LLC         FITZPATRICK ASSOCIATES EXECUTIVE SEARCH LLC   FIVE9 INC
300 INDUSTRY DR                       8014 CUMMING HWY                              4000 EXECUTIVE PKWY
PITTSBURGH PA 15275                   STE 403-337                                   STE 400
                                      CANTON GA 30115                               SAN RAMON CA 94583




FLEET RADIO DISPATCH CORP             FLEISHMANHILLARD INC                          FLIGHTLINE MANAGEMENT INC
PO BOX 770729                         200 N BROADWAY                                3849 PORTLAND AVE SOUTH
WOODSIDE NY 11377                     ST. LOUIS MO 63102                            MINNEAPOLIS MN 55407




FLORIDA ATTORNEY GENERAL              FLORIDA DEPT OF FINANCIAL SVC                 FLORIDA DEPT OF HEALTH
ASHLEY MOODY                          BUREAU OF FINANCIAL AND SUPPORT SVC           PO BOX 210
OFFICE OF THE ATTORNEY GENERAL        PO BOX 6100                                   JACKSONVILLE FL 32231-0042
THE CAPITOL                           TALLAHASSEE FL 32301
PL-01
TALLAHASSEE FL 32399-1050


FLORIDA DEPT OF REVENUE               FLORIDA FINANCIAL SVC COMMISSION              FLORIDA OFFICE OF FINANCIAL REGULATION
5050 W TENNESSEE ST                   OFFICE OF FINANCIAL REGULATION                DIVISION OF SECURITIES AND FINANCE
TALLAHASSEE FL 32399-0135             200 EAST GAINES ST                            200 E GAINES ST
                                      THE FLETCHER BUILDING                         TALLAHASSEE FL 32399
                                      TALLAHASSEE FL 32399-0372




FLUID INTERIORS                       FMSBONDS, INC                                 FOLDS OF HONOR FOUNDATION MINNESOTA
100 NORTH 6TH ST                      MICHAEL S SELIGSOHN                           372 FERNDALE RD S
STE 100A                              4775 TECHNOLOGY WAY                           WAYZATA MN 55391
MINNEAPOLIS MN 55403                  BOCA RATON FL 33431




FOLEY AND LARDNER LLP                 FOLEY AND MANSFIELD                           FOLIOFN INVESTMENTS INC
975 PAGE MILL RD                      250 MARQUETTE AVE                             8180 GREENSBORO DR
PALO ALTO TX 75266-0256               STE 1200                                      8TH FL
                                      MINNEAPOLIS MN 55401                          MCLEAN VA 22102




FOLIOFN INVESTMENTS, INC              FORCE360 LLC                                  FOREMOST INSURANCE GROUP
ASHLEY THEOBALD                       110 N BROCKWAY ST                             PO BOX 4665
MANAGER                               STE 110                                       CAROL STREAM IL 60197-4665
8180 GREENSBORO DR                    PALATINE IL 60067
8TH FL
MCLEAN VA 22102


FORLEXCO                              FORTA FINANCIAL GROUP INC                     FORTRESS WEALTH GROUP
2920 N. GREEN VLY PKWY                5445 DTC PKWY                                 608 E CENTRAL BLVD
STE 514                               STE 1100                                      ORLANDO FL 32801
HENDERSON NV 89014                    ENGLEWOOD CO 80111




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FOSTER AND BREVER PLLC                  FOUNDATION TECHNOLOGIES LLC                  FOUR POINT STAR OPERATING CO LP
2812 ANTHONY LN SOUTH                   ACCOUNTING                                   325 NORTH SAINT PAUL ST
STE 200                                 250 MARQUETTE AVE S                          STE 2710
ST. ANTHONY MN 55418                    STE 225                                      DALLAS TX 75201
                                        MINNEAPOLIS MN 55401




FOUR POINTS CAPITAL PARTNERS LLC        FOURSTAR WEALTH ADVISORS LLC                 FOXO LABS INC
232 MADISON AVE                         351 W HUBBARD                                FKA LIFE EPIGENETICS INC
STE 405                                 STE 420                                      220 S 6TH ST
NEW YORK NY 10018                       CHICAGO IL 60654                             STE 1200
                                                                                     MINNEAPOLIS MN 55402




FOXO LIFE, LLC                          FOXO TECHNOLOGIES INC                        FOXO TECHNOLOGIES INC
FKA YOUSURANCE GENERAL AGENCY LLC       220 SOUTH 6TH ST                             FKA FOX BIOSCIENCE
220 S 6TH ST                            STE 1200                                     220 S 6TH ST
STE 1200                                MINNEAPOLIS MN 55402                         STE 1200
MINNEAPOLIS MN 55402                                                                 MINNEAPOLIS MN 55402




FRANCHISE TAX BOARD                     FRANTZEN VALUATION SPECIALISTS LLC           FREEDOM INVESTORS CORP
BANKRUPTCY SECTION MSA-340              4044 N LINCOLN AVE                           333 BISHOPS WAY STE 122
PO BOX 2952                             STE 482                                      BROOKFIELD WI 53005
SACRAMENTO CA 95812-2952                CHICAGO IL 60618




FREEDOM SPECIALTY INSURANCE CO          FRESH START MENTORING                        FRONTIER WEALTH STRATEGIES
7 WORLD TRADE CTR                       PO BOX 154                                   1990 N CALIFORNIA BLVD 8TH FLOOR
250 GREENWICH ST 7TH FLOOR              PALM HARBOR FL 34682-0154                    WALNUT CREEK CA 94596
NEW YORK NY 10007




FROST BANK                              FTN FINANCIAL SECURITIES CORP                GA REPPLE AND CO
VICTOR LOZA                             MICHAEL INKSTER                              101 NORMANDY RD
100 WEST HOUSTON ST                     SENIOR VICE PRESIDENT                        CASSELBERRY FL 32707
SAN ANTONIO TX 78205                    845 CROSSOVER LN
                                        STE 150
                                        MEMPHIS TN 38117


GARBER ATLAS FRIES AND ASSOCIATES INC   GARDERE WYNNE SEWELL LLP                     GE CAPITAL
3070 LAWSON BLVD                        1601 ELM ST STE 3000                         PO BOX 310010273
OCEANSIDE NY 11572                      DALLAS TX 75201-4761                         PASADENA CA 91110-0273




GEMISYS                                 GEMISYS FINANCIAL SVC                        GENER8TOR MANAGEMENT LLC
PO BOX 3857                             7103 S REVERE PKWY                           821 E WASHINGTON AVE
ENGLEWOOD CO 80155-3857                 CENTENNIAL CO 80112                          STE 200-G
                                                                                     MADISON WI 53703




GENERAL SECURITY SVC CORP               GENERAL TREASURER STATE OF RHODE ISLAND      GENERAL TREASURER STATE OF RHODE ISLAND
9110 MEADOWVIEW RD                      DEPT OF BUSINESS REGULATION SECURITIES DIV   1511 PONTIAC AVE
MINNEAPOLIS MN 55425-2458               1511 PONTIAC AVE                             BLDG 69-2
                                        CRANSTON RI 02920                            CRANSTON RI 02920




GENTRY PARTNERS LTD                     GENWORTH FINANCIAL                           GENWORTH LIFE INSURANCE CO
769 E RTE 70                            3100 ALBERT LANKFORD DR                      3100 ALBERT LANKFORD DR
STE C-150                               LYNCHBURG VA 24501                           LYNCHBURG VA 24501
MARLTON NJ 08053-2341




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GEORGE K BAUM AND CO                        GEORGIA ATTORNEY GENERAL            GEORGIA COMMISSIONER OF INSURANCE
ANNE YEARTA                                 CHRISTOPHER M CARR                  2 MARTIN LUTHER KING JR DR
4801 MAIN ST STE 500                        40 CAPITAL SQUARE SW                916 WEST TOWER STE 604
KANSAS CITY MO 64112                        ATLANTA GA 30334-1300               ATLANTA GA 30334




GEORGIA DEPT OF INSURANCE                   GEORGIA DEPT OF INSURANCE           GEORGIA DEPT OF REVENUE
LIMITED RISK ENTITIES                       LIMITED RISK ENTITIES               TAXPAYER SVC DIVISION
PO BOX 935138                               LOCKBOX 935138                      PO BOX 740321
ATLANTA GA 31193-5138                       3585 ATLANTA AVE                    ATLANTA GA 30374-0321
                                            HAPEVILLE GA 30354




GEORGIA DEPT OF REVENUE                     GEORGIA DEPT OF REVENUE             GEORGIA OFF OF THE COMMISSIONER OF
PROCESSING CENTER                           1800 CENTURY BLVD NE                INSURANCE
PO BOX 740317                               ATLANTA GA 30345                    INDUSTRIAL LOAN DIVISION
ATLANTA GA 30374-0317                                                           TWO MARTIN LUTHER KING JR DR
                                                                                WEST TOWER STE 704
                                                                                ATLANTA GA 30334


GEORGIA OFFICE OF THE SECRETARY OF STATE    GIBBS AND SOELL                     GIBSON DUNN AND CRUTCHER LLP
CORPORATIONS DIVISION                       111 WEST 33RD ST                    200 PK AVE
2 MLK JR DR SE                              22ND FL                             NEW YORK NY 10166-0193
STE 317 FLOYD WEST TOWER                    NEW YORK NY 10120
ATLANTA GA 30334-1530




GIRARD SHARP LLP                            GIRARD SHARP LLP                    GIRARD SHARP LLP
ADAM E POLK                                 JORDAN ELIAS                        DANIEL GIRARD;SEAN GREENE
601 CALIFORNIA STREET                       601 CALIFORNIA ST                   601 CALIFORNIA ST
SUITE 1400                                  SUITE 1400                          SUITE 1400
SAN FRANCISCO CA 94108                      SAN FRANCISCO CA 94108              SAN FRANCISCO CA 94108




GLENMEDE TRUST COMPANY, NA THE              GLOBAL EXPERIENCE SPECIALISTS INC   GLOBAL SECURITIES CORPORATION/CDS**
DARLENE WARREN                              PO BOX 96174                        MAYUMI TAKANO
ONE LIBERTY PL STE 1200                     CHICAGO IL 60693                    11TH FL 3 BENTALL CTR
1650 MARKET ST                                                                  595 BURRARD ST
PHILADELPHIA PA 19103                                                           VANCOUVER BC V7X 1C4
                                                                                CANADA


GMP SECURITIES LPCDS**                      GOLDMAN SACHS BANK USA              GOLDMAN SACHS BANK USA
MARINO MEGGETTO                             GOLDMAN SACHS AGENCYLENDING         PATRICIA BALDWIN
145 KING ST WEST                            DIARA OVERLAN                       ONE NEW YORK PLZ
STE 300                                     125 HIGH ST STE 1700                45TH FL
TORONTO ON M5H 1J8                          BOSTON MA 02110                     NEW YORK NY 10004
CANADA


GOLDMAN SACHS BANK USA/                     GOLDMAN SACHS BANK USA/#2           GOLDMAN SACHS EXECUTION AND CLEARING, LP
GS AND CO LLC FCM CUST                      PATRICIA BALDWIN                    CHRISTIN HARTWIG
OMNIBUS ACCT CFTC REG 120 CUST SEG ACCT     ONE NEW YORK PLZ                    30 HUDSON ST
UNDER SECTIONS 4D(A)&(B) OF THE CEA (CME)   45TH FL                             PROXY DEPARTMENT
30 HUDSON ST                                NEW YORK NY 10004                   JERSEY CITY NJ 07302-4699
JERSEY CITY NJ 07302


GOLDMAN SACHS INTERNATIONAL                 GOLDMAN, SACHS AND CO               GOLDMAN, SACHS AND CO
ASSET SERVICING                             PROXY HOTLINE 1                     STEVE BERRIOS - CORPORATE ACTIONS
30 HUDSON ST                                30 HUDSON ST                        100 BURMA RD
PROXY DEPARTMENT                            PROXY DEPARTMENT                    JERSEY CITY NJ 07305
JERSEY CITY NJ 07302                        JERSEY CITY NJ 07302




GOLDMAN, SACHS AND COIMS                    GOODCARE.COM                        GPO LOGISTICS
CORPORATE ACTIONS                           500 LINDEN OAKS                     12636 XYLITE ST NE
30 HUDSON ST                                STE 110                             BLAINE MN 55449
JERSEY CITY NJ 07302                        ROCHESTER NY 14625




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GRAND OAKS RESORT                     GRANT THORNTON LLP                   GRAYMATTER
13940 US HWY 441 STE 206              200 S 6TH ST                         4450 N 12TH ST
THE VILLAGES FL 32159                 STE 1400                             STE 200
                                      MINNEAPOLIS MN 55402-1434            PHOENIX AZ 85014




GREAT AMERICAN LIFE INSURANCE CO      GREAT POINT CAPITAL LLC              GREAT SOUTHERN LIFE
POLICY OWNER SERVICES                 200 W JACKSON BLVD                   PO BOX 410288
301 E 4TH ST FL 10                    STE 1000                             KANSAS CITY MO 64141-0288
CINCINNATI OH 45202                   CHICAGO IL 60606




GREAT WEST SVC                        GREATLAND CORP                       GREEN CLEAN COMMERCIAL CLEANING SVC LLC
1031 EVANGELINE RD E                  PO BOX 1157                          6625 S VLY VIEW BLVD
QUINCY IL 62301                       GRAND RAPIDS MI 49501-1157           STE 228
                                                                           LAS VEGAS NV 89118-4554




GREENBERG FINANCIAL GROUP             GREENBERG TRAURIG LLP                GREENBERG WEXLER AND ELG LLC
4511 N CAMPBELL AVE STE 255           METLIFE BUILDING                     7316 WISCONSIN AVE
TUCSON AZ 85718                       200 PK AVE                           STE 230
                                      NEW YORK NY 10166                    BETHESDA MD 20814




GREENWOOD OFFICE OUTFITTERS           GREGG JOHNSON                        GREINER CONSTRUCTION
130 E FELIX ST SOUTH                  325 NORTH ST PAUL ST                 121 SOUTH 8TH ST
STE 456                               STE 2650                             STE 1200
FORT WORTH TX 76115                   DALLAS TX 75201                      MINNEAPOLIS MN 55402




GROWTH CAPITAL EXPO LLC               GUGGENHEIM FUNDS DISTRIBUTORS, LLC   GUGGENHEIM SECURITIES, LLC
4055 REDWOOD AVE                      SHARON M NICHOLS                     HOWARD WINICK
UNIT #133                             2455 CORPORATE WEST DR               135 EAST 57TH ST
LOS ANGELES CA 90066                  LISLE IL 60532                       NEW YORK NY 10022




GUTHRIE THEATER                       GUTMAN INSURANCE AGENCY LLC          GWG DLP FUNDING HOLDINGS VI LLC
DEVELOPMENT DEPT                      134 SOURH 9TH ST                     325 NORTH ST PAUL ST
818 S 2ND ST                          #4A                                  STE 2650
MINNEAPOLIS MN 55415                  BROOKLYN NY 11211                    DALLAS TX 75201




GWG DLP FUNDING IV LLC                GWG DLP FUNDING V HOLDINGS LLC       GWG DLP FUNDING V LLC
325 NORTH ST PAUL ST                  325 NORTH ST PAUL ST                 325 NORTH ST PAUL ST
STE 2650                              STE 2650                             STE 2650
DALLAS TX 75201                       DALLAS TX 75201                      DALLAS TX 75201




GWG DLP FUNDING VI LLC                GWG FOUNDATION                       GWG FOUNDATION
325 NORTH ST PAUL ST                  220 SOUTH 6TH ST                     325 NORTH ST PAUL ST
STE 2650                              STE 1200                             STE 2650
DALLAS TX 75201                       MINNEAPOLIS MN 55402                 DALLAS TX 75201




GWG HOLDINGS INC                      GWG LIFE                             GWG LIFE TRUST
220 SOUTH SIXTH ST                    220 SOUTH SIXTH ST STE 1200          325 NORTH ST PAUL ST
STE 1200                              MINNEAPOLIS MN 55402                 STE 2650
MINNEAPOLIS MN 55402                                                       DALLAS TX 75201




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GWG LIFE USA LLC                        GWG MCA CAPITAL INC                     H RUSSELL HEISER
325 NORTH ST PAUL ST                    325 NORTH ST PAUL ST                    RIVKIN RADLER LLP
STE 2650                                STE 2650                                J.D. SMITH; MAX S. GERSHENOFF
DALLAS TX 75201                         DALLAS TX 75201                         926 RXR PLZ
                                                                                UIONDALE NY 11556




HALEN CAPITAL MANAGEMENT INC            HALL LANE MOVING AND STORAGE            HANK GEORGE INC
4830 W KENNEDY BLVD                     67 MALL DR                              3267 SOUTH 43RD ST
STE 200                                 COMMACK NY 11725                        MILWAUKEE WI 53219-4804
TAMPA FL 33609




HARBOR LIGHT SECURITIES LLC             HARDWIRE TECHNOLOGY CORP                HARKINS KOVLER LLC
5504 KEELER OAK ST                      2288 UNIVERSITY AVE WEST                PETER C HARKINS JR
LITHIA FL 33547                         STE 107                                 3 COLUMBUS CIR 15TH FL
                                        ST PAUL MN 55114                        NEW YORK NY 10019




HARTFORD LIFE                           HARTWELL FAMILY PRACTICE                HARVEST CAPITAL LLC
PO BOX 64582                            229 ATHENS ST                           530 SILAS DEANE HWY STE 300
SAINT PAUL MN 55164-0582                HARTWELL GA 30643                       WETHERSFIELD CT 06109-2224




HAWAII ATTORNEY GENERAL                 HAWAII DEPARTMENT OF COMMERCE           HAWAII DEPT OF COMMERCE AND CONSUMER
HOLLY T SHIKADA                         AND CONSUMER AFFAIRS                    AFFAIRS
425 QUEEN ST                            CONSUMER RESOURCE CENTER                DIVISION OF BUSINESS REGULATION
HONOLULU HI 96813                       235 S BERETANIA ST                      COMMISSIONER OF SECURITIES
                                        RM 801                                  PO BOX 40
                                        HONOLULU HI 96813                       HONOLULU HI 96810


HAYNES AND BOONE LLP                    HAYWOOD SECURITIES INCCDS**             HEALTH PARTNERS
PO BOX 841399                           TRACY COLLEGE/JULIE BRERETON            NW 3600
DALLAS TX 75284-1399                    CORPORATE ACTIONS                       PO BOX 1450
                                        200 BURRARD ST                          MINNEAPOLIS MN 55485-3600
                                        STE 700
                                        VANCOUVER BC V6C 3L6
                                        CANADA

HEARTLAND INFORMATION SVC               HEARTLAND INVESTIGATIVE GROUP           HERITAGE HIGHLAND FINANCE &
520 NICOLLET MALL                       MI 93                                   MANAGEMENT SERVICES LP
STE 520                                 PO BOX 1150                             325 N SAINT PAUL ST
MINNEAPLOIS MN 55402                    MINNEAPOLIS MN 55104                    STE 4850
                                                                                DALLAS TX 75201-3888




HESIER ENTERPRISES LLC                  HI INSURANCE DIVISION                   HI-TECH REFRIGERATION
RIVKIN RADLER LLP                       DEPT OF COMMERCE AND CONSUMER AFFAIRS   6148 MORGAN CT
J. SMITH; MAX GERSHENOFF                PO BOX 40                               MINNEAPOLIS MN 55402
926 REXCORP PLZ                         HONOLULU HI 96810
UNIONDALE NY 11556




HICKORY CAPITAL LLC                     HICKORY POINT BANK AND TRUST,FSBDRS     HIGGINBOTHAM INSURANCE AGENCY INC
132 CENTRAL AVE                         PATRICIA PERKINS                        500 W 13TH ST
HILLSDALE NJ 07642                      225 N WATER ST                          FORT WORTH TX 76102
                                        DECATUR IL 62523




HIGHEST LIFE SETTLEMENTS INC            HILLTOP SECURITIES                      HILLTOP SECURITIES INC
BRIAN MAY                               1201 ELM ST                             RHONDA JACKSON
620 LOCUST ST                           STE 3500                                1201 ELM ST
REDDING CA 96001                        DALLAS TX 75270                         STE 3500
                                                                                DALLAS TX 75270




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HILLTOP SECURITIES INC                HILLTOP SECURITIES INC                 HILLTOP SECURITIES INC
BONNIE ALLEN CORPORATE ACTIONS        BONNIE ALLEN                           CORPORATE ACTIONS
1201 ELM ST                           1201 ELM ST                            1201 ELM ST
STE 3500                              STE 3500                               STE 3500
DALLAS TX 75270-2180                  DALLAS TX 75270                        DALLAS TX 75270




HILLTOP SECURITIES INC                HOLD BROTHERS CAPITAL LLC              HOLLAND AND KNIGHT LLP
717 N HARWOOD ST                      CORPORATE ACTIONS                      PO BOX 864084
STE 3400                              10 W 46TH ST                           ORLANDO FL 32886-4084
DALLAS TX 75201                       STE 1407
                                      NEW YORK NY 10018




HOME FEDERAL BANK OF TENNESSEE, FSB   HOME FEDERAL BANK OF TENNESSEE, FSB    HOME FEDERAL BANK OF TENNESSEE, FSB
TRUST DEPT CUSTOMERS                  REBECCA BUCKNER                        TRUST DEPT CUSTOMERS
JENNIFER DAVIS                        507 MARKET ST                          SHERRY S ELLIS
515 MARKET ST                         KNOXVILLE TN 37902                     515 MARKET ST
STE 500                                                                      STE 500
KNOXVILLE TN 37902                                                           KNOXVILLE TN 37902


HOME FEDERAL BANK/HF PORTFOLIO        HOME FEDERAL BANKHOME FINANCIAL        HONG KONG SECURITIES CLEARING CO LIMITED
WALTER H BOWER JR                     SERVICES,INC                           CATHERINE KAN
507 MARKET ST                         CORPORATE ACTIONS                      RM 25056 25F INFINITUS PLZ
KNOXVILLE TN 37902                    515 MARKET ST                          199 DES VOEUX RD CENTRAL
                                      STE 500                                HONG KONG
                                      KNOXVILLE TN 37902                     HONG KONG


HORIZONTAL INTEGRATION INC            HOT WIRED CONSULTANTS                  HOULIHAN LOKEY FINANCIAL ADVISORS INC
1660 HIGHWAY 100 SOUTH                4144 N CENTRAL EXPWY                   10250 CONSTELLATION BLVD
STE 200                               STE 903                                5TH FL
ST. LOUIS PARK MN 55416               DALLAS TX 75204                        LOS ANGELES CA 90067




HOWARD KAYE INSURANCE AGENCY LLC      HR WORX LLC                            HRT FINANCIAL LLC
1800 N MILITARY TRL                   14647 QUEBEC PL                        CORPORATE ACTIONS
STE 170                               SAVAGE MN 55378                        32 OLD SLIP
BOCA RATON FL 33431                                                          30TH FL
                                                                             NEW YORK NY 10005




HSA BANK                              HSBC BANK USA, NAAFS                   HSBC BANK USA, NACLEARING
605 NORTH 8TH ST STE 320              LEON SCHNITZPAHN                       LEON SCHNITZPAHN
SHEBOYGAN WI 53081                    ONE HANSON PL                          ONE HANSON PL
                                      LOWER LEVEL                            LOWER LEVEL
                                      BROOKLYN NY 11243                      BROOKLYN NY 11243




HSBC BANK USA, NACLEARING             HSBC BANK USA, NACORPORATE TRUST IPA   HSBC BANK USA, NADRS
CORPORATE ACTIONS                     LEON SCHNITZPAHN                       HILDE WAGNER
HOWARD DASH                           ONE HANSON PL                          2 HANSON PL
452 5TH AVE                           LOWER LEVEL                            14TH FL
NEW YORK NY 10018                     BROOKLYN NY 11243                      BROOKLYN NY 11217




HSBC BANK USA, NAHSBC CUSTODY AND     HSBC BANK USA, NAHTM                   HSBC BANK USA, NAIPB
CLEARING SVC FOR STOCK                LEON SCHNITZPAHN                       NURI KAZAKCI
CORPORATE ACTIONS                     ONE HANSON PL                          452 5TH AVE
ONE HANSON PL                         LOWER LEVEL                            NEW YORK NY 10018
BROOKLYN NY 11243                     BROOKLYN NY 11243




HSBC BANK USA, NATIONAL ASSOCIATION   HSBC BANK USA, NATIONAL ASSOCIATION    HSBC BANK USA, NATIONAL ASSOCIATIONIPA
TERESE DOLAN                          CORPORATE ACTIONS                      TERESE DOLAN
1 HSBC CTR                            545 WASHINGTON BLVD                    1 HSBC CTR
17TH FL                               JERSEY CITY NJ 07310                   17TH FL
BUFFALO NY 14203                                                             BUFFALO NY 14203




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HSBC BANK USA, NATIONAL ASSOCIATIONOMNIBUS    HSBC SECURITIES USA INC                     HSBC SECURITIES USA INC FIXED INCOME
LINDA NG                                      JAMES KELLY                                 LEONARD BELVEDERE
140 BROADWAY - LEVEL A                        11 WEST 42ND ST                             VICE PRESIDENT
NEW YORK NY 10015                             NEW YORK NY 10036                           452 FIFTH AVE
                                                                                          11TH FL
                                                                                          NEW YORK NY 10018


HUNTINGTON NATIONAL BANK/IPA                  HUNTINGTON POINTE MEN'S CLUB                HUTCHINSON, SHOCKEY, ERLEY AND CO
BEVERLY REYNOLDS                              14112 HUNTINGTON POINTE DR                  CHIEF FINANCIAL OFFICER
7 EASTON OVAL                                 DELRAY BEACH FL 33484                       222 W ADAMS ST
EA4E62                                                                                    STE 1700
COLUMBUS OH 43219                                                                         CHICAGO IL 60606




HUTCHINSON, SHOCKEY, ERLEY AND CO             I M NOT YOUR BORING NEWSPAPER               I-BANKERS DIRECT LLC
NANCY L MEIER CHIEF FINANCIAL OFFICER         334 MADEIRA AVE                             2500 N MILITARY TRL
222 W ADAMS ST STE 1700                       UNIT 4                                      STE 160
CHICAGO IL 60606                              CORAL GABLES FL 33134                       BOCA RATON FL 33431




IBN FINANCIAL SVC INC                         ICAP CORPORATES LLC                         ICAP CORPORATES LLC/CROSSTRADE
404 OLD LIVERPOOL RD                          ANDREW CHAN                                 CORPORATE ACTIONS
LIVERPOOL NY 13088                            OPERATIONS                                  2 BROADGATE
                                              111 PAVONIA AVE                             LONDON EC2M 7UR
                                              10TH FL                                     UNITED KINGDOM
                                              JERSEY CITY NJ 07310


ICE FLOE CONSULTING LLC                       ICE SYSTEMS INC                             IDAHO ATTORNEY GENERAL
156 N SOLMES RD                               PO BOX 11126                                LAWRENCE G WASDEN
NEW BRAUNFELS TX 78132-5044                   HAUPPAUGE NY 11788-0934                     700 W JEFFERSON ST
                                                                                          PO BOX 83720
                                                                                          BOISE ID 83720-1000




IDAHO DEPT O INSURANCE                        IDAHO DEPT OF FINANCE                       IDAHO DEPT OF FINANCE
700 W STATE ST                                CONSUMER FINANCE BUREAU                     SECURITIES BUREAU
FL 3 PO BOX 83720                             800 PK BLVD                                 PO BOX 83720
BOISE ID 83720-0043                           STE 200                                     BOISE ID 83720-0031
                                              BOISE ID 83712




IDAHO DEPT OF INSURANCE                       IDAHO SECURITIES BUREAU                     IDAHO STATE TAX COMMISION
700 W STATE ST                                800 PK BLVD                                 800 E PK BLVD
3RD FLOOR                                     STE 200                                     PLAZA IV
BOISE ID 83720-0043                           BOISE ID 83720                              BOISE ID 83712-7742




IFC NATIONAL MARKETING INC                    IFP SECURITIES LLC                          IFS SECURITIES
1307 ALBION AVE                               3030 N ROCKY PT DR W                        3414 PEACHTREE RD STE 1020
STE 101                                       STE 700                                     ATLANTA GA 30326
FAIRMONT MN 56031                             TAMPA FL 33607




ILLINOIS ATTORNEY GENERAL                     ILLINOIS DEPT OF REVENUE                    ILLINOIS DEPT OF REVENUE
KWAME RAOUL                                   PO BOX 19038                                JAMES R THOMPSON CENTER CONCOURSE LEVEL
JAMES R THOMPSON CENTER                       SPRINGFIELD IL 62794-9038                   100 WEST RANDOLPH ST
100 W RANDOLPH ST                                                                         CHICAGO IL 60601-3274
CHICAGO IL 60601




ILLINOIS DIVISION OF FINANCIAL INSTITUTIONS   ILLINOIS OFFICE OF THE SECRETARY OF STATE   ILLINOIS SECRETARY OF STATE
CONSUMER CREDIT SECTION                       SECURITIES DEPT                             DEPT OF BUSINESS SVC
320 W WASHINGTON                              69 WEST WASHINGTON ST                       LIMITED LIABILITY DIVISION
SPRINGFIELD IL 62701                          STE 1220                                    501 SSECOND ST RM 351
                                              CHICAGO IL 60602                            SPRINGFIELD IL 62702




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ILS ADVISORY SVC LLC                      IMAGE MEDIA INC.                          INDEPENDENCE CAPITAL CO INC
414 UNION ST                              425 E SPRUCE ST STE B                     5579 PEARL RD
STE 1900                                  TARPON SPRINGS FL 34689                   STE 100
NASHVILLE TN 37219                                                                  PARMA OH 44129




INDIAN HARBOR INSURANCE CO                INDIANA ATTORNEY GENERAL                  INDIANA DEPT OF FINANCIAL INSTITUTIONS
70 SEAVIEW AVE                            TODD ROKITA                               30 SOUTH MERIDIAN ST
STAMFORD CT 06902-6040                    INDIANA GOVERNMENT CENTER SOUTH           STE 300
                                          302 WEST WASHINGTON ST 5TH FL.            INDIANAPOLIS IN 46204
                                          INDIANAPOLIS IN 46204-2770




INDIANA DEPT OF INSURANCE                 INDIANA DEPT OF REVENUE                   INDIANA OFFICE OF THE SECRETARY OF STATE
311 WEST WASHINGTON ST                    BANKRUPTCY SECTION MS 108                 SECURITIES DIVISION
STE 300                                   100 NORTH SENATE AVE ROOM N240            302 WEST WASHINGTON ST
INDIANAPOLIS IN 46204-2787                INDIANAPOLIS IN 46204                     ROOM E-111
                                                                                    INDIANAPOLIS IN 46204




INDIANA SECURITIES DIVISION               INDUSTRIAL AND COMMERCIAL BANK OF CHINA   INDUSTRIAL AND COMMERCIAL BANK OF CHINA
SECRETARY OF STATE                        FINANCIAL SVC LLC/ CLEARING               FINANCIAL SVC LLC/ SECURITIES LENDING
302 WEST WASHINGTON ST                    NENRY NAPIER                              NENRY NAPIER/CARLOS CRUZ
ROOM E-018                                1633 BROADWAY                             1633 BROADWAY
INDIANAPOLIS IN 46204                     NEW YORK NY 10019                         NEW YORK NY 10019




INDUSTRIAL AND COMMERCIAL BANK OF CHINA   INDUSTRIAL AND COMMERCIAL BANK OF CHINA   INFINITY FINANCIAL SVC
FINANCIAL SVC LLCEQUITY CLEARANCE         FINANCIAL SVC LLC                         212 9TH ST
NENRY NAPIER                              NENRY NAPIER                              STE 2020
1633 BROADWAY                             1633 BROADWAY                             OAKLAND CA 94607
NEW YORK NY 10019                         NEW YORK NY 10019




INFORMATICA CORP                          INFORMATION MAPPING INC                   ING FINANCIAL MARKETS LLC
PO BOX 49085                              1266 FURNANCE BROOK PKWY                  INTERNATIONAL EQUITY FINANCE MATCH BOOK
SAN JOSE CA 95161-9085                    QUINCY MA 02169                           ACCT
                                                                                    STEPHEN BREATON - VICE PRESIDENT
                                                                                    1325 AVE OF THE AMERICAS
                                                                                    NEW YORK NY 10019


ING FINANCIAL MARKETS LLC                 ING FINANCIAL MARKETS LLC                 ING FINANCIAL MARKETS LLC
INTERNATIONAL EQUITY FINANCE              STEVE BREATON                             GLOBAL SECURITIESFINANCE NON-PURPOSE
STEPHEN BREATON - VICE PRESIDENT          1325 AVE OF THE AMERICAS                  STEPHEN BREATON
1325 AVE OF THE AMERICAS                  NEW YORK NY 10019                         1325 AVE OF THE AMERICAS
NEW YORK NY 10019                                                                   NEW YORK NY 10019




ING FINANCIAL MARKETS LLC                 ING FINANCIAL MARKETS LLC                 ING FINANCIAL MARKETS LLC/INTERNATIONAL
INTERNATIONAL EQUITY FINANCE MATCH BOOK   INTERNATIONAL EQUITY FINANCE              STEPHEN BREATON
ACCT                                      ISSUER SVC                                VICE PRESIDENT
ISSUER SVC                                51 MERCEDES WAY                           1325 AVE OF THE AMERICAS
51 MERCEDES WAY                           EDGEWOOD NY 11717                         NEW YORK NY 10019
EDGEWOOD NY 11717


ING FINANCIAL MARKETS LLCLTD              INGALLS AND SNYDER, LLC                   INLET SECURITIES LLC
STEPHEN BREATON                           JOSEPH DI BUONO                           233 NORTH CAUSEWAY STE B
VICE PRESIDENT                            61 BROADWAY                               NEW SMYRNA BEACH FL 32169
1325 AVE OF THE AMERICAS                  31ST FL
NEW YORK NY 10019                         NEW YORK NY 10006




INNOVATION PARTNERS LLC                   INNOVATIVE MARKETING CONSULTANTS          INNOVATIVE NETWORK SOLUTIONS LLC
5950 FAIRVIEW RD                          4284 SHORELINE DR                         980A MARY CREST RD
STE 806                                   SPRING PARK MN 55384                      HENDERSON NV 89014
CHARLOTTE NC 28210




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INSPERITY PEO SERVICES LP              INSTANT SAVINGS ADVERTISING MAGAZINE LLC     INSTINET, LLC
19001 CRESCENT SPRINGS DR              PO BOX 25                                    CORPORATE ACTIONS
KINGWOOD TX 77339                      WASHINGTON TWP. MI 48094-9998                WORLDWIDE PLZ
                                                                                    309 WEST 49TH ST
                                                                                    NEW YORK NY 10019




INSTITUTE FOR PORTFOLIO ALTERNATIVES   INSTITUTIONAL REAL ESTATE INC                INSTITUTIONAL SHAREHOLDER SVC
PO BOX 480                             2274 CAMINO RAMON                            15F SOLARIS ONE BLDG
ELLICOTT CITY MD 21041-0480            SAN RAMON CA 94583                           130 DELA ROSA ST
                                                                                    MAKATI CITY 1229
                                                                                    PHILIPPINES




INSTITUTIONAL SHAREHOLDER SVC          INSURANCE MARKETING AND                      INSURANCE NEWS NET
350 DAVID L BOREN BLVD                 COMMUNICATIONS ASSOCIATION                   275 GRANDVIEW AVE
STE 2000                               4248 PK GLEN RD                              STE 100
NORMAN OK 73072                        MINNEAPOLIS MN 55416                         CAMP HILL PA 17011




INSURANCE PUBLICATIONS INC             INSURANCE STUDIES INSTITUTE                  INSURANCE STUDIES INSTITUTE
PO BOX 11310                           031 ELK CROSSING LN                          031 ELK CROSSING
OVERLAND PARK KS 66207-1010            KEYSTONE CO 80435-7820                       KEYSTONE CO 80435




INSURETECH LLC                         INTEGRA TELECOM                              INTEGRITY BROKERAGE SVC INC
49 E 21ST ST                           PO BOX 2966                                  1945 STEWART ST
UNIT 9D                                MILWAUKEE WI 53201-2966                      OCEANSIDE CA 92054
NEW YORK NY 10010




INTELLIGENT HOLDINGS INC               INTELLITECT                                  INTER-COMPANY MARKETING GROUP
1655 PALM BEACH LAKES BLVD             3024 S BANNEN CT                             1109 HAWTHORNE CT
10TH FLOOR STE 1005                    SPOKANE VALLEY WA 99037                      PO BOX 865
WEST PALM BEACH FL 33401                                                            MCPHERSON KS 67460




INTERACTIVE BROKERS LLC                INTERACTIVE BROKERS RETAIL EQUITY CLEARING   INTERACTIVE CIRCLE LLC
KARIN MCCARTHY                         KARIN MCCARTHY                               1515 CENTRAL AVE
8 GREENWICH OFFICE PK                  8 GREENWICH OFFICE PK                        STE 120
GREENWICH CT 06831                     GREENWICH CT 06831                           MINNEAPOLIS MN 55413




INTERNAL REVENUE SVC                   INTERNAL REVENUE SVC                         INTERNAL REVENUE SVC
1111 CONSTITUTION AVE NW               CENTRALIZED INSOLVENCY OPERATION             31 HOPKINS PLZ
WASHINGTON DC 20224                    PO BOX 7346                                  RM 1150
                                       PHILADELPHIA PA 19101-7346                   BALTIMORE MD 21201




INTERNAL REVENUE SVC                   INTERNAL REVENUE SVC                         INTERNATIONAL ASSETS ADVISORY LLC
500 N CAPITOL ST NW                    CENTRALIZED INSOLVENCY OPERATION             390 N ORANGE AVE
WASHINGTON DC 20221                    2970 MARKET ST                               STE 750
                                       MAIL STOP 5 Q30 133                          ORLANDO FL 32801
                                       PHILADELPHIA PA 19104-5016




INTERNATIONAL BANK OF COMMERCE/DRS     INTERNATIONAL SPORTS MANAGEMENT INC          INTERVEST INTERNATIONAL
EILZA V GONZALEZ                       205 N MICHIGAN AVE STE 840                   DENALI
1200 SAN BERNARDO AVE                  CHICAGO IL 60601                             1980 DOMINION WAY STE 202
LAREDO TX 78040                                                                     COLORADO SPRINGS CO 80918




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INTL FCSTONE FINANCIAL INC                  INTL FCSTONE FINANCIAL INCBD RATES   INTRADO DIGITAL MEDIA LLC
CORPORATE ACTIONS                           CORPORATE ACTIONS                    11808 MIRACLE HILLS DR
708 3RD AVE                                 708 3RD AVE                          OMAHA NE 68154
15TH FL                                     15TH FL
NEW YORK NY 10017                           NEW YORK NY 10017




INTRADO DIGITAL MEDIA LLC                   INVESCO CAPITAL MARKETS, INC         INVESHARE INC
OFFC OF GC - LOUIS BRUCCULERI               CORPORATE ACTIONS                    3780 MANSELL RD
770 N HALSTED ST                            TWO PEACHTREE POINTE                 STE T35
SUITE 6S                                    1555 PEACHTREE ST NE STE 1800        ALPHARETTA GA 30022
CHICAGO IL 60642                            ATLANTA GA 30309




INVESTMENT PROGRAM ASSOCIATION              IOWA ATTORNEY GENERAL                IOWA DEPT OF PUBLIC HEALTH
PO BOX 480                                  THOMAS J MILLER                      BUREAU OF HEALTH STATISTICS
ELLICOTT CITY MD 21041-0480                 HOOVER STATE OFFICER BLDG            LUCAS STATE OFFICE BLDG
                                            1305 E WALNUT 2ND FLOOR              1ST FL 321 E 12TH ST
                                            DES MOINES IA 50319                  DES MOINES IA 50319-0075




IOWA DEPT OF REVENUE                        IOWA DIVISION OF BANKING             IOWA INSURANCE DIVISION
PO BOX 10471                                200 EAST GRAND AVE                   TOM O'MEARA
DES MOINES IA 50306-3457                    STE 300                              330 MAPLE ST
                                            DES MOINES IA 50309                  DES MOINES IA 50319-0065




IOWA INSURANCE DIVISION SECURITIES BUREAU   IPFS CORP                            IPIPELINE INC
SECURITIES BUREAU                           REF ILC-45251                        222 VLY CREEK BLVD
1963 BELL AVE                               180 N MICHIGAN AVE STE 1016          STE 300
STE 100                                     CHICAGO IL 60601                     EXTON PA 19341
DES MOINES IA 50315




IPREO LLC                                   IRIS WERKS LLC                       IRS INTERNAL REVENUE SVC
PO BOX 26886                                2010 MAIN ST                         10TH ST AND PENNSYLVANIA AVE NW
NEW YORK NY 10087-6886                      STE 1170                             WASHINGTON DC 20530
                                            IRVINE CA 92614




ISC HOLDINGS LLC                            ISIDORE MENDELOVITZ ASSOC INC        ISPECIMEN INC
5 CONCOURSE PKWY                            4013 16 AVE                          450 BEDFORD ST
STE 3000                                    BROOKLYN NY 11218                    LEXINGTON MA 02420
ATLANTA GA 30328




ITAU BBA USA SECURITIES, INC                ITAU UNIBANCO SA NEW YORK BRANCH     ITG INC
CORPORATE ACTIONS                           CORPORATE ACTIONS                    ANTHONY PORTELLI
767 FIFTH AVE                               767 5TH AVE                          380 MADISON AVE
50TH FL                                     50TH FL                              NEW YORK NY 10017
NEW YORK NY 10153                           NEW YORK NY 10153




ITG INC/SECURITIES LENDING DIVISION         ITM TWENTYFIRST LLC                  IX LAYER INC
STEVEN PACELLA                              PO BOX 844818                        51 HOLBROOK LN
VICE PRESIDENT                              BOSTON MA 02284-4818                 ATHERTON CA 94027
380 MADISON AVE
7TH FL
NEW YORK NY 10017


JABOY PRODUCTIONS LLC                       JACKSON NATIONAL                     JAMES I BLACK AND CO
NEIL GREENE CEO                             PO BOX 371425                        KATHY BIRD
2517 FEDERAL AVE                            PITTSBURGH PA 15250-7425             311 SOUTH FLORIDA AVE
LOS ANGELES CA 90064                                                             PO BOX 24838 33802
                                                                                 LAKELAND FL 33801




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JANE STREET CAPITAL, LLC                 JANI-KING OF COLUMBIA                     JANNEY MONTGOMERY SCOTT LLC
CORP ACTIONS                             801 JONES FRANKLIN RD                     ZACHARY SCHWARZ
250 VESEY ST                             STE 230                                   1717 ARCH ST
NEW YORK NY 10281                        RALEIGH NC 27606                          19TH FL
                                                                                   PHILADELPHIA PA 19103




JANNEY MONTGOMERY SCOTT LLC              JANNEY MONTGOMERY SCOTT LLC               JANNEY MONTGOMERY SCOTT LLC
CORPORATE ACTIONS DEPT                   BRENDAI KIRBY                             REGINA LUTZ
1717 ARCH ST 19TH FL                     1717 ARCH ST                              1801 MARKET ST 9TH FL
PHILADELPHIA PA 19103                    19TH FL                                   PHILADEPHIA PA 19103-1675
                                         PHILADELPHIA PA 19103




JANNEY MONTGOMERY SCOTT LLC              JAPAN SECURITIES DEPOSITORY CENTER, INC   JC TRIDENT INC
MARK F GRESS                             SYLVIA ANTONIO                            9035 ORLANDO AVE
MEDIANT COMMUNICATIONS INC               18301 BERMUDA GREEN DR                    NAVARRE FL 32566
200 REGENCY FOREST DR                    2ND FL
CARY NC 27518                            TAMPA FL 33647




JEFFERIES LLC                            JEFFERIES LLC/AS AGENT FOR                JEFFERIES LLC/SECURITIES FINANCE
ROBERT MARANZANO                         JEFFERIES INTERNATIONAL LONDON            CORPORATE ACTIONS
34 EXCHANGE PL                           CORPORATE ACTIONS                         520 MADISON AVE
JERSEY CITY NJ 07311                     520 MADISON AVE                           NEW YORK NY 10022
                                         NEW YORK NY 10022




JEFFERIES LLCJEFFERIES EXECUTION         JEFFERSON PILOT (LINCOLN NATIONAL LIFE)   JEFFREY J KEYES LLC
SERVICES,INC                             100 N GREENE ST                           15608 VILLORESI WAY
SVC BUREAU                               PO BOX 21008                              NAPLES FL 34110
VICTOR POLIZZOTTO                        GREENSBORO NC 27420
HARBORSIDE FINANCIAL CTR
PLZ III STE 704
JERSEY CITY NJ 07311

JEWISH FEDERATION OF OMAHA               JH OUTBACK                                JIM CARLSON LEASING CO
333 S 132ND ST                           402 OFFICE PK DR                          7380 WASHINGTON AVE
OMAHA NE 68154                           BIRMINGHAM AL 35223                       EDEN PRAIRIE MN 55344




JNM MANAGEMENT LLC                       JNM MANAGEMENT LLC                        JOBS FOUNDATION
2711 CENTERVILLE RD                      LAW OFFICES OF THOMAS MCCARTHY SR         860 VANDALIA ST
STE 400                                  THOMAS MCCARTHY                           ST. PAUL MN 55114
WILMINGTON DE 19808                      917 RAVENSHEAD RD
                                         ANNAPOLIS MD 21405




JOEL NAZARENO                            JOEL NAZARENO                             JOHN GUZZETTI
LAW OFFICE OF PAUL S HABERMAN LLC        LAW OFFICE OF STEPHEN GHEE, PLLC          RANDALL SD JACOBS
PAUL S HABERMAN                          221-10 JAMACIA AVE                        30 WALL ST
19 ENGLE ST                              SUITE 106                                 8TH FLOOR
TENAFLY NJ 07648                         QUEENS VILLAGE NY 11428                   NEW YORK NY 10005




JOHN HANCOCK                             JOHN SILVER                               JONES COMMERCIAL INTERIORS
GREGG JOHNSON                            274 BEVERLY DR                            3900 WILLOW ST
1 JOHN HANCOCK WAY                       WANCHESE NC 27981                         STE 150
STE 1350                                                                           DALLAS TX 75226
BOSTON MA 02217-1350




JONES GABLE AND CO LIMITED/CDS**         JOSEPH STONE CAPITAL LLC                  JOURNAL BROADCASTING GROUP
LORI WRIGHT                              200 OLD COUNTRY RD                        PO BOX 203575
VICE PRESIDENT                           STE 610                                   DALLAS TX 75320
110 YONGE ST                             MINEOLA NY 11501
STE 600
TORONTO ON M5C 1T6
CANADA




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JP MORGAN CHASE BANK NAFBO BLACKROCK CTF   JP MORGAN CHASE BANKGG1                  JP MORGAN CHASE/JP MORGAN INTERNATIONAL
CORPORATE ACTIONS                          NORE SCARLETT                            NORE SCARLETT
14201 DALLAS PKWY                          ADMINISTRATOR                            ADMINISTRATOR
FL 12 - CORP ACTIONS DEPT                  4 NEW YORK PLZ                           4 NEW YORK PLZ
DALLAS TX 75254                            11TH FL                                  11TH FL
                                           NEW YORK NY 10004                        NEW YORK NY 10004


JP MORGAN CHASEGARBAN CORPORATES           JP MORGAN CLEARING CORP                  JP MORGAN CLEARING CORP
NORE SCARLETT                              CORPORATE ACTIONS                        MARCIN BIEGANSKI
ADMINISTRATOR                              14201 DALLAS PKWY                        14201 DALLAS PKWY 12TH FL
4 NEW YORK PLZ                             12TH FL                                  DALLAS TX 75254
11TH FL                                    DALLAS TX 75254
NEW YORK NY 10004


JP MORGAN CLEARING CORP                    JP MORGAN CLEARING CORP LENDING          JP MORGAN FBO LINDA ARNETT BENE IRA
JOHN FAY                                   GREGORY SCHRON                           CASHIERS
500 STANTON CHRISTIANA RD                  EXECUTIVE DIRECTOR                       70 SOUTH LAKE AVE 7TH FL
OPS 4 FL 03                                ONE METROTECH CTR NORTH                  PASADENA CA 91101
NEWARK DE 19713-2107                       BROOKLYN NY 11201




JP MORGAN SECURITIES CANADA INC **         JP MORGAN SECURITIES LLC                 JP MORGAN SECURITIES LLCJPMC
NORE SCARLETT                              MICHAEL PELLEGRINO                       383 MADISON AVE
4 NEW YORK PLZ                             500 STANTON CHRISTIANA RD                NEW YORK NY 10179
11TH FL                                    CORP ACTIONS 3RD FL
NEW YORK NY 10004                          NEWARK DE 19713-2107




JP TURNER AND CO LLC                       JPMC/JPMORGAN CHASE BANK NA              JPMC/JPMORGAN CHASE BANK NA
ONE BUCKHEAD PLAZA                         MARCIN BIEGANSKI                         JANICE CHAMPAGNIE
3060 PEACHTREE RD NW 11TH FLOOR            14201 DALLAS PKWY                        500 STANTON CHRISTIANA RD
ATLANTA GA 30305                           FL 12 - CORP ACTIONS DEPT                3/OPS 2
                                           DALLAS TX 75254                          NEWARK DE 19713




JPMCB/DNT ASSET TRUST                      JPMCB/HSBC BANK PLC IB MAIN FL ACCOUNT   JPMCBJP MORGAN SECURITIES CANADA INC
MARCIN BIEGANSKI                           DRALAN PORTER                            NORE SCARLETT
14201 DALLAS PKWY                          ANALYST                                  4 NEW YORK PLZ
FL 12 - CORP ACTIONS DEPT                  14201 DALLAS PKWY                        11TH FL
DALLAS TX 75254                            12TH FL                                  NEW YORK NY 10004
                                           DALLAS TX 75254


JPMCTHE HONG KONG SHANGHAI BANKING CORP    JPMCTHE ROYAL BANK OF SCOTLAND PLC, CT   JPMORGAN
LTD                                        BRANCH                                   MARGIE PALACIOS
NORE SCARLETT                              NORE SCARLETT                            600 TRAVIS ST
4 NEW YORK PLZ                             4 NEW YORK PLZ                           FL 9
11TH FL                                    11TH FL                                  HOUSTON TX 77002
NEW YORK NY 10004                          NEW YORK NY 10004


JPMORGAN CHASE BANK                        JPMORGAN CHASE BANK                      JPMORGAN CHASE BANK
BROKER AND DEALER CLEARANCE DEPT           OHIO POLICE AND FIRE PENSION FUND        TREASURER OF STATE OF OHIO BWC
NORE SCARLETT                              MARCIN BIEGANSKI                         MARCIN BIEGANSKI
4 NEW YORK PLZ                             14201 DALLAS PKWY 12TH FL                14201 DALLAS PKWY 12TH FL
11TH FL                                    CORPORATE ACTIOND DEPT                   CORPORATE ACTIOND DEPT
NEW YORK NY 10004                          DALLAS TX 75254                          DALLAS TX 75254


JPMORGAN CHASE BANK                        JPMORGAN CHASE BANK                      JPMORGAN CHASE BANK
WINTERFLOOD SECURITIESLIMITED              JP MORGAN PROPRIETARY ASSET ACCOUNT      CORRESPONDENCE CLEARINGSERVICES 2
MARCIN BIEGANSKI                           NORE SCARLETT - ADMINISTRATOR            MARCIN BIEGANSKI
14201 DALLAS PKWY 12TH FL                  4 NEW YORK PLZ                           14201 DALLAS PKWY 12TH FL
CORPORATE ACTIOND DEPT                     11TH FL                                  DALLAS TX 75254
DALLAS TX 75254                            NEW YORK NY 10004


JPMORGAN CHASE BANK                        JPMORGAN CHASE BANK - ADR                JPMORGAN CHASE BANK NA
CORPORATE MUNICIPAL DEALER                 EDWARD SANTANGELO                        JPMORGAN EUROPE LIMITED MONICA WEMER
NORE SCARLETT                              500 STANTON CHRISTINA RD                 VICE PRESIDENT
4 NEW YORK PLZ                             NEWARK DE 19713                          500 STANTON CHRISTIANA RD
11TH FL                                                                             NEWARK DE 19713
NEW YORK NY 10004




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JPMORGAN CHASE BANK NA                      JPMORGAN CHASE BANK NA/DBTC AMERICAS        JPMORGAN CHASE BANK NA/DBTC AMERICAS
GME DIV OF ICAP CORPORATE LLC               DB UKBANK LIMITED DIANE MCGOWAN             DEUTSCHE BANK AG (LONDON BRANCH)
JAMES BENJAMIN ANALYST                      VICE PRESIDENT                              MARCIN BIEGANSKI, ASSOCIATE
14201 DALLAS PKWY                           4 NEW YORK PLZ                              14201 DALLAS PKWY 12TH FL
12TH FL                                     11TH FL                                     CORPORATE ACTIONS DEPT
DALLAS TX 75254                             NEW YORK NY 10004                           DALLAS TX 75254


JPMORGAN CHASE BANK, NA                     JPMORGAN CHASE BANK, NACUSTODIAL TRUST CO   JPMORGAN CHASE BANK, NACUSTODIAL TRUST CO
270 PK AVE                                  CORPORATE ACTIONS DEPT                      JOHN P FAY
NEW YORK NY 10017                           14201 DALLAS PKWY 12TH FL                   CORP ACTIONS
                                            DALLAS TX 75254                             500 STANTON CHRISTIANA RD OPS 4
                                                                                        FLOOR: 03
                                                                                        NEWARK DE 19713-2107


JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
MARCIN BIEGANSKI                            PUBLIC EMPLOYESS RETIREMENT                 RBS FINANCIAL PRODUCTS RBS FINANCIAL
ASSOCIATE                                   SYSTEM OF OHIO (OPERS), MARCIN BIEGANSKI    PRODUCTS
14201 DALLAS PKWY                           14201 DALLAS PKWY                           MARCIN BIEGANSKI
FL 12 - CORP ACTIONS DEPT                   FL 12 - CORP ACTIONS DEPT                   14201 DALLAS PKWY
DALLAS TX 75254                             DALLAS TX 75254                             FL 12 - CORP ACTIONS DEPT
                                                                                        DALLAS TX 75254

JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION
RBS INVESTMENTS USA RBS INVESTMENTS USA     RBS SECURITIES JAPAN LIMITED                RBS PLC
MARCIN BIEGANSKI                            MARCIN BIEGANSKI                            MARCIN BIEGANSKI
14201 DALLAS PKWY                           14201 DALLAS PKWY                           14201 DALLAS PKWY
FL 12 - CORP ACTIONS DEPT                   FL 12 - CORP ACTIONS DEPT                   FL 12 - CORP ACTIONS DEPT
DALLAS TX 75254                             DALLAS TX 75254                             DALLAS TX 75254


JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK, NATIONAL ASSOCIATION   JPMORGAN CHASE BANK,NA
SACHIN GOYAL                                INTERMEDIARY HOLDI                          JPMORGAN CHASE FUNDING INC
500 STANTON CHRISTIANA RD                   CORPORATE ACTIONS                           GARY GABRYSH
OPS 4 FL 02                                 14201 DALLAS PKWY                           500 STANTON CHRISTIANA RD
NEWARK DE 19713-2107                        DALLAS TX 75254                             NEWARK DE 19713




JPMORGAN CHASE BANK/AG DEPOSITARY BANK      JPMORGAN CHASE BANK/CHEMICAL/COMMERC        JPMORGAN CHASE BANK/CHIEF INVESTMENT
FRED COHEN                                  BILL VELASQUEZ                              OFFICE
500 CHRISTIANA RD FL 3                      VICE PRESIDENT                              NORE SCARLETT - ADMINISTRATOR
MORGAN CHRISTIANA CTR OPS 4                 4 NEW YORK PLZ                              NORE SCARLETT
NEWARK DE 19702                             FL 21                                       4 NEW YORK PLZ
                                            NEW YORK NY 10004                           11TH FL
                                                                                        NEW YORK NY 10004

JPMORGAN CHASE BANK/CHIEF INVESTMENT        JPMORGAN CHASE BANK/CHIEF INVESTMENT        JPMORGAN CHASE BANK/EUROCLEAR BANK
OFFICE 3                                    OFFICE2                                     CORPORATE ACTIONS
NORE SCARLETT - ADMINISTRATOR               NORE SCARLETT - ADMINISTRATOR               14201 DALLAS PKWY
NORE SCARLETT                               NORE SCARLETT                               FL 12 - CORP ACTIONS DEPT
4 NEW YORK PLZ                              4 NEW YORK PLZ                              DALLAS TX 75254
11TH FL                                     11TH FL
NEW YORK NY 10004                           NEW YORK NY 10004

JPMORGAN CHASE BANK/EUROCLEAR BANK          JPMORGAN CHASE BANK/GNPH MIDDLE MARKET      JPMORGAN CHASE BANK/HSBCSI
CORPORATE ACTIONS                           SUSAN G REISING                             NORE SCARLETT
SACHIN GOYAL                                100 N BROADWAY                              ADMINISTRATOR
500 STANTON CHRISTIANA RD                   OKLAHOMA CITY OK 73102                      4 NEW YORK PLZ
OPS 4 FL 02                                                                             11TH FL
NEWARK DE 19713-2107                                                                    NEW YORK NY 10004


JPMORGAN CHASE BANK/IA                      JPMORGAN CHASE BANK/INTL FCSTONE            JPMORGAN CHASE BANK/JPMORGAN PPB
MARCIN BIEGANSKI                            FINANCIALINC                                4 NEW YORK PLZ
ASSOCIATE                                   NORE SCARLETT                               11TH FL
14201 DALLAS PKWY 12TH FL                   ADMINISTRATOR                               NEW YORK NY 10004
CORP ACTIONS DEPT                           4 NEW YORK PLZ
DALLAS TX 75254                             11TH FL
                                            NEW YORK NY 10004

JPMORGAN CHASE BANK/MET LIFE LOANET         JPMORGAN CHASE BANK/MUNICIPAL DEALER        JPMORGAN CHASE BANK/PCS SHARED SVC
PAULA JONES                                 JOHN HALLORAN                               MARCIN BIEGANSKI
ASSISTANT VICE PRESIDENT                    500 STANTON CHRISTIANA RD                   14201 DALLAS PKWY 12TH FL
14201 DALLAS PKWY                           OPS 4 FL 3                                  CORPORATE ACTIOND DEPT
DALLAS TX 75254                             NEWARK DE 19713-2107                        DALLAS TX 75254




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JPMORGAN CHASE BANK/PRUDENTIAL              JPMORGAN CHASE BANK/SUSQUEHANNA         JPMORGAN CHASE BANK/VANGUARD LOANET
MARCIN BIEGANSKI                            DIANE MCGOWAN                           PAULA JONES
ASSOCIATE                                   VICE PRESIDENT                          ASSISTANT VICE PRESIDENT
14201 DALLAS PKWY 12TH FL                   3 METROTECH                             14201 DALLAS PKWY
CORPORATE ACTIONS DEPT                      5TH FL                                  DALLAS TX 75254
DALLAS TX 75254                             BROOKLYN NY 11245


JPMORGAN CHASE BANKGARBAN SECURITIES, INC   JPMORGAN CHASE BANKJPMORGAN CHASE AND   JPMORGAN CHASE BANKRBS SECURITIES INC
NORE SCARLETT                               COCERTIFICATE OF DEPOSITIPA             NORE SCARLETT
ADMINISTRATOR                               AL HERNANDEZ                            ADMINISTRATOR
4 NEW YORK PLZ                              34 EXCHANGE PL                          4 NEW YORK PLZ
11TH FL                                     JERSEY CITY NJ 07311                    11TH FL
NEW YORK NY 10004                                                                   NEW YORK NY 10004


JPMORGAN CHASE BANKTRUST CO OF CAL          JPMORGAN CHASE-ADR MAX                  JPMORGAN CHASE-FIMAT CU
PHILIP ROY                                  SANJAY GHULIANI                         SANJAY GHULIANI
VICE PRESIDENT                              PARADIGM B WING FL 6                    ASSISTANT VICE PRESIDENT
14201 DALLAS PKWY                           MAINDSPACE MALAD W                      PARADIGM B WING FL 6
FL 12                                       MUMBAI 400064                           MAINDSPACE MALAD W
DALLAS TX 75254                             INDIA                                   MUMBAI 400064
                                                                                    INDIA

JPMORGAN CHASE-FIMAT MB                     JPMORGAN CHASE-FIMAT RM                 JPMORGAN CHASE/FIMAT PF
SANJAY GHULIANI                             SANJAY GHULIANI                         MARCIN BIEGANSKI
ASSISTANT VICE PRESIDENT                    ASSISTANT VICE PRESIDENT                14201 DALLAS PKWY 12TH FL
PARADIGM B WING FL 6                        PARADIGM B WING FL 6                    CORPORATE ACTIOND DEPT
MINDSPACE MALAD W                           MINDSPACE MALAD W                       DALLAS TX 75254
MUMBAI 400064                               MUMBAI 400064
INDIA                                       INDIA

JPMORGAN CHASE/NEWEDGE CUSTODY              JPMORGAN CHASE/NEWEDGE CUSTODY          JPMORGAN CHASE/RBS
CORP ACTION                                 SAM BUSHRUI VICE PRESIDENT              NORE SCARLETT
630 FIFTH AVE STE 500                       630 FIFTH AVE STE 500                   ADMINISTRATOR
NEW YORK NY 10111                           NEW YORK NY 10111                       4 NEW YORK PLZ
                                                                                    11TH FL
                                                                                    NEW YORK NY 10004


JPMORGAN CHASE/US EQ TRP                    JRL CAPITAL CORP                        JUMP TRADING, LLC
SERGIO MONTILLO                             9861 IRVINE CENTER DR                   CORPORATE ACTIONS
VICE PRESIDENT                              IRVINE CA 92660                         600 W CHICAGO AVE
500 STANTON CHRISTIANA RD                                                           STE 825
NEWARK DE 19713                                                                     CHICAGO IL 60654




K AND L GATES LLP                           KALOS CAPITAL INC                       KANSAS ATTORNEY GENERAL
600 N KING ST                               3780 MANSELL RD STE 150                 DEREK SCHMIDT
STE 901                                     ALPHARETTA GA 30022                     120 SW 10TH AVE
WILMINGTON DE 19801                                                                 2ND FLOOR
                                                                                    TOPEKA KS 66612-1597




KANSAS CITY LIFE                            KANSAS DEPT OF REVENUE                  KANSAS INSURANCE DEPT
3520 BROADWAY BLVD                          915 SW HARRISON ST                      420 SW 9TH ST
KANSAS CITY MO 64121                        TOPEKA KS 66625-9000                    TOPEKA KS 66612-1678




KANSAS OFFICE OF THE SECURITIES             KANSAS OFFICE OF THE SECURITIES         KANSAS OFFICE OF THE STATE BANK
COMMISSIONER                                COMMISSIONER                            COMMISSIONER
109 SW NINTH ST                             1300 SW ARROWHEAD RD                    700 SW JACKSON
STE 600                                     STE 600                                 STE 300
TOPEKA KS 66612                             TOPEKA KS 66604                         TOPEKA KS 66603




KATTEN MUCHIN ROSENMAN LLP                  KCD FINANCIAL INC                       KEARNS BRINEN AND MONAGHAN INC
525 W MONROE ST                             3313 PACKERLAND DR STE E                20 E DIVISION ST
CHICAGO IL 60661-3693                       DE PERE WI 54115-9552                   2ND FL
                                                                                    DOVER DE 19901




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KEIL CONSULTING GROUP INC               KELSEY INTERIOR DESIGN INC      KEMPTON AND ASSOCIATES INSURANCE AND
7320 HALF MOON DR                       275 MARKET ST                   FINANCIAL SVC INC
GOLDEN VALLEY MN 55427                  STE 272                         221 HARRUBY DR
                                        MINNEAPOLIS MN 55405            CALIMESA CA 92320




KENNEDY WEALTH GROUP                    KENTUCKY ATTORNEY GENERAL       KENTUCKY DEPT OF FINANCIAL INSTITUTIONS
721 NORTH 24TH ST                       DANIEL CAMERON                  500 MERO ST
QUINCY IL 62301                         700 CAPITOL AVE                 MAYO-UNDERWOOD BUILDING
                                        CAPITAL BUILDING STE 118        FRANKFORT KY 40601
                                        FRANKFORT KY 40601




KENTUCKY DEPT OF INSURANCE              KENTUCKY DEPT OF REVENUE        KENTUCKY OFFICE OF FINANCIAL INSTITUTIONS
PO BOX 517                              501 HIGH ST                     1025 CAPITAL CENTER DR
FRANKFORT KY 40602-0517                 FRANKFORT KY 40601-2103         STE 200
                                                                        FRANKFORT KY 40601




KENTUCKY STATE TREASURER                KESSLER CREATIVE LLC            KESWICK CONSULTING LLC
PO BOX 718                              12276 SAN JOSE BLVD             76 BUCKINGHAM RD
FRANKFORT KY 40602-0718                 STE 115                         MILTON MA 02186
                                        JACKSONVILLE FL 32223




KEVIN PECK                              KEY MEDICAL CENTER PLLC         KEYBANK NA/FBO TREASURER OF STATE OF OHIO
1700 QUAILS NEST ST                     PO BOX 129                      SCOTT MACDONALD
ROSEVILLE CA 95747                      VAUGHN WA 98394                 VICE PRESIDENT
                                                                        4900 TIEDEMAN RD
                                                                        OH-01-49-310
                                                                        BROOKLYN OH 44144


KEYBANK NATIONAL ASSOCIATION            KEYBANK SAFEKEEPING             KGSALPHA CAPITAL MARKETS, LP
RAYMOND HANNAN                          RAYMOND HANNAN                  CORPORATE ACTIONS
4900 TIEDEMAN RD                        4900 TIEDEMAN RD                601 LEXINGTON AVE
OH-01-49-0240                           OH-01-49-0240                   44TH FL
BROOKLYN OH 44144                       BROOKLYN OH 44144               NEW YORK NY 10022




KINGDOM TRUST CO                        KINGSBURY CAPITAL LLC           KINGSWOOD CAPITAL PARTNERS LLC
1105 ST RT 121 N                        1560 SHERMAN AVE #803           11440 W BERNARDO CT
MURRAY KY 42071                         EVANSTON IL 60201               STE 300
                                                                        SAN DIEGO CA 92127




KINGSWOOD US LLC                        KKR AND CO INC                  KKR CREDIT ADVISORS (US) LLC
175 COUNTRY CLUB DR                     30 HUDSON YARDS                 555 CALIFORNIA ST 50TH FL
BLDG 400 STE D                          NEW YORK NY 10001-2170          SAN FRANCISCO CA 94104
STOCKBRIDGE GA 30281




KKR LOAN ADMINISTRATION SVC LLC         KLDISCOVERY ONTRACK LLC         KNOWLEDGE TRANSFER CONSULTING SVC
4001 KENNETT PIKE                       PO BOX 8458232                  3140 NEIL ARMSTRONG BLVD
STE 302                                 DALLAS TX 75284-5823            STE 121
WILMINGTON DE 19807                                                     EAGAN MN 55121




KOBRE AND KIM LLP                       KOCINA MARKETING COMPANIES      KOONCE SECURITIES, INC
800 THIRD AVE                           350 W BURNSVILLE PKWY           CORPORATE ACTIONS
NEW YORK NY 10022                       STE 350                         6229 EXECUTIVE BLVD
                                        BURNSVILLE MN 55337             ROCKVILLE MD 20852-3906




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KOVACK SECURITIES INC                  KP EVOLUTIONS                       KUNZMAN AND BOLLINGER INC
6451 N FEDERAL HWY STE 1201            719 W FRONT ST                      5100 N BROOKLINE
FT. LAUDERDALE FL 33308                STE 276                             STE 600
                                       TYLER TX 75702                      OKLAHOMA CITY OK 73112




LABX MEDIA GROUP INC                   LAKESIDE BANK                       LANDERSSTEIN AND ASSOCIATES INC
75 REMITTANCE DR                       MICHAEL MC CAULEY                   4970 SW 72ND AVE
STE 6108                               141 WEST JACKSON BLVD               PH 107
CHICAGO IL 60675-6108                  STE 130A                            MIAMI FL 33155
                                       CHICAGO IL 60604




LANDOLT SECURITIES                     LANDOLT SECURITIES INC              LASER APP SOFTWARE
JAN VILLWOCK                           701 OREGON ST                       222 VLY CREEK BLVD
701 OREGON ST                          41412 N IL HWY83                    STE 300
OSH KOSH WI 54903                      ANTIOCH IL 60002                    EXTON PA 19341




LASER GRAPHICS INC                     LAUGHLIN CONSTABLE                  LAURENTIAN BANK OF CANADA/CDS**
5253 EDINA INDUSTRIAL BLVD             207 E MICHIGAN ST                   FRANCESCA MAIORINO
MINNEAPOLIS MN 55439                   MILWAUKEE WI 53202                  1981 MCGILL COLLEGE AVE
                                                                           STE 100
                                                                           MONTREAL QC BCAH3A 3K3
                                                                           CANADA


LAW DEBENTURE TRUST CO OF NEW YORK     LAW OFFICES OF MARK B. PLUMMER PC   LBI-LEHMAN GOVERNMENT SECURITIES INC
JAMES JONES                            MARK PLUMMER                        JAMES GARDINER
400 MADISON AVE                        18552 ORIENTE DRIVE                 70 HUDSON ST
STE 4D                                 YORBA LINDA CA 92886                JERSEY CITY NJ 07302
NEW YORK NY 10017




LC KIRK AND CO                         LD MICRO INC                        LEBLANC FINANCIAL ALLIANCE
422 JACKSONVILLE DR                    11040 BOLLINGER CANYON RD           900 S GAY ST
JACKSONVILLE BEACH FL 32250            STE E-405                           STE 2109
                                       SAN RAMON CA 94582                  KNOXVILLE TN 37902




LECLAIRRYAN                            LEE AND HAYES PC                    LEE MARKETING AND MEDIA SVC
ONE RIVERFRONT PLAZA                   601 W RIVERSIDE AVE                 350 HWY 7
JAMES T SEERY                          STE 1400                            STE 140
1037 RAYMOND BLVD 16TH FLOOR           SPOKANE WA 99201                    EXCELSIOR MN 55331
NEWARK NJ 07102




LEEDE FINANCIAL MARKETS INCCDS**       LEGACY LIFE TODAY LLC               LEK SECURITIES CORP
JANUSZ KOWALSKI                        N48 W14336 HAMPTON RD               CORPORATE ACTIONS
1140 WEST PENDER ST                    STE 104                             ONE LIBERTY PLZ
STE 1800                               MENOMONEE FALLS WI 53051            52ND FL
VANCOUVER BC V6E 4G1                                                       NEW YORK NY 10006
CANADA


LEK SECURITIES CORP                    LENDING OPERATIONS SOLUTIONS LLC    LEONARD STREET AND DEINARD
CORPORATE ACTIONS                      100 3RD AVE SOUTH                   150 SOUTH FIFTH ST
DANIEL HANUKA                          UNIT 1207                           STE 2300
140 BROADWAY                           MINNEAPOLIS MN 55401                MINNEAPOLIS MN 55402
29TH FL
NEW YORK NY 10005


LEWIS AND ELLIS INC                    LIDKE BUSINESS CONSULTING LLC       LIFE EPIGENETICS, INC
700 CENTRAL EXPWY SOUTH                6915 ELLIOT AVE S                   220 S 6TH ST
STE 550                                RICHFIELD MN 55423                  STE 1200
ALLEN TX 75013-8098                                                        MINNEAPOLIS MN 55402




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LIFE INSURANCE CONSULTING SVC LLC      LIFE INSURANCE SETTLEMENT ASSOCIATION   LIFE INSURANCE SETTLEMENTS INC
149 LEGACY WOODS DR                    MARKETING 21ST ANNUAL FALL CONFERENCE   550 WEST CYPRESS CREEK RD
WALLACE NC 28466-2398                  225 S EOLA DR                           STE 300
                                       ORLANDO FL 32801                        FORT LAUDERDALE FL 33309




LIFE TIME FITNESS INC                  LIFEMARK SECURITIES                     LIGHT HOUSE INVESTORS
2902 CORPORATE PL                      400 W METRO FINANCIAL CENTER            MARILYN FLEURY
CHANHASSEN MN 55317                    ROCHESTER NY 14623                      CORPORATE ACTIONS
                                                                               1431 E LA COSTA DR
                                                                               CHANDLER AZ 85249-8592




LIGHTHOUSE CAPITAL CORP                LIGHTHOUSE INSURANCE AGENCY INC         LIGHTHOUSE SERVICES INC
659 ABREGO ST                          321 JOHN SIMS PKWY E                    1710 WALTON RD
STE 6                                  NICEVILLE FL 32578                      STE 204
MONTEREY CA 93940                                                              BLUE BELL PA 19422




LIGHTPATH CAPITAL INC                  LINCOLN BENEFIT                         LINCOLN BENEFIT LIFE
505 WOODHAMS RD                        PO BOX 856764                           PO BOX 660191
SANTA CLARA CA 95051                   MINNEAPOLIS MN 55485-6764               DALLAS TX 75266




LINCOLN NATIONAL LIFE INSURANCE CO     LION STREET FINANCIAL LLC               LIQUID WEB INC
PO BOX 21008                           515 CONGRESS AVE STE 2500               2703 ENA DR
GREENSBORO NC 27420-1008               AUSTIN TX 78701                         LANSING MI 48917-8585




LITTLER MENDELSON PC                   LK SHIELDS SOLICITORS                   LL GLOBAL INC
333 BUSH ST                            39/40 UPPER MOUNT ST                    300 DAY HILL RD
34TH FLOOR                             DUBLIN2                                 WINDSOR CT 06095
SAN FRANCISCO CA 94104                 IRELAND




LLOYDS SYNDICATE 2623 BEAZLY FURLONG   LOCKE LORD LLP                          LOFFLER COMPANIES 131511
60 GREAT TOWER ST                      2200 ROSS AVE                           BIN #131511
PLANTATION PLACE SOUTH                 STE 2800                                PO BOX 1511
LONDON EC3R 5AD                        DALLAS TX 75201                         MINNEAPOLIS MN 55480-1511
UNITED KINGDOM




LOGMEIN USA INC                        LOMBARD ODIER TRANSATLANTIC,            LOMBARD SECURITIES INC
PO BOX 50264                           LIMITED PARTNERSHIP                     1820 LANCASTER ST
LOS ANGELES CA 90074-0264              NICOLE LEDUC                            FLOOR 2
                                       1000 SHERBROOK ST WEST                  BALTIMORE MD 21231
                                       STE 2200
                                       MONTREAL QC H3A 3R7
                                       CANADA

LONGEVITY SVC INC                      LOPEZ WEALTH MANAGEMENT                 LORD SECURITIES CORP
PO BOX 30219                           955 MAIN S                              48 WALL ST
SPOKANE WA 99223                       955 W MAIN ST                           27TH FL
                                       ABINGDON VA 24210                       NEW YORK NY 10005




LOTUS LIFE MANAGEMENT LLC              LOUISIANA ATTORNEY GENERAL              LOUISIANA COMMISSIONER OF SECURITIES
2 GREENWICH PLZ                        JEFF LANDRY                             8660 UNITED PLAZA BLVD
FIRST FL                               PO BOX 94095                            2ND FLOOR
GREENWICH CT 06830                     BATON ROUGE LA 70804-4095               BATON ROUGE LA 70809




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LOUISIANA DEPT OF REVENUE               LOUISIANA DEPT OF REVENUE                    LOUISIANA OFFICE OF FINANCIAL INSTITUTIONS
PO BOX 91017                            PO BOX 201                                   8660 UNITED PLAZA BLVD
BATON ROUGE LA 70821-9017               617 NORTH 3RD ST                             BATON ROUGE LA 70804
                                        BATON ROUGE LA 70821




LOUSIANA SECURITIES COMMISSION          LOYAL3 SECURITIES INC                        LPC TX VISUAL LLC
OFFICE OF FINANCIAL INSTITUTIONS        CORPORATE ACTIONS                            PO BOX 2608
8660 UNITED PLAZA BLVD SECOND FLOOR     PO BOX 26027                                 LEWISBURG TN 37091
BATON ROUGE LA 70809-7024               SAN FRANCISCO CA 94103




LPL FINANCIAL CORP                      LPL FINANCIAL CORP                           LPL FINANCIAL LLC
CORPORATE ACTIONS                       KRISTIN KENNEDY                              4707 EXECUTIVE DR
KRISTIN KENNEDY                         CORPORATE ACTIONS                            SAN DIEGO CA 92121
9785 TOWNE CENTRE DR                    1055 LPL WAY
SAN DIEGO CA 92121-1968                 FORT MILL SC 29715




LTCI CONSULTING LLC                     LUBIN OLSON AND NIEWIADOMSKI LLP             LUCIA SECURITIES LLC
2515 E DUBLIN CT                        600 MONTGOMERY ST 14TH FLOOR                 13520 EVENING CREEK DR N STE 300
GILBERT AZ 85295                        SAN FRANCISCO CA 94111                       SAN DIEGO CA 92128




LYREK CREATIVE INC                      M CATERING BY MICHAEL'S                      M FINANCIAL GROUP
4408 47TH AVE SOUTH                     20645 N 28TH ST                              1125 NW COUCH ST
STE 200                                 PHOENIX AZ 85050                             STE 900
MINNEAPOLIS MN 55406                                                                 PORTLAND OR 97209




M S HOWELLS AND CO                      MACDOUGALL, MACDOUGALL AND MACTIER INC       MACKIE RESEARCH CAPITAL CORPORATION/CDS**
20555 N PIMA RD                         JOYCE MILLETT                                CORPORATE ACTIONS
STE 100                                 PL DU CANADA STE 2000                        199 BAY ST
SCOTTSDALE AZ 85255                     MONTREAL QC H3B 4J1                          COMMERCE CT WEST STE 4600
                                        CANADA                                       TORONTO ON M5L 1G2
                                                                                     CANADA


MACKLINS CATERING CO                    MACQUARIE CAPITAL (USA) INC/MATCHED BOOK     MACQUARIE CAPITAL USA INC
4050 BELTLINE RD                        NUHRAAN JAKOET                               CORP ACTIONS
ADDISON TX 75001                        125 WEST 55TH ST                             125 WEST 55TH ST
                                        23RD FL                                      23RD FL
                                        NEW YORK NY 10019                            NEW YORK NY 10019




MADDOCK DOUGLAS INC                     MAGNA LIFE SETTLEMENTS INC                   MAGNET 360 LLC
111 S ADELL PL                          805 LAS CIMAS PKWY                           5757 WAYZATA BLVD
ELMHURST IL 60126                       STE 230                                      MINNEAPOLIS MN 55416
                                        AUSTIN TX 78746




MAINE ATTORNEY GENERAL                  MAINE OFFICE OF CONSUMER CREDIT REGULATION   MAINE REVENUE SVC
AARON FREY                              DEPT OF PROFESSIONAL AND FINANCIAL           24 STATE HOUSE STATION
6 STATE HOUSE STATION                   REGULATION                                   AUGUSTA ME 04333
AUGUSTA ME 04333                        35 STATE HOUSE STATION
                                        AUGUSTA ME 04333




MAINE SECURITIES DIVISION               MAINSTAR TRUST                               MALMFELDT LAW GROUP PC
DEPT OF PROFESSIONAL AND FINANCIAL      214 WEST 9TH ST                              PAUL D MALMFELDT
REGULATION                              PO BOX 420                                   120 N LASALLE ST
OFFICE OF SECURITIES                    ONAGA KS 66521                               SUITE 2000
STATE HOUSE STATION 121                                                              CHICAGO IL 60602
AUGUSTA ME 04333-0121




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MALMFELDT LAW GROUP PC                   MALWAREBYTES INC                          MANUFACTURERS AND TRADERS TRUST CO
MARK D LISTON                            3979 FREEDOM CIR                          WILMINGTON TRUST/IPA
120 N LASALLE ST                         12TH FL                                   SAM HAMED
SUITE 2000                               SANTA CLARA CA 95054                      1100 NORTH MARKET ST
CHICAGO IL 60602                                                                   WILMINGTON DE 19890-0001




MANUFACTURERS AND TRADERS TRUST CO       MANUFACTURERS AND TRADERS TRUST COMPANY   MANUFACTURERS AND TRADERS TRUST
TONY LAGAMBINA                           COMMERCIAL LOANS                          COMPANY/IPA
ONE M&T PLAZA-8TH FL                     CORPORATE ACTIONS                         TONY LAGAMBINA
BUFFALO NY 14203                         ONE M&T PLZ 3RD FL                        ONE M&T PLAZA-8TH FL
                                         BUFFALO NY 14203                          BUFFALO NY 14203




MANULIFE SECURITIES INCORPORATED/CDS**   MANULIFE SECURITIES INCORPORATED/CDS**    MAPANYTHING INC
SECURITIES OPERATIONS                    JOSEPH CHAU                               5200 77 CTR DR
PO BOX 1700 RPO LAKESHORE WEST           MANAGER                                   STE 400
OAKVILLE ON L6K 0G7                      85 RICHMOND ST WEST                       CHARLOTTE NC 28217
CANADA                                   TORONTO ON M5H2C9
                                         CANADA


MAPLE SECURITIES - FP                    MAPLE SECURITIES - UK                     MAPLE SECURITIES USA INC
MARK ELLIOTT                             MARK ELLIOTT                              MARK ELLIOTT
79 WELLINGTOMN ST WEST                   79 WELLINGTOMN ST WEST                    79 WELLINGTON ST WEST
TORONTO ON M5K IK7                       TORONTO ON M5K IK7                        TORONTO ON M5K 1K7
CANADA                                   CANADA                                    CANADA




MAPLE SECURITIES USA INC DOMESTIC        MAPLE SECURITIES USA INCCUSTODY           MARCUM LLP
MARK ELLIOTT                             MARK ELLIOT                               10 MELVILLE PK RD
79 WELLINGTON ST WEST                    SUPERVISOR                                MELVILLE NY 11747
TORONTO ON M5K 1K7                       79 WELLINGTOMN ST WEST
CANADA                                   TORONTO ON M5KIK7
                                         CANADA


MARCY STROMAN PROOFREADING SVC           MARINER LOGISTIX LLC                      MARKEL AMERICAN INSURANCE CO
607 GOLDEN GATE LN                       216 HIDDEN MESA                           4521 HIGHWOODS PKWY
WINSTED MN 55395                         LEANDER TX 78641                          GLEN ALLEN VA 23068




MARKERT PRODUCTIONS LLC                  MARKETING TECHNOLOGY SOLUTIONS            MARKETS GROUP
625 SOUTH CEDAR LAKE RD                  PO BOX 200375                             10 W 37TH ST
MINNEAPOLIS MN 55405                     PITTSBURGH PA 15251-0375                  7TH FL
                                                                                   NEW YORK NY 10018




MARSCO INVESTMENT CORP                   MARYLAND ATTORNEY GENERAL                 MARYLAND COMMISSIONER OF FINANCIAL
MARK KADISON                             BRIAN FROSH                               REGULATION
101 EISENHOWER PKWY                      200 ST PAUL PL                            500 NORTH CALVERT ST
ROSELAND NJ 07068                        BALTIMORE MD 21202-2022                   STE 402
                                                                                   BALTIMORE MD 21202




MARYLAND DIVISION OF SECURITIES          MASLON LLP                                MASS MUTUAL LIFE INSURANCE
200 SAINT PAUL PL                        RIKKE DIERSSEN-MORICE                     LCM DOCUMENT MANAGEMENT HUB
BALTIMORE MD 21202-2020                  PETER K. DOELY                            PO BOX 2488
                                         3300 WELLS FARGO CENTER                   SPRINGFIELD MA 01101-2488
                                         90 SOUTH 7TH ST
                                         MINNEAPOLIS MN 55402


MASSACHUSETTS ATTORNEY GENERAL           MASSACHUSETTS DEPT OF REVENUE             MASSACHUSETTS DEPT OF REVENUE
MAURA HEALY                              PO BOX 7065                               200 ARLINGTON ST
ONE ASHBURTON PL                         BOSTON MA 02204-4512                      CHELSEA MA 02150
BOSTON MA 02108-1698




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MASSACHUSETTS DEPT OF UNEMPLOYMENT          MASSACHUSETTS DIVISION OF BANKS            MASSACHUSETTS SECURITIES DIVISION
ASSISTANCE                                  ONE SOUTH STATION                          SECRERTARY OF COMMONWEALTH
CHARLES F HURLEY BUILDING                   BOSTON MA 02110                            MASSACHUSETTS
19 STANIFORD ST                                                                        SECURITIES DIVISION
BOSTON MA 02114                                                                        ONE ASHBURTON PL ROOM 1701
                                                                                       BOSTON MA 02108


MAXIM GROUP LLC                             MCDONALD PARTNERS LLC                      MCGUIREWOODS LLP
405 LEXINGTON AVE                           1301 E 9TH ST                              77 WEST WACKER DR
2ND FLOOR                                   STE 3700                                   STE 4100
NEW YORK NY 10174                           CLEVELAND OH 44114                         CHICAGO IL 60601-1818




MDE WEALTH PRESERVATION AND INSURANCE SVC   MEASURED FINANCIAL                         MED REQUEST SOLUTIONS INC
INC                                         3017 DOUGLAS BLVD                          PO BOX 23
24001 CALLE DE LA MAGDALENA #3119           STE 300                                    SOUTH RIVER NJ 08882
LAGUNA HILLS CA 92654                       ROSEVILLE CA 95661




MEDIANT COMMUNICATIONS INC                  MEDICAL INSURANCE ADVISORS LLC             MEDICAL PACKAGING CORP
PO BOX 29976                                1931 E ORION ST                            ACCOUNTS RECEIVABLE
NEW YORK NY 10087-9976                      TEMPE AZ 85283                             941 AVENIDA ACASO
                                                                                       CAMARILLO CA 93012




MEDICAL UNIVERISTY OF SOUTH CAROLINA        MEETING ONE                                MELTWATER NEWS US INC
67 PRESIDENT ST                             501 SOUTH CHERRY ST                        DEPT LA 23721
RM 144N MSC 861                             STE 500                                    PASADENA CA 91185-3721
CHARLESTON SC 29425                         DENVER CO 80246




MERCADO DE VALORES DE BUENOS AIRES SA       MERCER TRUST CO                            MERCER US INC
CORPORATE ACTIONS                           PO BOX 9740                                PO BOX 13793
25 DE MAYO 359                              PROVIDENCE RI 02940-9740                   NEWARK NJ 07188-0793
PISOS 8- 9-10 FLOORS
BUENOS AIRES C1002ABG
ARGENTINA


MERCHANT AND GOULD PC                       MERCHANT CAPITAL, LLC                      MERIDIAN WEALTH MANAGEMENT LLC
3200 IDS CTR                                BELINDA WILSON OPERATIONS MANAGER          5210 E WILLIAMS CIR
80 SOUTH EIGHTH ST                          2660 EAST CHASE LN                         STE 820
MINNEAPOLIS MN 55402-2215                   LAKEVIEW CTR STE 400                       TUCSON AZ 85711
                                            MONTGOMERY AL 36117




MERIT INSURANCE SERVICES INC                MERRILL LYNCH PIERCE FENNER AND SMITH      MERRILL LYNCH PIERCE FENNER AND SMITH
639 PROSPECT AVE                            FIXED INCOME                               DTC 8862
WEST HARTFORD CT 06105                      EARL WEEKS                                 EARL WEEKS
                                            4804 DEAR LAKE DR E                        4804 DEERLAKE DR E
                                            JACKSONVILLE FL 32246                      JACKSONVILLE FL 32246




MERRILL LYNCH PIERCE FENNER AND SMITH       MERRILL LYNCH PROFESSIONAL CLEARING CORP   MERRILL LYNCH, PIERCE FENNER AND
INCMLIM                                     EARL WEEKS                                 SMITH INC SECURITIES LENDING
GLOBAL SECURITIES FINANCING INTERNATIONAL   4804 DEER LAKE DR E                        EARL WEEKS
MICHAEL NIGRO                               JACKSONVILLE FL 32246                      4804 DEER LAKE DR E
101 HUDSON ST                                                                          JACKSONVILLE FL 32246
JERSEY CITY NJ 07302


MERRILL LYNCH, PIERCE FENNER AND SMITH      MERRILL LYNCH, PIERCE, FENNER AND          MERRILL LYNCH, PIERCE, FENNER AND
EARL WEEKS                                  SMITH INCORPORATED671 MLPFAND              SMITH INCORPORATEDSTOCK LOA
CORPORATE ACTIONS                           CORPORATE ACTIONS                          CORPORATE ACTIONS
4804 DEER LAKE DR E                         4804 DEERLAKE DR E                         101 HUDSON ST
JACKSONVILLE FL 32246                       JACKSONVILLE FL 32246                      JERSEY CITY NJ 07302




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MERRILL LYNCH, PIERCE, FENNER AND SMITH   MERRILL LYNCH, PIERCE, FENNER AND SMITH, INC   MERRIMAC CORPORATE SECURITIES
STOCKLOAN HEDGE ACCOUNT                   FOREIGN SECURITY LENDING                       1150 DOUGLAS AVE STE 1070
CARLOS GOMEZ                              ANTHONY STRAZZA                                ALTAMONTE SPRINGS FL 32714
101 HUDSON ST                             101 HUDSON ST
JERSEY CITY NJ 07302                      7TH FL
                                          NEW JERSEY NJ 07302


MESIROW FINANCIAL                         MESIROW FINANCIAL                              MESIROW FINANCIAL, INC
JOHN O'SHEA                               CORPORATE ACTIONS DEBORAH LYNE                 JONATHAN STANISLAW
353 NO CLARK ST                           353 N CLARK ST                                 353 NORTH CLARK ST
CHICAGO IL 60654                          CHICAGO IL 60654                               CHICAGO IL 60654




METLIFE (GROUP TERM AND UL)               METLIFE INSURANCE CO USA                       METLIFE INVESTORS
PO BOX 7280                               PO BOX 7280                                    500 ROSS ST AIM #1540470
PHILADELPHIA PA 19101                     PHILADELPHIA PA 19101                          LOCKBOX 371862 MELLON CLIENT SVC CTR
                                                                                         PITTSBURGH PA 15262




METRO SALES INC                           METRO TRANSIT                                  METROPOLITAN LIFE INSURANCE CO
ACCOUNTS RECEIVABLE                       ACCOUNTS RECEIVABLE                            699 BOYLSTON ST 1400
1620 EAST 78TH ST                         560 6TH AVE NORTH                              BOSTON MA 02116
MINNEAPOLIS MN 55423-4637                 MINNEAPOLIS MN 55411-4398




MF GLOBAL INC                             MFG GROUP LLC                                  MG TRUST CO
JIM ARENELLA                              6225 N MEEKER PL                               SUZANNE WALTERS
717 5TH AVE                               STE 100                                        VICE PRESIDENT
NEW YORK NY 10022                         BOISE ID 83713                                 700 17TH ST
                                                                                         STE 200
                                                                                         DENVER CO 80202


MHA FINANCIAL CORP                        MHT FINANCIAL LLC                              MHT FINANCIAL LLC
PO BOX 409                                MIKE MCGILL                                    SHAWN T TERRY
WESTWOOD MA 02090                         2021 MCKINNEY AVE                              2021 MCKINNEY AVE
                                          STE 1950                                       STE 1950
                                          DALLAS TX 75201                                DALLAS TX 75201




MHT FINANCIAL LLC                         MICHELLE G GERSHFELD                           MICHIGAN ATTORNEY GENERAL
MANAGING MEMBER                           100 WHITE PLAINS RD                            DANA NESSEL
2021 MCKINNEY AVE                         TARRYTOWN NY 10991                             PO BOX 30212
STE 1950                                                                                 525 W OTTAWA ST
DALLAS TX 75201                                                                          LANSING MI 48909-0212




MICHIGAN DEPT OF LICENSING AND            MICHIGAN DEPT OF TREASURY                      MICHIGAN OFFICE OF FINANCIAL AND
REGULATORY AFFAIRS MICHIGAN CORP          TREASURY BUILDING                              INSURANCE REGULATION
SECURITIES                                LANSING MI 48922                               PO BOX 30220
AND COM LICENSING BUREAU                                                                 LANSING MI 48909
SECURITIES AND AUDIT DIVISION
PO BOX 30018
LANSING MI 48909

MICK AND ASSOCIATES                       MICK LAW PC                                    MID ATLANTIC TRUST CO
11422 MIRACLE HILLS DR                    816 SOUTH 169TH ST                             CORPORATE ACTIONS
STE 401                                   OMAHA NE 68118                                 1251 WATERFRONT PL
OMAHA NE 68154                                                                           STE 510
                                                                                         PITTSBURGH PA 15222




MIDLAND NATIONAL LIFE INSURANCE CO        MIDWEST BLINDS                                 MIDWEST CAPITAL MARKETS LLC
1 SAMMONS PLZ                             12700 ZENITH AVE S                             230 W MONROE ST
SIOUX FALLS SD 57193                      STE 104                                        STE 300
                                          BURNSVILLE MN 55337                            CHICAGO IL 60606




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MIDWEST LIFE BROKERAGE ASSOCIATES     MILLIMAN INC                                   MILLION DOLLAR ROUND TABLE
1225 ARDMORE DR                       1301 5TH AVE                                   325 WEST TOUHY AVE
NAPERVILLE IL 60540                   STE 3800                                       PARK RIDGE IL 60068-4265
                                      SEATTLE WA 98296




MILWAUKEE BREWERS                     MINMIN WU                                      MINNEAPOLIS HOTEL OPERATOR INC
GROUP TICKET SALES OFFICE             20480 PACIFICA DR STE A                        DBA WESTIN MINNEAPOLIS
JEFF HIBICKE                          CUPERTINO CA 95014                             88 SOUTH 6TH ST
ONE BREWERS WAY                                                                      MINNEAPOLIS MN 55402
MILWAUKEE WI 53214




MINNEAPOLISST PAUL BUSINESS JOURNAL   MINNESOTA ATTORNEY GENERAL                     MINNESOTA DEPARTMENT OF COMMERCE
333 SOUTH 7TH ST                      KEITH ELLISON                                  85 EAST 7TH PL STE 280
STE 350                               1400 BREMER TOWER                              SAINT PAUL MN 55101
MINNEAPOLIS MN 55402-2414             445 MINNESOTA ST
                                      ST. PAUL MN 55101-2131




MINNESOTA DEPT OF COMMERCE            MINNESOTA DEPT OF REVENUE                      MINNESOTA DEPYT OF COMMERCE
DIVISION OF FINANCIAL EXAMINATIONS    600 NORTH ROBERT ST                            85 7TH PL EAST
85 7TH PLACE EAST                     ST. PAUL MN 55101                              STE 500
STE 500                                                                              ST. PAUL MN 55101-2198
ST. PAUL MN 55101




MINNESOTA DRIVER AND VEHICLE SVC      MINNESOTA LIFE INSURANCE CO                    MINNESOTA REVENUE
PO BOX 64587                          400 ROBERT ST N                                MAIL STATION 1275
ST. PAUL MN 55164-0587                SAINT PAUL MN 55101                            SAINT PAUL MN 55145-1275




MINNESOTA U I FUND                    MINNESOTA WILD                                 MINQ
PO BOX 75576                          SUITE SVC                                      1637 WEST END BLVD
ST. PAUL MN 55175-0576                317 WASHINGTON ST                              ST. LOUIS PARK MN 55416
                                      ST. PAUL MN 55102




MIRAE ASSET SECURITIES USA, INC       MISSISSIPPI ATTORNEY GENERAL                   MISSISSIPPI DEPT OF BANKING AND
CORPORATE ACTIONS                     LYNN FITCH                                     CONSUMER FINANCE
810 7TH AVE 37TH FL                   WALTER SILLERS BUILDING                        4780 I-55 NORTH
NEW YORK NY 10019                     550 HIGH ST STE 1200                           5TH FLOOR
                                      JACKSON MS 39201                               JACKSON MS 39201




MISSISSIPPI INSURANCE DEPT            MISSISSIPPI OFFICE OF THE SECRETARY OF STATE   MISSISSIPPI TAX COMMISSION
LICENSING DIVISION                    SECURITIES DIVISION                            PO BOX 22808
PO BOX 79                             PO BOX 136                                     JACKSON MS 39225-2808
JACKSON MS 39205                      JACKSON MS 39205-0136




MISSOURI ATTORNEY GENERAL             MISSOURI DEPT OF REVENUE                       MISSOURI DIVISION OF FINANCE
ERIC SCHMITT                          HARRY S TRUMAN STATE OFFICE BUILDING           CONSUMER CREDIT SECTION
SUPREME COURT BLDG                    301 WEST HIGH ST                               PO BOX 716
207 W HIGH ST                         JEFFERSON CITY MO 65101                        301 W HIGH ST
JEFFERSON CITY MO 65101                                                              JEFFERSON CITY MO 65102




MITSUBISHI UFJ SECURITIES USA, INC    MITSUBISHI UFJ TRUST AND BANKING               MIZUHO BANK LTD NEW YORK BRANCH
CORPORATE ACTIONS                     CORPORATION,                                   RAMON ROSARIO
1633 BROADWAY                         NEW YORK BRANCH                                1800 PLZ TEN
NEW YORK NY 10019                     RICHARD WENSKOSKI                              JERSEY CITY NJ 07311
                                      420 FIFTH AVE
                                      6TH FL
                                      NEW YORK NY 10018




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MIZUHO SECURITIES USA INC             MIZUHO SECURITIES USA LLC/              MIZUHO SECURITIES USA LLC/
GREG RAIA                             MIZUHO CAPITAL MARKETS LLC - EQUITIES   MIZUHO CAPITAL MARKETS LLC
OPERATIONS                            CORPORATE ACTIONS                       CORPORATE ACTIONS
111 RIVER ST                          111 RIVER ST                            111 RIVER ST
HOBOKEN NJ 07030                      HOBOKEN NJ 07030                        HOBOKEN NJ 07030




MIZUHO SECURITIES USA/FIXED INCOME    MIZUHO SECURITIES/SECURITIES FINANCE    MIZUHO TRUST AND BANKING CO USA
RICH VISCO                            RICH VISCO/GREG RAIA                    ROBERT DIMICK
DIRECTOR                              111 RIVER ST                            135 WEST 50TH ST
111 RIVER ST                          STE 1100                                16TH FL
STE 1100                              HOBOKEN NJ 07030                        NEW YORK NY 10020
HOBOKEN NJ 07030


MLC CONSULTING SOLUTIONS LLC          MLF LEXSERV LP                          MLV
313 CLAIREMONT RD                     4350 EAST-WEST HWY                      1251 AVENUE OF THE AMERICAS 41ST FLOOR
VILLANOVA PA 19085                    STE 905                                 NEW YORK NY 10020
                                      BETHESDA MD 20814




MN CHILD SUPPORT PAYMENT CENTER       MN SECRETARY OF STATE                   MOBILE ELECTRONIC FINGERPRINTING
PO BOX 64306                          BUSINESS SVC                            8120 PENN AVE S
ST. PAUL MN 55164                     RETIREMENT SYSTEMS OF MINNESOTA         STE259
                                      BUILDING 60 EMPIRE DR                   BLOOMINGTON MN 55431
                                      STE 100
                                      ST. PAUL MN 55155-1299


MODACTO LLC                           MODEL ACTUARIAL PRICING SYSTEMS         MODERN HEATING AND AIR CONDITIONING INC
800 WASHINGTON AVE N                  CC # 022-GWG-10                         2318 FIRST ST NE
STE 907                               ROBERT CHRISTINE                        MINNEAPOLIS MN 55418-3404
MINNEAPOLIS MN 55401                  110 E 59TH ST 5TH FL
                                      NEW YORK NY 10022




MODUS ENGAGEMENT INC                  MOFFITT CANCER CENTER                   MOJO GRILL AND CATERING CO
2829 UNIVERSITY AVE SE #800           MBC HIM                                 2605 SW 33RD ST
MINNEAPOLIS MN 55414                  12902 USF MAGNOLIA DR                   BLDG 200
                                      TAMPA FL 33612                          OCALA FL 34471




MOLONEY SECURITIES INC                MONARCH BAY SECURITIES                  MONEY MANAGER INC
13537 BARRETT PKWY STE 300            898 N SEPULVEDA BLVD                    10554 VERSAILLES BLVD
BALLWIN MO 63021                      STE 475                                 WELLINGTON FL 33449
                                      EL SEGUNDO CA 90425




MONON WEALTH MANAGEMENT               MONTANA ATTORNEY GENERAL                MONTANA DEPT OF REVENUE
99 E CARMEL DR                        AUSTIN KNUDSEN                          5 SOUTH LAS CHANCE GULCH
STE 160                               215 N SANDERS THIRD FLOOR               HELENA MT 59860
CARMEL IN 46032                       JUSTICE BUILDING
                                      HELENA MT 59620-1401




MONTANA OFFICE OF THE STATE AUDITOR   MONTE TITOLI SPA                        MONTIE AND SPENCER INVESTMENTS
SECURITIES DEPT                       MAURO CASTELLAZZI                       G-5131 W BRISTOL RD
840 HELENA AVE                        VIA MANTEGNA 6-20154                    STE B
HELENA MT 59601                       MILANO                                  FLINT MI 48507
                                      ITALY




MORGAN STANLEY AND CO LLC             MORGAN STANLEY AND CO LLC               MORGAN STANLEY AND CO LLC
CORPORATE ACTIONS                     CORP ACTIONS                            MICHELLE FORD
1300 THAMES ST                        1300 THAMES ST                          901 SOUTH BOND ST
7TH FL                                7TH FL                                  6TH FL
BALTIMORE MD 21231                    BALTIMORE MD 21231                      BALTIMORE MD 21231




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MORGAN STANLEY AND CO LLC/SL CONDUIT         MORGAN STANLEY AND CO LLCII              MORGAN STANLEY AND CO LLCIII
DAN SPADACCINI                               DAN SPADACCINI                           DAN SPADACCINI
901 SOUTH BOND ST                            901 SOUTH BOND ST                        901 SOUTH BOND ST
6TH FL                                       6TH FL                                   6TH FL
BALTIMORE MD 21231                           BALTIMORE MD 21231                       BALTIMORE MD 21231




MORGAN STANLEY AND CO LLCINTERNATIONAL       MORGAN STANLEY AND CO LLCINTERNATIONAL   MORGAN STANLEY BANK, NA
PLC                                          PLC                                      GLENN PIZER
CORPORATE ACTIONS                            CORP ACTIONS                             EXECUTIVE DIRECTOR
901 SOUTH BOND ST                            1300 THAMES ST                           ONE PIERREPONT PLZ
6TH FL                                       7TH FL                                   OPERATIONS/SETTLEMENTS
BALTIMORE MD 21231                           BALTIMORE MD 21231                       BROOKLYN NY 11201


MORGAN STANLEY PRIVATE BANK,                 MORGAN STANLEY PRIVATE BANK,             MORGAN STANLEY SMITH BARNEY LLC
NATIONAL ASSOCIATION/#2                      NATIONAL ASSOCIATION                     JOHN BARRY
1300 THAMES ST                               CORP ACTION                              1300 THAMES ST
7TH FL                                       1300 THAMES ST                           6TH FL
BALTIMORE MD 21231                           7TH FL                                   BALTIMORE MD 21231
                                             BALTIMORE MD 21231


MORGAN STANLEY SMITH BARNEY LLC/FPL          MORITT HOCK AND HAMROFF LLP              MORPHOTRUST USA INC
JOHN BARRY                                   400 GDN CITY PLZ                         NEW YORK STATE DEPT OF FINANCIAL SVC
1300 THAMES ST                               GARDEN CITY NY 11530                     1 STATE ST LIFE BUREAU
6TH FL                                                                                NEW YORK NY 10004
BALTIMORE MD 21231




MOUNTAIN FINANCIAL PRINT AND DESIGN LLC      MOURE INSURANCE LLC                      MRA - THE MANAGEMENT ASSOCIATION
6294 S LAFAYETTE PL                          3191 GRAND AVE                           N19 W24400 RIVERWOOD DR
CENTENNIAL CO 80121                          #624                                     WAUKESHA WI 53188
                                             MIAMI FL 33133




MUFG SECURITIES AMERICAS INCSTOCK LOAN       MUFG UNION BANK, NA                      MUFG UNION BANK, NA
CORPORATE ACTIONS                            CORPORATE ACTIONS CLAIMS MANAGEMENT      MAGGI BOUTELLE
1221 AVE OF THE AMERICAS                     11121 CARMEL COMMONS BLVD                530 B ST STE 204
NEW YORK NY 10020-1001                       STE 370                                  SAN DIEGO CA 92101
                                             CHARLOTTE NC 28226-4561




MUFG UNION BANK, NACAPITAL MARKETS           MUFG UNION BANK, NACORPORATE TRUSTIPA    MUFG UNION BANK, NAMMIPIMSIPA
CARLETTA MIZELL                              CORA SERRANO                             CORPORATE ACTIONS CLAIMS MANAGEMENT
445 S FIGUEROA ST                            VICE PRESIDENT                           11121 CARMEL COMMONS BLVD
G21-101                                      120 SOUTH SAN PEDRO ST                   STE 370
LOS ANGELES CA 90071                         STE 410                                  CHARLOTTE NC 28226-4561
                                             LOS ANGELES CA 90012


MUFG UNION BANK, NAMMIPIMSIPA                MULESOFT LLC                             MULTI MEDIA PRODUCTIONS USA INC
MAGGI BOUTELLE                               415 MISSION ST                           999 YAMATO RD STE 103
530 B ST STE 204                             3RD FL                                   BOCA RATON FL 33431
SAN DIEGO CA 92101                           SAN FRANCISCO CA 94105




MUNDY INSURANCE AND REAL ESTATE AGENCY INC   MUNSCH HARDT KOPF AND HARR PC            MURNEY AND ASSOCIATES INC
KELLY SCHROEDER                              500 N AKARD ST                           5021 VERNON AVE SD #286
400 CHESTNUT ST                              STE 3800                                 EDINA MN 55436
MOUNT CARMEL IL 62863                        DALLAS TX 75201




MURPHY AND MCGONIGLE PC                      MURRAY DEVINE AND CO                     MURRAY HOLLAND
4870 SADLER RD                               1650 ARCH ST                             GWG HOLDINGS INC
STE 301                                      STE 2700                                 325 N ST PAUL ST
GLEN ALLEN VA 23060                          PHILADELPHIA PA 19103                    STE 2650
                                                                                      DALLAS TX 75201




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MUSEUM OF AMERICAN FINANCE              MUSKA ELECTRIC CO                         NAIC SERFF
JEANNE BAKER DRISCOLL                   1985 OAKCREST AVE                         PO BOX 875976
DIRECTOR OF DEVELOPMENT                 ROSEVILLE MN 55113-2685                   KANSAS CITY MO 64187-5976
48 WALL ST
NEW YORK NY 10005




NAPFA                                   NAPLES DAILY NEWS                         NASDAQ EXECUTION SERVICES, LLC
3250 NORTH ARLINGTON HEIGHTS RD         PO BOX 1412                               CORPORATE ACTIONS
STE 109                                 CHARLOTTE NC 28201-1412                   ONE LIBERTY PLZ
ARLINGTON HEIGHTS IL 60004                                                        NEW YORK NY 10006




NASDAQ EXECUTION SERVICES, LLPTIONS     NASDAQ OMX BX, INC                        NASDAQ OMX CORPORATE SOLUTIONS
VINCENT DIVITO                          VINCENT DIVITO                            WELLS FARGO BANK NA
DIRECTOR                                DIRECTOR                                  LOCKBOX 11700
165 BROADWAY                            ONE LIBERTY PLZ                           PO BOX 780700
51ST FL                                 51ST FL                                   PHILADELPHIA PA 19178-0200
NEW YORK NY 10006                       NEW YORK NY 10006


NASDAQ OMX PHLX LLC                     NASDAQ STOCK MARKET LLMNIBUS ACCOUNT      NASSAURE
VIN DIVITO                              VINCENT DIVITO                            PO BOX 650698
1900 MARKET ST                          DIRECTOR                                  DALLAS TX 75265-6098
PHILADELPHIA PA 19103                   ONE LIBERTY PLZ
                                        NEW YORK NY 10006




NATIONAL ASSOCIATION OF INSURANCE AND   NATIONAL BANK OF CANADA FINANCIAL INC     NATIONAL BENEFIT ADVISORY INC
FINANCIAL ADVISORS                      CORPORATE ACTIONS                         509 4TH ST
2901 TELESTAR CT                        1155 METACALFE                            STE 7
FALLS CHURCH VA 22042                   5TH FL                                    BREMERTON WA 98337
                                        MONTREAL QC H3B 4S9
                                        CANADA


NATIONAL BROKERAGE AGENCY INC           NATIONAL FINANCIAL SVC LLC                NATIONAL FINANCIAL SVC LLC
4600 PK RD                              NEWPORT OFFICE CTR III                    PETER CLOSS
STE 303                                 499 WASHINGTON BLVD FL 5                  499 WASHINGTON BLVD
CHARLOTTE NC 28209                      JERSEY CITY NJ 07310-2010                 JERSEY CITY NJ 07310




NATIONAL FINANCIAL SVC LLC              NATIONAL FINANCIAL SVC LLC                NATIONAL FINANCIAL SVC LLC/STOCK LOAN
CORP ACTIONS                            JOANNE PADARATHSIGN                       CORPORATE ACTIONS
200 SEAPORT BLVD Z1B                    499 WASHINGTON BLVD                       200 SEAPORT BLVD Z1B
BOSTON MA 02210                         JERSEY CITY NJ 07310                      BOSTON MA 02210




NATIONAL FINANCIAL SVCS LLC             NATIONAL FOUNDERS LP                      NATIONAL HOLDINGS CORP
499 WASHINGTON BLVD 5TH FL              AS ADMINISTRATIVE AGENT                   ACCOUNTING DEPT
NEWPORT OFFICE CTR 3                    PO BOX 1073                               1200 NORTH FEDERAL HWY STE 400
JERSEY CITY NJ 07310                    WILMINGTON DE 19899                       BOCA RATON FL 33432




NATIONAL INSURANCE CORP                 NATIONAL INVESTMENT BANKING ASSOCIATION   NATIONAL REGISTERED AGENTS INC
1200 N FEDERAL HWY                      422 CHESTERFIELD RD                       PO BOX 927
STE 400                                 BOGART GA 30622                           WEST WINDSOR NJ 08550-0927
BOCA RATON FL 33432




NATIONAL SECURITIES CLEARING CORP       NATIONAL SECURITIES CLEARING CORP         NATIONAL SECURITIES CORP
55 WATER ST                             SCC DIVISION                              27068 LA PAZ ROAD #640
NEW YORK NY 10041                       KEVIN BRENNAR                             410 PK AVE 14TH FLOOR
                                        55 WATER ST                               NEW YORK NY 10022
                                        22ND FL
                                        NEW YORK NY 10041




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NATIONAL UNION FIRE INS PITTSBURGH PA   NATIONAL WESTERN LIFE INSURANCE CO   NATIONWIDE FINANCIAL
175 WATER ST                            10801 N MOPAC EXPY BLDG 3            PO BOX 644022
NEW YORK NY 10038                       AUSTIN TX 78759                      CINCINNATI OH 45274




NATIXIS SECURITIES AMERICAS LLC         NATTERBOX LIMITED                    NAVARRO ART AND IMAGE
TOM RUGGIERO                            NO 1 CROYDON                         10620 SOUTHERN HIGHLANDS PKWY
1251 AVE OF THE AMERICAS-5TH FL         12-16 ADDISCOMBE RD                  110-237
NEW YORK NY 10020                       CROYDON                              LAS VEGAS NV 89141
                                        UNITED KINGDOM




NAYLOR AND CO INVESTMENTS LLC           NBC BROKERS INC                      NBC NATIONAL MARKETING
101 CALIFORNIA ST                       309 SUFFOLK LN                       158 S FRANKLIN ST
STE 2710                                WILMINGTON NC 28409                  JANESVILLE WI 53548
SAN FRANCISCO CA 94111




NBCN INC 2CDS**                         NBCN INCCDS**                        NBT BANK, NATIONAL ASSOCIATIONDRS
ANNIE MAH                               ANNA MEDEIROS                        HOLLY CRAVER
ASSISTANT VICE PRESIDENT                CORPORATE ACTIONS                    20 MOHAWK ST
85 RICHMOND ST WEST                     1010 RUE DE LA GAUCHETIERE ST WEST   CANAJOHARIE NY 13317
TORONTO ON ON500000                     STE 1925
CANADA                                  MONTREAL QC H3B 5J2
                                        CANADA

NC VITAL RECORDS                        NEBRASKA ATTORNEY GENERAL            NEBRASKA DEPT OF BANKING AND FINANCE
1903 MAIL SERVICE CTR                   DOUG PETERSON                        FINANCIAL INSTITUTIONS
RALEIGH NC 27699-1903                   2115 STATE CAPITOL                   1230 O ST STE 400
                                        LINCOLN NE 68509-8920                PO BOX 95006
                                                                             LINCOLN NE 68509




NEBRASKA DEPT OF BANKING AND FINANCE    NEBRASKA DEPT OF INSURANCE           NEBRASKA DEPT OF REVENUE
COMMERCE COURT                          941 O ST                             301 CENTENNIAL MALL SOUTH
PO BOX 95006                            STE 400                              2ND FLOOR
LINCOLN NE 68509-5006                   LINCOLN NE 68501-2089                LINCOLN NE 68509-4818




NEEDHAM AND COMPANY, LLC                NEOFUNDS BY NEOPOST                  NEOPOST USA INC
MATTHEW F DE NICOLA                     PO BOX 30193                         DEPT 3689
CORPORATE ACTIONS                       TAMPA FL 33630-3193                  PO BOX 123689
445 PK AVE                                                                   DALLAS TX 75312-3689
NEW YORK NY 10022




NETSPI                                  NEVADA ATTORNEY GENERAL              NEVADA DEPT OF TAXATION
800 WASHINGTON AVE N                    AARON FORD                           1500 COLLEGE PKWY
STE 670                                 OLD SUPREME COURT BLDG               STE 115
MINNEAPOLIS MN 55401-1111               100 N CARSON ST                      CARSON CITY NV 89706
                                        CARSON CITY NV 89701




NEVADA DEPT OF TAXATION                 NEVADA DIVISION OF INSURANCE         NEVADA FINANCIAL INSTITUTIONS DIVISION
1550 E. COLLEGE PKWY                    1818 EAST COLLEGE PKWAY              2785 E DESERT INN RD
CARSON CITY NV 89706                    STE 103                              STE 180
                                        CARSON CITY NV 89706                 LAS VEGAS NV 89121




NEVADA LEGAL PRESS                      NEVADA SECRETARY OF STATE            NEVADA SECRETARY OF STATE
3301 SOUTH MALIBOU AVE                  202 NORTH CARSON ST                  SECURITIES DIVISION
PAHRUMP NV 89048-6489                   CARSON CITY NV 89701-4520            2250 LAS VEGAS BLVD
                                                                             STE 400
                                                                             NORTH LAS VEGAS NV 89030




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NEW ENGLAND FINANCIAL (MET LIFE)            NEW FRONTIER FINANCIAL ADVISORY LLC          NEW HAMPSHIRE ATTORNEY GENERAL
BOX 371499                                  3773 CHERRY CREEK NORTH DR                   JOHN FORMELLA
500 ROSS ST 154-0470                        STE 575                                      NH DEPT OF JUSTICE
PITTSBURGH PA 15262                         DENVER CO 80209                              33 CAPITOL ST
                                                                                         CONCORD NH 03301-6397




NEW HAMPSHIRE BUREAU OF SECURITIES          NEW HAMPSHIRE DEPT OF REV ADMIN              NEW HAMPSHIRE INSURANCE DEPT
REGULATION                                  109 PLEASANT ST                              21 SOUTH FRUIT ST
STATE HOUSE ROOM 204                        CONCORD NH 03301                             STE 14
CONCORD NH 03301-4989                                                                    CONCORD NH 03301




NEW HAMPSHIRE SECRETARY OF STATE            NEW HAMPSHIRE STATE BANKING DEPT             NEW JERSEY ATTORNEY GENERAL
CORP DIVISION DEPT OF STATE                 64B OLD SUNCOOK RD                           MATTHEW J PLATKIN
107 NORTH MAIN ST                           CONCORD NH 03301                             RICHARD J HUGHES JUSTICE COMPLEX
CONCORD NH 03301-4989                                                                    25 MARKET ST 8TH FL WEST WING
                                                                                         TRENTON NJ 08625




NEW JERSEY DEPT OF BANKING AND INSURANCE    NEW JERSEY DEPT OF LAW AND PUBLIC SAFETY     NEW JERSEY DIVISION OF CONSUMER AFFAIRS
20 WEST STATE ST                            BUREAU OF SECURITIES                         153 HALSEY ST
TRENTON NJ 08625                            153 HALSEY ST 6TH FLOOR                      6TH FLOOR
                                            NEWARK NJ 70102                              NEWARK NJ 07102




NEW JERSEY DIVISION OF TAXATION             NEW JERSEY DIVISION OF TAXATION              NEW JERSEY DIVISION OF TAXATION
REVENUE PROCESSING CENTER                   BANKRUPTCY SECTION                           3 JOHN FITCH WAY
CORP BUSINESS TAX                           PO BOX 245                                   TRENTON NJ 08611
PO BOX 257                                  TRENTON NJ 08695-0245
TRENTON NJ 08646-0257




NEW MEXICO ATTORNEY GENERAL                 NEW MEXICO FINANCIAL INSTITUTIONS DIVISION   NEW MEXICO REGULATION AND LICENSING DEPT
HECTOR BALDERAS                             2550 CERRILLOS RD 3RD FLOOR                  SECURITIES DIVISION
408 GLISTEO ST                              PO BOX 25101                                 2550 CERRILLOS RD
VILLAGRA BUILDING                           SANTA FE NM 87505                            3RD FLOOR
SANTA FE NM 87501                                                                        SANTA FE NM 87505




NEW MEXICO SECRETARY OF STATE               NEW MEXICO TAX AND REVENUE DEPT              NEW PUEBLO MEDICINE PC PATRICK NOONAN DO
CORPORATIONS BUREAU                         1100 SOUTH ST FRANCIS DR                     MEDICAL RECORDS DEPT BRIANNA H
CHARTERED DOCUMENTS DIVISION                LEGAL SVC BUREAU                             6365 E TANQUE VERDE RD 120
325 DON GASPAR STE 300                      SANTA FE NM 87504-0630                       TUCSON AZ 85715
SANTA FE NM 87501




NEW TANGRAM LLC                             NEW YORK ATTORNEY GENERAL                    NEW YORK CITY DEPT OF FINANCE
9200 SORENSEN AVE                           LETITIA JAMES                                1 CENTRE ST MUNICIPAL BLDG #500
SANTE FE SPRINGS CA 90670                   DEPT OF LAW                                  NEW YORK NY 10007
                                            THE CAPITOL 2ND FLOOR
                                            ALBANY NY 12224-0341




NEW YORK DEPT OF TAX AND FINANCE            NEW YORK DEPT OF TAX AND FINANCE             NEW YORK LIFE
BANKRUPTCY SECTION                          W AVERELL HARRIMAN STATE OFFICE BUILDING     8120 PENN AVE S
PO BOX 5300                                 BUILDING 8/8A                                BLOOMINGTON MN 55431
ALBANY NY 12205-0300                        ALBANY NY 12207




NEW YORK OFFICE OF THE ATTORNEY GENERAL     NEW YORK STATE BANKING DEPT                  NEW YORK STATE CORP TAX
INVESTOR PROTECTION AND SECURITIES BUREAU   ONE STATE ST                                 CORP V
28 LIBERTY ST                               NEW YORK NY 10004                            PO BOX 15163
15TH FLOOR                                                                               ALBANY NY 12212-5163
NEW YORK NY 10005




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NEW YORK STATE DEPT OF HEATLH              NEWBRIDGE FINANCIAL INC                       NEWBRIDGE SECURITIES CORP
VITAL RECORDS SECTION CERTIFICATION UNIT   SCOTT WEEKS ACCOUNTANT                        ALAN B LEVIN CFO
PO BOX 2602                                5200 TOWN CENTER CIR                          1200 N FEDERAL HWY STE 400
ALBANY NY 12220-2602                       TOWER 1 STE 306                               BOCA RATON FL 33432
                                           BOCA RATON FL 33486




NEWPORT COAST SECURITIES                   NEWS AND EXPERTS LLC                          NEWTON B COUTINHO MD PLLC
18872 MACARTHUR BLVD                       65 GADSDEN ST                                 PO BOX 6011
18872 MACARTHUR BLVD FIRST FLOOR           CHARLESTON SC 29401                           MISSOULA MT 59806
IRVINE CA 92612-1426




NH EMPLOYMENT SECURITY                     NI ADVISORS INC                               NIAGARA INTERNATIONAL CAPITAL LIMITED
CASHIER                                    1138 CADILLAC CT                              16935 W BERNARDO DR #140
PO BOX 2058                                MILIPITAS CA 95035                            SAN DIEGO CA 92127
CONCORD NH 03302-2058




NIC ON 5TH                                 NIMBUS LLC                                    NJ CHINESE AMERICAN ASSOCIATION
465 NICOLLET MALL                          1416 SW 48TH TER                              37 HAZEL AVE
MINNEAPOLIS MN 55401                       CAPE CORAL FL 33914                           LIVINGSTON NJ 07039




NOMURA SECURITIES INTERNATIONAL, INC       NOMURA SECURITIES INTERNATIONAL, INC          NOMURA SECURITIES/FIXED INCOME
ISSUER SVC                                 ADRIAN ROCCO                                  ADRIAN ROCCO
ADP PROXY SVC                              309 WEST 49TH ST                              CORPORATE ACTIONS
51 MERCEDES WAY                            10TH FL                                       309 W 49TH ST
EDGEWOOD NY 11717                          NEW YORK NY 10019-1774                        10TH FL
                                                                                         NEW YORK NY 10019-7316


NOMURA SECURITIES/FIXED INCOME             NORTH AMERICAN CO FOR LIFE AND                NORTH AMERICAN LIFE PLANS LLC
DAN LYNCH                                  HEALTH INSURANCE                              NORTH DAKOTA SECURITIES DEPT
VICE PRESIDENT                             1 SAMMONS PLZ                                 2500 LEGACY DR STE 130
2 WORLD FINANCIAL CTR                      SIOUX FALLS SD 57193                          FRISCO TX 75034-5930
BLDG B
NEW YORK NY 10281


NORTH CAROLINA ATTORNEY GENERAL            NORTH CAROLINA COMMISSIONER OF BANKS          NORTH CAROLINA DEPT OF INSURANCE
JOSH STEIN                                 ATTORNEY GENERALS OFFICE                      430 N SALISBURY ST
DEPT OF JUSTICE                            9001 MAIL SVC CENTER                          RALEIGH NC 27603
PO BOX 629                                 RALEIGH NC 27699
RALEIGH NC 27602-0629




NORTH CAROLINA DEPT OF REVENUE             NORTH CAROLINA DEPT OF THE SECRETARY OF       NORTH CAROLINA SECRETARY OF STATE
BANKRUPTCY UNIT                            STATE                                         SECURITIES DIVISION
PO BOX 1168                                SECRETARY OF STATE                            DEPT OF THE SECRETARY OF STATE
RALEIGH NC 27602-1168                      BUDGET OFFICE                                 PO BOX 29622
                                           PO BOX 29622                                  RALEIGH NC 27626-0622
                                           RALEIGH NC 27626


NORTH DAKOTA ATTORNEY GENERAL              NORTH DAKOTA DEPT OF FINANCIAL INSTITUTIONS   NORTH DAKOTA INSURANCE DEPT
DREW WRIGLEY                               2000 SCHAFER ST                               600 EAST BLVD AVE
600 E BLVD AVE                             STE G                                         BISMARCK ND 58505-0320
DEPT 125                                   BISMARCK ND 58501
BISMARCK ND 58505-0040




NORTH DAKOTA OFFICE OF STATE TAX           NORTH DAKOTA SECURITIES DEPT                  NORTH DAKOTA SECURITIES DEPT
COMMISSIONER                               600 EAST BLVD AVE                             600 EAST BLVD DEPT 414
600 EAST BLVD AVE                          5TH FLOOR                                     STATE CAPITOL 5TH FLOOR
DEPT 127                                   BISMARK ND 58505                              BISMARCK ND 58505-0510
BISMARCK ND 58505-0599




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NORTHERN TRUST CO                         NORTHERN TRUST CO - SAFEKEEPING            NORTHERN TRUST COMPANY/FUTURE FUND
OCH-ZIFF CAPITAL MANAGEMENT               SUE STIMAC                                 ACCOUNTS
PENNY PETERSON                            50 SOUTH LASALLE ST LEVEL A                PENNY PETERSON
50 SLASALLE ST                            CHICAGO IL 60675                           SENIOR VICE PRESIDENT
CHICAGO IL 60675                                                                     50 SLASALLE ST
                                                                                     CHICAGO IL 60675


NORTHERN TRUST COMPANY/IPA                NORTHERN TRUST COMPANY/UNITED NATION       NORTHSIDE ACHIEVEMENT ZONE
PENNY PETERSON                            JOE SWANSON                                2123 WEST BROADWAY AVE
50 SLASALLE ST                            VICE PRESIDENT                             #100
CHICAGO IL 60675                          801 S CANAL C-IN                           MINNEAPOLIS MN 55411
                                          CHICAGO IL 60607




NORTHWESTERN MUTUAL                       NOVA COMMUNICATIONS                        NPB FINANCIAL GROUP LLC
720 E WISCONSIN AVE                       16305 36TH AVE N                           3500 W OLIVE AVE STE 300
ADVANCED BUSINESS SERVICES E512L          STE 450                                    BURBANK CA 91505
MILWAUKEE WI 53202                        PLYMOUTH MN 55446




NRI RELOCATION INC                        NSCC CONTROL ACCT 3                        NSI STOCK LENDING
1110 W LAKE COOK RD                       WALLACE BOWLING                            CORPORATE ACTIONS
STE 301                                   55 WATER ST                                309 W 49TH ST
BUFFALO GROVE IL 60089                    22ND FL                                    NEW YORK NY 10019
                                          NEW YORK NY 10041




NULOOK CAPITAL LLC                        NUVEEN SECURITIES, LLC                     NV ENERGY
RANDALL SD JACOBS                         MIKE THOMS                                 PO BOX 30150
30 WALL ST                                333 WEST WACKER DR 32ND FL                 RENO NV 89520-3150
8TH FLOOR                                 CHICAGO IL 60606
NEW YORK NY 10005




NYC DEPT OF HEALTH AND MENTAL HYGIENE     NYEMASTER GOODE PC                         NYS ASSESSMENT RECEIVABLES
125 WORTH ST                              700 WALNUT                                 PO BOX 4127
CN-4 RM 133                               STE 1600                                   BINGHAMTON NY 13902-4127
NEW YORK NY 10013-4090                    DES MOINES IA 50309-3899




NYS FILING FEE                            NYS OFFICE OF COURT ADMINISTRATION         NYS UNEMPLOYMENT INSURANCE
PO BOX 15150                              ATTORNEY REGISTRATION UNIT                 PO BOX 4301
ALBANY NY 12212-5150                      GENERAL POST OFFICE                        BINGHAMTON NY 13902-4301
                                          PO BOX 29327
                                          NEW YORK NY 10087-9327




NYSE ARCA, INC                            NYSIF DISABILITY BENEFITS                  OAK TREE SECURITIES INC
NADINE PURDON                             1 WATERVLIET AVE EXTENSION                 4049 FIRST ST STE 129
VICE PRESIDENT                            ALBANY NY 12206-1629                       LIVERMORE CA 94551
115 SANSOME ST
SAN FRANCISCO CA 94104




OAKBRIDGE FINANCIAL SVC                   OCC CFTC 120 FUTURES CUSTOMER SEGREGATED   OCC CLEARING FUND
910 S KIRKWOOD RD                         OMNIBUS ACCOUNT                            CORP ACTION
STE 190                                   MARGIN OMNIBUS ACCOUNT                     ONE NORTH WACKER DR
KIRKWOOD MO 63122                         ONE NORTH WACKER DR                        STE 500
                                          STE 500                                    CHICAGO IL 60606
                                          CHICAGO IL 60606


OCC INTERNAL NON-PROPRIETARY              ODLUM BROWN LIMITED/CDS**                  OFFICE DEPOT INC
CROSS MARGIN CFTC                         RON RAK                                    PO BOX 630813
120 FUTURES CUSTOMER SEGREGATED OMNIBUS   SUPERVISOR                                 CINCINNATI OH 45263-0813
ACCT                                      250 HOWE ST
ONE NORTH WACKER DR                       STE 1100
STE 500                                   VANCOUVER V6C 3SBC
CHICAGO IL 60606                          CANADA




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OFFICE ENVIRONMENT BROKERS INC       OFFICE OF THE COMMISSIONER OF SECURITIES   OFFICE OF THE MISSOURI SECRETARY OF STATE
390 93RD AVE NW                      AND INSURANCE                              SECURITIES DIVISION
COON RAPIDS MN 55433                 840 HELENA AVE                             600 WEST MAIN ST
                                     HELENA MT 59601                            JEFFERSON CITY MO 65101




OFFICE OF THE SECRETARY OF STATE     OFFICE OF UC TAX SVC                       OFFICE OF VITAL RECORDS AND STATISTICS
450 N 4TH ST                         PO BOX 60848                               3851 ROSECRANS ST
PO BOX 83720                         HARRISBURG PA 17106-0848                   STE 802
BOISE ID 83720-0080                                                             SAN DIEGO CA 92110




OFFICE TEAM                          OGGI PROFESSIONAL SVC                      OHIO ATTORNEY GENERAL
PO BOX 743295                        5775 WAYZATA BLVD                          DAVID ANTHONY YOST
LOS ANGELES CA 90074-3295            STE 520                                    STATE OFFICE TOWER
                                     MINNEAPOLIS MN 55402                       30 E BROAD ST 14TH FL
                                                                                COLUMBUS OH 43431




OHIO DEPT OF JOB AND FAMILY SVC      OHIO DEPT OF TAXATION                      OHIO DIVISION OF FINANCIAL INSTITUTIONS
PO BOX 182413                        PO BOX 530                                 77 SOUTH HIGH ST
COLUMBUS OH 43218-2413               COLUMBUS OH 43216-0530                     21ST FLOOR
                                                                                COLUMBUS OH 43215




OHIO DIVISION OF SECURITIES          OHIO SECRETARY OF STATE                    OHIO STATE INSURANCE CO
THE OHIO DEPT OF COMMERCE            PO BOX 1329                                AMERICO
77 SOUTH HIGH ST                     COLUMBUS OH 43216                          PO BOX 410288
22ND FLOOR                                                                      KANSAS CITY MO 64141-0288
COLUMBUS OH 43215




OKLAHOMA ATTORNEY GENERAL            OKLAHOMA DEPT OF CONSUMER CREDIT           OKLAHOMA DEPT OF SECURITIES
JOHN OCONNOR                         4545 NORTH LINCOLN BLVD                    SECURITIES COMMISSION
313 NE 21ST ST                       STE 104                                    204 NORTH ROBINSON AVE
OKLAHOMA CITY OK 73105               OKLAHOMA CITY OK 73105                     STE 400
                                                                                OKLAHOMA CITY OK 73102-7001




OKLAHOMA INSURANCE DEPT              OKLAHOMA TAX COMMISSION                    OLD REPUBLIC INSURANCE CO
3625 NW 56TH ST STE 100              2501 LINCOLN BLVD                          70 PINE ST
OKLAHOMA CITY OK 73112-4511          OKLAHOMA CITY OK 73194                     50TH FLOOR
                                                                                NEW YORK NY 10005




OLD SECOND BANCORP, INCDRS           OLD STONE CAPITAL PARTNERS LLC             OMEGAONE GROUP
ROBIN HODGSON                        1030 E LANCASTER AVE                       15660 N DALLAS PKWY
37 S RIVER ST                        STE 1003                                   STE 700
AURORA IL 60506                      ROSEMONT PA 19010                          DALLAS TX 75248




OMELVENY AND MYERS LLP               ON TIME DELIVERY SVC INC                   ONE RESOURCE GROUP
PO BOX 894436                        PO BOX 860590                              TONY WILSON
LOS ANGELES CA 90189-4436            MINNEAPOLIS MN 55486                       13548 ZUBRICK RD
                                                                                ROANOKE IN 46783




ONSITE WELLNESS SVC                  OPAL FINANCIAL GROUP                       OPPENHEIMER AND CO INC
2275 TORRANCE BLVD                   10 EAST 38TH ST 4TH FL                     CORPORATE ACTIONS
STE #101                             NEW YORK NY 10016                          85 BROAD ST
TORRANCE CA 90501                                                               NEW YORK NY 10004




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OPPENHEIMER AND CO INC                  OPPENHEIMER AND CO INC             OPTIONS CLEARING CORP (THE)
FRAN BANSON                             OSCAR MAZARIO                      JOSEPH T WEGESIN
85 BROAD ST                             85 BROAD ST                        1 N WACKER DR STE 500
NEW YORK NY 10004                       NEW YORK NY 10004                  CHICAGO IL 60606




OPTIONSXPRESS, INC                      OPTIONSXPRESS, INC                 ORANGE COUNTY CLERK-RECORDER
PROXY SVC                               SCOTT TORTORELLA                   PO BOX 238
150 S WACKER DR                         150 SOUTH WACKER DR                SANTA ANA CA 92702
STE 1100                                11TH FL
CHICAGO IL 60606                        CHICAGO IL 60606




OREGAON DEPT OF CONSUMER AND BUSINESS   OREGON ATTORNEY GENERAL            OREGON DEPT OF CONSUMER AND BUSINESS SVC
SVC                                     ELLEN F ROSENBLUM                  DIVISION OF FINANCIAL REGULATION
DIV OF FINANCIAL REGULATION             OREGON DEPT OF JUSTICE             350 WINTER ST NE
350 WINTER ST NE ROOM 410               1162 COURT ST NE                   RM. 410
SALEM OR 97301-3881                     SALEM OR 97301-4096                SALEM OR 97301




OREGON DEPT OF REVENUE                  ORGILL/SINGER AND ASSOCIATES       ORIGINAL HALLLANE MOVING AND STORAGE CO
955 CENTER ST NE                        8360 W SAHARA AVE                  67 MALL DR
SALEM OR 97310                          STE 110                            COMMACK NY 11725
                                        LAS VEGAS NV 89117




OTTO PAINTING DESIGN                    OUTBACK MINISTRIES INC             OUTSTANDING PRODUCTIONS INC DBA ACCESS
7922 KERBER BLVD                        17070 MURCOTT BLVD                 TEXAS
CHANHASSEN MN 55317                     LOXAHATCHEE FL 33470               8888 GOVERNORS ROW
                                                                           DALLAS TX 75247




OWENS ONLINE INC                        OWL DIRECTORIES AND PUBLICATIONS   OWNBACKUP INC
3802 EHRLICH RD                         PO BOX 740153                      DANA EISNER
STE 307                                 BOYNTON BEACH FL 33474             940 SYLVAN AVE
TAMPA FL 33624                                                             FL 1
                                                                           ENGLEWOOD CLIFFS NJ 07632




PA DEPT OF REVENUE                      PA DEPT OF REVENUE                 PA MEDIA GROUP
PO BOX 280425                           PO BOX 280504                      DEPT 77571
HARRISBURG PA 17128-0425                HARRISBURG PA 17128-0504           PO BOX 77000
                                                                           DETROIT MI 48277-0571




PACIFIC MEDICAL CENTERS                 PALM BEACH NEWSPAPERS INC          PALM VALLEY HOMEOWNER'S ASSOCIATION
MEDICAL RECORDS                         2751 SOUTH DIXIE HWY               3700 PALM VLY CIR
1200 12TH AVE SOUTH                     PO BOX 24700                       OVIEDO FL 32765
SEATTLE WA 98144                        WEST PALM BEACH FL 33416




PARADIGM PARTNERS INTERNATIONAL LLC     PARAMEDSCOM INC                    PARKS COFFEE
SIMON BAITLER                           PO BOX 150356                      PO BOX 110209
818 22ND ST                             KEW GARDENS NY 11415               CARROLLTON TX 75011-0209
SANTA MONICA CA 90403




PARR BROWN GEE AND LOVELESS             PARSONS ELECTRIC                   PARTNERS FOR PROFIT
PO BOX 11019                            5960 MAIN ST NE                    485 UNDERHILL BLVD
SALT LAKE CITY UT 84147                 MINNEAPOLIS MN 55432               STE 101
                                                                           SYOSSET NY 11791




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PATRICIA J LEIBLE                     PATRICK CAPITAL MARKETS LLC                PATRIOT PARACHUTE TEAM INC
3210 CONWAY BLVD                      88 KENRICK PLAZA                           12636 XYLITE ST NE
PT CHARLOTTE FL 33952-0610            ST LOUIS MO 63119                          BLAINE MN 55449




PAUL CAPITAL ADVISORS LLC ET AL       PAUL CAPITAL ADVISORS LLC ET AL            PAUL CAPITAL ADVISORS LLC ET AL
KIRKLAND AND ELLIS LLP                KIRKLAND AND ELLIS LLP                     ROSS ARONSTAM AND MORITZ LLP
JOHN F HARTMANN                       RAVI S SHANKAR                             DAVID E ROSS
300 NORTH LASALLE                     300 NORTH LASALLE                          1313 NORTH MARKET ST
CHICAGO IL 60654                      CHICAGO IL 60654                           STE 1001
                                                                                 WILMINGTON DE 19801


PAUL CAPITAL ADVISORS LLC ET AL       PAUL CAPITAL ADVISORS LLC ET AL            PAULSON INVESTMENT CO INC
ROSS ARONSTAM AND MORITZ LLP          ROSS ARONSTAM AND MORITZ LLP               566 W ADAMS ST
ERIC D SELDEN                         A GAGE WHIRLEY                             STE 750
1313 NORTH MARKET ST                  1313 NORTH MARKET ST                       CHICAGO IL 60661
STE 1001                              STE 1001
WILMINGTON DE 19801                   WILMINGTON DE 19801


PAXOS TRUST COMPANY, LLC              PAY GOVERNANCE LLC                         PAYCHEX
CORPORATE ACTIONS                     100 N 18TH ST                              PO BOX 732954
450 LEXINGTON AVE                     STE 821                                    DALLAS TX 75373-2954
STE 3952                              PHILADELPHIA PA 19103
NEW YORK NY 10017




PCS                                   PEACHTREE CAPITAL CORP                     PEACHTREE CAPITAL TAX AND ADVISORY LLC
1819 E MORTEN AVE                     3060 PEACHTREE RD NW                       550 PHARR RD
PHOENIX AZ 85020                      STE 1830                                   STE 700
                                      ATLANTA GA 30305                           ATLANTA GA 30305




PEKIN LIFE INSURANCE CO               PELOTON GLOBAL DISTRIBUTION SERVICES INC   PEN INDEMNITY COMPANY, LTD
2505 CT ST                            4400 MACARTHUR BLVD                        325 NORTH ST PAUL ST
PEKIN IL 61558                        8TH FL                                     STE 4850
                                      NEWPORT BEACH CA 92660                     DALLAS TX 75201




PEN INDEMNITY MANAGEMENT LLC          PEN INSURANCE MANAGEMENT ADVISORS, LTD     PENNINGTON PA
325 NORTH ST PAUL ST                  325 NORTH ST PAUL ST                       215 S MONROE ST
STE 4850                              STE 4850                                   2ND FLOOR
DALLAS TX 75201                       DALLAS TX 75201                            TALLAHASSEE FL 32301




PENNSYLVANIA ATTORNEY GENERAL         PENNSYLVANIA DEPT OF BANKING               PENNSYLVANIA DEPT OF REVENUE
JOSH SHAPIRO                          MARKET SQUARE PLAZA                        11 STRAWBERRY SQUARE
1600 STRAWBERRY SQUARE                17 N SECOND ST                             HARRISBURG PA 17128
16TH FLOOR                            HARRISBURG PA 17101
HARRISBURG PA 17120




PENNSYLVANIA DEPT OF STATE            PENNSYLVANIA SECURITIES COMMISSION         PENSCO TRUST CO
BUREAU OF CORPORATIONS AND            DEPT OF BANKING AND SECURITIES             PETAL YOUNG
CHARITABLE ORGANIZATIONS              17 NORTH SECOND ST                         1560 BROADWAY ST
401 NORTH ST                          MARKET SQUARE PLAZA STE 1300               STE 400
HARRISBURG PA 17120                   HARRISBURG PA 17101                        DENVER CO 80202




PENSCO TRUST CO                       PENSCO TRUST CO LLC                        PENSION BENEFIT INFORMATION
CORPORATE ACTIONS                     HOLLY NICKERSON                            PO BOX 10308
1560 BROADWAY ST                      SUPERVISOR                                 SAN RAFAEL CA 94912
STE 400                               560 MISSION ST
DENVER CO 80202                       STE 1300
                                      SAN FRANCISCO CA 94105




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PENSKE RACING MUSEUM                     PEOPLES SECURITIES, INC                 PEPPERCOMM INC
7125 E CHAUNCEY LN                       CORPORATE ACTIONS                       470 PARK AVENUE SOUTH
PHOENIX AZ 85054                         PATRICIA CHONKO                         5TH FLOOR NORTH
                                         850 MAIN ST                             NEW YORK NY 10016-6819
                                         BRIDGEPORT CT 06604




PERALTA FINANCIAL GROUP INC              PERSHING LLC                            PERSHING LLC
605 CORSICANA ST                         JOSEPH LAVARA                           TIFFANY WILLIAMS
HILLSBORO TX 76645                       ONE PERSHING PLZ                        CORPORATE ACTIONS
                                         JERSEY CITY NJ 07399                    ONE PERSHING PLZ
                                                                                 10TH FL
                                                                                 JERSEY CITY NJ 07399


PERSHING LLC/CLIENT FINANCING            PERSHING LLC/CORRESPONDENT SECURITIES   PERSHING LLC/SL
CORPORATE ACTIONS                        LENDING                                 ISSUER SVC
ONE PERSHING PLZ                         ISSUER SVC                              51 MERCEDES WAY
JERSEY CITY NJ 07399                     51 MERCEDES WAY                         EDGEWOOD NY 11717
                                         EDGEWOOD NY 11717




PERSHING LLC/SL INT'L                    PERSONAL CONCEPTS                       PETERS AND CO LIMITEDCDS**
CAMILLE REARDON                          COMPLIANCE SVC DEPT                     IICC
ONE PERSHING PLZ 6TH FL                  3200 EAST GUASTI RD                     MS HOLLY BENSON
JERSEY CITY NJ 07399                     STE 300                                 6250 KESTREL RD
                                         ONTARIO CA 91761                        MISSISSAUGA ON L5T 1Y9
                                                                                 CANADA


PHIL PASCHAL AND ERIK ANDERSEN JOINTLY   PHILLIP CAPITAL INC                     PHL VARIABLE INSURANCE COMPANY
WITH RIGHT OF SURVIVORSHIP               CORPORATE ACTIONS                       NILAN JOHNSON LEWIS PA
SOMMERMAN MCCAFFITY QUESADA AND GEIS     141 W JACKSON BLVD                      250 MARQUETTE AVE S
3811 TURTLE CREEK BLVD STE 1400          STE 3050 CHICAGO BOARD OF TRADE BLDG    STE 800
DALLAS TX 75219                          CHICAGO IL 60604                        MINNEAPOLIS MN 55401




PHL VARIABLE INSURANCE COMPANY           PHL VARIABLE INSURANCE COMPANY          PHONE GUYS INC
KAPLAN JOHNSON ABATE & BIRD LLP          NASSAU FINANCIAL GROUP                  17 2ND ST NW
710 WEST MAIN STREET                     SCOTT ZWEIG                             OSSEO MN 55369
LOUISVILLE KY 40202                      1 AMERICAN ROW
                                         HARTFORD CT 06012




PHX FINANCIAL INC                        PI FINANCIAL CORPCDS**                  PICA9 INC
100 WALL ST                              ROB MCNEIL                              10 EAST 38TH ST
FLOOR 10                                 666 BURRARD ST                          11TH FLOOR
NEW YORK NY 10005                        STE 1900                                NEW YORK NY 10016
                                         VANCOUVER V6C 3NBC
                                         CANADA


PICKARD AND DJINIS LLP                   PICTET CANADA LPCDS**                   PIEDMONT SENIOR CARE
ATTORNEYS AT LAW                         STEPHANIE SALVO                         1309 NORTH ELM ST
1990 M ST NW STE 660                     1000 DE LA GAUCHETIERE OUEST            GREENSBORO NC 27401
WASHINGTON DC 20036                      MONTREAL PQ H3B 4W5
                                         CANADA




PIGGIE PARK ENTERPRISES INC              PINNACLE FINANCIAL NETWORK INC          PIONEER MUTUAL LIFE INSURANCE CO
1600 CHARLESTON HWY                      1351 N COURTENAY PKWY                   250 W NORTH ST
WEST COLUMBIA SC 29169                   MERRITT ISLAND FL 32953                 INDIANAPOLIS IN 46202




PIONEER SECURESHRED                      PIPER JAFFRAY AND CO                    PIPER JAFFRAY AND CO
MARIE MARKFORT                           ANNAMARIA HERNANDEZ                     CORPORATE ACTIONS
155 IRVING AVE NORTH                     800 NICOLLET MALL                       800 NICOLLET MALL
MINNEAPOLIS MN 55405                     STE 800                                 STE 1000
                                         MINNEAPOLIS MN 55402-7020               MINNEAPOLIS MN 55402-7036




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PITNEY BOWES                          PLANT ATHLETIC FOUNDATION               PLANT HIGH SCHOOL ATHLETIC FOUNDATION
PO BOX 371896                         POWELL FINANCIAL GROUP LLC              PLANT BASEBALL SCRAMBLE
PITTSBURGH PA 15250-7896              SCOTT W POWELL                          3404 W SAN PEDRO ST
                                      1715 N WESTSHORE BLVD STE 130           TAMPA FL 33629
                                      TAMPA FL 33607




PLAYBILL INC                          PNC BANK NA/PNC COMMODITY HEDGING LLC   PNC BANK NAPNC CAPITAL MARKETS LLC
37-15 61ST ST                         ANTHONY PICCIRILLI                      JUANITA NICHOLS
WOODSIDE NY 11377                     FIFTH & WOOD ST                         8800 TINICUM BLVD
                                      PITTSBURGH PA 15219                     MAILSTOP F6-F266-02-2
                                                                              PHILADELPHIA PA 19153




PNC BANK, NAHPRS                      PNC BANK, NAIPA                         PNC BANK, NAMARKET STREET FUNDING
ROBERT HALLOWELL                      ROBERT HALLOWELL                        SANDY MUDD
800 TINICUM BLVD                      800 TINICUM BLVD                        VICE PRESIDENT
PHILADELPHIA PA 19153                 PHILADELPHIA PA 19153                   249 FIFTH AVE
                                                                              P1-POPP-09-2
                                                                              PITTSBURGH PA 15222


PNC BANK, NAOTTA                      PNC BANK, NAPITTSBURGH                  PNC BANK, NAPNC CAPITAL MARKETS LLC MSFTA
ROBERT HALLOWELL                      BARBARA SKWARCHA                        JUANITA NICHOLS
800 TINICUM BLVD                      ONE PNC PLZ                             8800 TINICUM BLVD
PHILADELPHIA PA 19153                 249 5TH AVE                             MAILSTOP F6-F266-02-2
                                      PITTSBURGH PA 15222-7707                PHILADELPHIA PA 19153




PNC BANK, NATIONAL ASSOCIATION        PNC BANK/PNC MUNICIPAL STRATEGY - BLK   PONCE SPORTS AND ENTERTAINMENT
JUANITA NICHOLS                       JUANITA NICHOLS                         PO BOX 8970
8800 TINICUM BLVD                     8800 TINICUM BLVD                       PONCE PR 00732
MAILSTOP F6-F266-02-2                 MAILSTOP F6-F266-02-2
PHILADELPHIA PA 19153                 PHILADELPHIA PA 19153




PORTFOLIO BROKERAGE SERVICES, INC     PORTSMOUTH FINANCIAL SVC                POTAWATOMI AREA COUNCIL BSA
CORPORATE ACTIONS                     625 MARKET ST 7TH FLOOR                 804 BLUEMOUND RD
35 EAST WACKER DR                     SAN FRANCISCO CA 94105                  WAUKESHA WI 53188-1698
24TH FL
CHICAGO IL 60601




POWERTEAM INC                         PR NEWSWIRE ASSOCIATION LLC             PRECISION SECURITIES, LLC
718 WASHINGTON AVE N                  GPO BOX 5897                            CORP ACTIONS
STE 101                               NEW YORK NY 10087-5897                  16885 VIA DEL CAMPO CT
MINNEAPOLIS MN 55401                                                          #120
                                                                              SAN DIEGO CA 92127




PREDICTIVE RESOURCES LLC              PREMIER TAX PLANNING LLC                PREMIER TRANSPORTATION
210 COLDSTREAM CLUB DR                5900 N ANDREWS AVE                      999 AMERICAN BLVD EAST
CINCINNATI OH 45255                   STE 400                                 MINNEAPOLIS MN 55420
                                      FORT LAUDERDALE FL 33309




PREMIER TRANSPORTATION SVC LLC        PRESENTATION WIZ INC                    PRESSWRITE PRINTING INC
4525 PRODUCTION DR                    3552 GLEN OAKS PASS                     3384 BROWNLOW AVE
DALLAS TX 75235                       GREEN BAY WI 54311                      MINNEAPOLIS MN 55426




PRESTON PRODUCTION SVC                PREVEA HEALTH                           PRICEWATERHOUSECOOPERS LLP
2351 ALBION PL                        PO BOX 19070                            PO BOX 952282
SAINT LOUIS MO 63104                  GREEN BAY WI 54307-9070                 DALLAS TX 75395-2282




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PRIMEX                                       PRINCIPAL FINANCIAL SVC                PRINCIPAL LIFE INSURANCE CO
45 KNOLLWOOD RD STE 402                      PO BOX 2000                            40 BURTON HILLS BLVD STE 350
ELMSFORD NY 10010                            MASON CITY IA 50402-2000               NASHVILLE TN 37215




PRISM WEALTH PRESERVATION LLC                PRIVATE CLIENT SVC LLC                 PRIVATE CLIENT SVC LLC
29122 RANCHO VIEJO RD                        SANDY TAYLOR-JONES                     KATIE BURKHOLDER
STE 207                                      2225 LEXINGTON RD                      CORPORATE ACTIONS
SAN JUAN CAPISTRANO CA 92675                 LOUISVILLE KY 40206                    2225 LEXINGTON RD
                                                                                    LOUISVILLE KY 40206




PRIVATE EQUITY NATIONAL INDEMNITY HOLDINGS   PRO MEDIA INC                          PRO-TEC ELECTRONICS
LP                                           2844 JOHNSON ST NE                     170 CULVER AVE
325 NORTH ST PAUL ST                         MINNEAPOLIS MN 55418                   JERSEY CITY NJ 07305
STE 4850
DALLAS TX 75201




PROFESSIONAL BROKER DEALER                   PROFESSIONAL FOOD SVC                  PROGRESSIVE BUSINESS PUBLICATIONS
FINANCIAL PLANNING INC                       2850 ANTHONY LN S                      370 TECHNOLOGY DR
111 WEST WOLFENSBERGER RD                    MINNEAPOLIS MN 55418                   PO BOX 3019
1111 WEST WOLFENSBERGER RD                                                          MALVERN PA 19355
CASTLE ROCK CO 80109




PROMOTION SELECT                             PROSKAUER                              PROTECTIVE LIFE INSURANCE CO
6010 BLUE CIRCLE DR                          11 TIMES SQUARD                        PO BOX 13344
MINNETONKA MN 55343                          NEW YORK NY 10036-8299                 BIRMINGHAM AL 35283-0619




PROVIDENT TRUST GROUP                        PRUCO LIFE INSURANCE CO                PRUDENTIAL LIFE INSURANCE CO
8880 W SUNSET RD STE 250                     6716 GRADE LN                          PO BOX 41594
LAS VEGAS NV 89148-4897                      BLDG 9 STE 910                         PHILADELPHIA PA 19176
                                             LOUISVILLE KY 40213




PSAV-PRESENTATION SVC                        PSI SVC LLC / GEORGIA INSURANCE DEPT   PUBLIC CO ACCOUNTING OVERSIGHT BOARD
23918 NETWORK PL                             PO BOX 742983                          PO BOX 418631
CHICAGO IL 60673-1239                        ATLANTA GA 30348-2983                  BOSTON MA 02241-8631




PUBLIC CO ACCOUNTING OVERSIGHT BOARD         PUERTO RICO                            PUERTO RICO ATTORNEY GENERAL
1666 K STREET NW                             OFF OF COMMISSIONER OF FINANCIAL       DOMINGO EMANUELLI
SUITE 300                                    INSTITUTIONS                           CALLE OLIMPO ESQ AXTMAYER
WASHINGTON DC 20006-2803                     PO BOX 11855                           PDA 11 MIRAMAR
                                             FERNANDEZ JUNCOS STATION               SAN JUAN PR 00907
                                             SAN JUAN PR 00910-3855


PUERTO RICO COMMISSIONER OF                  PUERTO RICO DEPT DE HACIENDA           PULIZ MOVING AND STORAGE
FINANCIAL INSTITUTIONS                       EDIFICIO INTENDENTE RAMIREZ            1841 E CRAIG RD
FERNANDEZ JUNCOS STATION                     EL PASEO COVDONGA                      STE B
PO BOX 11855                                 SAN JUAN PR 00901                      NORTH LAS VEGAS NV 89030
SAN JUAN PR 00910-3855




PURSHE KAPLAN STERLING INVESTMENTS           PUTNAM INVESTMENTS                     PWMCO, LLC
80 STATE ST                                  JEFF DIBUONO - C1C                     BENJAMIN WILSON
ALBANY NY 12207                              100 FEDERAL ST                         311 S WACKER DR STE 2360
                                             BOSTON MA 02110                        CHICAGO IL 60606




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QBE INSURANCE CORP                        QTRADE SECURITIES INCCDS**               QUADIENT LEASING USA INC
55 WATER ST                               JOSEPH CHAU                              DEPT 3682
19TH FLOOR                                STE 1920 ONE BENTALL CENTRE              PO BOX 123682
NEW YORK NY 10041                         505 BURRARD ST                           DALLAS TX 75312-3682
                                          VANCOUVER BC V7X 1M6
                                          CANADA


QUALITY HEALTH                            QUANTEX CLEARING, LLCSTOCK LOAN          QUEST CAREER SERVICES LLC
QUALITY HEALTH DEPOSITORY                 MATTHEW LAGNESE                          11436 MARKETPLACE DR N
75 REMITTANCE DR DEPT 6786                70 HUDSON ST STE 5B                      STE 217
CHICAGO IL 60675-6786                     HOBOKEN NJ 07030                         CHAMPLAIN MN 55316




QUEST DIAGNOSTICS                         QUESTRADE INCCDS**                       QUINCY MEDIA INC
PO BOX 740709                             CORPORATE ACTIONS                        THE DI WIRE
ATLANTA GA 30374-0709                     5650 YONGE ST                            DAVE LEGACY
                                          STE 1700                                 859 WILLARD ST STE 400
                                          TORONTO ON M2M 4G3                       QUINCY MA 02169
                                          CANADA


QUINN EMANUEL URQUHART AND SULLIVAN LLP   R F LAFFERTY AND CO                      RACKSPACE US INC
865 S FIGUEROA ST                         40 WALL ST                               PO BOX 730759
10TH FLOOR                                19TH FL                                  DALLAS TX 75373-0759
LOS ANGELES CA 90017                      NEW YORK NY 10005




RAINBOW HUNTER LLC                        RAMSEY COUNTY                            RAMSEY SEARCH GROUP
PO BOX 3461                               SAINT PAUL RAMSEY COUNTY PUBLIC HEALTH   7501 AUBURN LN
PORTLAND ME 04101                         VITAL RECORDS DEATH                      INVER GROVE HEIGHTS MN 55077
                                          555 CEDAR ST
                                          SAINT PAUL MN 55101




RAYMOND JAMES AND ASSOCIATES INC          RAYMOND JAMES AND ASSOCIATES, INC        RAYMOND JAMES AND ASSOCIATES, INC
880 CARILLON PKWY                         RAYMOND JAMES BANK                       ROBERTA GREEN
ST. PETERSBURG FL 33716                   FICHTEL DAWN - ASSOCIATE                 880 CARILION PKWY
                                          710 CARILLON PKWY                        SAIT PETERSBURG FL 33716
                                          SAINT PETERSBURG FL 33716




RAYMOND JAMES AND ASSOCIATES, INC         RAYMOND JAMES AND ASSOCIATES, INC        RAYMOND JAMES AND ASSOCIATES, INCFI
ELAINE MULLEN                             RAYMOND JAMES TRUST CO                   LINDA LACY
CORPORATE ACTIONS                         CHRISTINE PEARSON                        SUPERVISOR
880 CARILLON PKWY                         PO BOX 14407                             800 CARILLON PKWY
ST. PETERSBURG FL 33716                   ST. PETERSBURG FL 33733                  SAINT PETERSBURG FL 33716




RAYMOND JAMES LTDCDS**                    RBC CAPITAL MARKETS LLC                  RBC CAPITAL MARKETS LLC
CORPORATE ACTIONS                         ALT INVESTMENTS P09                      60 SOUTH SIXTH ST
PO BOX 23558                              60 SOUTH SIXTH ST                        MINNEAPOLIS MN 55402
ST PETERSBURG FL 33742-3558               MINNEAPOLIS MN 55402




RBC CAPITAL MARKETS, LLC                  RBC CAPITAL MARKETS, LLC                 RBC CAPITAL MARKETS, LLC
STEVE SCHAFER SR                          SHANNON JONES                            REORG DEPT
ASSOCIATE                                 60 S 6TH ST - P09                        60 S 6TH ST
60 S 6TH ST - P09                         MINNEAPOLIS MN 55402-4400                MINNEAPOLIS MN 55402
MINNEAPOLIS MN 55402-4400




RBC CAPITAL MARKETS, LLCRBCCM             RBC DOMINION SECURITIES INCCDS**         RBS SECURITIES INC
MICHAEL FROMMER                           KAREN OLIVERES                           ISSUER SVC
VICE PRESIDENT                            200 BAY ST 6TH FL                        51 MERCEDES WAY
3 WORLD FINANCIAL CTR                     ROYAL BANK PLZ NORTH TOWER               EDGEWOOD NY 11717
200 VESEY ST                              TORONTO ON M5J 2W7
NEW YORK NY 10281-8098                    CANADA




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RCAP SECURITIES, INC                       REAL VALUE LLC DBA SIMPLE MODERN           REASONABLE SPEAKERS AND
RYAN LYNCH                                 750 SW 24TH ST STE 300                     ENTERTAINERS OF SOUTH FLORIDA
1211 AVE OF THE AMERICAS                   MOORE OK 73160                             2004 GRANADA DR
STE 2902                                                                              STE # H3
NEW YORK NY 10036                                                                     COCONUT CREEK FL 33066




RECORD EXPRESS LLC                         REGENTS OF THE UNIVERSITY OF MINNESOTA     REGIONS BANK
1250 WEST OHIO PIKE                        NW 5960                                    PEYTON DILIBERTO
STE 245                                    PO BOX 1450                                1901 6TH AVE N
AMELIA OH 45102                            MINNEAPOLIS MN 55485-5960                  BIRMINGHAM AL 35203




REGIONS BANK/CORPORATE TRUST/IPA           REGIONS BANK/WEST VALLEY                   REGISTERED AGENT SOLUTIONS INC
MICHAEL CHANDLER                           SHEILIA PULLEY                             1701 DIRECTORS BLVD STE 300
MANAGER                                    1900 5TH AVE NORTH                         AUSTIN TX 78744
250 RIVERCHASE PARKWAYEAST                 BIRMINGHAM AL 35203
5TH FL
HOOVER AL 35244


REGISTRAR AND TRANSFER COMPANY/DRS         REGISTRAR/COUNTY CLERK                     REGULATOR DIVISION OF BANKING
250 ROYALL ST                              BIRTH DEATH AND MARRIAGE RECORDS           AND FINANCIAL INSTITUTIONS
CANTON NJ 02021                            PO BOX 489                                 301 SOUTH PARK
                                           NORWALK CA 90651-0489                      STE 316
                                                                                      HELENA MT 59601




RELIANCE TRUST CO                          RELIANCE TRUST COMPANY/ FIS TRUSTDESK      RELIANCE TRUST COMPANY/FIS GLOBAL PLUS
TONIE MONTGOMERY                           TONIE MONTGOMERY                           CORPORATE ACTIONS
1100 ABERNATHY RD                          1100 ABERNATHY RD                          1100 ABERNATHY RD
500 NORTHPARK BLDG STE 400                 500 NORTHPARK BLDG STE 400                 500 NORTHPARK BLDG STE 400
ATLANTA GA 30328                           ATLANTA GA 30328                           ATLANTA GA 30328




RELIANCE TRUST COMPANY/FIS TRUSTDESK MKE   RELIANCE TRUST COMPANY/SWMS1               RELIANCE TRUST COMPANY/SWMS2
CORPORATE ACTIONS                          CORPORATE ACTIONS                          TONIE MONTGOMERY
JULIE MCGUINESS                            1100 ABERNATHY RD                          1100 ABERNATHY RD
1100 ABERNATHY RD                          STE 400                                    STE 400
500 NORTHPARK BLDG STE 400                 ATLANTA GA 30328                           ATLANTA GA 30328
ATLANTA GA 30328


RELIANCE WORLDWIDE INVESTMENT LLC          RELIASTAR LIFE INSURANCE CO                REPUBLIC CENTER PARKING MANAGEMENT
900 TRI STATE PKWY                         BOX 371309                                 325 N SAINT PAUL ST
STE 900                                    500 ROSS ST 154-0470                       STE 2710
GURNEE IL 60031                            PITTSBURGH PA 15262                        DALLAS TX 75201




REPUTATION REFINERY LLC                    REVCULT INC                                REVERE SECURITIES
9650 STRICKLAND RD                         12555 HIGH BLUFF DR                        12 EAST 52ND ST
STE 103-224                                STE 255                                    NEW YORK NY 10022
RALEIGH NC 27615                           SAN DIEGO CA 92130




REYNOLDS INSURANCE AGENCY INC              RFW FLORAL LP                              RHODE ISLAND ATTORNEY GENERAL
109 CIPRIANI CT                            DBA DR DELPHINIUM DESIGNS AND EVENTS       PETER F NERONHA
NORTH VENICE FL 34275                      9200 JOHN W CARPENTER FWY                  150 S MAIN ST
                                           DALLAS TX 75247                            PROVIDENCE RI 02903




RHODE ISLAND DEPT OF BUSINESS REGULATION   RHODE ISLAND DEPT OF BUSINESS REGULATION   RHODE ISLAND DIVISION OF TAXATION
1511 PONTIAC AVE                           1511 PONTIAC AVE                           ONE CAPITOL HILL
BLDG 68-2                                  JOHN O PASTORE COMPLEX BLDG 69-1           1ST FLOOR
CRANSTON RI 02920                          CRANSTON RI 02920                          PROVIDENCE RI 02908




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RICHARD FULLER                             RICHARD JAMES AND ASSOCIATES INC         RICHARDS LAYTON AND FINGER PA
555 FRONT ST                               548 DERBY DR S                           920 NORTH KING ST
UNIT 1104                                  OCEANSIDE NY 11572                       WILMINGTON DE 19801
SAN DIEGO CA 92101




RIDGEWAY AND CONGER                        RIMON PC                                 RINGDNA INC
2123 MAIN ST                               ONE EMBARCADERO CTR                      PO BOX 2815
NEW WOODSTOCK NY 13122                     STE 400                                  CARMARILLO CA 93011-2815
                                           SAN FRANCISCO CA 94111




RIVERON CONSULTING LLC                     RIVERSOURCE LIFE INSURANCE CO            RJ DEALER STOCK LOAN
2515 MCKINNEY AVE                          AMERIPRISE FINANCIAL CUSTOMER PAYMENT    DEE BYRD
STE 1200                                   70100 AMERIPRISE FINANCIAL CTR           880 CARILLON PKWY
DALLAS TX 75201                            MINNEAPOLIS MN 55474                     PO BOX 12749
                                                                                    ST. PETERSBURG FL 33716




RJC INDEPENDENT INSURANCE BROKERAGE INC    ROBERT A STANGER AND CO INC              ROBERT HALF
15 MARILYN BLVD                            DONNA AUMACK                             PO BOX 743295
PLAINVIEW NY 11803                         1129 BROAD ST STE 201                    LOS ANGELES CA 90074-3295
                                           SHREWSBURY NJ 07702-4314




ROBERT SCHECHTER AND ASSOCIATES LLC        ROBERT W BAIRD AND CO INC                ROBINHOOD SECURITIES, LLC
251 PIERCE ST                              JAN SUDFELD                              CORPORATE ACTIONS
BIRMINGHAM MI 48009                        777 E WISCONSIN AVE                      85 WILLOW RD
                                           19TH FL                                  MENLO PARK CA 94025
                                           MILWAUKEE WI 53202




ROBINHOOD SECURITIES, LLC                  ROBYN ROWE AND ASSOCIATES                ROESER RESOURCES
CORPORATE ACTIONS                          19035 LAKE AVE                           227 BELLEVUE WAY NE #46
DAWN PAGLIARO                              DEEPHAVEN MN 55391                       BELLEVUE WA 98004
500 COLONIAL CTR PKWY
#100
LAKE MARY FL 32746


ROHRER AND ASSOCIATES                      ROOM AND BOARD BUSINESS INTERIORS LLC    ROTH CAPITAL PARTNERS
6822 HEMLOCK LN N                          4600 OLSON MEMORIAL HWY                  KENNY ZHU
MAPLE GROVE MN 55369                       MINNEAPOLIS MN 55422                     888 SAN CLEMENTE DR
                                                                                    NEWPORT BEACH CA 92660




ROYAL BANK OF CANADA-ROYAL TRUST 1/CDS**   ROYAL BANK OF CANADA-ROYAL TRUST/CDS**   ROYAL SECURITIES ADVISORS
CORPORATE ACTIONS                          CORPORATE ACTIONS                        4095 CHICAGO DR STE 120
200 BAY ST                                 200 BAY ST                               GRANDVILLE MI 49418
TORONTO ON M5J 2W7                         TORONTO ON M5J 2W7
CANADA                                     CANADA




RP CAPITAL LLC                             RR DONNELLEY                             RSM US LLP
5202 OLYMPIC DR NW                         PO BOX 842313                            5155 PAYSPHERE CIR
GIG HARBOR WA 98335                        BOSTON IL 60677-7008                     CHICAGO IL 60674




RSUI INDEMNITY CO                          RTX SOLUTIONS LLC                        RUBENSTEIN COMMUNICATIONS INC
945 EAST PACES FERRY RD NE                 2500 WEST COUNTY RD B                    1345 AVE OF THE AMERICAS
STE 1800                                   STE 250                                  NEW YORK NY 10105-0109
ATLANTA GA 30326                           ROSEVILLE MN 55113




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S AND A FRESHMAN TRUST U/T/A 6/28/89   S AND P CAPITAL IQ LLC                  SAFRA SECURITIES LLC
5901 W CENTURY BLVD STE 1010           33356 COLLECTION CTR DR                 CORPORATE ACTIONS
LOS ANGELES CA 90045-5314              CHICAGO IL 60693-0333                   546 FIFTH AVE
                                                                               NEW YORK NY 10036




SAGE CAPITAL ADVISORS LLC              SAGEPRESENCE LLC                        SAL HOLDINGS LLC
5672 LA JOLLA BLVD                     6201 134TH ST W                         2920 NORTH GREEN VLY PKWY
LA JOLLA CA 92037                      SAINT PAUL MN 55124                     BLDG 5 STE 511
                                                                               HENDERSON NV 89014




SALES CREATORS INC                     SALESFORCECOM INC                       SANDLAPPER SECUTIES LLC
DBA AMERICAN ASSOCIATION FOR LONG      WINSTON KIM                             800 EAST NORTH ST
TERM CARE INSURANCE                    PO BOX 203141                           SECOND FLOOR
32504 CARRIE PL                        DALLAS TX 75320-3141                    GREENVILLE SC 29601
WESTLAKE VILLAGE CA 91361




SANDS POINT CENTER FOR REHAB           SANFORD C BERNSTEIN AND CO, LLC         SARATOV CAPITAL
LYDIA                                  ANITA BACTAWAR                          20 OCEAN VIEW DR
1440 PRT WASHINGTON BLVD               1 NORTH LEXINGTION AVE                  STAMFORD CT 06902
PORT WASHINGTON NY 11050               C/O RIDGE
                                       WHITE PLAINS NY 10601




SATRANG TECHNOLOGIES                   SAVVY SENIOR SOURCES                    SAY TECHNOLOGIES LLC
A401 CELLO GTRIUMPH                    4707 HWY 61 #235                        85 WILLOW RD
I B PATEL RD GOREGAON EAST             ST PAUL MN 55110                        MENLO PARK CA 94025
MUMBAI
INDIA




SBLI                                   SC DEPT OF REVENUE                      SC DEPT OF REVENUE
PO BOX 55249                           CORP VOUCHER                            PO BOX 2535
BOSTON MA 02205-5249                   PO BOX 100153                           COLUMBIA SC 29202-2535
                                       COLUMBIA SC 29202




SC SECRETARY OF STATE                  SCANSTAT TECHNOLOGIES                   SCDEW
1205 PENDLETON                         PO BOX 2480                             SC DEPT OF EMPLOYMENT AND WORKFORCE
STE 525                                ROSWELL GA 30077-2480                   CONTRIBUTION SECTION
COLUMBIA SC 29201                                                              PO BOX 7103
                                                                               COLUMBIA SC 29202




SCHECHTER DOKKEN KANTER                SCHIFF HARDIN LLP                       SCHULTE ROTH AND ZABEL LLP
100 WASHINGTON AVE S                   233 SOUTH WACKER DR                     MAIL CODE 11040
STE 1600                               STE 6600                                PO BOX 11839
MINNEAPOLIS MN 55401-2192              CHICAGO IL 60606                        NEWARK NJ 07101-8138




SCIENTIFIC TESTING PARTNERS, LLC       SCOTIA CAPITAL INC HOLLIS WEALTHCDS**   SCOTIA CAPITAL INCCDS**
220 S 6TH ST                           CORPORATE ACTIONS                       CORPORATE ACTIONS
STE 1200                               40 KING ST W 13TH FL                    LUISA DOMINGUES
MINNEAPOLIS MN 55402                   TORONTO ON M5H 1H1                      40 KING ST W
                                       CANADA                                  TORONTO ON M5H1H1
                                                                               CANADA


SCOTIA CAPITAL USA INC                 SCOTIA CAPITAL USA INC                  SCOTTRADE, INC
CORPORATE ACTIONS                      CORPORATE ACTIONS                       LEGAL DEPT
250 VESEY ST                           ONE LIBERTY PLZ                         BETH VOGEL
NEW YORK NY 10281                      NEW YORK NY 10006                       PO BOX 31759
                                                                               SAINT LOUIS MO 63131-0759




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SCOTTRADE, INC                             SCOTTRADE, INC                        SCOUTS LLC
REORG                                      ISSUER SVC                            1600 UTICA AVE S
12855 FLUSHING MEADOWS DR                  BROADRIDGE                            9TH FL
ST. LOUIS MO 63131                         51 MERCEDES WAY                       ST. LOUIS PARK MN 55416
                                           EDGEWOOD NY 11717




SD INDEVAL INSTITUCION PARA EL DEPOSITO    SD SECRETARY OF STATE                 SDDI SIGNS
DE VALORES SA DE                           500 EAST CAPITAL AVE                  8627 EAGLE CREEK CIR
CORPORATE ACTIONS                          PIERRE SD 57501                       SAVAGE MN 55378
255 PASSEO DE LA REFORMA
3TH COLONIA CUAHTEMOC
MEXICO CITY 06500
MEXICO

SEARCH LEADERS LLC                         SEATTLE CANCER CARE ALLIANCE          SECRETARY OF STATE
11613 77TH ST NE                           ACCOUNTS RECEIVABLE                   THE SECURITIES DIVISION
OTSEGO MN 55301                            PO BOX 11626                          DEPT OF THE SECRETARY OF STATE
                                           TACOMA WA 98411-6626                  2 SOUTH SALISBURY ST
                                                                                 RALEIGH NC 27601-2903




SECRETARY OF STATE                         SECRETARY OF STATE BUSINESS SVC       SECRETARY OF STATE CONNECTICUT
UNIFORM COMMERCIAL CODE                    PO BOX 5616                           PO BOX 150470
PO BOX 13193                               MONTGOMERY AL 36103-5616              HARTFORD CT 06115-0470
AUSTIN TX 78711-3193




SECRETARY OF STATE MONTANA                 SECRETARY OF STATE NORTH DAKOTA       SECRETARY OF STATE SOUTH DAKOTA
PO BOX 202801                              600 EAST BLVD AVE                     500 EAST CAPITAL AVE
HELENA MT 59620-2801                       DEPT 108                              PIERRE SD 57501
                                           BISMARK ND 58505-0500




SECRETARY OF STATE STATE OF NORTH DAKOTA   SECRETARY OF THE TREASURY             SECURED ACCESS SYSTEMS LLC
SECRETARY OF STATE                         FERNANDEZ JUNCOS STATION              2300 VLY VIEW
STATE OF NORTH DAKOTA                      PO BOX 11855                          STE 105
600 E BLVD AVE DEPT 108                    SAN JUAN PR 00910-3855                DALLAS TX 75234
BISMARK ND 58505-0500




SECURITIES AND EXCHANGE COMMMISSION        SECURITIES AND EXCHANGE COMMMISSION   SECURITIES AND EXCHANGE COMMMISSION
HEADQUARTERS                               NEW YORK REGIONAL OFFICE              BOSTON REGIONAL OFFICE
DIRECTOR COMMISSIONER                      REGIONAL DIRECTOR                     REGIONAL DIRECTOR
100 F ST NE                                100 PEARL ST                          33 ARCH ST 24TH FLOOR
WASHINGTON DC 20549                        STE 20-100                            BOSTON MA 02110-1424
                                           NEW YORK NY 10004-2616


SECURITIES AND EXCHANGE COMMMISSION        SECURITIES AND EXCHANGE COMMMISSION   SECURITIES AND EXCHANGE COMMMISSION
PHILADELPHIA REGIONAL OFFICE               MIAMI REGIONAL OFFICE                 ATLANTA REGIONAL OFFICE
REGIONAL DIRECTOR                          REGIONAL DIRECTOR                     REGIONAL DIRECTOR
1617 JFK BLVD STE 520                      801 BRICKELL AVE STE 1950             950 EAST PACES FERRY RD NE
PHILADELPHIA PA 19103                      MIAMI FL 33131                        STE 900
                                                                                 ATLANTA GA 30326-1382


SECURITIES AND EXCHANGE COMMMISSION        SECURITIES AND EXCHANGE COMMMISSION   SECURITIES AND EXCHANGE COMMMISSION
CHICAGO REGIONAL OFFICE                    DENVER REGIONAL OFFICE                FORT WORTH REGIONAL OFFICE
REGIONAL DIRECTOR                          REGIONAL DIRECTOR                     REGIONAL DIRECTOR
175 W JACKSON BLVD                         1961 STOUT ST STE 1700                801 CHERRY ST
STE 1450                                   DENVER CO 80294-1961                  STE 1900 UNIT 18
CHICAGO IL 60604                                                                 FORT WORTH TX 76102


SECURITIES AND EXCHANGE COMMMISSION        SECURITIES AND EXCHANGE COMMMISSION   SECURITIES AND EXCHANGE COMMMISSION
SALT LAKE REGIONAL OFFICE                  LOS ANGELES REGIONAL OFFICE           SAN FRANCISCO REGIONAL OFFICE
REGIONAL DIRECTOR                          REGIONAL DIRECTOR                     REGIONAL DIRECTOR
351 S WEST TEMPLE ST STE 6.100             444SOUTH FLOWER ST STE 900            44 MONTGOMERY ST
SALT LAKE CITY UT 84101                    LOS ANGELES CA 90071                  STE 2800
                                                                                 SAN FRANCISCO CA 94104




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SECURITIES AND EXCHANGE COMMMISSION      SECURITIES AND EXCHANGE COMMMISSION    SECURITIES FINANCE TRUST CO
OFFICE OF THE CHAIRMAN                   FT WORTH REG OFFICE                    CORPORATE ACTIONS
100 F ST NE                              801 CHERRY ST UNIT 18                  175 FEDERAL ST
WASHINGTON DC 20549                      STE 1900                               11TH FL
                                         FORT WORTH TX 76102                    BOSTON MA 02110




SECURITIES LENDING SPO ACCOUNT/BBH       SECURITIES QUOTE XCHANGE               SECURITIES TRANSFER CORP
DAVE JACOBSON                            31 W DOWNERS PL                        2901 NORTH DALLAS PKWY
525 WASHINGTON BLVD                      STE 100A                               STE 380
11TH FL                                  AURORA IL 60506                        PLANO TX 75093
NEW JERSEY NJ 07310




SECURITIES TRANSFER CORPORATION/DRS      SEI PRIVATE TRUST CO                   SEI PRIVATE TRUST COMPANY/ GWP
KEVIN HALTER JR                          ERIC GREENE                            DIANA MASON
2591 DALLAS PKWY                         ONE FREEDOM VLY DR                     CORPORATE ACTIONS
STE 102                                  OAKS PA 19456                          1 FREEDOM VLY DR
FRISCO TX 75034                                                                 OAKS PA 19456




SELECT COMMERICAL SVC                    SELECTX                                SELFDIRECTED IRA SERVICES, INC
113 27TH AVE NE                          3 GROVELAND WAY                        215 MARY AVE STE 311
STE E                                    SOTFOLD BEDS SG5 4PH                   WACO TX 76701
MINNEAPOLIS MN 55418                     UNITED KINGDOM




SG AMERICAS SECURITIES LLC/ SUB 608      SG AMERICAS SECURITIES, LLC            SHAPCO PRINTING INC
CORPORATE ACTIONS                        PAUL MITSAKOS                          PO BOX 86
630 FIFTH AVE                            480 WASHINGTON BLVD                    MINNEAPOLIS MN 55486-2900
STE 500                                  JERSEY CITY NJ 07310
NEW YORK NY 10111




SHEEHAN AND COMPANY                      SHENANDOAH LIFE INSURANCE CO           SHEPARD DATA SVC
MINTZ & GOLD LLP                         PO BOX 12847                           527 MARQUETTE AVE
MARC BRETT SCHLESINGER                   ROANOKE VA 24029                       400 RAND TOWER
600 THIRD AVE                                                                   MINNEAPOLIS MN 55402
25TH FLOOR
NEW YORK NY 10016


SHOPOFF SECURITIES                       SHORETEL INC                           SHRED-IT USA
2 PARK PLAZA STE 700                     4921 SOLUTION CTR                      28883 NETWORK PL
IRVINE CA 92614                          CHICAGO IL 60677-4009                  CHICAGO IL 60673-1288




SHREDNGO INC                             SIDLEY AUSTIN LLP                      SIDOTI AND COMPANY LLC
PO BOX 147                               ONE SOUTH DEARBORN                     CHRISTA ROSENTHAL
WAYZATA MN 55391                         CHICAGO IL 60603                       122 E 42ND ST
                                                                                4TH FL
                                                                                NEW YORK NY 10168




SILBER BENNETT FINANCIAL INC             SILENT KNIGHT SECURITY SYSTEMS OF MN   SILVER LAW GROUP
16133 VENTURA BLVD                       9057 LYNDALE AVE SOUTH                 SCOTT L SILVER
STE 700                                  BLOOMINGTON MN 55420                   11780 W SAMPLE RD
ENCINO CA 91436                                                                 CORAL SPRINGS FL 33065




SILVER SPRINGS WATER INC                 SIRCON CORP                            SJJNKL LLC
480 MIRROR CT                            24431 NETWORK PL                       STEPHEN D STANTON
STE 109                                  CHICAGO IL 60673-1244                  5446 DUCKWEED RD
HENDERSON NV 89011                                                              LAKE WORTH FL 33449




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SK RESEARCH LLC                            SKYWATER SEARCH PARTNERS INC                 SMARTSHEET INC
10320 LITTLE PATUXENT PKWY 12TH FL         601 CARLSON PKWY                             10500 NE 8TH ST
COLUMBIA MD 21044                          STE 150                                      STE 1300
                                           MINNETONKA MN 55305                          BELLEVUE WA 98004




SMITH, MOORE AND CO                        SNN INC                                      SOCIAL INTERACTIVE TRIVIA INC
CORPORATE ACTIONS                          5839 GREEN VLY CIR STE 205                   12636 XYLITE ST NE
7777 BONHOMME AVE                          CULVER CITY CA 90230                         BLAINE MN 55449
SUIT 2400
CLAYTON MO 63105




SOCIETE GENERALE CAPITAL CANADA INCCDS**   SOCIETE GENERALE NY/SOCIETE GENERALE PARIS   SOCIETE GENERALE, NEW YORK BRANCH
GAETAN HEBERT                              JOHN RYAN                                    CORPORATE ACTIONS
SUPERVISOR                                 MANAGER                                      245 PK AVE
1501 MCGILL COLLEGE                        480 WASHINGTON BLVD                          NEW YORK NY 10167
STE 1901                                   JERSEY CITY NJ 07310
MONTREAL PQ H3A 3M8
CANADA

SOCIETY FOR HUMAN RESOURCE MANAGEMENT      SOLOWEY AND CO                               SONEXIS TECHNOLOGY INC
PO BOX 791139                              BARRY SOLOWEY                                ACCOUNTS RECEIVABLE
BALTIMORE MD 21279-1139                    9350 SOUTH DIXIE HIGHWAY                     300 SECO RD
                                           STE 2480                                     MONROEVILLE PA 15146
                                           MIAMI FL 33156




SOS DISTRICT OF COLUMBIA                   SOS OF ALABAMA                               SOS OF ALASKA
KIMBERLY A BASSETT                         JOHN H MERRILL                               KEVIN MEYER
1350 PENNSYLVANIA AVE NW                   PO BOX 5616                                  333 W WILLOUGHBY AVE
ROOM 419                                   MONTGOMERY AL 36103-5616                     9TH FLOOR
WASHINGTON DC 20004                                                                     JUNEAU AK 99801




SOS OF ARIZONA                             SOS OF ARKANSAS                              SOS OF CALIFORNIA
KATIE HOBBS                                JOHN THURSTON                                DR SHIRLEY N WEBER
OFFICE OF THE SECRETARY OF STATE           STATE CAPITOL                                1500 11TH ST
1700 W WASHINGTON ST                       500 WOODLANE AVE                             SACRAMENTO CA 95814
F17                                        STE 256
PHOENIX AZ 85007-2888                      LITTLE ROCK AR 72201


SOS OF COLORADO                            SOS OF CONNECTICUT                           SOS OF DELAWARE
JENA GRISWOLD                              DENISE W MERRILL                             JEFFREY W BULLOCK
COLORADO DEPT OF STATE                     30 TRINITY ST                                401 FEDERAL ST
1700 BROADWAY                              HARTFORD CT 06106                            STE 3
STE 200                                                                                 DOVER DE 19901
DENVER CO 80290


SOS OF FLORIDA                             SOS OF GEORGIA                               SOS OF HAWAII
LAUREL M LEE                               BRAD RAFFENSPERGER                           JOSH GREEN
RA GRAY BUILDING                           214 STATE CAPITOL                            LEUTENANT GOVERNOR
500 SOUTH BRONOUGH ST                      ATLANTA GA 30334                             STATE CAPITOL
TALLAHASSEE FL 32399-0250                                                               ROOM 415
                                                                                        HONOLULU HI 96813


SOS OF IDAHO                               SOS OF ILLINOIS                              SOS OF INDIANA
LAWERENCE DENNEY                           JESSE WHITE                                  HOLLI SULLIVAN
700 WEST JEFFERSON ST RM E205              213 STATE CAPITOL                            200 W WASHINGTON ST
PO BOX 83720                               SPRINGFIELD IL 62756                         ROOM 201
BOISE ID 83720-0080                                                                     INDIANAPOLIS IN 46204




SOS OF IOWA                                SOS OF KANSAS                                SOS OF KENTUCKY
PAUL D PATE                                SCOTT SCHWAB                                 MICHAEL ADAMS
FIRST FLOOR LUCAS BUILDING                 MEMORIAL HALL 1ST FLOOR                      OFFICE OF THE KENTUCY SECRETARY OF STATE
321 E 12TH ST                              120 SW 10TH AVE                              700 CAPITAL AVE STE 152
DES MOINES IA 50319                        TOPEKA KS 66612-1594                         FRANKFORT KY 40601




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SOS OF LOUISIANA                      SOS OF MAINE                           SOS OF MARYLAND
R KYLE ARDOIN                         SHENNA BELLOWS                         JOHN C WOBENSMITH
8585 ARCHIVES AVE                     148 STATE HOUSE STATION                FRED L WINELAND BUILDING
BATON ROUGE LA 70809                  AUGUSTA ME 00433-0148                  16 FRANCIS ST
                                                                             ANNAPOLIS MD 21401




SOS OF MASSACHUSETTS                  SOS OF MICHIGAN                        SOS OF MINNESOTA
WILLIAM FRANCIS GALVIN                JOCELYN BENSON                         STEVE SIMON
ONE ASHBURTON PL                      MICHIGAN DEPT OF STATE                 OFFICE OF THE SECRETARY OF STATE
ROOM 1611                             LANSING MI 48919                       RETIREMENT SYSTEMS OF MINNESOTA BLDG
BOSTON MA 02108-1512                                                         60 EMPIRE DR STE 100
                                                                             ST PAUL MN 55103


SOS OF MISSISSIPPI                    SOS OF MISSOURI                        SOS OF MONTANA
MICHAEL D WATSON JR                   JOHN R ASHCROFT                        CHRISTI JACOBSEN
401 MISSISSIPPI ST                    600 WEST MAIN ST                       MONTANA CAPITOL BUILDING RM 260
JACKSON MS 39201                      JEFFERSON CITY MO 65101                PO BOX 202801
                                                                             HELENA MT 59620-2801




SOS OF NEBRASKA                       SOS OF NEVADA                          SOS OF NEW HAMPSHIRE
ROBERT BEVNEN                         BARBARA K CEGAVSKE                     DAVID SCANIAN
PO BOX 94608                          NEVADA STATE CAPITOL BLDG              107 N MAIN ST RM 204
LINCOLN NE 68509-4608                 101 N CARSON ST STE 3                  STATE HOUSE
                                      CARSON CITY NV 89701                   CONCORD NH 03301




SOS OF NEW JERSEY                     SOS OF NEW MEXICO                      SOS OF NEW YORK
TAHESHA WAY ESQ                       MAGGIE TOULOUSE OLIVER                 ROBEERT RODRIGUEZ
225 W STATE ST                        NEW MEXICO STATE CAPITOL ANNEX NORTH   ONE COMMERCE PLAZA
PO BOX 001                            325 DON GASPAR STE 300                 99 WASHINGTON AVE
TRENTON NJ 08625-0300                 SANTA FE NM 87501                      ALBANY NY 12231-0001




SOS OF NORTH CAROLINA                 SOS OF NORTH DAKOTA                    SOS OF OHIO
ELAINE F MARSHALL                     ALVIN A AL JAEGER                      FRANK LAROSE
2 SOUTH SALISBURY ST                  600 E BOULEVARD AVE                    180 EAST BROAD ST
PO BOX 29622                          DEPT 108 1ST FLOOR                     16TH FLOOR
RALEIGH NC 27626-0622                 BISMARCK ND 58505-0500                 COLUMBUS OH 43215




SOS OF OKLAHOMA                       SOS OF OREGON                          SOS OF PENNSYLVANIA
BRIAN BINGMAN                         SHEMIA FAGAN                           LEIGH CHAPMAN
OKLAHOMA STATE CAPITOL BLDG           900 COURT ST NE                        302 NORTH OFFICE BUILDING
2300 N LINCOLN BLVD                   CAPTIAL RM 136                         HARRISBURG PA 17120
STE 122                               SALEM OR 97310-0722
OKLAHOMA CITY OK 73105-4897


SOS OF PUERTO RICO                    SOS OF RHODE ISLAND                    SOS OF SOUTH CAROLINA
DOMINGO EMANUELLI HERNÁNDEZ           NELLIE M GORBEA                        MARK HAMMOND
DEPTO DE ESTADO DE PR                 82 SMITH ST                            EDGAR BROWN BLDG
CALLE TENIENTE CESAR GONZALEZ 677     STATE HOUSE ROOM 217                   1205 PENDELTON ST STE 525
ESQ AVE JESUS T PINERO                PROVIDENCE RI 02903                    COLUMBIA SC 29201
SAN JUAN PR 00901


SOS OF SOUTH DAKOTA                   SOS OF TENNESSEE                       SOS OF TEXAS
STEVE BARNETT                         TRE HARGETT                            JOHN B SCOTT
CAPITOL BUILDING                      312 ROSA L PARKS AVE                   JAMES E RUDDER BUUILDING
500 E CAPITOL AVE STE 204             8TH FLOOR SNODGRASS TOWER              1019 BRAZOS
PIERRE SD 57501-5070                  NASHVILLE TN 37243-1102                AUSTIN TX 78701




SOS OF UTAH                           SOS OF VERMONT                         SOS OF VIRGIN ISLANDS
DEIDRE HENDERSON                      JIM CONDOS                             TREGENZA A ROACH ESQ
LT GOVEVERNOR                         26 TERREACE ST                         LT GOVEVERNOR
350 NORTH STATE ST STE 220            MONTPELIER VT 05609-1101               1131 KING ST
PO BOX 142325                                                                STE 101 CHRISTIANSTED
SALT LAKE CITY UT 84114-2325                                                 ST CROIX VI 00820




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SOS OF VIRGINIA                         SOS OF WASHINGTON                           SOS OF WEST VIRGINIA
KAY COLES JAMES                         STEVE HOBBS                                 MAC WARNER
PO BOX 1475                             LEGISLATEIVE BLDG                           BLDG 1 STE 157-K
RICHMOND VA 23218                       PO BOX 40220                                1900 KANAWHA BLVD EAST
                                        OLYMPIA WA 98504-0220                       CHARLESTON WV 25305-0770




SOS OF WISCONSIN                        SOS OF WYOMING                              SOURCE CAPITAL GROUP INC
DOUG J LAFOLLETTE                       EDWARD A BUCHANAN                           276 POST ROAD WEST
PO BOX 7848                             SECRETARY OF STATES OFFICE                  WESTPORT CT 06880
MADISON WI 53707-7848                   2020 CAREY AVE
                                        STE 600
                                        CHEYENNE WY 82002-0020


SOUTH CAROLINA ATTORNEY GENERAL         SOUTH CAROLINA DEPT OF REVENUE              SOUTH CAROLINA DEPT OF REVENUE
ALAN WILSON                             301 GERVAIS ST                              300A OUTLET POINTE BLVD.
REMBERT C DENNIS OFFICE BLDG            PO BOX 125                                  COLUMBIA SC 29210
1000 ASSEMBLY ST RM 519                 COLUMBIA SC 29201
COLUMBIA SC 29211-1549




SOUTH CAROLINA OFFICE OF THE ATTORNEY   SOUTH CAROLINA SECURITIES COMMISSION        SOUTH CAROLINA STATE BOARD OF
GENERAL                                 DIVISION OF SECURITIES                      FINANCIAL INSTITUTIONS
SECURITIES DIVISION                     REMBERT C DENNIS OFFICE BUILDING            CONSUMER FINANCE DIVISION
PO BOX 11549                            1000 ASSEMBLY ST                            PO BOX 11905
COLUMBIA SC 29211-1549                  COLUMBIA SC 29201                           COLUMBIA SC 29211




SOUTH DAKOTA ATTORNEY GENERAL           SOUTH DAKOTA DEPT OF LABOR AND REGULATION   SOUTH DAKOTA DEPT OF REVENUE AND
JASON RAVNSBORG                         445 EAST CAPITOL AVE                        REGULATION
1302 EAST HWY 14                        PIERRE SD 57501                             445 E CAPITOL AVE
STE 1                                                                               PIERRE SD 57501
PIERRE SD 57501-8501




SOUTH DAKOTA DIVISION OF BANKING        SOUTH DAKOTA DIVISION OF SECURITIES         SOUTH STREET SECURITIES LLC
217 1/2 WEST MISSOURI AVE               124 S EUCLID AVE                            DONALD WEBBE
PIERRE SD 57501                         STE 104                                     825 THIRD AVE
                                        PIERRE SD 57501-3185                        35TH FL
                                                                                    NEW YORK NY 10022




SOUTHWEST GAS CORP                      SOUTHWEST SECURITIES,INCSTOCK LOAN          SPECIAL FUND FOR DISABILITY BENEFITS
PO BOX 98890                            CHRISTINA FINZEN                            WORKERS COMPENSATION BOARD (EE #2911807)
LAS VEGAS NV 89193-8890                 1201 ELM ST                                 ACCOUNTS DB PENALTY
                                        STE 3700                                    328 STATE ST
                                        DALLAS TX 75270                             SCHENECTADY NY 12305-2318




SPECIAL OLYMPICS MINNESOTA              SPEEDPRO IMAGING INC                        SPIRE SECURITIES LLC
POLAR PLUNGE                            6277 BURY DR                                1840 MICHAEL FARADAY DR
900 2ND AVE S STE 300                   EDEN PRAIRIE MN 55346                       STE #105
MINNEAPOLIS MN 55402                                                                RESTON VA 20190




SPRINGBOARD FOR THE ARTS                SPRINGCM INC                                SSB - BANK PORTFOLIO
JOHN BELL BUSINESS MANAGER              180 N LASALLE ST                            ROBERT RAY
308 PRINCE ST STE 270                   6TH FL                                      1776 HERITAGE DR
ST. PAUL MN 55101                       CHICAGO IL 60601                            GLOBAL CORPORATE ACTION UNIT JAB 5NW
                                                                                    NO. QUINCY MA 02171




SSB - BLACKROCK INSTITUTIONAL TRUST     SSB - BLACKROCK INSTITUTIONAL TRUST         SSB - TRUST CUSTODY
LINDA SELBACH                           TRINA ESTREMERA                             ED CHANEY
45 FREMONT ST                           1776 HERITAGE DR                            VICE PRESIDENT
SAN FRANCISCO CA 94120-7101             NORTH QUINCY MA 02171                       1200 CROWN COLONY DR
                                                                                    QUINCY MA 02169




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SSB AND T CO/CLIENT CUSTODY SVC            SSB AND T/SEC FIN AS PRINCIPAL          SSB-PHYSICAL CUSTODY SVC
MYRIAM PIERVIL                             MYRIAM PIERVIL                          MIKE REARDON
ASSISTANT VICE PRESIDENT                   ASSISTANT VICE PRESIDENT                225 FRANKLIN ST
1776 HERITAGE DR                           1776 HERITAGE DR                        BOSTON MA 02110
NORTH QUINCY MA 02171                      NORTH QUINCY MA 02171




ST PAUL PIONEER PRESS                      STANDARD PARKING                        STANDARD REGISTRAR AND TRANSFER COMPAN
345 CEDAR ST                               8037 COLLECTION CTR DR                  RONALD P HARRINGTON
ST. PAUL MN 55101                          CHICAGO IL 60693                        12528 SOUTH 1840 EAST
                                                                                   DRAPER UT 84020




STANDLEY FINANCIAL GROUP                   STAR MED                                STAR TRIBUNE
1804 WILLIAMSON CT STE 207                 1417 FOULK RD                           PO BOX 790387
BRENTWOOD TN 37027                         2ND FL                                  ST. LOUIS MO 63179-0387
                                           WILMINGTON DE 19803




STATE BAR OF WISCONSIN                     STATE FARM LIFE INSURANCE CO            STATE HEALTH DEPT
PO BOX 14290                               5400 NEW ALBANY RD E                    DIVISION OF VITAL RECORDS
MADISON WI 53708-0290                      NEW ALBANY OPS CTR ATTN SVC ACC         PO BOX 1000
                                           NEW ALBANY OH 43054                     RICHMOND VA 23218-1000




STATE LIFE INSURANCE CO                    STATE OF ALABAMA                        STATE OF ARIZONA
1 AMERICAN SQ                              INSURANCE DEPT                          DEPT OF INSURANCE
INDIANAPOLIS IN 46204                      201 MONROE ST STE 502                   2910 N 44TH ST STE 210
                                           MONTGOMERY AL 36104                     PHOENIX AZ 85018




STATE OF ARKANSAS                          STATE OF CALIFORNIA                     STATE OF CALIFORNIA
INSURANCE COMMISSION                       DEPT OF INSURANCE                       INSURANCE DEPT
1 COMMERCE WAY                             PO BOX 1799                             300 CAPITOL MALL STE 1700
LITTLE ROCK AR 72202                       SACRAMENTO CA 95812-1799                SACRAMENTO CA 95814




STATE OF CONNECTICUT                       STATE OF CONNECTICUT DEPT OF BANKING    STATE OF CONNECTICUT DEPT OF REVENUE SVC
INSURANCE DEPT                             260 CONSTITUTION PLAZA                  25 SIGOURNEY ST
153 MARKET ST                              HARTFORD CT 06103-1800                  STE 2
HARTFORD CT 06103                                                                  HARTFORD CT 06106




STATE OF CONNECTICUT DEPT OF REVENUE SVC   STATE OF DELAWARE                       STATE OF DELAWARE - DIVISION OF CORPS
450 COLUMBUS BLVD                          INSURANCE COMMISSIONER                  PO BOX 5509
HARTFORD CT 06103                          841 SILVER LAKE BLVD                    DOVER DE 19903
                                           DOVER DE 19904




STATE OF DELAWARE - DIVISION OF CORPS      STATE OF DELAWARE DIVISION OF REVENUE   STATE OF FLORIDA
PO BOX 898                                 CARVEL STATE OFFICE BUILDING            INSURANCE COMMISSIONER
DOVER DE 19903                             820 N FRENCH ST                         200 E GAINES ST
                                           WILMINGTON DE 19801                     TALLAHASSEE FL 32399




STATE OF FLORIDA DEPT OF REVENUE           STATE OF GEORGIA                        STATE OF HAWAII
5050 WEST TENNESSEE ST                     OFFICE OF THE COMMISSIONER OF           INSURANCE DIVISION
TALLAHASSE FL 32399-0100                   INSURANCE AND SAFETY FIRE               335 MERCHANT ST STE 213
                                           2 MARTIN LUTHER KING JR DR SE           HONOLULU HI 96813
                                           ATLANTA GA 30334




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STATE OF HAWAII DEPT OF TAXATION       STATE OF IDAHO                    STATE OF ILLINOIS
PO BOX 259                             DEPT OF INSURANCE                 DEPT OF INSURANCE
HONOLULU HI 96809                      2005 IRONWOOD PKWY STE 143        320 WEST WASHINGTON ST
                                       COEUR D ALENE ID 83814            SPRINGFIELD IL 62767-0001




STATE OF INDIANA                       STATE OF IOWA                     STATE OF KANSAS
311 W WASHINGTON ST STE 300            INSURANCE DIVISION                INSURANCE COMMISSIONER
INDIANAPOLIS IN 46204                  601 LOCUST ST STE 4               420 SW 9TH ST
                                       DES MOINES IA 50309               TOPEKA KS 66612




STATE OF KENTUCKY                      STATE OF LOUISIANA                STATE OF MAINE
DEPT OF INSURANCE                      DEPT OF INSURANCE                 76 NORTHERN AVE
500 MERO ST                            1702 N 3RD ST                     GARDINER ME 04345
FRANKFORT KY 40602                     BATON ROUGE LA 70802




STATE OF MARYLAND                      STATE OF MARYLAND                 STATE OF MASSACHUSETTS
MD INSURANCE ADMINISTRATION            INSURANCE ADMINISTRATION          DIVISION OF INSURANCE
200 ST PAUL PL STE 2700                200 SAINT PAUL ST STE 2700        1000 WASHINGTON ST
BALTIMORE MD 21202                     BALTIMORE MD 21202                BOSTON MA 02118




STATE OF MICHIGAN                      STATE OF MICHIGAN                 STATE OF MICHIGAN
VITAL RECORDS                          BUREAU OF COMMERCIAL SVC          DEPAT OF INSURANCE AND FINANCIAL SVC
PO BOX 30721                           CORP DIVISION                     530 W ALLEGAN ST 7TH FL
LANSING MI 48909                       PO BOX 30054                      LANSING MI 48933
                                       LANSING MI 48909-8201




STATE OF MINNESOTA                     STATE OF MINNESOTA                STATE OF MISSISSIPPI
RE GWG FOUNDATION XX-XXXXXXX           INSURANCE COMMISSIONER            INSURANCE DEPT
2020 TRUST ANNUAL REPORT               85 7TH PLACE EAST                 501 N WEST ST STE 1001
ST. PAUL MN 55101-2130                 STE 280                           JACKSON MS 39201
                                       SAINT PAUL MN 55101




STATE OF MISSOURI                      STATE OF MONTANA                  STATE OF NEBRASKA
DEPT OF INSURANCE AND COMMERCE         INSURANCE COMMISSIONER            DEPT OF INSURANCE
301 W HIGH ST STE 530                  840 HELENA AVE                    PO BOX 95087
JEFFERSON CITY MO 65101                HELENA MT 59601                   LINCOLN NE 68509-5087




STATE OF NEVADA                        STATE OF NEW HAMPSHIRE            STATE OF NEW HAMPSHIRE
INSURANCE DIVISION                     DEPT OF STATE                     INSURANCE DEPT
3300 W SAHARA AVE STE 275              BUREAU OF SECURITIES REGULATION   21 S FRUIT ST STE 14
LAS VEGAS NV 89102                     107 NORTH MAIN #204               CONCORD NH 03301
                                       CONCORD NH 03301




STATE OF NEW JERSEY                    STATE OF NEW JERSEY               STATE OF NEW JERSEY
DIVISION OF TAXATION                   DIVISION OF EMPLOYER ACCOUNTS     INSURANCE DEPT
PO BOX 283                             PO BOX 059                        201 E STATE ST
TRENTON NJ 08646-0283                  TRENTON NJ 08646-0059             TRENTON NJ 08608




STATE OF NEW JERSEY GENERAL TREASURY   STATE OF NEW MEXICO               STATE OF NEW YORK
20 WEST STATE ST                       SUPERINTENDENT OF INSURANCE       DEPT OF INSURANCE
TRENTON NJ 08608                       4TH FLOOR                         ONE STATE ST
                                       1120 PASEO DE PERALTA             NEW YORK NY 1000-4151
                                       SANTA FE NM 87501




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STATE OF NORTH CAROLINA                STATE OF NORTH DAKOTA                   STATE OF OHIO
INSURANCE COMMISSIONER                 INSURANCE DEPT                          DEPT OF INSURANCE
325 N SALISBURY ST                     600 E BLVD AVE STE 401                  50 W TOWN ST
RALEIGH NC 27603                       BISMARCK ND 58505                       COLUMBUS OH 43215




STATE OF OHIO TREASURER                STATE OF OKLAHOMA                       STATE OF OREGON
50 W TOWN ST                           INSURANCE DEPT                          CORPORATE DIVISION
3RD FLOOR STE 300                      3625 NW 56TH ST STE 100                 255 CAPITOL ST NE STE 151
COLUMBUS OH 43215                      OKLAHOMA CITY OK 73112                  SALEM OR 97310-1327




STATE OF OREGON                        STATE OF PENNSYLVANIA                   STATE OF PUERTO RICO
INSURANCE DIVISION                     INSURANCE DEPT                          OFFICE OF COMMISSIONER OF INSURANCE
350 WINTER ST NE STE 440               1209 STRAWBERRY ALLEY                   B5 CALLE TABONUCO STE 216
SALEM OR 97301                         HARRISBURG PA 17113                     PMB 356
                                                                               GUAYNABO PR 00968-3029




STATE OF RHODE ISLAND                  STATE OF SOUTH CAROLINA                 STATE OF SOUTH DAKOTA
INSURANCE DIVISION                     DEPT OF INSURANCE                       INSURANCE DIVISION
1511 PONTIAC AVE                       1201 MAIN ST STE 1000                   124 S EUCLID AVE STE 2
BUILDING 69-2                          COLUMBIA SC 29201                       PIERRE SD 57501
CRANSTON RI 02920




STATE OF STATE OF ALASKA               STATE OF STATE OF COLORADO              STATE OF TENNESSEE
DIVISION OF INSURANCE                  DIVISION OF INSURANCE                   500 JAMES ROBERTSON PKWY
333 WILLOUGHBY AVE                     1560 BROADWAY                           NASHVILLE TN 37243-1134
9TH FL                                 STE 850
JUNEAU AK 99801-1770                   DENVER CO 80202




STATE OF TENNESSEE                     STATE OF TEXAS                          STATE OF UTAH
500 JAMES ROBERTSON PKWY STE 5         DEPT OF INSURANCE                       DEPT OF INSURANCE
NASHVILLE TN 37243                     1515 W MOCKINGBIRD LN STE 100           350 N STATE ST RM 3110
                                       DALLAS TX 75235                         STATE OFFICE BUILDING
                                                                               SALT LAKE CITY UT 84114-690




STATE OF VERMONT                       STATE OF VIRGIN ISLANDS                 STATE OF VIRGINIA
INSURANCE DIVISION                     NO 5049 KONGENS GADE CHARLOTTE AMALIE   BUREAU OF INSURANCE
89 MAIN ST                             ST THOMAS VI 00802                      1300 E MAIN ST
MONTPELIER VT 05620-3101                                                       RICHMOND VA 23219




STATE OF WASHINGTON                    STATE OF WASHINGTON                     STATE OF WEST VIRGINIA
OFFICE OF INSURANCE COMMISSIONER       INSURANCE COMMISSIONER                  INSURANCE COMMISSIONER
5000 CAPITOL BLVD                      906 COLUMBIA ST SW                      900 PENNSYLVANIA AVE
TUMWATER WA 98507-9034                 OLYMPIA WA 98501                        CHARLESTON WV 25302




STATE OF WISCONSIN                     STATE OF WISCONSIN                      STATE OF WYOMING
60 LIVINGSTON AVE                      125 S WEBSTER ST                        INSURANCE DEPT
ST. PAUL MN 55107                      MADISON WI 53703                        106 E. 6TH AVE
                                                                               CHEYENNE WY 82001




STATE STREET BANK AND TRUST            STATE STREET BANK AND TRUST             STATE STREET BANK AND TRUST
STATE STREET TOTAL ETF                 STATE STREET TOTAL ETF                  STATE STREET TOTAL ETF
GLOBAL CORP ACTION DEPT JAB5W          GLOBAL CORP ACTION DEPT JAB5W           EMAIL PROXY CONTACT
ROBERT RAY JOSEPH J CALLAHAN           JERRY PARRILLA                          1776 HERITAGE DR
PO BOX 1631                            1776 HERITAGE DR                        NORTH QUINCY MA 02169
BOSTON MA 02105-1631                   NORTH QUINCY MA 02171




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STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO
PROXY SVC                                   CORP ACTION                                 LENDING PASS-THROUGH
1776 HERITAGE DR                            225 FRANKLIN ST                             RAY KARTANOWITZ
NORTH QUINCY MA 02171                       BOSTON MA 02110                             101 HUDSON ST
                                                                                        JERSEY CITY NJ 07302




STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO
ISHARESEUROPE                               CORP ACTION                                 GLOBAL CORP ACTION DEPT JAB5W
MYRIAM PIERVIL - ASSISTANT VICE PRESIDENT   225 FRANKLIN ST                             ROBERT RAY
1776 HERITAGE DR                            MAO-3                                       PO BOX 1631
NORTH QUINCY MA 02171                       BOSTON MA 02110                             BOSTON MA 02105-1631




STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO              STATE STREET BANK AND TRUST CO
DB RESIDUAL PROCESSING ACCOUNT              DEUTSCHE BANK FRANKFURT                     PROXY SVC
THOMAS LANGELIER - VICE PRESIDENT           KAREN T JOHNDROW                            CHRISTINE SULLIVAN JERRY PARRILLA
1776 HERITAGE DR                            1776 HERITAGE DR                            1776 HERITAGE DR
NORTH QUINCY MA 02171                       NORTH QUINCY MA 02171                       NORTH QUINCY MA 02171




STATE STREET BANK AND TRUST COMPANY, NA     STATE STREET BANK AND TRUST COMPANY/IPA     STATE STREET BANK AND TRUST COMPANYEC,
SUSAN GRANT                                 SUSAN GRANT                                 GMBH
61 BROADWAY                                 61 BROADWAY                                 MYRIAM PIERVIL
NEW YORK NY 10006                           NEW YORK NY 10006                           1776 HERITAGE DR
                                                                                        NORTH QUINCY MA 02171




STATE STREET CORP ON BEHALF OF HSBC         STATE STREET GLOBAL MARKETS, LLC            STATE STREET TRUST
WEALTH MANAGER SVC                          SUSAN M TAPPARO                             T479
CORP ACTIONS                                VICE PRESIDENT                              GLOBAL CORPORATE ACTIONS
1200 CROWN COLONY DR                        STATE ST FINANCIAL CTR                      PO BOX 1631
QUINCY MA 02169                             ONE LINCOLN ST SFC5                         BOSTON MA 02105-1631
                                            BOSTON MA 02111-2900


STE HOLDINGS LLC                            STEPHENS INC                                STEPHENS INC
845 THIRD AVE                               NINA VINCENT                                LINDA THOMPSON
6TH FL                                      111 CTR ST 9TH FL                           ASSISTANT VICE PRESIDENT
NEW YORK NY 10022                           PO BOX 3507                                 111 CTR ST
                                            LITTLE ROCK AR 72203                        4TH FL
                                                                                        LITTLE ROCK AR 72201-4402


STEPHENS INC                                STERICYCLE INC                              STERLING CAPITAL MANAGEMENT INC
CORPORATE ACTION                            28161 N KEITH DR                            1801 JENNIFER LN
111 CTR ST 9TH FL                           LAKE FOREST IL 60045                        WAUKESHA WI 53186
PO BOX 3507
LITTLE ROCK AR 72203




STERNE AGEE AND LEACH INC                   STEVEN D GRIERSON CLERK OF THE COURT        STEVEN DOUGLAS ASSOCIATES LLC
2 PERIMETER PK SOUTH                        REGINOAL JUSTICE CENTER 3RD FLOOR RECORDS   1301 INTERNATIONAL PKWY
STE 100W                                    200 LEWIS AVE                               STE 510
BIRMINGHAM AL 35243                         LAS VEGAS NV 89155-1160                     SUNRISE FL 33323




STIFEL, NICOLAUS AND COMPANY, INC           STIFEL, NICOLAUS AND COMPANY, INC           STIFEL, NICOLAUS AND COMPANY, INC
CHRIS WIEGAND                               TINA SCHWEITZER                             ZACHARY J RESMANN
501 N BROADWAY                              ONE FINANCIAL PLZ                           501 N BROADWAY
ST. LOUIS MO 63102                          501 N BROADWAY                              ST. LOUIS MO 63102
                                            ST. LOUIS MO 63102




STIFEL, NICOLAUS AND COMPANY, INC           STINSON LEONARD STREET                      STOCKCROSS FINANCIAL SERVICES, INC
MEDIAN COMMUNICATIONS                       PO BOX 843052                               LISA BRUNSON
200 REGENCY FOREST DR                       KANSAS CITY MO 64184-3052                   9464 WILSHIRE BLVD
CARY NC 27518                                                                           BEVERLY HILLS CA 90212




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STOCKCROSS FINANCIAL SERVICES, INC        STOCKCROSS FINANCIAL SERVICES, INC    STOCKCROSS FINANCIAL SERVICES, INC
CORPORATE ACTIONS LORETTA RACER           CORPORATE ACTIONS                     DIANE TOBEY
1900 ST JAMES PL 120                      9464 WILSHIRE BLVD                    77 SUMMER ST
HOUSTON TX 77056                          BEVERLY HILLS CA 90212                BOSTON MA 02110




STOCKCROSS FINANCIAL SERVICES, INC        STOCKCROSS FINANCIAL SERVICES, INC3   STOEVER GLASS AND CO INC
KIMBERLEY DEHN                            CORPORATE ACTIONS                     30 WALL ST
1900 ST JAMES PL 120                      9464 WILSHIRE BLVD                    NEW YORK NY 10005
HOUSTON TX 77056                          BEVERLY HILLS CA 90212




STONE CREEK COMMUNITY ASSOCIATION INC     STONECREST CAPITAL MARKETS INC        STONEX FINANCIAL INC
6111 SW 89TH CT RD                        300 W 6TH ST                          2 PERIMETER PK SOUTH
OCALA FL 34481                            STE 1520                              BIRMINGHAM AL 35243
                                          AUSTIN TX 78701




STONEX FINANCIAL INC                      STRATEGIC ADVISORS INC                STRATFORD INSURANCE CO
1251 NW BRIARCLIFF PKWY                   15200 HESPERIAN BLVD STE 202          300 KIMBALL DR
STE 800                                   SAN LEANDRO CA 94578                  STE 500
KANSAS CITY MO 64116                                                            PARSIPPANY NJ 07054




STREET FLEET                              SULLIVANPERKINS INC                   SUMITOMO MITSUI TRUST BANK USA LIMITED
PO BOX 14947                              3100 MCKINNON ST                      BETH CUMMINGS
MINNEAPOLIS MN 55414                      STE 450                               111 RIVER ST
                                          DALLAS TX 75201-1044                  HOBOKEN NJ 07030




SUMMIT BROKERAGE                          SUN CITY HILTON HEAD                  SUNDOG INTERACTIVE INC
595 S FEDERAL HWY STE 500                 PO BOX 580059                         PO BOX 9295
BOCA RATON FL 33432                       CHARLOTTE NC 28258-0059               FARGO ND 58106




SUNSET LIFE INSURANCE CO OF AMERICA       SUNTRUST BANK                         SUNTRUST BANK/SAFEKEEPING CUSTODIAN FOR
3520 BROADWAY                             RICK TROWBRIDGE                       STES
ATTN: PREMIUM PAYMENTS                    303 PEACHTREE ST                      PAT SHELL
KANSAS CITY MO 64111                      14TH FL                               PO BOX 4418
                                          ATLANTA GA 30308                      MAIL CODE 3908
                                                                                ATLANTA GA 30302-4418


SUNTRUST BANK/SUNTRUST BANK DEALER BANK   SUNTRUST ROBINSON HUMPHREY, INC       SUPERINTENDENT OF FINANCIAL SVC
VERONICA JOHNSON                          SCOTT STEFFEN                         LICENSING SVC BUREAU
303 PEACHTREE ST                          303 PEACHTREE ST                      NEW YORK STATE DEPT OF FINANCIAL SVC
25TH FL                                   25TH FL                               ONE COMMERCE PLAZA
ATLANTA GA 30308                          ATLANTA GA 30308                      ALBANY NY 12257




SUPERINTENDENT OF FINANCIAL SVC           SUPERINTENDENT OF INSURANCE           SUPPORT OUR TROOPS
ONE COMMERCE PLZ                          NEW YORK DEPT OF FINANCIAL SVC        13791 N NEBRASKA AVE
ALBANY NY 12257                           ONE STATE ST                          TAMPA FL 33613
                                          NEW YORK NY 10024




SW FINANCIAL                              SWENEY CARTWRIGHT AND CO              SYMETRA LIFE INSURANCE CO
1295 WALT WHITMAN RD                      CAROLYN WILLIAMS                      777 108TH AVE NE
STE A                                     17 SOUTH HIGH ST                      STE 1200
MELVILLE NY 11747                         RM 300                                BELLEVUE WA 98004
                                          COLUMBUS OH 43015




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SYNOVUS BANK                             SYNOVUS BANK/SYNOVUS 2                       TAGER AND CO LLC
RUDY NEWMAN                              RUDY NEWMAN                                  33 WEST 19TH ST
1 BROAD ST                               1 BROAD ST                                   4TH FL
SUMTER SC 29150                          SUMTER SC 29150                              NEW YORK NY 10011




TAGLICH BROTHERS                         TASC                                         TCM SECURITIES INC
790 NEW YORK AVE                         TASC CLIENT SVC                              2230 TOWNE LAKE PKWY
STE 209                                  PO BOX 88278                                 BUILDING 800
HUNTINGTON NY 11743                      MILWAUKEE WI 53288-0001                      WOODSTOCK GA 30189




TD AMERITRADE                            TD AMERITRADE CLEARING, INC                  TD AMERITRADE CLEARING, INC
4211 SOUTH 102ND ST                      CORP ACTIONS                                 KEVIN STRINE
OMAHA NE 68127                           JANICE GUDE SUZANNE BRODD                    4211 S 102ND ST
                                         200 S 108TH AVE                              OMAHA NE 68127
                                         OMAHA NE 68154




TD AMERITRADE CLEARING, INC              TD AMERITRADE CLEARING, INCSECURITIES        TD AMERITRADE TRUST CO
MANDI FOSTER                             LENDING                                      EASTER DIANE
1005 N AMERITRADE PL                     REORG DEPT                                   717 17TH ST
BELLEVUE NE 68005                        200 S 108TH AVE                              STE 1700
                                         OMAHA NE 68154                               DENVER CO 80202




TD SECURITIES (USA) LLC                  TD WATERHOUSE CANADA INCCDS**                TD WEALTH OPERATIONS
REORG DEPT                               YOUSUF AHMED                                 FEE PROCESSING
200 S 108TH AVE                          77 BLOOR ST WEST                             PO BOX 71409
OMAHA NE 68154                           3RD FL                                       PHILADELPHIA PA 19176-1409
                                         TORONTO ON M4Y 2T1
                                         CANADA


TECMIND INC                              TEMPER OF THE TIMES INVESTOR SERVICES, INC   TENNESSEE ATTORNEY GENERAL
17304 PRESTON RD                         SHARON MARKLAND                              HERBERT H SLATERY III
STE 1210                                 411 THEODORE FREMD AVE                       PO BOX 20207
DALLAS TX 75252                          STE 132                                      NASHVILLE TN 37202-0207
                                         RYE NY 10580




TENNESSEE DEPT OF COMM AND INSUR         TENNESSEE DEPT OF FINANCIAL INSTITUTIONS     TENNESSEE DEPT OF REVENUE
SECURITIES DIVISION                      511 UNION ST                                 ANDREW JACKSON STATE OFFICE BLDG
500 JAMES ROBERTSON PKWY                 STE 400                                      500 DEADERICK ST
DAVY CROCKETT TOWER 8TH FLOOR            NASHVILLE TN 37219                           NASHVILLE TN 37242
NASHVILLE TN 37243-0565




TENNESSEE DEPT OF REVENUE                TENNESSEE VITAL RECORDS                      TERRELL AND TERRELL CPAS LLP
ANDREW JACKSON BUILDING                  710 JAMES ROBERTSON PKWY                     DBA BTERRELL GROUP LLP
500 DEADRICK ST                          ANDREW JOHNSON TOWER 1ST FL                  17250 DALLAS PKWY
NASHVILLE TN 37242                       NASHVILLE TN 37243                           STE 225
                                                                                      DALLAS TX 75248




TEXAS ATTORNEY GENERAL                   TEXAS COMPTROLLER OF PUBLIC ACCOUNTS         TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
KEN PAXTON                               PO BOX 149348                                PO BOX 13528 CAPITOL STATION
300 W 15TH ST                            AUSTIN TX 78714-9348                         AUSTIN TX 78711-3528
AUSTIN TX 78701




TEXAS COMPTROLLER OF PUBLIC ACCOUNTS     TEXAS DEPT OF INSURANCE                      TEXAS DEPT OF INSURANCE
LYNDON B JOHNSON STATE OFFICE BUILDING   ACCOUNTING DIVISION MC 9999                  333 GUADALUPE
111 EAST 17TH STREET                     PO BOX 149104                                AUSTIN TX 78701
AUSTIN TX 78774                          AUSTIN TX 78714-9104




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TEXAS LIFE INSURANCE CO                     TEXAS OFFICE OF CONSUMER CREDIT               TEXAS STATE SECURITIES BOARD
900 WASHINGTON AVE                          COMMISSIONER                                  208 EAST 10TH ST 5TH FLOOR
WACO TX 76701                               2601 N LAMAR BLVD                             AUSTIN TX 78701
                                            AUSTIN TX 78705




TEXAS TREASURY SAFEKEEPING TRUST CO         TEXAS WORKFORCE COMMISSION                    TFS SECURITIES INC
JANIE DOMINGUEZ                             CASHIER                                       437 NEWMAN SPRINGS RD
208 E 10TH ST                               101 E 15TH ST                                 LINCROFT NJ 07738
RM 410                                      AUSTIN TX 78778-0091
AUSTIN TX 78701




THANKS TROOPS FOUNDATION                    THE BALANCING ACT                             THE BANK OF NEW YORK
5540 NORTH ACADEMY BLVD                     2001 W SAMPLE RD STE 101                      MELLON/DBLPB-CENTAURUSPROXIMA FD
STE 120                                     POMPANO BEACH FL 33064                        MICHAEL KANIA - VICE PRESIDENT
COLORADO SPRINGS CO 80918                                                                 525 WILLIAM PENN PL
                                                                                          PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
MELLON TRST OF NEW ENGLAND NATIONAL ASSOC   CORP ACTIONS                                  CORP ACTIONS
CORP ACTIONS                                525 WILLIAM PENN PL                           525 WILLIAM PENN PL
525 WILLIAM PENN PL                         STE 153-0400                                  STE 0400
STE 153-0400                                PITTSBURGH PA 15259                           PITTSBURGH PA 15259
PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
MELLON TRST OF NEW ENGLAND NATIONAL ASSOC   UBS AG LONDON BRANCH DESIGNED EQUITIES        NATIONAL AUSTRALIA BANK
CORP ACTIONS                                CORP ACTIONS                                  MIKE SCARRY - ASSISTANT VICE PRESIDENT
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                           ONE WALL ST
STE 0400                                    PITTSBURGH PA 15259                           NEW YORK NY 10286
PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
NATIXIS SECURITIES AMERICAS LLC I           SOCIETE GENERALE GIC                          WELLS FARGO BANK NA
MIKE SCARRY - ASSISTANT VICE PRESIDENT      MIKE SCARRY - ASSISTANT VICE PRESIDENT        DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                 ONE WALL ST                                   ONE WALL ST
NEW YORK NY 10286                           NEW YORK NY 10286                             NEW YORK NY 10286




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
ITC-DEALERS CLEARANCE GENERAL               ALLSTATE MARK TO MARKETS                      BZW SECURITIESLIMITED
525 WILLIAM PENN PL                         CORP ACTIONS                                  CORP ACTIONS
PITTSBURGH PA 15259                         525 WILLIAM PENN PL                           525 WILLIAM PENN PL
                                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
DEUTSCHE BANK LONDON AG LONDON              PREBON FINANCIAL PRODUCTS INC                 SUNTRUST EQUITY FUNDING LLC
GLOBAL MARKET #2, CORP ACTIONS              CORP ACTIONS                                  CORP ACTIONS
11486 CORPORATE BLVD                        11486 CORPORATE BLVD                          11486 CORPORATE BLVD
ORLANDO FL 32817                            ORLANDO FL 32817                              ORLANDO FL 32817




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
VINNING SPARKSIBG LP                        KBC FINANCIAL PRODUCTS UK LTD                 CHIMERA INVESTMENT CORP
MARY HARP                                   MICHAEL KANIA                                 CHIMERA INVESTMENT CORP - MICHAEL KANIA
6077 PRIMACY PKWY                           525 WILLIAM PENN PL                           525 WILLIAM PENN PL
MEMPHIS TN 38119                            PITTSBURGH PA 15259                           PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON
CHIMERA SECURITIES HOLDING LLC              CHIMERA SPECIALHOLDING LLC                    CHIMERA TRADINGCOMPANY LLC
MICHAEL KANIA                               CHIMERA SPECIAL HOLDING LLC - MICHAEL KANIA   CHIMERA TRADING CO LLC - MICHAEL KANIA
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                           525 WILLIAM PENN PL
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                           PITTSBURGH PA 15259




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THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
HH ELLINGTON MASTER FUND LTD                   BARCLAYS BANK PLC - PLEDGE ACCOUNT         ANNALY COMMERCIAL REAL ESTATE GR
HH ELLINGTON MASTER FUND LTD - MICHAEL KANIA   CORP ACTIONS                               DONNA STEINMAN
525 WILLIAM PENN PL                            ONE WALL ST                                ONE WALL ST
PITTSBURGH PA 15259                            NEW YORK NY 10286                          NEW YORK NY 10286




THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
BARCLAYS CAPITAL SECURITIES LTD SBLPB          ANNALY COMMERCIAL REAL ESTATE GR           NOMURA FIN PRODUCTS AND SVC INC
CORP ACTIONS                                   DBAG LONDON GLOBAL MARKETS - DONNA         DONNA STEINMAN
525 WILLIAM PENN PL                            STEINMAN                                   11486 CORPORATE BLVD
PITTSBURGH PA 15259                            ONE WALL ST                                STE 300
                                               NEW YORK NY 10286                          ORLANDO FL 32817


THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
BANQUE DEWAAY MGT SA                           BARCLAYS BANK PLC FIRM                     BARCLAYS BK PLC-BARC LUX SARL A/C 1
MICHAEL KANIA - VICE PRESIDENT                 CORP ACTIONS                               MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                            ONE WALL ST                                525 WILLIAM PENN PL
PITTSBURGH PA 15259                            NEW YORK NY 10286                          PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
BARCLAYS BK PLC-BARC LUX SARL A/C 2            BOA SECURITIESLTD BASL                     CACEIS BANK DEUTSCHLAND GMBH
MICHAEL KANIA - ASSISTANT TREASURER            MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
CDC HOLDINGS TRUST INC                         CDC MORTGAGE CAPITAL INC                   CHARLES STANLEYAND CO LIMITED
CORP ACTIONS                                   CORP ACTIONS                               MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                525 WILLIAM PENN PL
NEW YORK NY 10286                              NEW YORK NY 10286                          PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
CHIMERA RMBS WHOLE POOL LLC                    COUNTRYWIDE HOME LOANS CHL FOR CCM         COUNTRYWIDE HOME LOANS
(F/K/A CIM ASSET HOLDING) - MICHAEL KANIA      CONDUITS                                   CORP ACTIONS
525 WILLIAM PENN PL                            DONNA STEINMAN - VICE PRESIDENT            ONE WALL ST
PITTSBURGH PA 15259                            ONE WALL ST                                NEW YORK NY 10286
                                               NEW YORK NY 10286


THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
CRESCENT II FUND LP                            DAVY SECURITIESLIMITED                     DB BREVAN HOWARD MASTER FUND
DONNA STEINMAN - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                    525 WILLIAM PENN PL                        525 WILLIAM PENN PL
NEW YORK NY 10286                              PITTSBURGH PA 15259                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
DBAG FRANKFURTGLOBAL MARKET                    DBAG LONDON GLOBAL MARKETS (CLIENT ACCT)   DBAG LONDON GLOBAL MARKET
DONNA STEINMAN - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT            DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                    ONE WALL ST                                ONE WALL ST
NEW YORK NY 10286                              NEW YORK NY 10286                          NEW YORK NY 10286




THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
DBL-FIXED INCOME PRIME BROKERAGE               DBLPBBLACK ANTMASTER FD LP                 DBTCA-DB AG LDNPB - FIRM ACCOUNT
MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT             CORP ACTIONS
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                    THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
DEUTSCHE BANK AG FRANKFURT                     DEUTSCHE BANK AG LONDON PRIME BROKERAGE    ELLINGTON STRATEGIC MBS LP II
MICHAEL KANIA - VICE PRESIDENT                 MICHAEL KANIA - VICE PRESIDENT             DONNA STEINMAM - VICE PRESIDENT
525 WILLIAM PENN PL                            525 WILLIAM PENN PL                        ONE WALL ST
PITTSBURGH PA 15259                            PITTSBURGH PA 15259                        NEW YORK NY 10286




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THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
ELLINGTON STRATEGIC MGT FD LP               ELLINGTON CREDIT OPPORTUNITIES LTD         ELLINGTON MORTGAGE FUND SC LTD
DONNA STEINMAN - VICE PRESIDENT             DONNA STEINMAN - VICE PRESIDENT            DONNA STEINMAN - VICE PRESIDENT
ONE WALL ST                                 ONE WALL ST                                ONE WALL ST
NEW YORK NY 10286                           NEW YORK NY 10286                          NEW YORK NY 10286




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
HBK GLOBAL SECURITIES LP                    ING BANK NV LONDON BRANCH                  ITC - DEALERS CLEARANCE SPECIAL
CORP ACTIONS                                CORP ACTIONS                               MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                 525 WILLIAM PENN PL                        525 WIILIAM PENN PL
NEW YORK NY 10286                           PITTSBURGH PA 15259                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
KBC INVESTMENTSLIMITED                      MILLENNIUM FIXED INCOME LTD                ML EQUITY SOLUTIONS JERSEY LTD
MICHAEL KANIA - VICE PRESIDENT              DONNA STEINMAN - VICE PRESIDENT            MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                         ONE WALL ST                                525 WILLIAM PENN PL
PITTSBURGH PA 15259                         NEW YORK NY 10286                          PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
NATIXIS SECURITIES AMERICAS LLC             NATIXIS FINANCIAL PRODUCTS INC             NOMURA BANK INT'L PLC
DONNA STEINMAN - VICE PRESIDENT             CORP ACTIONS                               DONNA STEINMAN - ASSISTANT TREASURER
ONE WALL ST                                 ONE WALL ST                                11486 CORPORATE BLVD
NEW YORK NY 10286                           NEW YORK NY 10286                          STE 300
                                                                                       ORLANDO FL 32817


THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
OZ ASIA MASTERFUND LTD CUSTODY              OZ SPECIAL FUNDING OZMD LP                 RABO CAPITAL SVC
MICHAEL KANIA - VICE PRESIDENT              MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
RABOBANK INTERNATIONAL NY                   SOUTH STREET SECS LLC                      SUNTRUST BANK PORTFOLIO
MICHAEL KANIA - VICE PRESIDENT              CORP ACTIONS                               CORP ACTIONS
525 WILLIAM PENN PL                         11486 CORPORATE BLVD                       525 WILLIAM PENN PL
PITTSBURGH PA 15259                         STE 300                                    PITTSBURGH PA 15259
                                            ORLANDO FL 32817


THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
THE PRUDENTIALINVESTMENT                    TRADITION LONDON CLEARING LTD              TULLET AND TOKYOLIBERTY SEC LTD
MICHAEL KANIA - VICE PRESIDENT              MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
TULLETT PREBORNFINANCIAL SVC 1              TULLETT PREBORNFINANCIAL SVC               VANGUARD BLOCKLENDING
CORP ACTIONS                                CORP ACTIONS                               MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                 ONE WALL ST                                525 WILLIAM PENN PL
NEW YORK NY 10286                           NEW YORK NY 10286                          PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
ELLINGTON ENHANCED INCOME MASTER FUND LTD   NM PERA ELLINGTON ENHANCED INCOME FUND A   MERRILL LYNCH PIERCE FENNER AND SMITH
CORP ACTIONS                                LLC                                        DONNA STEINMAN - VICE PRESIDENT
525 WILLIAM PENN PL                         CORP ACTIONS                               ONE WALL ST
PITTSBURGH PA 15259                         525 WILLIAM PENN PL                        NEW YORK NY 10286
                                            PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON                 THE BANK OF NEW YORK MELLON                THE BANK OF NEW YORK MELLON
ABBEY NATIONAL TREASURY PLC US B            ANNALY CRE HOLDING                         BANCO SANTANDERSLB
CORPORATE ACTIONS                           ANNALY CRE HOLDING LLC, DONNA STEINMAN     MICHAEL KANIA, VICE PRESIDENT
525 WILLIAM PENN PL                         ONE WALL ST                                525 WILLIAM PENN PL
PITTSBURGH PA 15259                         NEW YORK NY 10286                          PITTSBURGH PA 15259




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THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
BROKER DEALER OMNIBUS                         EARN SECURITIESLLC                       GIB UK LTD CORP BOND
CLEOLA L MOORE                                CORP ACTIONS                             MICHAEL KANIA, VICE PRESIDENT
ONE WALL ST                                   ONE WALL ST                              525 WILLIAM PENN PL
NEW YORK NY 10286                             NEW YORK NY 10286                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON
HH ELLINGTON MASTER FUND LTD                  MILLENNIUM PARTNERS                      NATIXIS FUNDING CORP
CORPORATE ACTIONS                             MIKE SCARRY, ASSISTANT VICE PRESIDENT    CORP ACTIONS
525 WILLIAM PENN PL                           ONE WALL ST                              ONE WALL ST
PITTSBURGH PA 15259                           NEW YORK NY 10286                        NEW YORK NY 10286




THE BANK OF NEW YORK MELLON                   THE BANK OF NEW YORK MELLON              THE BANK OF NEW YORK MELLON /
WELLS FARGO MARGIN                            CELESTE MORRIS                           ELLINGTON GNMA MASTER FUND LTD
JOE WINKHART                                  500 GRANT ST                             CORPORATE ACTIONS
1 WALL ST                                     RM 151-2610                              525 WILLIAM PENN PL
5TH FL                                        PITTSBURGH PA 15259                      PITTSBURGH PA 15259
NEW YORK NY 10286


THE BANK OF NEW YORK MELLON TRUST             THE BANK OF NEW YORK MELLON, ELLINGTON   THE BANK OF NEW YORK MELLON/
COMPANYNATIONAL ASSOCIATION                   MORTGAGE OPPORTUNITIES MASTER FUND LTD   DEUTSCHE BK AG LONDON
MICHAEL KANIA - VICE PRESIDENT                DONNA STEINMAN - VICE PRESIDENT          CORPORATE ACTIONS
525 WILLIAM PENN PL                           ONE WALL ST                              525 WILLIAM PENN PL
PITTSBURGH PA 15259                           NEW YORK NY 10286                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON/                  THE BANK OF NEW YORK MELLON/ BANQUE      THE BANK OF NEW YORK MELLON/ANCHORAGE
ICBC STANDARD BANK PLC                        DEWAAYSA                                 CAPITAL
CORP ACTIONS                                  MICHAEL KANIA                            MICHAEL KANIA
525 WILLIAM PENN PL                           VICE PRESIDENT                           VICE PRESIDENT
PITTSBURGH PA 15259                           525 WILLIAM PENN PL                      525 WILLIAM PENN PL
                                              PITTSBURGH PA 15259                      PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON/ANNALY CRE LLC    THE BANK OF NEW YORK MELLON/ANNALY       THE BANK OF NEW YORK MELLON/ANNALY
DONNA STEINMAN                                FUNDINGLLC                               MORTGAGE
VICE PRESIDENT                                DONNA STEINMAN                           MICHAEL KANIA
ONE WALL ST                                   VICE PRESIDENT                           VICE PRESIDENT
NEW YORK NY 10286                             ONE WALL ST                              525 WILLIAM PENN PL
                                              NEW YORK NY 10286                        RM 0400
                                                                                       PITTSBURGH PA 15259

THE BANK OF NEW YORK MELLON/BAKER2            THE BANK OF NEW YORK MELLON/BAKERGROUP   THE BANK OF NEW YORK MELLON/BANQUE
DONNA STEINMAN                                CECILE LAMARCO                           D'ORSAY
VICE PRESIDENT                                ONE WALL ST                              CORP ACTIONS
ONE WALL ST                                   NEW YORK NY 10286                        VICE PRESIDENT
5TH FL                                                                                 525 WILLIAM PENN PL
NEW YORK NY 10286                                                                      PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON/BARCLAYS (BGIS)   THE BANK OF NEW YORK MELLON/BNYM ETF     THE BANK OF NEW YORK MELLON/BOA NA
MICHAEL KANIA - VICE PRESIDENT                CORP ACTIONS                             CORP ACTIONS
VICE PRESIDENT                                VICE PRESIDENT                           VICE PRESIDENT
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                      525 WILLIAM PENN PL
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                      PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON/CHIMERA RMBS      THE BANK OF NEW YORK MELLON/COMMERCIAL   THE BANK OF NEW YORK MELLON/DB CHILRDENS
LLC                                           LOANS                                    MICHAEL KANIA
CHIMERA RMBS LLC (F/K/A CIM HOLDING)          CORP ACTIONS                             VICE PRESIDENT
MICHAEL KANIA                                 ONE WALL ST (NEW ST LEVEL)               525 WILLIAM PENN PL
525 WILLIAM PENN PL                           NEW YORK NY 10286                        PITTSBURGH PA 15259
PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON/DBLPB-DBX         THE BANK OF NEW YORK MELLON/DBLPB-DBX    THE BANK OF NEW YORK
EUROLONGSHORT EQ 4 FD                         RISKARBITAGE 8 FUND                      MELLON/DBLPB-DBX-ASIANL
MICHAEL KANIA - VICE PRESIDENT                MICHAEL KANIA - VICE PRESIDENT           S EQUITY 2 FUND
525 WILLIAM PENN PL                           525 WILLIAM PENN PL                      MICHAEL KANIA - VICE PRESIDENT
PITTSBURGH PA 15259                           PITTSBURGH PA 15259                      525 WILLIAM PENN PL
                                                                                       PITTSBURGH PA 15259




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THE BANK OF NEW YORK MELLON/DBTC            THE BANK OF NEW YORK MELLON/DBTC           THE BANK OF NEW YORK MELLON/DBTC
DB AG LDNPB F AND C SAPPHIRE M/FD LTD       AMERICAS/DEUTSCHE BK LONDON PRIME          AMERICAS/DEUTSCHE BANK LONDON PRIME
CORP ACTIONS                                MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON/DBTC            THE BANK OF NEW YORK MELLON/DBTC           THE BANK OF NEW YORK MELLON/DBTC AMERICAS
DEUTSCHE BK LONDON PRIME SEG 30/30          DEUTSCHE BK LONDON PRIME SEG 15/00         DBAG LDNGS CR PORT LLC
MICHAEL KANIA - VICE PRESIDENT              MICHAEL KANIA - VICE PRESIDENT             MICHAEL KANIA - VICE PRESIDENT
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON/DBTCA           THE BANK OF NEW YORK MELLON/DBTCA          THE BANK OF NEW YORK MELLON/DBTCA
DB AG LDNPB CHEYNE VALUE FUND LP            DB AG LDNPB F AND C GARNET M/F LTD         DB AG LONPB POLGON GL OP M/FD
CORP ACTIONS                                CORP ACTIONS                               CORP ACTIONS
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                        PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON/DBTCA/DB AG     THE BANK OF NEW YORK MELLON/DBTCA/DB AG    THE BANK OF NEW YORK MELLON/DBTCA/DB AG
LDNPB-DEUTSCHE BANK NY                      LDNB                                       LDNPB
CORP ACTIONS                                CHEYNE SPEC'L SIT FD                       MULTI SEG CLEARANCE
525 WILLIAM PENN PL                         CORP ACTIONS                               CORP ACTIONS
PITTSBURGH PA 15259                         525 WILLIAM PENN PL                        525 WILLIAM PENN PL
                                            PITTSBURGH PA 15259                        PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON/DEPOSITA        THE BANK OF NEW YORK MELLON/EARN CMO LLC   THE BANK OF NEW YORK MELLON/EARN
MICHAEL KANIA                               CORP ACTIONS                               MORTGAGE LLC
VICE PRESIDENT                              ONE WALL ST                                CORP ACTIONS
525 WILLIAM PENN PL                         NEW YORK NY 10286                          ONE WALL ST
PITTSBURGH PA 15259                                                                    NEW YORK NY 10286




THE BANK OF NEW YORK MELLON/EF SECURITIES   THE BANK OF NEW YORK MELLON/ELLINGTON      THE BANK OF NEW YORK MELLON/EQUITIES
LLC                                         SPECIAL                                    FORTISBANKLONDON
CORP ACTIONS                                OPPORTUNITIES FUND LTD                     MICHAEL KANIA - VICE PRESIDENT
VICE PRESIDENT                              CORP ACTIONS                               525 WILLIAM PENN PL
ONE WALL ST                                 ONE WALL ST                                PITTSBURGH PA 15259
NEW YORK NY 10286                           NEW YORK NY 10286


THE BANK OF NEW YORK MELLON/EVOLUTION       THE BANK OF NEW YORK MELLON/FIFTH THIRD    THE BANK OF NEW YORK MELLON/FSA
BEESON                                      BANK                                       MIKE SCARRY
GREGORY LIMITED LIMITED - ACCOUNT #258688   CORP ACTIONS                               ASSISTANT VICE PRESIDENT
MICHAEL KANIA - VICE PRESIDENT              ONE WALL ST                                ONE WALL ST
525 WILLIAM PENN PL                         NEW YORK NY 10286                          NEW YORK NY 10286
PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON/HBK CDO TRUST   THE BANK OF NEW YORK MELLON/HBK MASTER     THE BANK OF NEW YORK MELLON/HSBC BAN
CORP ACTIONS                                FUNDLP                                     CORP ACTIONS
VICE PRESIDENT                              CORP ACTIONS                               VICE PRESIDENT
11486 CORPORATE BLVD                        ONE WALL ST                                525 WILLIAM PENN PL
ORLANDO FL 32817                            NEW YORK NY 10286                          PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON/INVESTEC        THE BANK OF NEW YORK MELLON/IPA            THE BANK OF NEW YORK MELLON/IVORS
LONDON                                      CORP ACTIONS                               CORP ACTIONS
MICHAEL KANIA                               VICE PRESIDENT                             ONE WALL ST
VICE PRESIDENT                              525 WILLIAM PENN PL                        NEW YORK NY 10286
525 WILLIAM PENN PL                         PITTSBURGH PA 15259
PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON/IXIS CMN        THE BANK OF NEW YORK MELLON/IXIS LOA       THE BANK OF NEW YORK MELLON/LINK SECURITIES
DONNA STEINMAN                              CORP ACTIONS                               MICHAEL KANIA
VICE PRESIDENT                              VICE PRESIDENT                             VICE PRESIDENT
ONE WALL ST                                 ONE WALL ST                                525 WILLIAM PENN PL
NEW YORK NY 10286                           NEW YORK NY 10286                          PITTSBURGH PA 15259




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THE BANK OF NEW YORK MELLON/MID CAP SPDRS   THE BANK OF NEW YORK MELLON/MIZUHO         THE BANK OF NEW YORK MELLON/NATIXIS
CORP ACTIONS                                CORPORATE                                  DONNA STEINMAN
VICE PRESIDENT                              BANK LTD NEW YORK BRANCH                   VICE PRESIDENT
525 WILLIAM PENN PL                         DONNA STEINMAN - VICE PRESIDENT            ONE WALL ST
PITTSBURGH PA 15259                         ONE WALL ST                                NEW YORK NY 10286
                                            NEW YORK NY 10286


THE BANK OF NEW YORK MELLON/NBT BANK        THE BANK OF NEW YORK MELLON/NTX FUND       THE BANK OF NEW YORK MELLON/OZ CAP STRUC
MIKE SCARRY                                 DONNA STEINMAN                             ARBTRAGE MASTER FUND
ASSISTANT VICE PRESIDENT                    VICE PRESIDENT                             MICHAEL KANIA - VICE PRESIDENT
ONE WALL ST                                 ONE WALL ST                                525 WILLIAM PENN PL
NEW YORK NY 10286                           NEW YORK NY 10286                          PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON/OZ EUROPE       THE BANK OF NEW YORK MELLON/OZ MASTER      THE BANK OF NEW YORK MELLON/OZ MASTER
MASTER                                      FUNDLTD                                    MASTER
MASTER FUND LTD                             CORP ACTIONS                               FUNDS LTD
MICHAEL KANIA - VICE PRESIDENT              VICE PRESIDENT                             MICHAEL KANIA - ASSISTANT TREASURER
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                        525 WILLIAM PENN PL
PITTSBURGH PA 15259                         PITTSBURGH PA 15259                        PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON/POPULAR         THE BANK OF NEW YORK MELLON/QVT CAPITAL    THE BANK OF NEW YORK MELLON/RABOBANK
CORP ACTIONS                                MICHAEL KANIA                              INTERNATIONAL LONDON EQUITY FINANCE
11486 CORPORATE BLVD                        VICE PRESIDENT                             CORP ACTIONS
ORLANDO FL 32817                            525 WILLIAM PENN PL                        525 WILLIAM PENN PL
                                            PITTSBUGH PA 15259                         PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLON/RBC BARBADOS    THE BANK OF NEW YORK MELLON/RBC I AND TS   THE BANK OF NEW YORK MELLON/SIMF
TBC                                         MICHAEL KANIA                              MICHAEL KANIA
CORP ACTIONS                                VICE PRESIDENT                             ASSISTANT TREASURER
VICE PRESIDENT                              525 WILLIAM PENN PL                        525 WILLIAM PENN PL
525 WILLIAM PENN PL                         PITTSBURGH PA 15259                        PITTSBURGH PA 15259
PITTSBURGH PA 15259


THE BANK OF NEW YORK MELLON/SOC GEN BANK    THE BANK OF NEW YORK MELLON/SOUTH STREET   THE BANK OF NEW YORK MELLON/SUNTRUST BANK
CORP ACTIONS                                SECURITIES                                 CORP ACTIONS
ASSISTANT VICE PRESIDENT                    CORP ACTIONS                               525 WILLIAM PENN PL
ONE WALL ST                                 11486 CORPORATE BLVD                       PITTSBURGH PA 15259
NEW YORK NY 10286                           STE 300
                                            ORLANDO FL 32817


THE BANK OF NEW YORK MELLON/TD BANK         THE BANK OF NEW YORK MELLON/TD NY          THE BANK OF NEW YORK MELLON/TD NY
MIKE SCARRY                                 MIKE SCARRY                                DONNA STEINMAN
ASSISTANT VICE PRESIDENT                    ASSISTANT VICE PRESIDENT                   11486 CORPORATE BLVD
ONE WALL ST                                 ONE WALL ST                                STE 300
NEW YORK NY 10286                           NEW YORK NY 10286                          ORLANDO FL 32817




THE BANK OF NEW YORK MELLON/TDB             THE BANK OF NEW YORK MELLON/TELEBANK       THE BANK OF NEW YORK MELLON/WELLS FA
UNENCUMBERED                                CORP ACTIONS                               JOE WINKHART
DONNA STEINMAN                              ASSISTANT VICE PRESIDENT                   1 WALL ST
11486 CORPORATE BLVD                        ONE WALL ST                                5TH FL
STE 300                                     NEW YORK NY 10286                          NEW YORK NY 10286
ORLANDO FL 32817


THE BANK OF NEW YORK MELLON/WFC HOLDINGS    THE BANK OF NEW YORK MELLONCWIBH INC       THE BANK OF NEW YORK MELLONDEALERWEB INC
CORP                                        DONNA STEINMAN                             MIKE SCARRY
CORPORATE ACTIONS                           ONE WALL ST                                ASSISTANT VICE PRESIDENT
525 WILLIAM PENN PL                         NY NY 10286                                ONE WALL ST
PITTSBURGH PA 15259                                                                    NEW YORK NY 10286




THE BANK OF NEW YORK MELLONEF CMO, LLC      THE BANK OF NEW YORK MELLONEF MORTGAGE,    THE BANK OF NEW YORK MELLONFMSBONDS, INC
DONNA STEINMAN                              LLC                                        CORP ACTIONS
VICE PRESIDENT                              DONNA STEINMAN                             16 WALL ST 5TH FL
ONE WALL ST                                 VICE PRESIDENT                             NEW YORK NY 10005
NEW YORK NY 10286                           ONE WALL ST
                                            NEW YORK NY 10286




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THE BANK OF NEW YORK MELLONHSBC, BK PLC A   THE BANK OF NEW YORK MELLONNOMURA           THE BANK OF NEW YORK MELLONST BERNARD
C IB EQ FIN NON US                          SECURITIES BERMUDA LTD                      OPPORTUNITY FUND 1 LTD
MICHAEL KANIA - VICE PRESIDENT              CORPORATE ACTIONS                           525 WILLIAM PENN PL
525 WILLIAM PENN PL                         525 WILLIAM PENN PL                         PITTSBURGH PA 15259
PITTSBURGH PA 15259                         PITTSBURGH PA 15259




THE BANK OF NEW YORK MELLONTD BANK NA       THE BANK OF NEW YORK MELLONTORONTO          THE BANK OF NEW YORK/FORTIS BANK NV/SA
DONNA STEINMAN                              DOMINION SECURITIES INC                     CORP ACTIONS
ASSISTANT TREASURER                         CLEOLA L MOORE                              VICE PRESIDENT
11486 CORPORATE BLVD                        ONE WALL ST                                 525 WILLIAM PENN PL
STE 300                                     NEW YORK NY 10286                           PITTSBURGH PA 15259
ORLANDO FL 32817


THE BANK OF NEW YORK/THE ROYAL BANK OF      THE BANK OF NOVA SCOTIA                     THE BANK OF NOVA SCOTIA SCE LTDCDS**
CANADA                                      PRINCIPAL EQUITIES/CDS**                    JOSEPH CHAU
CORP ACTIONS                                40 KING ST WEST                             MANAGER
525 WILLIAM PENN PL                         SCOTIA PLZ                                  40 KING ST WEST
PITTSBURGH PA 15259                         TORONTO ON M5H 1H1                          SCOTIA PLZ
                                            CANADA                                      TORONTO ON ON500000
                                                                                        CANADA

THE BANK OF NOVA SCOTIA, NEW YORK AGENCY    THE BANK OF NOVA SCOTIA/CDS**               THE BANK OF NOVA SCOTIA/CLIENT B/CDS**
CORPORATE ACTIONS                           CORPORATE ACTIONS                           CORPORATE ACTIONS
1 LIBERTY PLZ                               40 KING ST WEST                             40 KING ST WEST
165 BROADWAY FLOORS 2226                    SCOTIA PLZ                                  23RD FL
NEW YORK NY 10006                           TORONTO ON M5H 1H1                          TORONTO ON M5H 1H1
                                            CANADA                                      CANADA


THE BANK OF NY MELLON                       THE BANK OF NY MELLON                       THE BENEFICIENT CO GROUP USA II, LLC
MELLON TRST OF NEW ENGLAND                  MELLON TRST OF NEW ENGLAND                  325 N SAINT PAUL ST
NORTHWESTERN MUTUAL LIFE, DENISE FRUEND     NORTHWESTERN MUTUAL LIFE, GAIL M LEANNAIS   STE 4850
525 WILLIAM PENN PL                         720 EAST WISCONSIN AVE                      DALLAS TX 75201
PITTSBURGH PA 15259                         MILWAUKEE WI 53202-4797




THE BENEFICIENT CO GROUP USA LLC            THE BENEFICIENT CO GROUP USA, LLC           THE BENEFICIENT CO GROUP, LP
ACCOUNTING JESSIE LO                        325 N SAINT PAUL ST                         325 N SAINT PAUL ST
325 NORTH SAINT PAUL ST                     STE 4850                                    STE 4850
STE 4850                                    DALLAS TX 75201                             DALLAS TX 75201
DALLAS TX 75201




THE BENEFICIENT COMPANY GROUP LP            THE BENEFICIENT GROUP, LP                   THE BUSINAESS INSTITUTE LLC
HOLLAND AND KNIGHT LLP                      325 N SAINT PAUL ST                         64 HASTINGS RD
DAVID BENNETT                               STE 4850                                    MANCHESTER NJ 08759
ONE ARTS PLZ                                DALLAS TX 75201
1722 ROUTH ST STE 1500
DALLAS TX 75201


THE CANOPY GROUP                            THE CENTRAL DEPOSITORY (PTE) LIMITED        THE COMMONWEALTH OF MASSACHUSETTS
200 S MAIN ST                               CORPORATE ACTIONS                           MASSACHUSETTS DIVISION OF INSURANCE
LE SEUER MN 56058                           9 NORTH BUONA VISTA DR                      COMPANY LICENSING SECTION
                                            #01-19/20 THE METROPOLIS                    1000 WASHINGTON ST STE 810
                                            SINGAPORE 138588                            BOSTON MA 02118-6200
                                            SINGAPORE


THE CREATIVE GROUP                          THE DEAL LLC                                THE DI WIRE PUBLISHING LLC
PO BOX 743295                               PO BOX 417611                               17542 EAST 17TH ST
LOS ANGELES CA 90074-3295                   BOSTON MA 02241-7611                        STE 450
                                                                                        TUSTIN CA 91780




THE FAIRWAYS EAGLE                          THE FIG GROUP                               THE FIRST, NATIONAL ASSOCIATIONDRS
14481 AUGUSTA RD                            2626 COLE AVE                               STACY BRANN
ORLANDO FL 32826                            STE 300                                     7 BRISTOL RD
                                            DALLAS TX 75204                             DAMARISCOTTA ME 04543




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THE GRAND HOTEL                       THE HANOVER INSURANCE GROUP     THE HARTFORD
615 SECOND AVE SOUTH                  CUSTOMER 1516346670-001-000     PO BOX 9001144
MINNEAPOLIS MN 55402                  PO BOX 580045                   LOUISVILLE KY 40290
                                      CHARLOTTE NC 28258-0045




THE HERSAM ACORN NEWSPAPERS           THE HUNTINGTON NATIONAL BANK    THE HUNTINGTON NATIONAL BANK
1000 BRIDGEPORT AVE                   PAULA FLETCHER                  CORPORATE ACTIONS
SHELTON CT 06484                      7 EASTON OVAL                   DAVID GUNNING
                                      COLUMBUS OH 43219               5555 CLEVELAND AVE
                                                                      GW4E62
                                                                      COLUMBUS OH 43231


THE JACK BREWER FOUNDATION            THE JACK BREWER FOUNDATION      THE KELT GROUP
7951 SW 6TH ST                        6200 EXCELSIOR BLVD             2050 ALAMEDA PADRE SERRA
STE 216                               STE 104                         STE 201
PLANTATION FL 33324                   SAINT LOUIS PARK MN 55416       SANTA BARBARA CA 93103




THE LAW OFFICES OF JEFF MCKNIGHT      THE LT-1 EXCHANGE TRUST         THE LT-12 EXCHANGE TRUST
900 8TH ST                            325 N ST PAUL ST STE 4850       325 N ST PAUL ST STE 4850
STE 815                               DALLAS TX 75201                 DALLAS TX 75201
WICHITA FALLS TX 76301




THE LT-14 EXCHANGE TRUST              THE LT-15 EXCHANGE TRUST        THE LT-16 EXCHANGE TRUST
325 N ST PAUL ST STE 4850             325 N ST PAUL ST STE 4850       325 N ST PAUL ST STE 4850
DALLAS TX 75201                       DALLAS TX 75201                 DALLAS TX 75201




THE LT-17 EXCHANGE TRUST              THE LT-18 EXCHANGE TRUST        THE LT-19 EXCHANGE TRUST
325 N ST PAUL ST STE 4850             325 N ST PAUL ST STE 4850       325 N ST PAUL ST STE 4850
DALLAS TX 75201                       DALLAS TX 75201                 DALLAS TX 75201




THE LT-2 EXCHANGE TRUST               THE LT-20 EXCHANGE TRUST        THE LT-21A CUSTODY TRUST
325 N ST PAUL ST STE 4850             325 N ST PAUL ST STE 4850       251 LITTLE FALLS DR
DALLAS TX 75201                       DALLAS TX 75201                 WILMINGTON DE 19808-1674




THE LT-22A CUSTODY TRUST              THE LT-23A CUSTODY TRUST        THE LT-24A CUSTODY TRUST
251 LITTLE FALLS DR                   251 LITTLE FALLS DR             251 LITTLE FALLS DR
WILMINGTON DE 19808-1674              WILMINGTON DE 19808-1674        WILMINGTON DE 19808-1674




THE LT-25A CUSTODY TRUST              THE LT-26A CUSTODY TRUST        THE LT-3 EXCHANGE TRUST
251 LITTLE FALLS DR                   251 LITTLE FALLS DR             325 N ST PAUL ST STE 4850
WILMINGTON DE 19808-1674              WILMINGTON DE 19808-1674        DALLAS TX 75201




THE LT-4 EXCHANGE TRUST               THE LT-5 EXCHANGE TRUST         THE LT-6 EXCHANGE TRUST
325 N ST PAUL ST STE 4850             325 N ST PAUL ST STE 4850       325 N ST PAUL ST STE 4850
DALLAS TX 75201                       DALLAS TX 75201                 DALLAS TX 75201




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THE LT-7 EXCHANGE TRUST                THE LT-8 EXCHANGE TRUST                       THE LT-9 EXCHANGE TRUST
325 N ST PAUL ST STE 4850              325 N ST PAUL ST STE 4850                     325 N ST PAUL ST STE 4850
DALLAS TX 75201                        DALLAS TX 75201                               DALLAS TX 75201




THE MARCUS INSURANCE AGENCY INC        THE MCDOWELL AGENCY INC                       THE MCERNEY GROUP
389 BOSTON POST RD                     1101 N SNELLING AVE                           1329 BEDFOR DR
SUDBURY MA 01776                       ST PAUL MN 55108                              MELBOURNE FL 32940




THE NASDAQ STOCK MARKET LLC            THE NASDAQ STOCK MARKET LLC LBX 20200         THE NASDAQ STOCK MARKET LLC LBX 20200
VINCENT DIVITO                         PO BOX 780200                                 151 W 42ND STREET
DIRECTOR                               PHILADELPHIA PA 19178-0200                    NEW YORK NY 10036
ONE LIBERTY PLZ
NEW YORK NY 10006




THE NATIONAL UNDERWRITER CO            THE NELSON UPPER MIDWEST OPERATING CO LLC     THE NEW-YORK HISTORICAL SOCIETY
39680 TREASURY CENTER                  PO BOX 822680                                 170 CENTRAL PK WEST
CHICAGO IL 60694-9600                  PHILADELPHIA PA 19182-2680                    NEW YORK NY 10024




THE NORTHERN TRUST CO                  THE NORTHERN TRUST CO                         THE NORTHERN TRUST CO
ANDREW LUSSEN                          CAPITAL STRUCTURES-C1N                        PROXY DIVISION C-1N
CAPITAL STRUCTURES-C1N                 RYAN CHISLETT                                 801 S CANAL ST
801 S CANAL ST                         801 S CANAL ST                                CHICAGO IL 60607
CHICAGO IL 60607                       CHICAGO IL 60607




THE OPTIONS CLEARING CORP              THE PARK NATIONAL BANK/DRS                    THE PERSIMMON GROUP
OCC MARKETLOAN PROGRAM ACCOUNT - AQS   DEBBIE DANIELS                                103 MARTY DR STE 105
ANDREW PANARAS - SUPERVISOR            ONE SOUTH MAIN ST                             BUFFALO MN 55313
ONE NORTH WACKER DR                    VERNON OH 43050
STE 500
CHICAGO IL 60606


THE PRIMARY GROUP                      THE REGENTS OF THE UNIVERSITY OF CALIFORNIA   THE RITZ-CARLTON ORLANDO GRANDE LAKES
ACCOUNTS PAYABLE                       OFFICE OF INNOVATION AND ENTREPRENEURSHIP     4012 CENTRAL FLORIDA PKWY
999 DOUGLAS AVE STE 2225               1111 FRANKLIN ST 5TH FL                       ATTN: ANGELICA GUERTIN
ALTAMONTE SPRINGS FL 32714             OAKLAND CA 94607-5200                         ORLANDO FL 32837




THE RITZCARLTON LAGUNA NIGUEL          THE ROYAL BANK OF SCOTLAND PLC, CT BRANCH     THE SEC INSTITUTE INC
ONE RITZ-CARLTON DR                    JEFF BLACK                                    5301 BLUE LAGOON DR
DANA POINT CA 92629                    600 WASHINGTON BLVD                           STE 590
                                       STAMFORD CT 06901                             MIAMI FL 33126




THE STATLER                            THE STRATEGIC FINANCIAL ALLIANCE INC          THE STRAUSS AGENCY INC
1914 COMMERCE ST                       2200 CENTURY PKWY                             225 WEST 34TH ST
DALLAS TX 75201                        STE 500                                       STE 1900
                                       ATLANTA GA 30345                              NEW YORK NY 10122




THE TEL-AVIV STOCK EXCHANGE CLEARING   THE TRUSTEES OF COLUMBIA UNIVERSITY           THE WALL STREET JOURNAL
HOUSELTD                               IN THE CITY OF NEW YORK                       PO BOX 7020
NIRA MEIR                              615 WEST 131ST ST                             CHICOPEE MA 01021-7020
54 AHAD HA'AM ST                       3RD FL
POB 29060                              NEW YORK NY 10027
TEL AVIF 6129001
ISRAEL




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THE WALL STREET TRANSCRIPT            THE WALL STREET TRANSCRIPT               THE WATERFRONT COUNTRY CLUB
622 3RD AVE                           622 THIRD AVE                            PO BOX 540
34TH FLOOR                            34TH FL                                  WIRTZ VA 24184
NEW YORK NY 10017                     NEW YORK NY 10017




THOMPSON AND KNIGHT LLP               THOMSON REUTERS WEST                     TIAA-CREFF LIFE INSURANCE CO
ONE ARTS PLAZA                        PAYMENT CTR PO BOX 6292                  PO BOX 933714
1722 ROUTH ST STE 1500                CAROL STREAM IL 60197-6292               ATLANTA GA 31193
DALLAS TX 75201-2533




TIERNEY BROTHERS INC                  TIMBER HILL LLC                          TIME INSURANCE CO
PO BOX 858255                         KARIN MCCARTHY                           100 CENTERVIEW DR STE 100
MINNEAPOLIS MN 55485                  1 PICKWICK PLZ                           NASHVILLE TN 37214
                                      GREENWICH CT 06830




TIME WARNER CABLE                     TIMOTHY EVANS                            TITAN SECURITIES
BOX 223085                            GWG HOLDINGS INC                         16775 ADDISON RD
PITTSBURGH PA 15251-2085              CFO                                      STE 525
                                      325 N ST PAUL ST                         ADDISON TX 75001
                                      STE 2650
                                      DALLAS TX 75201


TMI TRUST CO                          TN DEPT OF LABOR AND WORKFORCE           TO YOUR DOOR SPA AND SALON
FBO ROBERT WINTERBOTTOM               DEVELOPMENT                              16200 S W PACIFIC HWY H
IRA AC 0013332                        UI RECOVERY                              PMB 110
901 SUMMIT AVE                        PO BOX 24150                             TIGARD OR 97224
FORT WORTH TX 76102                   NASHVILLE TN 37202-4150




TODD ASSOCIATES INC                   TOPPAN MERRILL LLC                       TOPPAN VINTAGE INC
BOND DEPT                             1501 ENERGY PK DR                        747 THIRD AVE
23825 COMMERCE PK                     ST. PAUL MN 55108                        7TH FL
BEACHWOOD OH 44122                                                             NEW YORK NY 10017




TORONTO-DOMINION BANK (THE)**         TORRINI COMPANIES                        TOTAL QUALITY LOGISTICS LLC
M JASON PEEL                          236 GIRARD AVE N                         PO BOX 634558
MANAGER                               MINNEAPOLIS MN 55405                     CINCINNATI OH 45263-4558
77 KING ST WEST
16TH FL
TORONTO ON M5K 1A2
CANADA

TOUGH MUDDER INC                      TOWNSHIP OF PARSIPPANY                   TRADEBOT SYSTEMS, INC
15 METROTECH CTR                      REGISTRAR OF VITAL STATISTICS            CORPORATE ACTIONS
7TH FL                                1001 PARSIPPANY BLVD                     1251 NW BRIARCLIFF PKWY STE
BROOKLYN NY 11201                     PARSIPPANY NJ 07054                      700
                                                                               KANSAS CITY MO 64116-1784




TRADESTATION SECURITIES, INC          TRADESTATION SECURITIES, INC             TRADESTATION SECURITIES, INC
DAVID BIALER                          ANDREA AUGUSTIN                          TRADESTATION SECURITIES INC
8050 SW 10TH ST                       CORPORATE ACTIONS                        CORPORATE ACTIONS
STE 400                               8050 SW 10TH ST                          8050 SW 10TH ST
PLANTATION FL 33324                   PLANTATION FL 33324                      STE 400
                                                                               PLANTATION FL 33324


TRADITION ASIEL SECURITIES INC        TRANSAM SECURITIES INC                   TRANSAMERICA ADVISORS LIFE INS CO
JEANETTE RIVERA                       1111 DOUGLAS AVE SANLANDO CTR STE 1150   2000 WADE HAMPTON BLVD
255 GREENWICH ST                      ALTAMONTE SPRINGS FL 32714               ATTN: BILLING
4TH FL                                                                         GREENVILLE SC 29615
NEW YORK NY 10007




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TRANSAMERICA LIFE INSURANCE CO          TRANSUNION RISK AND ALTERNATIVE    TREASURER OF VIRGINIA
4333 EDGEWOOD RD NE                     DATA SOLUTIONS INC                 STATE CORP COMMISSION
CEDAR RAPIDS IA 52499                   PO BOX 209047                      PO BOX 758964
                                        DALLAS TX 75320-9047               BALTIMORE MD 21275-8964




TREASURER OF VIRGINIA                   TREASURER OF VIRGINIA              TREASURER OF VIRGINIA
BUREAU OF INSURANCE                     1300 EAST MAIN ST                  PO BOX 1157
PO BOX 1157                             9TH FLOOR                          RICHMOND VA 23218
RICHMOND VA 23218                       RICHMOND VA 23219




TREASURER STATE OF CONNECTICUT          TREASURER STATE OF MAINE           TREASURER STATE OF MAINE
INSURANCE DEPT                          BUREAU OF INSURANCE                ACCTG ASSOCIATE BUREAU OF INSURANCE
POBOX 816                               34 STATE HOUSE STATION             34 STATE HOUSE STATION
HARTFORD CT 06142-0816                  AUGUSTA ME 04333                   AUGUSTA ME 04333-0034




TREISIGH FUND LLC                       TRISSTATE BROKERAGE INC            TRUST ADVISORY GROUP LTD
200 S BISCAYNE BLVD                     2000 COMMERCE LOOP                 444 WASHINGTON ST
STE 2790                                STE 2109                           STE 407
MIAMI FL 33131                          NORTH HUNTINGDON PA 15642          WOBURN MA 01801




TRUST CO OF AMERICA                     TRUSTMARK NATIONAL BANK            TTC AMERIDIAL
7103 SOUTH REVERE PKWY                  JACK BALL/VERLENA PETERS           4535 STRAUSSER ST NW
CENTENNIAL CO 80112                     248 EAST CAPITOL ST                NORTH CANTON OH 44720
                                        RM 580
                                        JACKSON MS 39201




TUCSON CONQUISTADORES                   TULLETT PREBON FINANCIAL SVC LLC   TURTLE CREEK CONSTRUCTION
6450 E BROADWAY BLVD                    CORPORATE ACTIONS                  PO BOX 191563
TUCSON AZ 85710                         101 HUDSON ST                      DALLAS TX 75219
                                        JERSEY CITY NJ 07302




TWIG NORTH TRANSPORTATION               TWIN CITY FIRE INSURANCE CO        UBS AG STAMFORD BRANCH
322 NORTH FIRST AVE                     1 HARTFORD PLAZA                   AS CUSTODIAN FOR UBSAG LONDON BRANCH
STE 402                                 STE 1685                           GREGORY CONTALDI - DIRECTOR
MINNEAPOLIS MN 55401                    HARTFORD CT 06155                  1000 HARBOR BLVD - 5TH FL
                                                                           WEENHAWKEN NJ 07086




UBS AG, STAMFORD BRANCH                 UBS AG, STAMFORD BRANCH            UBS AG, STAMFORD BRANCHIPA ACCOUNT
CARLOS LEDE                             AC PB CLIENTS-NO UBS LIEN          ANTHONY CONTE
677 WASHINGTON BLVD                     CARLOS LEDE                        677 WASHINGTON BLVD
STAMFORD CT 06901                       677 WASHINGTON BLVD                STAMFORD CT 06901
                                        STAMFORD CT 06901




UBS FINANCIAL SVC INC                   UBS FINANCIAL SVC INC              UBS FINANCIAL SVC INCGOVERNMENT
JANE FLOOD                              CORPORATE ACTIONS                  SECURITIES ACCOUNT #2
1000 HARBOR BLVD                        1000 HARBOR DR                     JONATHAN BANKS
WEEHAWKEN NJ 07086                      WEEHAWKEN NJ 07086                 1200 HARBOR BLVD
                                                                           WEEHAWKEN NJ 07086




UBS LIMITED                             UBS SECURITIES CANADA INCCDS**     UBS SECURITIES LLC
TRACEY DREWE                            CORPORATE ACTIONS                  GREGORY CONTALDI
1 FINSBURY AVE                          161 BAY ST                         DIRECTOR
LONDON EC2M 2PP                         STE 4000                           1000 HARBOR BLVD - 5TH FL
UNITED KINGDOM                          TORONTO ON M5J 2S1                 WEENHAWKEN NJ 07086
                                        CANADA




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UBS SECURITIES LLC/CMO               UBS SECURITIES LLC/SECURITIES LENDING   UCO REPORTER CENTURY VILLAGE
SCOTT HARRIS                         GREGORY CONTALDI                        2102 WEST DR
480 WASHINGTON BLVD                  480 WASHINGTON BLVD 12TH FL             WEST PALM BEACH FL 33417
JERSEY CITY NJ 07310                 JERSEY CITY NJ 07310




UHAN PROFESSIONAL SERVICES LLC       ULINE                                   UMB BANK NA/ENOGEX MTM/IPA
2 NORTH BROADWAY                     ACCOUNTS RECEIVABLE                     LEIGH SUROWIEC
PO BOX 1000                          PO BOX 88741                            2401 GRAND BLVD
GILBERT MN 55741                     CHICAGO IL 60680-1741                   STE 200
                                                                             KANSAS CITY MO 64108




UMB BANK, INVESTMENT DIVISION        UMB BANK, NATIONAL ASSOCIATION          UNDERWRITERS MARKETING SVC INC
MATTHEW BROWN                        VINCENT DUNCAN                          100 CENTRUY PKWY
928 GRAND BLVD                       928 GRAND BLVD                          STE 240
MS1010406                            KANSAS CITY MO 64133                    MOUNT LAUREL NJ 08054
KANSAS CITY MO 64106




UNDERWRITING INNOVATIONS LLC         UNION BANK AND TRUST CO                 UNION CAPITAL CO
32 BUXTON LN                         TAMMY ENGLE                             6407 E GRANT RD
RIVERSIDE CT 06878                   PO BOX 11126                            TUCSON AZ 85715
                                     HAUPPAUGE NY 11788-0934




UNION CENTRAL (AMERITAS)             UNISEARCH INC                           UNIT OWNERS ASSOCIATION OF PALM GREENS
233 SOUTH 13TH ST                    PO BOX 11940                            5801 VIA DELRAY
LINCOLN NE 68508                     OLYMPIA WA 98508                        DELRAY BEACH FL 33484




UNITED STATES ATTORNEY               UNITED STATES POSTAL SVC                UNITED STATES TREASURY
SOUTHERN DISTRICT OF TEXAS           USPS MAILING REQUIREMENTS               INTERNAL REVENUE SVC
1000 LOUISIANA STE 2300              PO BOX 645015                           1550 AMERICAN BLVD E STE 600
HOUSTON TX 77002                     SAINT PAUL MN 55164-5015                BLOOMINGTON MN 55425




UNIVERSAL FRAMING INC                UNREAL LLC                              UNSER COMMUNICATIONS
2010 E HENNEPIN AVE                  56 6TH ST E                             6085 W TWAIN AVE
#80                                  #303                                    STE 201
MINNEAPOLIS MN 55413                 ST. PAUL MN 55101                       LAS VEGAS NV 89103




UNUM LIFE INSURANCE CO               UPS                                     UPSERT SOLUTIONS LLC
PO BOX 406990                        PO BOX 650116                           801 WASHINGTON AVE NORTH
ATLANTA GA 30384-9548                DALLAS TX 75265-0116                    UNIT 309
                                                                             MINNEAPOLIS MN 55401




URBAN YOUTH IMPACT                   US BANCORP INVESTMENTS, INC             US BANCORP INVESTMENTS, INC
2823 NORTH AUSTRALIAN AVE            REORG DEPT                              CHERICE TVEIT
WEST PALM BEACH FL 33407             60 LIVINGSTON AVE                       60 LIVINGSTON AVE
                                     ST. PAUL MN 55107                       ST. PAUL MN 55107




US BANCORP INVESTMENTS, INC          US BANK                                 US BANK CORPORATE REAL ESTATE
KEVIN BROWN                          CM / 9703                               SDS 12-1716
ASSISTANT VICE PRESIDENT             ST. PAUL MN 55170-9703                  TENANT #507284
60 LIVINGSTON AVE                                                            PO BOX 86
ST. PAUL MN 55107-1419                                                       MINNEAPOLIS MN 55486




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US BANK EQUIPMENT FINANCE                  US BANK NA                            US BANK NACP
PO BOX 790448                              STEPHANIE KAPTA                       STEPHANIE STORCH
ST. LOUIS MO 63179-0448                    1555 N RIVERCENTER DR                 1555 N RIVERCENTER DR
                                           STE 302                               STE 302
                                           MILWAUKEE WI 53212                    MILWAUKEE WI 53212




US BANK NAETF                              US BANK NAQUASAR DISTRIBUTORS, LLC    US BANK NASAFEKEEPING WEST
STEPHANIE STORCH/MATTHEW LYNCH             SUBACCOUNTING AGENT                   STEPHANIE STORCH
1555 N RIVERCENTER DR                      STEPHANIE KAPTA                       1555 N RIVERCENTER DR
STE 302                                    1555 N RIVERCENTER DR                 STE 302
MILWAUKEE WI 53212                         STE 302                               MILWAUKEE WI 53212
                                           MILWAUKEE WI 53212


US BANK NATHIRD PARTY LENDING              US BANK NATIONAL ASSOCIATION          US BANK NATIONAL ASSOCIATION
SCOTT OLSON                                PROPERTY MANAGER                      JOE ULLRICH
1555 N RIVERCENTER DR                      200 SOUTH SIXTH ST                    777 EAST WISCONSIN AVENUE
STE 302                                    STE 640                               SUITE 3175
MILWAUKEE WI 53212                         MINNEAPOLIS MN 55402                  MILWAUKEE WI 53202




US BANK NATIONAL ASSOCIATION               US BANK NATRUST NY MTN                US BANK, NA
JEFFREY W. SHEA - CORP. COUNSEL            MATT LYNCH                            US BANK MUNICIPAL SECURITIES GROUP
BC-MN-H21N                                 1555 N RIVER CTR DR                   MATT LYNCH
800 NICOLLET MALL, 21ST FLOOR              STE 302                               1555 N RIVER CTR DR
MINNEAPOLIS MN 55402                       MILWAUKEE WI 53212                    STE 302
                                                                                 MILWAUKEE WI 53212


US DEPT OF EDUCATION                       US DEPT OF THE TREASURY               US DEPT OF THE TREASURY
NATIONAL PAYMENT CENTER                    INTERNAL REVENUE SVC                  INTERNAL REVENUE SVC
PO BOX 105081                              OGDEN UT 84201-0005                   PO BOX 806532
ATLANTA GA 30348-5081                                                            CINCINNATI OH 45280-6532




US FINANCIAL INVESTMENTS INC               US FINANCIAL LIFE INSURANCE CO        US SPECIALTY INSURANCE CO
90 BROAD ST 17TH FLOOR                     100 MADISON ST                        5601 GRANITE PKWY
NEW YORK NY 10004                          SYRACUSE NY 13202                     STE 1100
                                                                                 PLANO TX 75024




USAA INVESTMENT MANAGEMENT CO              USAA INVESTMENT MANAGEMENT CO         USAA LIFE INSURANCE COMPAMY
JOYCE WILSON MANAGER                       BROADRIDGE                            9800 FREDERICKSBURG RD
PO BOX 659453                              ISSUER SVC                            SAN ANTONIO TX 78288-0336
SAN ANTONIO TX 78265-9825                  51 MERCEDES WAY
                                           EDGEWOOD NY 11717




USC NORRIS CANCER CENTER BUSINESS OFFICE   USI SOUTHWEST DALLAS                  USI SOUTHWEST DALLAS
UNIVERSITY GARDENS                         PO BOX 61187                          2711 N HASKELL AVE
STE 205                                    VIRGINIA BEACH VA 23466               STE 2000
LOS ANGELES CA 90089-8006                                                        DALLAS TX 75204-2914




USI SOUTHWEST DALLAS                       UST                                   UTAH ATTORNEY GENERAL
14241 DALLAS PKWY                          PO BOX 970                            SEAN D REYES
STE 700                                    LA VERNE CA 91750-0970                UTAH STATE CAPITOL COMPLEX
DALLAS TX 75254                                                                  350 NORTH STATE ST STE 230
                                                                                 SALT LAKE CITY UT 84114-2320




UTAH DEPT OF COMMERCE DIVISION OF          UTAH DEPT OF FINANCIAL INSTITUTIONS   UTAH DIVISION OF SECURITIES
SECURITIES                                 324 SOUTH STATE ST                    160 EAST 300 SOUTH
DIVISION OF SECURITIES                     STE 201                               2ND FLOOR BOX 146760
PO BOX 146760                              SALT LAKE CITY UT 84111               SALT LAKE CITY UT 84114
SALT LAKE CITY UT 84114-6760




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UTAH STATE TAX COMMISSION                     VACO MINNEAPOLIS LLC                           VALUATION RESEARCH CORP
210 NORTH 1950 W                              5410 MARYLAND WAY                              330 E KILBOURN AVE
SALT LAKE CITY UT 84134-0180                  STE 460                                        STE 1425
                                              BRENTWOOD TN 37027                             MILWAUKEE WI 53202




VANCE CAPITAL MANAGEMENT LLC                  VANGUARD MARKETING CORP                        VANGUARD MARKETING CORP
14570 MONO STE A                              PO BOX 982901                                  BEN BEGUIN
SONORA CA 95370                               EL PASO TX 79998                               14321 N NORTHSIGHT BLVD
                                                                                             SCOTTSDALE AZ 85260




VANGUARD MARKETING CORP                       VANGUARD MARKETING CORP                        VANTAGE RETIREMENT PLANS, LLC
PO BOX 1170                                   100 VANGUARD BLVD                              20860 N TATUM BLVD STE 240
VALLEY FORGE PA 19482-1170                    MALVERN PA 19355                               PHOENIX AZ 85050




VATACOM                                       VCHECK GLOBAL                                  VEDDER PRICE PC
7611 WASHINGTON AVE SOUTH                     5670 WILSHIRE BLVD                             222 N LASALLE ST
EDINA MN 55439-2417                           STE 1530                                       CHICAGO IL 60601
                                              LOS ANGELES CA 90036




VERITRUST HOLDINGS LLC                        VERIZON                                        VERMONT ATTORNEY GENERAL
3948 W 49 1/2 ST #24867                       PO BOX 15124                                   TJ DONOVAN
MINNEAPOLIS MN 55424                          ALBANY PA 18002-5505                           PAVILLION OFFICE BLDG
                                                                                             109 STATE ST
                                                                                             MONTPELIER VT 05609-1001




VERMONT BANKING DIVISION                      VERMONT DEPT OF BANKING                        VERMONT DEPT OF FINANCIAL REGULATION
DEPT OF BANKING INSURANCE SECURITIES AND      SECUIRITIES DIVISION AND INVESTORS INQUIRIES   89 MAIN ST DRAWER 20
HEALTH CARE ADMINISTRATION                    89 MAIN ST                                     MONTPELIER VT 05620-3101
89 MAIN ST                                    MONTPELIER VT 05620-3101
DRAWER 20
MONTPELIER VT 05620


VERMONT DEPT OF TAXES                         VETERANS CARE ASSISTANCE PROGRAM               VFG SECURITIES INC
109 STATE ST PAVILION OFFICE BUILDING         530 S 9TH ST                                   632 ARIZONA AVE
MONTPELIER VT 05609-0201                      LAS VEGAS NV 89101                             SANTA MONICA CA 90230




VIEWTRADE SECURITIES                          VIP SEARCH GROUP LLC                           VIRGIN ISLANDS
7280 W PALMETTO PK RD #105                    14901 QUORUM DR                                DIVISION OF BANKING INSURANCE
BOCA RATON FL 33433                           STE 540                                        AND FINANCIAL REGULATION
                                              DALLAS TX 75254                                1131 KING ST STE 101
                                                                                             CHRISTIANSTED
                                                                                             ST. CROIX VI 00820


VIRGIN ISLANDS                                VIRGIN ISLANDS ATTORNEY GENERAL                VIRGIN ISLANDS BUREAU OF INTERNAL REVENUE
DIVISION OF BANKING INSURANCE                 DENISE N GEORGE                                6115 ESTATE SMITH BAY
AND FINANCIAL REGULATION                      34-38 KRONPRINDSENS GADE                       STE 225
5049 KONGENS GADE ST                          GERS BUILDING 2ND FL                           ST THOMAS VI 00802
ST. THOMAS VI 00802                           ST. THOMAS VI 00802




VIRGIN ISLANDS DIV OF BANKING AND INSURANCE   VIRGINIA ATTORNEY GENERAL                      VIRGINIA BUREAU OF FINANCIAL INSTITUTIONS
NO 5049 KONGENS GADE                          JASON MIYARES                                  STATE CORPORATION COMMISSION
CHARLOTTE AMALIE                              202 NORTH NINTH ST                             1300 EAST MAIN ST STE 800
SAINT THOMAS VI 00802-6487                    RICHMOND VA 23219                              PO BOX 640
                                                                                             RICHMOND VA 23218




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VIRGINIA DEPT OF TAXATION                   VIRGINIA STATE CORPORATION COMMISSION      VIRTU AMERICAS LLC
OFFICE OF CUSTOMER SVC                      DIV OF SECURITIES AND RETAIL FRANCHISING   165 BROADWAY
PO BOX 1115                                 PO BOX 1197                                NEW YORK NY 10006
RICHMOND VA 23218-1115                      RICHMOND VA 23218




VIRTU FINANCIAL BD LLC                      VIRTU FINANCIAL BD LLC                     VIRTU FINANCIAL CAPITAL MARKETS LLC
CORPORATE ACTIONS                           CORPORATE ACTIONS                          CORPORATE ACTIONS
900 THIRD AVE                               645 MADISON AVE                            1540 SECOND ST
29TH FL                                     NEW YORK NY 10022                          SANTA MONICA CA 90401
NEW YORK NY 10022




VIRTUE CAPITAL MANAGEMENT LLC               VISION FINANCIAL MARKETS LLC               VISION FINANCIAL MARKETS LLC
6 CADILLAC DR                               120 LONG RIDGE RD                          ANA MARTINEZ
STE 310                                     3 NORTH                                    120 LONG RIDGE RD
BRENTWOOD TN 37027                          STAMFORD CT 06902                          3 NORTH
                                                                                       STAMFORD CT 06902




VISION FINANCIAL MARKETS LLC                VISION FINANCIAL MARKETS LLC               VISION SVC PLAN
ANA MARTINEZ                                SECURITIES LENDING                         PO BOX 742788
CORPORATE ACTIONS                           ANA MARTINEZ                               LOS ANGELES CA 90074-2788
4 HIGH RIDGE PK                             120 LONG RIDGE RD
STAMFORD CT 06804                           3 NORTH
                                            STAMFORD CT 06902


VITAL RECORDS                               VITAL STATISTICS                           VITAL STATISTICS
CLAY COUNTY PUBLIC HELATH CENTER            FLORIDA DEPT OF HEALTH                     BUREAU OF VITAL STATISTICS
800 HAINES DR                               VITAL RECORDS SECTION                      VITAL RECORDS SECTION
LIBERTY MO 64068                            1217 NORTH PEARL ST                        PO BOX 210
                                            JACKSONVILLE FL 32202                      JACKSONVILLE FL 32231




VOYA FINANCIAL                              VOYANT COMMUNICATIONS                      WACHTEL AND CO, INC
2000 21ST AVE NW                            PO BOX 952151                              PROXY DEPT
MINOT ND 58703                              DALLAS TX 75395-2151                       1701 K ST NW
                                                                                       #615
                                                                                       WASHINGTON DC 20006




WALL STREET STRATEGIES INC                  WASHINGTON ATTORNEY GENERAL                WASHINGTON DEPT OF FINANCIAL INSTITUTIONS
362 NORTH MAIN ST                           BOB FERGUSON                               DIVISION OF CONSUMER SVC
HURON OH 44839                              1125 WASHINGTON ST SE                      PO BOX 41200
                                            PO BOX 40100                               OLYMPIA WA 98504
                                            OLYMPIA WA 98504-0100




WASHINGTON DEPT OF FINANCIAL INSTITUTIONS   WASHINGTON STATE                           WASHINGTON STATE DEPT OF REVENUE
SECURITIES DIVISION                         DEPT OF FINANCIAL INSTITUTIONS             PO BOX 47464
PO BOX 41200                                SECURITIES DIVISION                        OLYMPIA WA 98504-7476
OLYMPIA WA 98504-1200                       PO BOX 9033
                                            OLYMPIA WA 98507-9033




WATERFIELD TECHNOLOGIES                     WD LATIMER CO LTDCDS**                     WE ALLIANCE WEALTH ADVISORS INC
ONE WEST THIRD ST                           R J JAMORABON                              3001 DOUGLAS BLVD
STE 1115                                    100 WELLINGTON ST                          STE 142
TULSA OK 74103                              STE 600                                    ROSEVILLE CA 95661
                                            TORONTO ON M5K 1G8
                                            CANADA


WEDBUSH SECURITIES INC                      WEDBUSH SECURITIES INC                     WEDBUSH SECURITIES INCP3
DONNA WONG                                  ALAN FERREIRA                              ALAN FERREIRA
1000 WILSHIRE BLVD                          PO BOX 30014                               1000 WILSHIRE BLVD
LOS ANGELES CA 90030                        LOS ANGELES CA 90030                       STE #850
                                                                                       LOS ANGELES CA 90030




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WEDBUSH SECURITIES INCPC STOCK LOAN      WEDBUSH SECURITIES INCSTOCK LOAN         WEDBUSH SECURITIES INCSTOCK LOAN
ALAN FERREIRA                            ALAN FERREIRA                            CORPORATE ACTIONS CARMEN RIVERA
1000 WILSHIRE BLVD                       1000 WILSHIRE BLVD                       1000 WILSHIRE BLVD
LOS ANGELES CA 90030                     LOS ANGELES CA 90017                     LOS ANGELES CA 90017




WELLMAN AND ASSOCIATES PA                WELLS FARGO                              WELLS FARGO ADVISORS, LLC
16593 SE 77TH NORTHRIDGE CT              MATTHEW JORJORIAN                        ROBERT MATERA
THE VILLAGES FL 32162                    600 S 4TH ST                             1525 WEST WT HARRIS BLVD
                                         MINNEAPOLIS MN 55415                     CHARLOTTE NC 28262




WELLS FARGO BANK                         WELLS FARGO BANK NASIG WELLS FARG        WELLS FARGO BANK, NA ISSUINGPAYING AGENT
600 4TH ST                               ROBERT MATERA                            LIZ GALL HANSON
MINNEAPOLIS MN 55415                     ASSISTANT VICE PRESIDENT                 608 2ND AVE S
                                         CORP ACTIONS - NC0675                    MINNEAPOLIS MN 55434
                                         1525 WEST WT HARRIS BLVD 1B1
                                         CHARLOTTE NC 28262


WELLS FARGO BANK, NALENDING              WELLS FARGO BANK, NASIG                  WELLS FARGO BANK, NASIG
FRANK SOUDER                             ROBERT MATERA                            APRIL S POWERS
51 JFK PKWY                              VICE PRESIDENT                           CORPORATE ACTIONS
SHORT HILLS NJ 07078                     1525 W W T HARRIS BLVD                   550 S TRYON ST
                                         1ST FL                                   CHARLOTTE NC 28202
                                         CHARLOTTE NC 28262-8522


WELLS FARGO BANK, NATIONAL ASSOCIATION   WELLS FARGO BANK, NATIONAL ASSOCIATION   WELLS FARGO CLEARING SERVICES, LLC
LORA DAHLE                               CORPORATE ACTIONS                        1 NORTH JEFFERSON AVE
CORPORATE ACTIONS                        733 MARQUETTE AVENUE-5TH FL              ST. LOUIS MO 63103
550 SOUTH 4TH ST                         MINNEAPOLIS MN 55479
MAC N9310-141
MINNEAPOLIS MN 55415


WELLS FARGO CLEARING SVC                 WELLS FARGO SECURITIES, LLC              WELLS FARGO SECURITIES, LLCSECURITIES
ONE NORTH JEFFERSON                      ROBERT MATERA                            FINANCE
MAILSTOP: H0006-09E                      ASSISTANT VICE PRESIDENT                 STEVE TURNER
ST. LOUIS MO 63103                       CORP ACTIONS - NC0675                    ASSISTANT VICE PRESIDENT
                                         1525 WEST WT HARRIS BLVD 1B1             CORP ACTIONS - NC0675
                                         CHARLOTTE NC 28262                       1525 WEST WT HARRIS BLVD 1B1
                                                                                  CHARLOTTE NC 28262

WELLS FARGO VENDOR FIN SERV              WELLSPRING SOFTWARE                      WESBANCO BANK, INC
PO BOX 030310                            445 SOVEREIGN CT                         SUSAN KOVAL
LOS ANGELES CA 90030-0310                MANCHESTER MO 63011                      ONE BANK PLAZQ
                                                                                  WHEELING WV 26003




WEST COAST LIFE                          WEST HARTFORD TOWN CLERK                 WEST OAK CAPITAL
POLICY HOLDER SVC                        50 SOUTH MAIN ST                         BYRON SNIDER CORPORATE ACTIONS
2801 HWY 280 SOUTH                       WEST HARTFORD CT 06107                   2801 TOWNSGATE RD
BIRMINGHAM AL 35223                                                               SUTIE 112
                                                                                  WESTLAKE VILLAGE CA 91361




WEST PUBLISHING PRACTICAL LAW            WEST VIRGINA STATE TAX DEPT              WEST VIRGINIA
747 THIRD AVE 36TH FLOOR                 PO BOX 11425                             OFFICE OF WEST VIRGINIA ATTORNEY GENERAL
NEW YORK NY 10017                        CHARLESTON WV 25339                      CONSUMER PROTECTION DIVISION
                                                                                  812 QUARRIER ST
                                                                                  4TH FLOOR
                                                                                  CHARLESTON WV 25301


WEST VIRGINIA ATTORNEY GENERAL           WEST VIRGINIA DEPT OF REVENUE            WEST VIRGINIA OFFICE OF THE
PATRICK MORRISEY                         1206 QUARRIER ST                         INSURANCE COMMISSIONER
STATE CAPITOL COMPLEX                    CHARLESTON WV 23501                      FINANCIAL CONDITIONS
BLDG 1 ROOM E-26                                                                  PO BOX 50540
CHARLESTON WV 25305-0220                                                          CHARLESTON WV 25305-0540




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WEST VIRGINIA SECRETARY OF STATE     WEST VIRGINIA SECURITIES COMMISSION    WEST VIRGINIA STATE AUDITOR
1900 KANAWHA BLVD EAST               1900 KANAWHA BLVD EAST                 1900 KANAWHA BLVD EAST
BUILDING 1 STE 157-K                 BUILDING 1 ROOM W-100                  STATE CAPITOL COMPLEX BLDG 1 RM W-100
CHARLESTON WV 25305                  CHARLESTON WV 25305-0230               CHARELTON WV 25305




WESTCHESTER FIRE INSURANCE CO        WESTERN INTERNATIONAL SECURITIES INC   WESTERN MONTANA CLINIC
436 WALNUT ST                        70 SOUTH LAKE AVE                      PO BOX 7609
PHILADELPHIA PA 19106                STE 700                                MISSOULA MT 59807
                                     PASADENA CA 91101




WESTPARK CAPITAL INC                 WHITE OAK SECURITY                     WHITE OAK SECURITY INC
1900 AVENUE OF THE STARS STE 310     3300 PLYMOUTH BLVD NO 46243            3300 PLYMOUTH BLVD
LOS ANGELES CA 90067                 PLYMOUTH MN 55447                      #46243
                                                                            PLYMOUTH MN 55447




WHITE RICE PRODUCTIONS               WHITEFISH INVESTMENT PARTNERS          WHITEHALL-PARKER SECURITIES INC
2500 BROADWAY ST NE                  225 SOUTH SIXTH ST                     117 PAUL DR
STE 103                              STE 4950                               STE B
MINNEAPOLIS MN 55413                 MINNEAPOLIS MN 55402                   SAN RAFAEL CA 94903




WHITLEY PENN LLP                     WILBANKS SECURITIES INC                WILCO LIFE INSURANCE CO
640 TAYLOR ST                        4334 NW EXPWY STE 222                  LOCKBOX 71214
STE 2200                             OKLAHOMA CITY OK 73116                 6125 LAKEVIEW RD STE 800
FORT WORTH TX 76102                                                         CHARLOTTE NC 28269




WILLIAM BLAIR AND COMPANY, LLC       WILLIAM BLAIR AND COMPANY, LLC         WILLIAM PENN LIFE
MARIUSZ NIEDBALEC                    STEVE DEBERNARDO                       3275 BENNETT CREEK AVE
222 WEST ADAMS ST                    51 MERCEDES WAY                        PREMIUM DEPARTMENT
CHICAGO IL 60606                     EDGEWOOD NY 11717                      FREDERICK MD 21704




WILLKIE FARR AND GALLAGHER LLP       WILMINGTON CAPITAL SECURITIES LLC      WILSON OFFICE INTERIORS LLC
ACCOUNTS RECEIVABLE                  600 OLD COUNTRY RD                     5051 PULASKI ST
787 7TH AVE 38TH FLOOR               STE 200                                DALLAS TX 75247-5929
NEW YORK NY 10019                    GARDEN CITY NY 11530




WILSONDAVIS AND CO, INC              WILTON REASSURANCE                     WINNING EDGE MARKETING INC
BILL WALKER                          LOCK BOX 71214                         7005 ROGERS AVE
236 SOUTH MAIN ST                    6125 LAKEVIEW RD STE 800               PENNSAUKEN NJ 08109
SALT LAKE CITY UT 84101              CHARLOTTE NC 28269




WINSTED CUSTOM WOOD                  WINSTON AND STRAWN LLP                 WINSTON SPRAGUE SILVER
10901 HAMPSHIRE AVE S                2121 N PEARL ST                        593 BAUMTOWN RD
BLOOMINGTON MN 55438                 STE 900                                WANCHESE NC 27981
                                     DALLAS TX 75201




WISCONSIN ATTORNEY GENERAL           WISCONSIN DEPARTMENT OF REVENUE        WISCONSIN DEPT OF FINANCIAL INSTITUTIONS
JOSH KAUL                            2135 RIMROCK RD                        345 WEST WASHINGTON AVE
114 EAST STATE CAPITOL               MADISON WI 53713                       4TH FLOOR PO BOX 1768
MADISON WI 53707-7857                                                       MADISON WI 53701




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WISCONSIN DEPT OF FINANCIAL INSTITUTIONS   WISCONSIN DEPT OF FINANCIAL INSTITUTIONS   WISCONSIN OFFICE OF THE COMMISSIONER
WISCONSIN CONSUMER ACT SECTION             DIVISION OF SECURITIES                     OF INSURANCE
PO BOX 8041                                4822 MADISON YARDS WAY                     PO BOX 7873
MADISON WI 53708                           NORTH TOWER                                MADISON WI 53707-7873
                                           MADISON WI 53705




WJ FLYNN AND ASSOCIATES LLC                WM SCHWARTZ AND CO                         WOLVERINE EXECUTION SERVICES, LLC
4660 SLATER RD                             108 N MILWAUKEE AVE                        CORPORATE ACTIONS
STE 225                                    LIBERTYVILLE IL 60048                      175 WEST JACKSON BLVD
EAGAN MN 55122                                                                        2ND FL
                                                                                      CHICAGO IL 60604




WOLVERTON SECURITIES LTDCDS**              WORDEN CAPITAL MANAGEMENT LLC              WORKIVA INC
CORPORATE ACTIONS                          1981 MARCUS AVE STE 240                    2900 UNIVERSITY BLVD
1700- 777 DUNSMUIR ST                      LAKE SUCCESS NY 11042                      AMES IA 50010
VANCOUVER BC V7Y 1J5
CANADA




WRIGHT WEALTH MANAGEMENT                   WTO SERVICES, LLC                          WYOMING ATTORNEY GENERAL
3615 CROSSINGS DR                          44 NASSAU ST                               BRIDGET HILL
STE B                                      STE 370                                    200 W 24TH ST
PRESCOTT AZ 86305                          PRINCETON NJ 08542                         STATE CAPITOL BUILDING ROOM 123
                                                                                      CHEYENNE WY 82002




WYOMING DEPT OF REVENUE                    WYOMING DIVISION OF BANKING                WYOMING SECRETARY OF STATE
122 WEST 25TH ST HERSCHLER BLDG            UNIFORM CONSUMER CREDIT CODE               200 WEST 24TH ST
3RD FL. EAST                               122 WEST 25TH ST                           CHEYENE WY 82002
CHEYENNE WY 82002                          CHEYENNE WY 82002




WYOMING SECRETARY OF STATE                 XEDE CONSULTING GROUP INC                  XL SPECIALTY INSURANCE CO
SECURITIES DIVISION                        3290 W BIG BEAVER RD                       70 SEAVIEW AVE
HERSCHLER BUILDING EAST 122                STE 500                                    STE 500
WEST 25TH ST STE 100                       LANSING MI 48909-8016                      STAMFORD CT 06902
CHEYENNE WY 82002-0020




YMA TECHNOLOGY LLC                         ZB, NATIONAL ASSOCIATIONPORTFOLIO          ZEIDMAN CONSULTING
17304 PRESTON RD                           CORP ACTIONS                               15565 SWISS CREEK LN
STE 1210                                   ONE SOUTH MAIN                             CUPERTINO CA 95014
DALLAS TX 75252                            STE 1380
                                           SALT LAKE CITY UT 84111




ZENEFITS                                   ZENKRAFT INC                               ZIONS DIRECT, INC
3001 19TH ST                               200 CONTINENTAL DR                         AARON LINDHARDT
STE 201                                    STE 401                                    1 SOUTH MAIN ST
SAN FRANCISCO CA 94110                     NEWARK DE 19713                            STE 1340
                                                                                      SALT LAKE CITY UT 84111




ZIONS FIRST NATIONAL BANK                  ZIONS FNB/WESTERN NATIONAL                 ZIV INVESTMENT CO
JOHN RIZZO                                 JOHN RIZZO                                 JAMES M GRIEGEL
VICE PRESIDENT                             1 SOUTH MAIN 17TH FL                       141 W JACKSON BLVD
1 SOUTH MAIN 17TH FL                       SALT LAKE CITY UT 84111                    CHICAGO IL 60604
SALT LAKE CITY UT 84111




ZIXCORP SYSTEMS INC                        ZUKOVSKI RECEIVERSHIP ESTATE               ZURICH AMERICAN INSURANCE CO
2711 N HASKELL AVE                         UNITED AMS RECEIVER                        PO BOX 4666
STE 2200                                   8350 W SAHARA                              CAROL STREAM IL 60197-4666
DALLAS TX 75204                            STE 290
                                           LAS VEGAS NV 89117




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ZURICH LIFE INSURANCE
62024 COLLECTIONS DR
CHICAGO IL 60693-0620




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